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  14 (Additional Counsel listed on the signature page)
  15 Class Counsel
  16
  17                     UNITED STATES DISTRICT COURT
  18                    CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
  19
  20 KIM ALLEN et al., on behalf of            CASE NO. 12-cv-1150-DMG-MANx
     themselves, all others similarly situated
  21 and the general public                    JOINT EXHIBIT LIST
  22
                 Plaintiffs,                   Judge: The Honorable Dolly M. Gee
  23
  24       vs.

  25 HYLAND’S, INC., a California
     corporation; and STANDARD
  26 HOMEOPATHIC COMPANY
  27
           Defendants.
  28

                                           1
                                   JOINT EXHIBIT LIST
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   1 Defendants’ Prefatory Statement Regarding Objections:
   2         Defendants’ listing of certain exhibits is not intended to waive their motions
   3 in limine or other objections to Plaintiffs’ evidence. Additionally, Defendants
   4 reserve the right to use any document on Plaintiffs’ exhibit list. Defendants’
   5 further reserve the right to amend and/or supplement this list prior to the parties
   6
     filing their joint list of exhibits.
   7
             Despite the parties’ agreement to exchange exhibit lists on June 22, 2015,
   8
     Defendants did not receive an exhibit list from Plaintiffs’ counsel until the evening
   9
     of July 2, 2015. This list contained more than 2,100 exhibits, many of which had
  10
     documents that could not be identified from their descriptions and included
  11
     advertisements and correspondence for products that were not in the case.
  12
     Plaintiffs’ counsel also represented that this was not the final list. After several
  13
  14 discussions over e-mail wherein defense counsel raised the significant problems
  15 with Plaintiffs’ exhibit list, Plaintiffs submitted a subsequent list on July 9, 2015,
  16 but this list still contained many of the same problems and, again, Plaintiffs
  17 represented that this was not the final list and that exhibits would be removed (but
  18 original exhibit numbers not retained). The final exhibit list was submitted to
  19 Defendants on Sunday afternoon, July 12, 2015. This list removed nearly 1,000
  20 exhibits, and changed all of the exhibit numbers, leaving Defendants less than two
  21 business days to review the still 1,000 remaining exhibits and identify objections.
  22 Had defense counsel had an appropriate amount of time, they would have had the
  23 opportunity to fully articulate their objections for each document, as opposed to
  24 identifying the evidentiary rule supporting the objection. Should the Court require
  25 a more substantive explanation of Defendants’ objections, they are more than
  26
     happy to provide one prior to the final pre-trial conference. However, given the
  27
     lack of time Defendants were given to prepare these objections, this could not be
  28
     done by the July 14 submission deadline. Defendants informed Plaintiffs of the
                                             2
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   1 likely prejudice that would result from the delay in receipt of the final list well in
   2 advance of their final submission of the exhibit list, as well as Defendants’ intent to
   3 include a prefatory statement of this nature in the exhibit list to explain the
   4 resulting prejudice.
   5         Plaintiffs’ Prefatory Statement: Plaintiffs’ listing of certain exhibits is not
   6
     intended to waive their motions in limine or other objections to Defendant’s
   7
     evidence. Additionally, Plaintiffs reserve the right to use any document on
   8
     Defendant’s exhibit list. Plaintiffs’ further reserve the right to amend and/or
   9
     supplement this list prior to the parties filing their joint list of exhibits.
  10
             Plaintiffs will continue to meet and confer with Defendants about the exhibit
  11
     list to remove duplicates and create a list of priority documents that both parties
  12
     will agree to submit to the jury. Plaintiffs received the final version of Defendants’
  13
  14 exhibit list on July 13, 2015, one day prior to the due date and did not receive
  15 Defendants’ exhibits referenced in the exhibit list until July 10, 2015. But,
  16 Plaintiffs are committed to continuing to work with Defendants to streamline the
  17 evidence for the jury.
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   1   No. of                          Description           Objection       Response
       Exhibit                                                               to
   2
                                                                             Objection
   3
   4
                                 PLAINTIFFS’ EXHIBITS
   5
   6      1.                  Photograph [Depo. Nancy
                              Rodriguez (6/6/12)- Exhibit
   7                          3]
   8
          2.                  Photograph [Depo. Nancy
   9                          Rodriguez (6/6/12)- Exhibit
  10                          4]

  11      3.                  Photograph [Depo. Nancy
  12                          Rodriguez (6/6/12)- Exhibit
                              5]
  13
  14      4.                  Photograph [Depo. Nancy
                              Rodriguez (6/6/12)- Exhibit
  15                          6]
  16
          5.                  Allen Exhibit 1 [Depo. Kim
  17                          Allen (6/7/12)- Exhibit 1]
  18
          6.                  Packaging [Depo. Kim
  19                          Allen (6/7/12)- Exhibit 6]
  20
          7.                  Packaging [Depo. Sherrell
  21                          Smith (6/7/12)- Exhibit 2]
  22
          8.                  Packaging [Depo. Sherrell
  23                          Smith (6/7/12)- Exhibit 3]
  24
          9.                  Photograph [Depo. Daniele
  25                          Xenos (6/8/12)- Exhibit 13]
  26
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                                               4
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   1   No. of                          Description            Objection      Response
   2   Exhibit                                                               to
                                                                             Objection
   3
   4      10.                 Photograph [Depo. Daniele       FRE 401,
                              Xenos (6/8/12)- Exhibit 14]     402
   5
   6      11.                 Label of Defendant Cold &
                              Cough Night [Depo. Diana
   7                          Sisti (6/9/12)- Exhibit 4]
   8
          12.                 Label for Defend Cold &
   9                          Cough [Depo. Diana Sisti
  10                          (6/9/12)- Exhibit 6]

  11      13.                 Label for Migraine
  12                          Headache Relief [Depo.
                              Diana Sisti (6/9/12)- Exhibit
  13                          7]
  14
          14.                 Package for Defend Cough
  15                          [Depo. Yuanke Xu (6/9/12)-
  16                          Exhibit 4]

  17      15.                 Package for Allergy Relief
  18                          [Depo. Yuanke Xu (6/9/12)-
                              Exhibit 6]
  19
  20      16.                 Nigh Exhibit 3 [Depo            FRE 401,
                              Melissa Nigh (6/11/12)-         402
  21                          Exhibit 3]
  22
          17.                 Plaintiffs’ Amended Notice      FRE 401,
  23                          of Deposition Pursuant to       402
  24                          F.R.C.P. 30(b)(6) To
                              Defendant Hyland’s, Inc.-
  25                          Marketing [Depo. Thao
  26                          Minh Le (7/26/12)- Exhibit
                              2]
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                                                5
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   1   No. of                          Description           Objection       Response
   2   Exhibit                                                               to
                                                                             Objection
   3
   4      18.                 Packaging and Labeling         FRE 401,
                              Specifications [Depo. Thao     402, 602,
   5                          Minh Le (7/26/12)- Exhibit     901, 801,
   6                          3 (Bates Stamped-              802
                              SHCALLEN004857-
   7                          SHCALLEN 004889)]
   8
                              [CONFIDENTIAL]
   9
  10      19.                 Hyland’s Product               FRE 401,
                              Packaging- Dates of            402
  11                          Availability [Depo. Thao
  12                          Minh Le (7/26/12)- Exhibit
                              4 (Bates Stamped-
  13                          SHCALLEN00001-
  14                          SHCALLEN000043)]

  15      20.                 Standard Labs Production       FRE 401,
  16                          BOM Information [Depo.         402, 602,
                              Thao Minh Le (7/26/12)-        901, 801,
  17                          Exhibit 5 (Bates Stamped-      802
  18                          SHCALLEN004891-
                              SHCALLEN004906)]
  19
  20                          [CONFIDENTIAL]

  21      21.                 Hyland’s Sleep Study           FRE 401,
  22                          Findings- 5/21/2012 [Depo.     402, 602,
                              Thao Minh Le (7/26/12)-        901, 801,
  23                          Exhibit 6 (Bates Stamped-      802
  24                          SHCALLEN001767-
                              SHCALLEN001784)]
  25
  26                          [CONFIDENTIAL]

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   1   No. of                          Description           Objection       Response
   2   Exhibit                                                               to
                                                                             Objection
   3
   4      22.                 Survey Results [Depo. Thao     FRE 401,
                              Minh Le (7/26/12)- Exhibit     402, 602,
   5                          7 (Bates Stamped-              901, 801,
   6                          SHCALLEN001785-                802
                              SHCALLEN001786)]
   7
   8                          [CONFIDENTIAL]

   9      23.                 Leg Cramp Packing              FRE 401,
  10                          Preferences Survey Findings    402, 602,
                              [Depo. Thao Minh Le            901, 801,
  11                          (7/26/12)- Exhibit 8 (Bates    802
  12                          Stamped-
                              SHCALLEN001732-
  13                          SHCALLEN001739)]
  14
                              [CONFIDENTIAL]
  15
  16      24.                 Various Emails [Depo. Thao     FRE 401,
                              Minh Le (7/26/12)- Exhibit     402, 602,
  17                          9 (Bates Stamped-              901, 801,
  18                          SHCALLEN001982-                802
                              SHCALLEN002025)]
  19
  20                          [CONFIDENTIAL]

  21      25.                 Video List [Depo. Thao         FRE 401,
  22                          Minh Le (7/26/12)- Exhibit     402, 602,
                              10 (Bates Stamped-             901, 801,
  23                          SHCALLEN007986-                802
  24                          SHCALLEN007987)]

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   1   No. of                          Description           Objection       Response
   2   Exhibit                                                               to
                                                                             Objection
   3
   4      26.                 Managing Sleeplessness         FRE 401,
                              With Over-the Counter          402, 602,
   5                          Treatments [Depo. Thao         901, 801,
   6                          Minh Le (7/26/12)- Exhibit     802
                              11 (Bates Stamped-
   7                          SHCALLEN007690-
   8                          SHCALLEN007719)]

   9      27.                 Inventory Posting Group        FRE 401,
  10                          Chart [Depo. Thao Minh Le      402, 602,
                              (7/26/12)- Exhibit 12          901, 801,
  11                          (Bates Stamped-                802
  12                          SHCALLEN002026-
                              SHCALLEN002027)]
  13
  14                          [CONFIDENTIAL]

  15      28.                 National Sales Unit
  16                          Velocity 2/9/2008-
                              6/24/2012 [Depo. Thao
  17                          Minh Le (7/26/12)- Exhibit
  18                          13 (Bates Stamped-
                              SHCALLEN000044(A))]
  19
  20                          [CONFIDENTIAL]

  21      29.                 National Sales Unit Annual
  22                          Velocity 2/9/2008-
                              6/30/2012 [Depo. Thao
  23                          Minh Le (7/26/12)- Exhibit
  24                          14 (Bates Stamped-
                              SHCALLEN002028)]
  25
  26                          [CONFIDENTIAL]

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   1   No. of                          Description           Objection       Response
   2   Exhibit                                                               to
                                                                             Objection
   3
   4      30.                 Hyland’s Consumer Ad           FRE 401,
                              Calendar 2008-2009 [Depo.      402, 602,
   5                          Thao Minh Le (7/26/12)-        901, 801,
   6                          Exhibit 15 (Bates Stamped-     802
                              SHCALLEN000236-
   7                          SHCALLEN000290)]
   8
                              [CONFIDENTIAL]
   9
  10      31.                 ADV-182-TL Earache Ad          FRE 401,
                              for Working Mother/KIWI        402, 602,
  11                          [Depo. Thao Minh Le            901, 801,
  12                          (7/26/12)- Exhibit 16          802
                              (Bates Stamped-
  13                          SHCALLEN000449-
  14                          SHCALLEN 000463)]

  15                          [CONFIDENTIAL]
  16
          32.                 ADV-161-TL New Ad              FRE 401,
  17                          Direction [Depo. Thao Minh     402, 602,
  18                          Le (7/26/12)- Exhibit 17       901, 801,
                              (Bates Stamped-                802
  19                          SHCALLEN000513-
  20                          SHCALLEN 000515)]

  21                          [CONFIDENTIAL]
  22
          33.                 Declaration of Thanh- Thao
  23                          Minh Le In Support of
  24                          Defendants’ Opposition to
                              Motion For Class
  25                          Certification Direction
  26                          [Depo. Thao Minh Le
                              (7/26/12)- Exhibit 18]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      34.                 Amended Notice of              FRE 401,
                               Deposition [Depo. Iris Bell,   402
    5                          PhD (8/2/12)- Exhibit 2]
    6
           35.                 Research Citations [Depo.
    7                          Iris Bell, PhD (8/2/12)-
    8                          Exhibit 3]

    9      36.                 Hyland’s Baby Teething         FRE 401,
   10                          Tablets Website Printout       402
                               [Depo. Iris Bell, PhD
   11                          (8/2/12)- Exhibit 4]
   12
           37.                 Hyland’s Website Articles      FRE 401,
   13                          [Depo. Iris Bell, PhD          402
   14                          (8/2/12)- Exhibit 5]

   15      38.                 Emails [Depo. Iris Bell,       FRE 401,
   16                          PhD (8/2/12)- Exhibit 6]       402, 403,
                                                              602, 901,
   17                                                         801, 802
   18      39.                 Defend Cold and Cough
                               Label [Depo. Iris Bell, PhD
   19                          (8/2/12)- Exhibit 7]
   20
           40.                 Material Data Safety Sheet  FRE 401,
   21                          [Depo. Iris Bell, PhD       402, 403,
   22                          (8/2/12)- Exhibit 8]        602, 901,
                                                           801, 802
   23      41.                 Label of Calms Forte [Depo. FRE 401,
   24                          Iris Bell, PhD (8/2/12)-    402, 403,
                               Exhibit 9]                  602, 901,
   25                                                      801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      42.                 Center for Inquiry             FRE 403
                               Document [Depo. Iris Bell,
    5                          PhD (8/2/12)- Exhibit 10]
    6
           43.                 E-mail Chain [Depo. Mary       FRE 401,
    7                          Borneman (1/14/13)-            402, 602,
    8                          Exhibit 1 (Bates Stamped-      901, 801,
                               SCHALLEN001945)]               802
    9
   10      44.                 Press Release, HPUS      FRE 401,
                               Homeopathic Pharmacopeia 402
   11                          [Depo. Mary Borneman
   12                          (1/14/13)- Exhibit 2]

   13      45.                 Website Screen Shot [Depo. FRE 401,
   14                          Mary Borneman (1/14/13)- 402
                               Exhibit 3 (Bates Stamped-
   15                          ALLEN0001035)]
   16
           46.                 Excerpt from Nonfoods          FRE 401,
   17                          Handbook [Depo. Mary           402, 602,
   18                          Borneman (1/14/13)-            901, 801,
                               Exhibit 4                      802
   19                          SCHALLEN000198]
   20
           47.                 Edited Article [Depo. Mary     FRE 401,
   21                          Borneman (1/14/13)-            402, 602,
   22                          Exhibit 5 (Bates Stamped-      901, 801,
                               ALLEN0001138)]                 802
   23
   24      48.                 Product Labels [Depo. Mary FRE 401,
                               Borneman (1/14/13)-        402
   25                          Exhibit 6 (Bates Stamped-
   26                          SCH000001-SCH000043)]
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      49.                 Email Dated 7/14/12 Sleep      FRE 401,
                               Survey Results [Depo. Mary     402, 602,
    5                          Borneman (1/14/13)-            901, 801,
    6                          Exhibit 7 (Bates Stamped-      802
                               SCHALLEN001943-
    7                          SCHALLEN001944)]
    8
                               [CONFIDENTIAL]
    9
   10      50.                 Chain Drug Review Article      FRE 401,
                               [Depo. Mary Borneman           402, 602,
   11                          (1/14/13)- Exhibit 8           901, 801,
   12                          ALLEN0000005-                  802
                               ALLEN0000006;
   13                          ALLEN0000011-
   14                          ALLEN0000012;
                               ALLEN0000021-
   15                          ALLEN0000030;
   16                          ALLEN0000053-55;
                               ALLEN0006570-6571]
   17
   18      51.                 Brochure [Depo. Mary           FRE 401,
                               Borneman (1/14/13)-            402
   19                          Exhibit 9 (Bates Stamped-
   20                          ALLEN0000991-
                               ALLEN0000992)]
   21
   22      52.                 News Release [Depo. Mary FRE 401,
                               Borneman (1/14/13)-         402
   23                          Exhibit 10] (Bates Stamped-
   24                          ALLEN 0001555-
                               0001556)]
   25
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      53.                 Press Release [Depo. Mary      FRE 401,
                               Borneman (1/14/13)-            402
    5                          Exhibit 11 (Bates Stamped-
    6                          ALLEN 0001113-
                               0001114)]
    7
    8      54.                 Press Release [Depo. Mary      FRE 401,
                               Borneman (1/14/13)-            402
    9                          Exhibit 12 (Bates Stamped-
   10                          ALLEN 0001111-
                               0001112)]
   11
   12      55.                 Press Release [Depo. Mary      FRE 401,
                               Borneman (1/14/13)-            402
   13                          Exhibit 13 (Bates Stamped-
   14                          ALLEN 0001023-
                               0001024)]
   15
   16      56.                 Press Release [Depo. Mary      FRE 401,
                               Borneman (1/14/13)-            402
   17                          Exhibit 14 (Bates Stamped-
   18                          ALLEN 0001834 -
                               0001835)]
   19
   20      57.                 Press Release [Depo. Mary      FRE 401,
                               Borneman (1/14/13)-            402
   21                          Exhibit 15]
   22
           58.                 HPCUS Procedure Manual         FRE 401,
   23                          [Depo. Mark Phillips           402, 602,
   24                          (1/18/13)- Exhibit 1]          901, 801,
                                                              802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      59.                 HPCUS Criteria For             FRE 401,
                               Eligibility [Depo. Mark        402, 602,
    5                          Phillips (1/18/13)- Exhibit    901, 801,
    6                          2]                             802

    7      60.                 Excerpt from Volume I of
    8                          the 8th Edition of the HPUS
                               [Depo. Mark Phillips
    9                          (1/18/13)- Exhibit 3 (Bates
   10                          Stamped-
                               SHCALLEN002346-
   11                          SHCALLEN 002348)]
   12
           61.                 HPUS, Monograph for
   13                          Chamimilla [Depo. Mark
   14                          Phillips (1/18/13)- Exhibit
                               4]
   15
   16      62.                 Excerpt from HPUS 8th
                               Edition 1979, Magnesia
   17                          Phosphorica [Depo. Mark
   18                          Phillips (1/18/13)- Exhibit
                               5 (Bates Stamped-
   19                          SHCALLEN002427-
   20                          SHCALLEN 002429)]

   21      63.                 Excerpt from the Guiding
   22                          Symptoms of Our Materia
                               Medica, Vol. II [Depo.
   23                          Mark Phillips (1/18/13)-
   24                          Exhibit 6 SHCALLEN
                               002591-2593]
   25
   26
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      64.                 Monograph for Chamomile
                               [Depo. Mark Phillips
    5                          (1/18/13)- Exhibit 7 (Bates
    6                          Stamped-
                               SHCALLEN002345)]
    7
    8      65.                 Corporate Organizational
                               Chart [Depo. Mark Phillips
    9                          (1/18/13)- Exhibit 8 (Bates
   10                          Stamped-
                               SHCALLEN001962)]
   11
   12      66.                 Listing of Products [Depo.     FRE 401,
                               Mark Phillips (1/18/13)-       402
   13                          Exhibit 9 (Bates Stamped-
   14                          SHCALLEN000001-
                               SHCALLEN000043)]
   15
   16      67.                 Bills of Manufacturing         FRE 401,
                               Materials [Depo. Mark          402, 602,
   17                          Phillips (1/18/13)- Exhibit    901, 801,
   18                          10 (Bates Stamped-             802
                               SHCALLEN004891-
   19                          SHCALLEN004906)]
   20
                               [CONFIDENTIAL]
   21
   22      68.                 FDA Reports [Depo. Mark        FRE 401,
                               Phillips (1/18/13)- Exhibit    402, 403,
   23                          11 (Bates Stamped-             602, 901,
   24                          ALLEN0006572-                  801, 802
                               ALLEN0006613)]
   25
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      69.                 Warning Letter- 4/29/11        FRE 401,
                               [Depo. Mark Phillips           402, 403,
    5                          (1/18/13)- Exhibit 12 [Bates   602, 901,
    6                          Stamped- ALLEN0000001-         801, 802
                               ALLEN0000004)]
    7
    8      70.                 Ad Content Messages            FRE 401,
                               [Depo. Julie Kim (1/23/13)-    402, 602,
    9                          Exhibit 1                      901, 801,
   10                          SHCALLEN001401-1403]           802

   11                          [CONFIDENTIAL]
   12
           71.                 Employee List [Depo. Julie
   13                          Kim (1/23/13)- Exhibit 2]
   14
                               [CONFIDENTIAL]
   15
   16      72.                 Homeopathic Medicine           FRE 401,
                               Awareness Omnibus Survey       402, 602,
   17                          [Depo. Julie Kim (1/23/13)-    901, 801,
   18                          Exhibit 3 (Bates Stamped-      802
                               SHCALLEN011655-
   19                          SHCALLEN011663)]
   20
                               [CONFIDENTIAL]
   21
   22      73.                 Notice of Deposition [Depo. FRE 401,
                               Les Hamilton (1/28/13)-     402
   23                          Exhibit 1]
   24
           74.                 Web Article [Depo. Les         FRE 401,
   25                          Hamilton (1/28/13)- Exhibit    402, 602,
   26                          2]                             901, 801,
                                                              802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      75.                 Hyland’s FDM Distribution
                               [Depo. Les Hamilton
    5                          (1/28/13)- Exhibit 3
    6                          ALLEN0001949-1954]

    7                          [CONFIDENTIAL]
    8
           76.                 Marketing Materials [Depo.     FRE 401,
    9                          Les Hamilton (1/28/13)-        402
   10                          Exhibit 4
                               SHCALLLEN001524-
   11                          001525]
   12
           77.                 CVS web printout [Depo.     FRE 401,
   13                          Les Hamilton (1/28/13)-     402, 602,
   14                          Exhibit 5]                  901, 801,
                                                           802
   15      78.                 Feeling Better Naturally    FRE 401,
   16                          Article [Depo. Les Hamilton 402, 403,
                               (1/28/13)- Exhibit 6]       602, 901,
   17                                                      801, 802
   18      79.                 Small Consumers Can Add FRE 401,
                               Up to Big Sales [Depo. Les 402, 403,
   19                          Hamilton (1/28/13)- Exhibit 602, 901,
   20                          7]                          801, 802

   21      80.                 Progressive Grocer Article     FRE 401,
   22                          [Depo. Les Hamilton            402, 403,
                               (1/28/13)- Exhibit 8]          602, 901,
   23                                                         801, 802
   24      81.                 Cold Case Article [Depo.       FRE 401,
                               Les Hamilton (1/28/13)-        402, 403,
   25                          Exhibit 9]                     602, 901,
   26                                                         801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      82.                 Progressive Grocer Article  FRE 401,
                               [Depo. Les Hamilton         402, 403,
    5                          (1/28/13)- Exhibit 10]      602, 901,
    6                                                      801, 802
           83.                 Natural Goes Mainstream     FRE 401,
    7                          Article [Depo. Les Hamilton 402, 403,
    8                          (1/28/13)- Exhibit 11]      602, 901,
                                                           801, 802
    9      84.                 Label [Depo. Les Hamilton FRE 401,
   10                          (1/28/13)- Exhibit 12       402
                               SHC000001-000043]
   11
   12      85.                 National Sales Unit
                               Velocity [Depo. Les
   13                          Hamilton (1/28/13)- Exhibit
   14                          13 SHC000044-
                               SHCALLEN000044A]
   15
   16      86.                 National Sales Annual
                               Revenues and Velocity Data
   17                          [Depo. Les Hamilton
   18                          (1/28/13)- Exhibit 14
                               SHCALLEN008904]
   19
   20      87.                 Product SRPs [Depo. Les        FRE 401,
                               Hamilton (1/28/13)- Exhibit    402
   21                          15 SHCALLEN008903]
   22
           88.                 Notice of Deposition [Dep.     FRE 401,
   23                          Dale Nespa (1/29/13)-          402
   24                          Exhibit 1]
   25      89.                 Press Release [Dep. Dale       FRE 401,
   26                          Nespa (1/29/13)- Exhibit 2]    402
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      90.                 LinkedIn Account Profile    FRE 401,
                               [Dep. Dale Nespa (1/29/13)- 402
    5                          Exhibit 3]
    6
           91.                 Sales Sheet [Dep. Dale
    7                          Nespa (1/29/13)- Exhibit 4
    8                          ALLEN0001949-0001954]

    9      92.                 Chain Drug Review Article      FRE 401,
   10                          [Dep. Dale Nespa (1/29/13)-    402, 403,
                               Exhibit 5 ALLEN0000029-        602, 901,
   11                          30]                            801, 802
   12
           93.                 Drug Store News Article     FRE 401,
   13                          [Dep. Dale Nespa (1/29/13)- 402, 403,
   14                          Exhibit 6]                  602, 901,
                                                           801, 802
   15      94.                 Placebo Pellets Documents FRE 401,
   16                          [Dep. Dale Nespa (1/29/13)- 402, 403,
                               Exhibit 7]                  602, 901,
   17                                                      801, 802
   18      95.                 Subpoenaed Documents        FRE 401,
                               [Dep. Dale Nespa (1/29/13)- 402, 403,
   19                          Exhibit 8]                  602, 901,
   20                                                      801, 802
           96.                 Chain Drug Review Article FRE 401,
   21                          [Dep. Dale Nespa (1/29/13)- 402, 403,
   22                          Exhibit 9 ALLEN0000023- 602, 901,
                               25]                         801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4      97.                 Organizational Chart [Depo.
                               John P. Borneman, IV,
    5                          Ph.D. (1/31/13)- Exhibit 1
    6                          (Bates Stamped-
                               SHCALLEN001962)]
    7
    8                          [CONFIDENTIAL]

    9      98.                 Product Labels [Depo. John     FRE 401,
   10                          P. Borneman, IV, Ph.D.         402
                               (1/31/13)- Exhibit 2 (Bates
   11                          Stamped- SHC00001-
   12                          SHC00043)]

   13      99.                 Warning Letter [Depo. John     FRE 401,
   14                          P. Borneman, IV, Ph.D.         402, 403,
                               (1/31/13)- Exhibit 3 (Bates    602, 901,
   15                          Stamped-                       801, 802
   16                          SHALLEN008889-
                               SHALLEN008893)]
   17
   18     100.                 Letter dates 11/10/10 [Depo.   FRE 401,
                               John P. Borneman, IV,          402, 403,
   19                          Ph.D. (1/31/13)- Exhibit 4     602, 901,
   20                          (Bates Stamped-                801, 802
                               SCHALLEN011721SCHAL
   21                          LEN011724)]
   22
                               [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     101.                 Proof of Claims [Depo.
                               John P. Borneman, IV,
    5                          Ph.D. (1/31/13)- Exhibit 5
    6                          (Bates Stamped-
                               SCHALLEN004092-
    7                          SCHALLEN004124)]
    8
          102.                 PR Newswire [Depo. John        FRE 401,
    9                          P. Borneman, IV, Ph.D.         402, 403,
   10                          (1/31/13)- Exhibit 6 (Bates    602, 901,
                               Stamped- ALLEN0000021-         801, 802
   11                          ALLEN0000022)]
   12
          103.                 “Chain Drug Review”            FRE 401,
   13                          article [Depo. John P.         402, 403,
   14                          Borneman, IV, Ph.D.            602, 901,
                               (1/31/13)- Exhibit 7 (Bates    801, 802
   15                          Stamped- ALLEN0000011-
   16                          ALLEN0000012)]

   17     104.                 “Chain Drug Review”            FRE 401,
   18                          article [Depo. John P.         402, 403,
                               Borneman, IV, Ph.D.            602, 901,
   19                          (1/31/13)- Exhibit 8 (Bates    801, 802
   20                          Stamped- ALLEN0000023-
                               ALLEN0000025)]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     105.                 Homeopathic Medicine           FRE 401,
                               Awareness Omnibus Survey       402, 602,
    5                          [Depo. John P. Borneman,       901, 801,
    6                          IV, Ph.D. (1/31/13)- Exhibit   802
                               9 (Bates Stamped-
    7                          SHCALLEN011655-
    8                          SHCALLEN011663)]

    9                          [CONFIDENTIAL]
   10
          106.                 E-mail chain [Depo. John P.    FRE 401,
   11                          Borneman, IV, Ph.D.            402, 602,
   12                          (1/31/13)- Exhibit 10 (Bates   901, 801,
                               Stamped-                       802
   13                          SHCALLEN011664-
   14                          SHCALLEN011677)]

   15                          [CONFIDENTIAL]
   16
          107.                 Blackie Memorial Lecture       FRE 401,
   17                          2001 [Depo. John P.            402, 403,
   18                          Borneman, IV, Ph.D.            602, 901,
                               (1/31/13)- Exhibit 11]         801, 802
   19
   20     108.                 Photocopies of Packaging       FRE 401,
                               [Depo. Amy R. Fox              402
   21                          (2/15/13)- Exhibit 1 (Bates
   22                          Stamped- SHC000001-
                               SHC000043)]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     109.                 Leg Cramp Packaging            FRE 401,
                               Preferences Survey Findings    402, 602,
    5                          [Depo. Amy R. Fox              901, 801,
    6                          (2/15/13)- Exhibit 2 (Bates    802
                               Stamped-
    7                          SHCALLEN001732-
    8                          SHCALLEN001766)]

    9                          [CONFIDENTIAL]
   10
          110.                 Hyland’s Drug Company          FRE 401,
   11                          Sleep Aid Study [Depo.         402, 602,
   12                          Amy R. Fox (2/15/13)-          901, 801,
                               Exhibit 3 (Bates Stamped-      802
   13                          SHCALLEN001807-
   14                          SHCALLEN001846)]

   15                          [CONFIDENTIAL]
   16
          111.                 Positioning Exercise Calms     FRE 401,
   17                          Forte [Depo. Amy R. Fox        402, 602,
   18                          (2/15/13)- Exhibit 4 (Bates    901, 801,
                               Stamped-                       802
   19                          SHCALLEN001792-
   20                          SHCALLEN001806)]

   21                          [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     112.                 Hyland’s Children’s Cough      FRE 401,
                               Syrup & Teething Tablets       402, 602,
    5                          Sampling Results 2010          901, 801,
    6                          [Depo. Amy R. Fox              802
                               (2/15/13)- Exhibit 5 (Bates
    7                          Stamped-
    8                          SHCALLEN001847-
                               SHCALLEN001865)]
    9
   10                          [CONFIDENTIAL]

   11     113.                 Hyland’s Teething Tablets      FRE 401,
   12                          Pediatrician Sampling          402, 602,
                               Program Evaluation Report      901, 801,
   13                          [Depo. Amy R. Fox              802
   14                          (2/15/13)- Exhibit 6 (Bates
                               Stamped-
   15                          SHCALLEN001866-
   16                          SHCALLEN001872)]

   17                          [CONFIDENTIAL]
   18
          114.                 New Product Categories         FRE 401,
   19                          [Depo. Amy R. Fox              402, 602,
   20                          (2/15/13)- Exhibit 7 (Bates    901, 801,
                               Stamped-                       802
   21                          SHCALLEN001880-
   22                          SHCALLEN001895)]

   23                          [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     115.                 Zoomerang Survey Results       FRE 401,
                               cough/cold survey [Depo.       402, 602,
    5                          Amy R. Fox (2/15/13)-          901, 801,
    6                          Exhibit 8 (Bates Stamped-      802
                               SHCALLEN001924-
    7                          SHCALLEN001944)]
    8
                               [CONFIDENTIAL]
    9
   10     116.                 Standard Homeopathic           RE 401, 402,
                               Packaging and Labeling         602, 901,
   11                          Specifications [Depo. Amy      801, 802
   12                          R. Fox (2/15/13)- Exhibit 9
                               (Bates Stamped-
   13                          SHCALLEN004857-
   14                          SHCALLEN004889)]

   15                          [CONFIDENTIAL]
   16
          117.                 Emotion Mining Hyland’s        FRE 401,
   17                          Sleep Study Findings May       402, 602,
   18                          31, 2012 [Depo. Amy R.         901, 801,
                               Fox (2/15/13)- Exhibit 10      802
   19                          (Bates Stamped-
   20                          SHCALLEN001767-
                               SHCALLEN001791)]
   21
   22                          [CONFIDENTIAL]

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     118.                 Homeopathic Medicine           FRE 401,
                               Awareness Omnibus Survey       402, 602,
    5                          [Depo. Amy R. Fox              901, 801,
    6                          (2/15/13)- Exhibit 11 (Bates   802
                               Stamped-
    7                          SHCALLEN011655-
    8                          SHCALLEN011663)]

    9                          [CONFIDENTIAL]
   10
          119.                 Email String [Depo. Amy R.     FRE 401,
   11                          Fox (2/15/13)- Exhibit 12      402, 602,
   12                          (Bates Stamped-                901, 801,
                               SHCALLEN011664-                802
   13                          SHCALLEN01677)]
   14
                               [CONFIDENTIAL]
   15
   16     120.                 Hyland’s News Release re:      FRE 401,
                               DEFEND [Depo. Amy R.           402
   17                          Fox (2/15/13)- Exhibit 13]
   18
          121.                 Hyland’s News Release re:      FRE 401,
   19                          Baby Cough Syrup formula       402
   20                          [Depo. Amy R. Fox
                               (2/15/13)- Exhibit 14
   21                          (Bates Stamped-
   22                          ALLEN0001687-
                               ALLEN0001688)]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     122.                 Hyland’s New Release re:       FRE 401,
                               Baby Cough Syrup [Depo.        402
    5                          Amy R. Fox (2/15/13)-
    6                          Exhibit 15
                               (Bates Stamped-
    7                          ALLEN0001113-
    8                          ALLEN0001114)]

    9     123.                 Hyland’s New Release re:       FRE 401,
   10                          DEFEND products [Depo.         402
                               Amy R. Fox (2/15/13)-
   11                          Exhibit 16
   12                          (Bates Stamped-
                               ALLEN0001111-
   13                          ALLEN0001112)]
   14
          124.                 FDA Inspection Report          FRE 401,
   15                          [Depo. Richard Walton          402, 403,
   16                          (4/17/14)- Exhibit 1 (Bates    602, 901,
                               Stamped-                       801, 802
   17                          SHCALLEN015234-
   18                          SHCALLEN015237]

   19                          [CONFIDENTIAL]
   20
          125.                 FDA Warning Letter [Depo.      FRE 401,
   21                          Richard Walton (4/17/14)-      402, 403,
   22                          Exhibit 2 (Bates Stamped-      602, 901,
                               ALLEN0000001-                  801, 802
   23                          ALLEN0000004)]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     126.                 FDA Inspection Report          FRE 401,
                               [Depo. Richard Walton          402, 403,
    5                          (4/17/14)- Exhibit 3 (Bates    602, 901,
    6                          Stamped-                       801, 802
                               SHCALLEN015322-
    7                          SHCALLEN015329)]
    8
                               [CONFIDENTIAL]
    9
   10     127.                 Photocopies of Labels          FRE 401,
                               [Depo. Richard Walton          402
   11                          (4/17/14)- Exhibit 4 (Bates
   12                          Stamped-
                               SHCALLEN000001-
   13                          SHCALLEN000043)]
   14
          128.                 Email String [Depo. Richard    FRE 401,
   15                          Walton (4/17/14)- Exhibit 5    402, 403,
   16                          (Bates Stamped-                602, 901,
                               PHARMCO 000004)]               801, 802
   17
   18                          [CONFIDENTIAL]

   19     129.                 FDA Inspection Report          FRE 401,
   20                          [Depo. Richard Walton          402, 403,
                               (4/17/14)- Exhibit 6 (Bates    602, 901,
   21                          Stamped-                       801, 802
   22                          SHCALLEN011725-
                               SHCALLEN011738)]
   23
   24                          [CONFIDENTIAL]

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     130.                 Request for Termination of     FRE 401,
                               Drug Product Recall #D-        402, 403,
    5                          239-244-2011 Hyland’s          602, 901,
    6                          Homeopathic Teething           801, 802
                               Tablets [Depo. Richard
    7                          Walton (4/17/14)- Exhibit 7
    8                          (Bates Stamped-
                               SHCALLEN015226-
    9                          SHCALLEN015233)]
   10
                               [CONFIDENTIAL]
   11
   12     131.                 December 13, 2011 Letter to    FRE 401,
                               Mark S. Philips (sic) from     402, 403,
   13                          Alonza E. Cruse [Depo.         602, 901,
   14                          Richard Walton (4/17/14)-      801, 802
                               Exhibit 8 (Bates Stamped-
   15                          SHCALLEN015336)]
   16
                               [CONFIDENTIAL]
   17
   18     132.                 Establishment Inspection       FRE 401,
                               Report [Depo. Richard          402, 403,
   19                          Walton (4/17/14)- Exhibit 9    602, 901,
   20                          (Bates Stamped-                801, 802
                               SHCALLEN011740-
   21                          SHCALLEN011753)]
   22
                               [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     133.                 May 14, 2012 to Jay            FRE 401,
                               Borneman from Black            402, 403,
    5                          Bevill [Depo. Richard          602, 901,
    6                          Walton (4/17/14)- Exhibit      801, 802
                               10 (Bates Stamped-
    7                          SHCALLEN011783-
    8                          SHCALLEN011785)]

    9                          [CONFIDENTIAL]
   10
          134.                 September 25, 2013 Letter      FRE 401,
   11                          to John P. Borneman From       402, 403,
   12                          Alonza E. Cruse [Depo.         602, 901,
                               Richard Walton (4/17/14)-      801, 802
   13                          Exhibit 11 (Bates Stamped-
   14                          SHCALLEN015291-
                               SHCALLEN015296)]
   15
   16                          [CONFIDENTIAL]

   17     135.                 Plaintiffs’ Second Amended FRE 401,
   18                          Notice of Deposition [Depo. 402
                               Daniel M. Krombach
   19                          (7/31/12)- Exhibit 1]
   20
          136.                 Exhibit 2 [Depo. Daniel M.
   21                          Krombach (7/31/12)-
   22                          Exhibit 2 (Bates Stamped-
                               SHCALLEN 000044(A))]
   23
   24     137.                 Declaration of Daniel M.
                               Krombach [Depo. Daniel M.
   25                          Krombach (7/31/12)-
   26                          Exhibit 3]

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     138.                 Exhibit 4 [Depo. Daniel M.     FRE 401,
                               Krombach (7/31/12)-            402, 602,
    5                          Exhibit 4 (Bates Stamped       901, 801,
    6                          SHCALLEN 001945-               802
                               SCHALLEN 001947)]
    7
    8     139.                 Chain Drug Review [Depo.       FRE 401,
                               Daniel M. Krombach             402, 403,
    9                          (7/31/12)- Exhibit 5]          602, 901,
   10                                                         801, 802
          140.                 Exhibit 6 [Depo. Daniel M.     FRE 401,
   11                          Krombach (7/31/12)-            402, 602,
   12                          Exhibit 6 (Bates Stamped       901, 801,
                               SHCALLEN 000437)]              802
   13
   14     141.                 Exhibit 7 [Depo. Daniel M.     FRE 401,
                               Krombach (7/31/12)-            402, 602,
   15                          Exhibit 7 (Bates Stamped-      901, 801,
   16                          SHCALLEN 000446)]              802

   17     142.                 Customer Complaint Record FRE 401,
   18                          [Depo. Daniel M. Krombach 402, 403,
                               (7/31/12)- Exhibit 8]      602, 901,
   19                                                     801, 802
   20     143.                 Exhibit 9 [Depo. Daniel M. FRE 401,
                               Krombach (7/31/12)-        402
   21                          Exhibit 9 (Bates Stamped-
   22                          SHCALLEN 001702)]
   23     144.                 Exhibit 10 [Depo. Daniel M.    FRE 401,
   24                          Krombach (7/31/12)-            402, 403,
                               Exhibit 10 (Bates Stamped-     602, 901,
   25                          SHCALLEN 005743-               801, 802
   26                          SHCALLEB 005749)]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     145.                 Amended Notice of         FRE 401,
                               Deposition Daniel M.      402
    5                          Krombach [Depo. Daniel M.
    6                          Krombach (4/25/14)-
                               Exhibit 11]
    7
    8     146.                 Standard Homeopathic
                               Company and Subsidiaries
    9                          Financial Statements [Depo.
   10                          Daniel M. Krombach
                               (4/25/14)- Exhibit 12 (Bates
   11                          Stamped
   12                          SHCALLEN012333-
                               SHCALLEN012352)]
   13
   14                          [CONFIDENTIAL]

   15     147.                 National Sales Annual
   16                          Revenue Velocity Data for
                               all U.S. divisions for
   17                          Standard Homeopathic
   18                          Company [Depo. Daniel M.
                               Krombach (4/25/14)-
   19                          Exhibit 13 (Bates Stamped
   20                          SHCALLEN022251-
                               SHCALLEN022254)]
   21
   22                          [CONFIDENTIAL]

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     148.                 Report of sales and velocity
                               data for three specific SKUs
    5                          [Depo. Daniel M. Krombach
    6                          (4/25/14)- Exhibit 14 (Bates
                               Stamped
    7                          SHCALLEN022263-
    8                          SHCALLEN022264)]

    9                          [CONFIDENTIAL]
   10
          149.                 Listing of Suggested Retail FRE 401,
   11                          Prices From February 2009 402
   12                          through Present [Depo.
                               Daniel M. Krombach
   13                          (4/25/14)- Exhibit 15 (Bates
   14                          Stamped
                               SHCALLEN022361)]
   15
   16                          [CONFIDENTIAL]

   17     150.                 Consolidating Trial Balance    FRE 401,
   18                          For Standard Homeopathic       402
                               and its Subsidiaries as June
   19                          30, 2013 [Depo. Daniel M.
   20                          Krombach (4/25/14)-
                               Exhibit 16 (Bates Stamped
   21                          SHCALLEN022360)]
   22
                               [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     151.                 Comparative Balance Sheet      FRE 401,
                               and Income Statements For      402
    5                          Hyland’s Incorporated For
    6                          Fiscal Year Endings 2008
                               through 2013 [Depo. Daniel
    7                          M. Krombach (4/25/14)-
    8                          Exhibit 17 (Bates Stamped
                               SHCALLEN012353-
    9                          SCHALLEN012376)]
   10
                               [CONFIDENTIAL]
   11
   12     152.                 Listing of Costs of Goods
                               Sold [Depo. Daniel M.
   13                          Krombach (4/25/14)-
   14                          Exhibit 18 (Bates Stamped
                               SHCALLEN022262)]
   15
   16                          [CONFIDENTIAL]

   17     153.                 Intercompany Allocations       FRE 401,
   18                          Spreadsheet [Depo. Daniel      402
                               M. Krombach (4/25/14)-
   19                          Exhibit 19 (Bates Stamped
   20                          SHCALLEN022441)]

   21     154.                 Consolidating Trial Balance FRE 401,
   22                          of Standard Homeopathic     402
                               and Its Subsidiaries as of
   23                          June 30, 2011 [Depo. Daniel
   24                          M. Krombach (4/25/14)-
                               Exhibit 20 (Bates Stamped
   25                          SHCALLEN022313-
   26                          SHCALLEN022328)]

   27                          [CONFIDENTIAL]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     155.                 Notice of Deposition [Depo. FRE 401,
                               William R. Ackerman, CPA 402
    5                          (12/17/14)- Exhibit 1]
    6
          156.                 Expert Report [Depo.        FRE 403,
    7                          William R. Ackerman, CPA 602, 701,
    8                          (12/17/14)- Exhibit 2]      901(a), 801,
                                                           802
    9     157.                 Supplemental Report [Depo. FRE 403,
   10                          William R. Ackerman, CPA 602, 701,
                               (12/17/14)- Exhibit 3]      901(a), 801,
   11                                                      802
   12     158.                 Declaration of William R.   FRE 403,
                               Ackerman In Support of      602, 701,
   13                          Plaintiffs’ Supplemental    901(a), 801,
   14                          Memorandum in Support of 802
                               Plaintiff’ Motion for Class
   15                          Certification [Depo.
   16                          William R. Ackerman, CPA
                               (12/17/14)- Exhibit 4]
   17
   18     159.                 Declaration of Charlene L.     FRE 403,
                               Podlipna [Depo. William R.     602, 701,
   19                          Ackerman, CPA (12/17/14)-      901(a), 801,
   20                          Exhibit 5]                     802

   21     160.                 CV Jon A. Krosnick, PhD        FRE 602,
   22                          [Depo. Jon Alexander           901, 801,
                               Krosnick, PhD (12/23/14)-      802
   23                          Exhibit 1]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     161.                 Defendant Standard             FRE 401,
                               Homeopathic Revised            402
    5                          Subpoena for Deposition
    6                          and Production of
                               Documents to Jon A.
    7                          Krosnick, PhD [Depo. Jon
    8                          Alexander Krosnick, PhD
                               (12/23/14)- Exhibit 2]
    9
   10     162.                 Agreement for Retaining
                               Consulting Services of Jon
   11                          A. Krosnick, PhD [Depo.
   12                          Jon Alexander Krosnick,
                               PhD (12/23/14)- Exhibit 3]
   13
   14     163.                 Declaration of Jon A.          FRE 403,
                               Krosnick [Depo. Jon            602, 701,
   15                          Alexander Krosnick, PhD        901(a), 801,
   16                          (12/23/14)- Exhibit 4]         802

   17     164.                 Second Report of Dr. Jon A,    FRE 403,
   18                          Krosnick [Depo. Jon            602, 701,
                               Alexander Krosnick, PhD        901(a), 801,
   19                          (12/23/14)- Exhibit 5]         802
   20
          165.                 Email [Depo. Jon Alexander FRE 401,
   21                          Krosnick, PhD (12/23/14)-  402, 602,
   22                          Exhibit 6]                 901, 801,
                                                          802
   23     166.                 [Depo. Jon Alexander       FRE 403,
   24                          Krosnick, PhD (12/23/14)-  602, 701,
                               Exhibit 7]                 901(a), 801,
   25                                                     802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     167.                 [Depo. Jon Alexander           FRE 403,
                               Krosnick, PhD (12/23/14)-      602, 701,
    5                          Exhibit 8]                     901(a), 801,
    6                                                         802
          168.                 [Depo. Jon Alexander           FRE 403,
    7                          Krosnick, PhD (12/23/14)-      602, 701,
    8                          Exhibit 9]                     901(a), 801,
                                                              802
    9     169.                 [Depo. Jon Alexander           FRE 403,
   10                          Krosnick, PhD (12/23/14)-      602, 701,
                               Exhibit 10]                    901(a), 801,
   11                                                         802
   12     170.                 Notice of Deposition Noel      FRE 401,
                               R. Rose, M.D. [Depo. Noel      402
   13                          R. Rose, M.D., PhD
   14                          (12/29/14)- Exhibit 1]

   15     171.                 Retention Letter [Depo.
   16                          Noel R. Rose, M.D.
                               (12/29/14)- Exhibit 2]
   17
   18     172.                 Declaration of Noel R.         FRE 403,
                               Rose, M.D., PhD [Depo.         602, 701,
   19                          Noel R. Rose, M.D., PhD        901(a), 801,
   20                          (12/29/14)- Exhibit 3]         802
   21     173.                 Declaration of Noel R.         FRE 403,
   22                          Rose, M.D., PhD [Depo.         602, 701,
                               Noel R. Rose, M.D., PhD        901(a), 801,
   23                          (12/29/14)- Exhibit 4]         802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     174.                 Bogus Argument for             FRE 401,
                               Unproven Treatments            402, 602,
    5                          [Depo. Noel R. Rose, M.D.,     901, 801,
    6                          PhD (12/29/14)- Exhibit        802
                               4B]
    7
    8     175.                 Complementary Health           FRE 403,
                               Issues [Depo. Noel R. Rose,    602, 701,
    9                          M.D., PhD (12/29/14)-          901(a), 801,
   10                          Exhibit 4C]                    802

   11     176.                 Evidence Check 2:              FRE 401,
   12                          Homeopathy [Depo. Noel         402, 403,
                               R. Rose, M.D., PhD             602, 901,
   13                          (12/29/14)- Exhibit 4D]        801, 802
   14
          177.                 April 18, 2014 Letter [Depo.
   15                          Noel R. Rose, M.D., PhD
   16                          (12/29/14)- Exhibit 5]

   17     178.                 Rebuttal Expert Report         FRE 403,
   18                          [Depo. Noel R. Rose, M.D.,     602, 701,
                               PhD (12/29/14)- Exhibit 6]     901(a), 801,
   19                                                         802
   20     179.                 Expert Report [Depo. Noel      FRE 403,
                               R. Rose, M.D., PhD             602, 701,
   21                          (12/29/14)- Exhibit 7]         901(a), 801,
   22                                                         802
          180.                 Documents produced by          FRE 401,
   23                          Rose, labeled Rose000001-      402, 403,
   24                          0000803                        602, 901,
                                                              801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     181.                 Expert Report of Edward J.
                               Calabrese, PhD [Depo.
    5                          Edward J. Calabrese, PhD
    6                          (1/6/15)- Exhibit 2]

    7     182.                 Three separate emails from     FRE 401,
    8                          Fulbright & Jaworski to E.J.   402, 602,
                               Calabrese [Depo. Edward J.     901, 801,
    9                          Calabrese, PhD (1/6/15)-       802
   10                          Exhibit 4]

   11     183.                 BELLE Newsletter, April        FRE 401,
   12                          2010 [Depo. Edward J.          402, 602,
                               Calabrese, PhD (1/6/15)-       901, 801,
   13                          Exhibit 5]                     802
   14
          184.                 Environmental Health           FRE 401,
   15                          Perspectives, Paul Mushak      402, 602,
   16                          Commentary                     901, 801,
                               Ad hoc and Fast Forward:       802
   17                          The Science of Hormesis
   18                          Growth and Development”
                               [Depo. Edward J. Calabrese,
   19                          PhD (1/6/15)- Exhibit 6]
   20
          185.                 Science of the Total           FRE 401,
   21                          Environment, Paul Mushak       402, 602,
   22                          review: “How prevalent is      901, 801,
                               chemical hormesis in the       802
   23                          natural and experimental
   24                          worlds?” [Depo. Edward J.
                               Calabrese, PhD (1/6/15)-
   25                          Exhibit 8]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     186.                 Science of the Total           FRE 401,
                               Environment, Paul Mushak       402, 602,
    5                          review: “Limits to chemical    901, 801,
    6                          hormesis as a dose-response    802
                               model in health risk
    7                          assessment” [Depo. Edward
    8                          J. Calabrese, PhD (1/6/15)-
                               Exhibit 9]
    9
   10     187.                 Expert Report of Dr. Paolo
                               Bellavite [Depo. Paolo
   11                          Bellavite, M.D. (1/9/15)-
   12                          Exhibit 1]

   13     188.                 Calms Forte Caplets            FRE 401,
   14                          Diagram [Depo. Paolo           402, 602,
                               Bellavite, M.D. (1/9/15)-      901, 801,
   15                          Exhibit 2]                     802
   16
          189.                 CV of David W. Stewart,
   17                          PhD [Depo. David W.
   18                          Stewart, PhD (1/13/15)-
                               Exhibit 1]
   19
   20     190.                 Plaintiffs’ Notice of          FRE 401,
                               Issuance of Subpoena           402
   21                          [Depo. David W. Stewart,
   22                          PhD (1/13/15)- Exhibit 2]

   23     191.                 Declaration of David
   24                          Stewart, PhD, in Support of
                               Defendants’ Opposition to
   25                          Class Certification [Depo.
   26                          David W. Stewart, PhD
                               (1/13/15)- Exhibit 3]
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     192.                 Expert Report of David W.
                               Stewart, PhD [Depo. David
    5                          W. Stewart, PhD (1/13/15)-
    6                          Exhibit 4]

    7     193.                 Various Emails [Depo.          FRE 401,
    8                          David W. Stewart, PhD          402, 602,
                               (1/13/15)- Exhibit 5 (Bates    901, 801,
    9                          Stamped-                       802
   10                          STEWART000076-
                               STEWART000089)]
   11
   12     194.                 Updated Expert Report of
                               David W. Steward, PhD
   13                          [Depo. David W. Stewart,
   14                          PhD (1/13/15)- Exhibit 6]

   15     195.                 Rebuttal Report of David
   16                          W. Stewart, PhD [Depo.
                               David W. Stewart, PhD
   17                          (1/13/15)- Exhibit 7]
   18
          196.                 Updated Expert Report of
   19                          Bernardo A. Merizalde,
   20                          M.D. [Depo. Bernardo A.
                               M.D. (1/20/15)- Exhibit 1]
   21
   22     197.                 Website Screenshot [Depo.      FRE 401,
                               Bernardo A. Merizalde,         402, 602,
   23                          M.D. (1/20/15)- Exhibit 2]     901, 801,
   24                                                         802
          198.                 Website Screenshot [Depo.      FRE 401,
   25                          Bernardo A. Merizalde,         402, 602,
   26                          M.D. (1/20/15)- Exhibit 3]     901, 801,
                                                              802
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     199.                 Website Screenshot [Depo.       FRE 401,
                               Bernardo A. Merizalde,          402, 602,
    5                          M.D. (1/20/15)- Exhibit 4]      901, 801,
    6                                                          802
          200.                 Website Screenshot [Depo.       FRE 401,
    7                          Bernardo A. Merizalde,          402, 602,
    8                          M.D. (1/20/15)- Exhibit 5]      901, 801,
                                                               802
    9     201.                 Website Screenshot [Depo.       FRE 401,
   10                          Bernardo A. Merizalde,          402, 602,
                               M.D. (1/20/15)- Exhibit 6]      901, 801,
   11                                                          802
   12     202.                 Website Screenshot [Depo.       FRE 401,
                               Bernardo A. Merizalde,          402, 602,
   13                          M.D. (1/20/15)- Exhibit 7]      901, 801,
   14                                                          802
          203.                 FTI’s Invoicing [Depo.          FRE 401,
   15                          Michael Buchannan               402, 602,
   16                          (1/22/15)- Exhibit 3]           901, 801,
                                                               802
   17     204.                 Order Re Class Certification
   18                          [Depo. Michael Buchannan
                               (1/22/15)- Exhibit 4]
   19
   20     205.                 Ackerman’s Supplemental         FRE 403,
                               Report [Depo. Michael           602, 701,
   21                          Buchannan (1/22/15)-            901(a), 801,
   22                          Exhibit 5]                      802
   23     206.                 Defendant Hyland’s Inc.’s
   24                          Response to Plaintiffs’ First
                               Set of Interrogatories (7-23-
   25                          12)
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     207.                 Defendant Hyland’s Inc.’s
                               Response to Plaintiffs’
    5                          Second Set of
    6                          Interrogatories (1/11/13)

    7     208.                 Defendant Hyland’s, Inc.’s
    8                          Response to Plaintiffs’
                               Third Set of Interrogatories
    9                          (2/28/13)
   10
          209.                 Defendant Hyland’s, Inc.’s
   11                          Response to Plaintiffs’ First
   12                          Set of Requests for
                               Admission (7/23/12)
   13
   14     210.                 Defendant Hyland’s, Inc.’s
                               Responses to Plaintiffs’
   15                          Second Set of Requests for
   16                          Admission (10/1/12)

   17     211.                 Defendant Hyland’s, Inc.’s
   18                          Response to Plaintiffs’
                               Third Set of Requests for
   19                          Admission
   20
          212.                 Defendant Hyland’s, Inc.’s
   21                          Response to Plaintiffs’ First
   22                          Set of Requests for
                               Production (7/23/12)
   23
   24     213.                 Defendant Hyland’s, Inc.’s
                               Amended Response to
   25                          Plaintiffs’ First Set of
   26                          Requests for Production
                               (6/2/14)
   27
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     214.                 Defendant Hyland’s, Inc.’s
                               Response to Plaintiffs’
    5                          Second Set of Requests for
    6                          Production (7/23/12)

    7     215.                 Defendant Hyland’s, Inc.’s.
    8                          Responses to Plaintiffs’
                               Third Set of Requests for
    9                          Production (9/21/12)
   10
          216.                 Defendant Hyland’s, Inc.’s
   11                          Supplemental Responses to
   12                          Plaintiffs’ Third Set of
                               Requests for Production
   13                          (3/15/13)
   14
          217.                 Defendant Hyland’s, Inc.’s
   15                          Response to Plaintiffs’
   16                          Fourth Set of Requests for
                               Production (1/1/13)
   17
   18     218.                 Defendant Hyland’s, Inc.’s
                               Response to Plaintiffs’ Fifth
   19                          Set of Requests for
   20                          Production of Documents
                               (2/28/13)
   21
   22     219.                 Defendant Hyland’s, Inc.’s
                               Responses to Plaintiffs’
   23                          Sixth Set of Requests for
   24                          Production (11/20/13)

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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     220.                 Defendant Standard
                               Homeopathic Company’s
    5                          Response to Plaintiffs’ First
    6                          Set of Interrogatories
                               (7/23/12)
    7
    8     221.                 Defendant Standard
                               Homeopathic Company’s
    9                          Response to Plaintiffs’
   10                          Second Set of
                               Interrogatories (1/11/13)
   11
   12     222.                 Defendant Standard
                               Homeopathic Company’s
   13                          Response to Plaintiffs Third
   14                          Set of Interrogatories
                               (2/28/13)
   15
   16     223.                 Defendant Standard
                               Homeopathic Company’s
   17                          Response to Plaintiffs’ First
   18                          Set of Requests for
                               Admissions
   19
   20     224.                 Defendant Standard
                               Homeopathic Company’s
   21                          Response to Plaintiffs’
   22                          Second Set of Requests for
                               Admissions
   23
   24     225.                 Defendant Standard
                               Homeopathic Company’s
   25                          Response to Plaintiffs’
   26                          Third Set of Requests for
                               Admissions (2/28/13)
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     226.                 Defendant Standard
                               Homeopathic Company’s
    5                          Response to Plaintiffs’ First
    6                          Set of Requests for
                               Production (7/23/12)
    7
    8     227.                 Defendant Standard
                               Homeopathic Company’s
    9                          Amended Response to
   10                          Plaintiffs’ First Set of
                               Requests for Production
   11                          (6/2/14)
   12
          228.                 Defendant Standard
   13                          Homeopathic Company’s
   14                          Response to Plaintiffs’
                               Second Set of Requests for
   15                          Production (7//23/12)
   16
          229.                 Defendant Standard
   17                          Homeopathic Company’s
   18                          Response to Plaintiffs’
                               Third Set of Requests for
   19                          Production (1/11/13)
   20
          230.                 Defendant Standard
   21                          Homeopathic Company’s
   22                          Supplemental Responses to
                               Plaintiffs’ Third Set of
   23                          Requests for Production of
   24                          Documents (3/15/13)

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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
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    3
    4     231.                 Defendant Standard
                               Homeopathic Company’s
    5                          Response to Plaintiffs’
    6                          Fourth Set of Requests for
                               Production (2/28/13)
    7
    8     232.                 Defendant Standard
                               Homeopathic Company’s
    9                          Response to Plaintiffs’ Fifth
   10                          Set of Requests for
                               Production (11/20/13)
   11
   12     233.                 Defendants Standard
                               Homeopathic Company and
   13                          Hyland’s, Inc.’s
   14                          Supplemental Response to
                               Plaintiffs’ First Set of
   15                          Interrogatories (1/30/13)
   16
          234.                 Defendants Standard
   17                          Homeopathic Company and
   18                          Hyland’s Inc.’s
                               Supplemental Responses to
   19                          Request for Production Nos.
   20                          51, 56, 57, 62, 67, 72 and
                               159 (5/3/13)
   21
   22     235.                 Defendant Hyland’s, Inc.’s
                               Answer to Plaintiffs’ Third
   23                          Amended Complaint
   24
          236.                 Defendant Standard
   25                          Homeopathic Company
   26                          Answer to Plaintiffs’ Third
                               Amended Complaint
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     237.                 Complete Expert File of Jon Preserving
                               A. Krosnick, PhD            all
    5                                                      objections –
    6                                                      not
                                                           adequately
    7                                                      described
    8                                                      and unclear
                                                           what is
    9                                                      encompassed
   10                                                      in this
                                                           document
   11     238.                 CV Jon A. Krosnick          FRE 802
   12
          239.                 First Expert Report of Jon     FRE 403,
   13                          A. Krosnick                    602, 701,
   14                                                         901(a), 801,
                                                              802
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    1   No. of                          Description           Objection        Response
    2   Exhibit                                                                to
                                                                               Objection
    3
    4     240.                 Documents Bates Stamped-       FRE 401,
                               SCHALLEN01410-                 402, 602,
    5                          SCHALLEN016372                 901, 403,
    6                                                         106, 1001,
                                                              1002, 801,
    7                                                         802
    8                                                         This exhibit
                                                              encompasses
    9                                                         nearly
   10                                                         12,000 pages
                                                              of
   11                                                         documents,
   12                                                         with myriad
                                                              evidentiary
   13                                                         issues.
   14                                                         Based on its
                                                              sheer size, it
   15                                                         is not an
   16                                                         appropriate
                                                              exhibit for
   17                                                         presentation
   18                                                         to the jury.
          241.                 CV William Ackerman            FRE 802
   19
   20     242.                 William Ackerman               FRE 401,
                               production bates               402, 602,
   21                          ACKERMAN000001-                901, 403,
   22                          000155                         106, 1001,
                                                              1002, 801,
   23                                                         802
   24     243.                 SHC National Sales Unit        Must be
                               Velocity (Bates Stamped-       confidential
   25                          SHCALLEN00044-
   26                          SHCALLEN00044(A))

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     244.                 Product SRPs (Bates            FRE 401,
                               Stamped-                       402
    5                          SHCALLEN08909)
    6
          245.                 SHC National Sales Annual Must be
    7                          Revenues and Velocity Data confidential
    8                          (Bates Stamped-
                               SHCALLEN08904)
    9
   10     246.                 SHC COGS Summary and           Must be
                               Princes Lists (Bates           confidential
   11                          Stamped-
   12                          SHCALLEN11872-11986)

   13     247.                 Audited Financial              Must be
   14                          Statements (Redacted)          confidential
                               (Bates Stamped-
   15                          SHCALLEN12136-
   16                          SHCALLEN12251)

   17     248.                 SHC Summary of Operating Must be
   18                          Expenses (Bates Stamped- confidential
                               SHCALLEN 12252)
   19
   20     249.                 Audited Financial              Must be
                               Statements (Bates Stamped-     confidential
   21                          SHCALLEN 12260-
   22                          SHCALLEN 12352)
   23     250.                 Hyland’s Inc. Balance          FRE 401,
   24                          Sheets and Income              402, 602,
                               Statements (Bates Stamped-     901, 801,
   25                          SHCALLEN 12353-                802
   26                          SHCALLEN 12376)
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     251.                 Sales Report (Bates            FRE 401,
                               Stamped-                       402, 602,
    5                          SHCALLEN12377-                 901, 801,
    6                          SHCALLEN15183)                 802

    7     252.                 Sales and COGS                 Must be
    8                          Summaries, Price Lists         confidential
                               (Bates Stamped-
    9                          SHCALLEN22251-
   10                          SHCALLEN22264)

   11     253.                 SHC Consolidating Trial        Must be
   12                          Balances (Bates Stamped        confidential
                               SHCALLEN 22265-
   13                          SHCALLEN22360
   14
          254.                 Product SRPs (Bates            FRE 401,
   15                          Stamped- SHCALLEN              402
   16                          22361)

   17     255.                 SHC Intercompany               FRE 401,
   18                          Allocation Worksheets          402
                               (Bates Stamped
   19                          SHCALLEN 22362-
   20                          SHCALLEN22441)

   21     256.                 CV Noel Rose                   FRE 802
   22
          257.                 Noel Rose, PhD Expert      FRE 403,
   23                          Report                     602, 701,
   24                                                     901(a), 801,
                                                          802
   25     258.                 Noel Rose, PhD             FRE 403,
   26                          Supplemental Expert Report 602, 701,
                               (5/29/15)                  901(a), 801,
   27                                                     802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     259.                 Declaration of Noel Rose,      FRE 403,
                               PhD                            602, 701,
    5                          (5/5/15)                       901(a), 801,
    6                                                         802
          260.                 Nanoparticles and              FRE 401,
    7                          Homeopathic Medicine: an       402, 403,
    8                          overview                       602, 901,
                                                              801, 802
    9     261.                 Report from European           FRE 401,
   10                          Medicines Agency:              402, 403,
                               Guidelines for Adjustments     602, 901,
   11                          of Baseline Covariance in      801, 802
   12                          Clinical Trials

   13     262.                 Smith SM, Schroder K,          FRE 401,
   14                          Fahey T, Over-the-Counter      402, 403,
                               (OTC) medications for acute    602, 901,
   15                          cough in children and adults   801, 802
   16                          in community settings, the
                               Cochran Collaboration 2014
   17
   18     263.                 Dennis Wat, The Common         FRE 401,
                               Cold: A review of the          402, 403,
   19                          literature, European Journal   602, 901,
   20                          of Internal Medicine 2004,     801, 802
                               15:79-88
   21
   22     264.                 Ron Eccles, Understanding      FRE 401,
                               the Symptoms of the            402, 403,
   23                          Common Cold and                602, 901,
   24                          Influenza, The Lancet          801, 802
                               Infectious Diseases, 2005,
   25                          5:718-726
   26
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     265.                 Ron Eccles, the                FRE 401,
                               Mechanisms of the              402, 403,
    5                          Symptoms of                    602, 901,
    6                          Rhinosinovitis, Rhinology,     801, 802
                               2011, 49:131-138
    7
    8     266.                 Ron Eccles, Importance of      FRE 401,
                               Placebo Effect in Cough,       402, 403,
    9                          Clinical Trials, Lung, 2010,   602, 901,
   10                          188 (S1):S53-S61               801, 802

   11     267.                 Backgrounder: Homeopathy       FRE 401,
   12                          an introduction, US            402, 403,
                               Department of Health and       602, 901,
   13                          Human Services, National       801, 802
   14                          Institutes of Health,
                               National Center for
   15                          Complementary and
   16                          Alternative Medicine, 2013

   17     268.                 Hylands.com/product/Hylan FRE 401,
   18                          ds for kids cold website  402
                               2015
   19
   20     269.                 E. Ernest, Bogus Arguments     FRE 401,
                               for Unproven Treatment,        402, 403,
   21                          The International Journal of   602, 901,
   22                          Clinical Practice, March       801, 802
                               2012, 66, 3, 238-240
   23
   24     270.                 Ian Freckleton, Death by       FRE 401,
                               Homeopathy, (2012) 19          402, 403,
   25                          JLM 454                        602, 901,
   26                                                         801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     271.                 House of Common, Science       FRE 401,
                               and Technology Committee,      402, 403,
    5                          Evidence Check 2:              602, 901,
    6                          Homeopathy                     801, 802

    7     272.                 Proposals by the NHRA          FRE 401,
    8                                                         402, 403,
                                                              602, 901,
    9                                                         801, 802
   10     273.                 David Sholl, Swiss Medical     FRE 401,
                               Weekly Article (2012)          402, 403,
   11                                                         602, 901,
   12                                                         801, 802
          274.                 Ding H-m and Ma Y-q            FRE 401,
   13                          (2014) Theoretical and         402, 403,
   14                          computational                  602, 901,
                               investigations of              801, 802
   15                          nanoparticle-biomembrane
   16                          interactions in cellular
                               delivery
   17
   18     275.                 Caltagirone, Bettoschi A,      FRE 401,
                               Garau A and Montis R           402, 403,
   19                          (2014) Silica-based            602, 901,
   20                          nanoparticles: a versatile     801, 802
                               tool
   21                          for the development of
   22                          efficient imaging agents.

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     276.                 Skrastina D, Petrovskis I,     FRE 401,
                               Lieknina I, Bogans J,          402, 403,
    5                          Renhofa R, Ose V, Dishlers     602, 901,
    6                          A, Dekhtyar Y and              801, 802
                               Pumpens P (2014) Silica
    7                          nanoparticles as the
    8                          adjuvant for the
                               immunization of mice using
    9                          hepatitis
   10                          B core virus-like particles.

   11     277.                 Hartwell BL, Antunez L,        FRE 401,
   12                          Sullivan BP, Thati S,          402, 403,
                               Sestack J and Berkland C       602, 901,
   13                          (2014) Multivalent             801, 802
   14                          nanomaterials: Learning
                               from vaccines and
   15                          progressing to antigen-
   16                          specific immunotherapies

   17     278.                 Anick D (2004) High            FRE 401,
   18                          sensitivity 1H-NMR             402, 403,
                               spectroscopy of                602, 901,
   19                          homeopathic remedies made      801, 802
   20                          in water. BMC
                               Complementary and
   21                          Alternative Medicine 4:15
   22
          279.                 Aabel S, Fossheim S and        FRE 401,
   23                          Rise F (2001) Nuclear          402, 403,
   24                          magnetic resonance (NMR)       602, 901,
                               studies of homeopathic         801, 802
   25                          solutions. British
   26                          Homeopathic Journal 90:14-
                               20
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     280.                 Chirumbolo S (2011)            FRE 401,
                               Molecules and nanoparticles    402, 403,
    5                          in extreme homeopathic         602, 901,
    6                          dilutions: is Avogadro’s       801, 802
                               Constant a dogma?
    7                          Homeopathy 100:107-108
    8
          281.                 Emanuel EJ, Wendler D and      FRE 401,
    9                          Grady C (2000) What            402, 403,
   10                          makes clinical research        602, 901,
                               ethical? JAMA                  801, 802
   11                          283(20):2701-2711
   12
          282.                 Moher D, Hopewell S,           FRE 401,
   13                          Schulz KF, Montori V,          402, 403,
   14                          Gotzsche P, Devereaux PJ,      602, 901,
                               Elbourne D, Egger M and        801, 802
   15                          Altman DG (2010)
   16                          CONSORT 2010
                               Explanation and
   17                          Elaboration: updated
   18                          guidelines for reporting
                               parallel group randomized
   19                          trials
   20
          283.                 Merrell WC and Shalts E        FRE 401,
   21                          (2002) Homeopathy.             402, 403,
   22                          Complementary and              602, 901,
                               Alternative Medicine           801, 802
   23                          86(1):47-
   24                          62

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     284.                 Chaplin MF (2007) The          FRE 401,
                               memory of water: an            402, 403,
    5                          overview. Homeopathy           602, 901,
    6                          96:143-150                     801, 802

    7     285.                 DeAngelis C, Drazen JM,        FRE 401,
    8                          Frizelle FA, Haug C, Hoey      402, 403,
                               J, Horton R, Kotzin S, Laine   602, 901,
    9                          C, Marusic A, Overbeke A       801, 802
   10                          John PM, Schroeder TV,
                               Sox HC and Van Der
   11                          Weyden MB (2004) Clinical
   12                          Trial
                               Registration: A Statement
   13                          from the International
   14                          Committee of Medical
                               Journals Editors. New Engl
   15                          J Med 351(12):1250
   16
          286.                 Jones CW, Handler L,           FRE 401,
   17                          Crowell KE, Keil LG,           402, 403,
   18                          Weaver MA, and Platts-         602, 901,
                               Mills TF (2013)                801, 802
   19                          Nonpublication
   20                          of large randomized clinical
                               trials: cross sectional
   21                          analysis. BMJ 347:f6104
   22
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     287.                 Spurling GKP, Del Mar CB,       FRE 401,
                               Dooley L, Foxlee R and          402, 403,
    5                          Farley R (2013) Delayed         602, 901,
    6                          antibiotics for respiratory     801, 802
                               infections (Review). The
    7                          Cochrane Collaboration.
    8                          Pub. by John Wiley & Sons,
                               Ltd., The
    9                          Cochrane Library
   10
          288.                 Gunther TA, Rucker ME,          FRE 401,
   11                          Anges G and Kern WV             402, 403,
   12                          (2013) Pelargonium              602, 901,
                               sidoides extract for treating   801, 802
   13                          acute respiratory tract
   14                          infections (Review). The
                               Cochrane Collaboration.
   15                          Pub. by John Wiley &
   16                          Sons, Ltd., The Cochrane
                               Library
   17
   18     289.                 Peckham EJ, Nelson EA,          FRE 401,
                               Greenhalgh J, Cooper K,         402, 403,
   19                          Roberts ER and Agrawal A        602, 901,
   20                          (2013) Homeopathy for           801, 802
                               treatment of irritable bowel
   21                          syndrome (Review). The
   22                          Cochrane Collaboration.
                               Pub. by John
   23                          Wiley & Sons, Ltd., The
   24                          Cochrane Library

   25     290.                 CV Robert Lee                   FRE 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     291.                 Robert Lee Rebuttal Expert     FRE 403,
                               Report                         602, 701,
    5                                                         901(a), 801,
    6                                                         802
          292.                 Robert Lee Supplemental        FRE 403,
    7                          Expert Report                  602, 701,
    8                                                         901(a), 801,
                                                              802
    9     293.                 Hyland’s website:              FRE 401,
   10                          http://hylands.com/            402
                               Products/hylands-4-kids-
   11                          cold-‘n-cough
   12
          294.                 Documents Bates Stamped        FRE 401,
   13                          SHCALLEN024925-                402, 601,
   14                          SHCALLEN063736 –               701, 901(a),
                               (Reports of a pilot study to   801, 802
   15                          assess the effectiveness of
   16                          Hyland’s Cold’n’Cough 4
                               Kids (“The Pilot Study”)
   17                          and “Cold’n’Cough for
   18                          Kids Randomized
                               Controlled Trial”
   19
   20     295.                 Cold’n’Cough 4 Kids Pilot      FRE 401,
                               Study- Summary of the Pilot    402, 601,
   21                          Study (Bates Stamped-          701, 901(a),
   22                          SHCALLEN02980-                 801, 802
                               SHCALLEN029107)
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     296.                 Dr. Bell’s presentation on     FRE 401,
                               “Nanoparticles and             402, 403,
    5                          Homeopathic Medicines:         602, 901,
    6                          Overview”                      801, 802
                               (Bates Stamped-
    7                          SHCALLEN032469-
    8                          SHCALLEN032514)

    9     297.                 “Cold’n’Cough for Kids         FRE 401,
   10                          Randomized Controlled          402, 601,
                               Trial” Study Summary of        701, 901(a),
   11                          June 1, 2014 (Bates            801, 802
   12                          Stamped
                               SHCALLEN063694-
   13                          SHCALLEN063708)
   14
          298.                 “Biostatistics in Clinical     FRE 401,
   15                          Trials,” Ed. Carol Redmond     402, 403,
   16                          and Theodore Colton, 2001,     602, 901,
                               John Wiley & Sons, ISBN        801, 802
   17                          0-471-82211-6, page 125
   18
          299.                 http://www.lung.org/lung-      FRE 401,
   19                          disease/influenza/in-depth-    402, 403,
   20                          resources/facts-about-the-     602, 901,
                               common-cold.html               801, 802
   21
   22     300.                 “Guideline on adjustment       FRE 401,
                               for baseline covariates in     402, 403,
   23                          clinical trials” European      602, 901,
   24                          Medicine Agency,               801, 802
                               Committee for Medical
   25                          Products for Human Use
   26                          (CHMP), Feb, 2015

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     301.                 Third Amended Complaint

    5     302.                 January 15, 2015 Statistical
    6                          Analyses for Standard
                               Homeopathic Company
    7                          SHCALLEN0063737-
    8                          0063766
          303.                 Deposition Transcript of       FRE 401,
    9                          James A. Taylor, M.D.          402, 403,
   10                          01/21/14                       602, 701,
                               SHCALLEN0064183-               901(a), 801,
   11                          0064341                        802
   12     304.                 Deposition Transcript of       FRE 401,
                               James A. Taylor, M.D.          402, 403,
   13                          06/19/14                       602, 701,
   14                          SHCALLEN0064342-               901(a), 801,
                               0064526                        802
   15     305.                 Research Agreement             FRE 401,
   16                          between Standard               402, 602,
                               Homeopathic Company and        701, 901(a),
   17                          the                            801,802
   18                          University of Washington
                               [Depo. James A. Taylor,
   19                          M.D. (1/21/14)- Exhibit 1]
   20     306.                 Summary of study [Depo.        FRE 401,
                               James A. Taylor, M.D.          402, 602,
   21                          (1/21/14)- Exhibit 2]          701, 901(a),
   22                                                         801,802
          307.                 Cold 'n Cough 4 Kids Pilot     FRE 401,
   23                          Study –Summary [Depo.          402, 602,
   24                          James A. Taylor, M.D.          701, 901(a),
                               (1/21/14)- Exhibit 3]          801,802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     308.                 E-mail chain, the most         FRE 401,
                               recent dated July 20, 2013,    402, 602,
    5                          to Stephanie Stroup from       701, 901(a),
    6                          Iris Bell, re: Fwd: Cold 'n    801,802
                               Cough proposal for kids –
    7                          some discussion [Depo.
    8                          James A. Taylor, M.D.
                               (1/21/14)- Exhibit 4]
    9     309.                 Homeopathic Cold Remedy        FRE 401,
   10                          Study, Patient Symptoms at     402, 602,
                               Study Entry Form [Depo.        701, 901(a),
   11                          James A. Taylor, M.D.          801,802
   12                          (1/21/14)- Exhibit 5]
          310.                 E-mail chain, the most         FRE 401,
   13                          recent dated July 10, 2013,    402, 602,
   14                          to Stephanie Stroup from       701, 901(a),
                               Iris Bell, MD, PhD, re: Fwd:   801,802
   15                          Cold 'n Cough for Kids
   16                          research [Depo. James A.
                               Taylor, M.D. (1/21/14)-
   17                          Exhibit 6]
   18     311.                 Cold 'n Cough 4 Kids label     FRE 401,
                               and page from Hyland's         402, 602,
   19                          website [Depo. James A.        701, 901(a),
   20                          Taylor, M.D. (1/21/14)-        801,802
                               Exhibit 7]
   21     312.                 E-mail chain, the most         FRE 401,
   22                          recent dated July 19, 2013,    402, 602,
                               to Stephanie Stroup from       701, 901(a),
   23                          Iris Bell, MD, PhD, re: Fwd:   801,802
   24                          Cold 'n Cough symptom
                               data [Depo. James A.
   25                          Taylor, M.D. (1/21/14)-
   26                          Exhibit 8]

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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     313.                 E-mail chain, the most          FRE 401,
                               recent dated July 19, 2013,     402, 602,
    5                          to Stephanie Stroup from        701, 901(a),
    6                          Iris Bell, MD, PhD, re: Fwd:    801,802
                               Cold remedy RCT [Depo.
    7                          James A. Taylor, M.D.
    8                          (1/21/14)- Exhibit 9]
          314.                 Research Agreement              FRE 401,
    9                          between Standard                402, 602,
   10                          Homeopathic Company and         701, 901(a),
                               the                             801,802
   11                          University of Washington
   12                           [Depo. James A. Taylor,
                               M.D. (1/21/14)- Exhibit 10]
   13     315.                 Study proposal:                 FRE 401,
   14                          Randomized controlled trial     402, 602,
                               of Hyland's Cold 'n Cough 4     701, 901(a),
   15                          Kids in children 2-5 years      801,802
   16                          old [Depo. James A. Taylor,
                               M.D. (1/21/14)- Exhibit 11]
   17     316.                 E-mail dated June 30, 2011,     FRE 401,
   18                          to J.P. Borneman from Jim       402, 602,
                               Taylor, re: Interim report on   701, 901(a),
   19                          Cold 'n Cough RCT [Depo.        801,802
   20                          James A. Taylor, M.D.
                               (1/21/14)- Exhibit 12]
   21     317.                 E-mail chain, the most          FRE 401,
   22                          recent dated July 19, 2013,     402, 602,
                               to Stephanie Stroup             701, 901(a),
   23                          from Iris Bell, MD, PhD, re:    801,802
   24                          Fwd: Some further ideas on
                               your interim report
   25                           [Depo. James A. Taylor,
   26                          M.D. (1/21/14)- Exhibit 13]

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     318.                 Document titled Updates        FRE 401,
                               and thoughts on Hyland's       402, 602,
    5                          projects [Depo. James A.       701, 901(a),
    6                          Taylor, M.D. (1/21/14)-        801,802
                               Exhibit 14]
    7     319.                 Page from                      FRE 401,
    8                          ClinicalTrials.gov website     402, 602,
                               titled Homeopathic Cold        701, 901(a),
    9                          Remedy for Children Study      801,802
   10                          [Depo. James A. Taylor,
                               M.D. (1/21/14)- Exhibit 15]
   11     320.                 Los Angeles Times article      FRE 401,
   12                          titled The Healthy Skeptic:    402, 602,
                               Homeopathic cold remedies,     701, 901(a),
   13                          dated December 6, 2010         801,802
   14                          [Depo. James A. Taylor,
                               M.D. (1/21/14)- Exhibit 16]
   15     321.                 Document titled Literature     FRE 401,
   16                          review on the safety and       402, 602,
                               efficacy of homeopathic        701, 901(a),
   17                          remedies for URIs in           801,802
   18                          children [Depo. James A.
                               Taylor, M.D. (1/21/14)-
   19                          Exhibit 17]
   20     322.                 Email string beginning July    FRE 401,
                               19, 2013, [Depo. James A.      402, 602,
   21                          Taylor, M.D. (6/19/14)-        701, 901(a),
   22                          Exhibit 155]                   801,802

   23     323.                 Email string beginning         FRE 401,
   24                          April 2, 2014 [Depo. James     402, 602,
                               A. Taylor, M.D. (6/19/14)-     701, 901(a),
   25                          Exhibit 156]                   801,802
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     324.                 Email string beginning June     FRE 401,
                               1, 2014                         402, 602,
    5                           [Depo. James A. Taylor,        701, 901(a),
    6                          M.D. (6/19/14)- Exhibit         801,802
                               157]
    7     325.                 Cold 'n' Cough for Kids         FRE 401,
    8                          Randomized Controlled           402, 602,
                               Trial Study Summary             701, 901(a),
    9                           [Depo. James A. Taylor,        801,802
   10                          M.D. (6/19/14)- Exhibit
                               158]
   11     326.                 Email string beginning June     FRE 401,
   12                          1, 2014                         402, 602,
                                [Depo. James A. Taylor,        701, 901(a),
   13                          M.D. (6/19/14)- Exhibit         801,802
   14                          159]
          327.                 Email string beginning June     FRE 401,
   15                          1, 2014 [Depo. James A.         402, 602,
   16                          Taylor, M.D. (6/19/14)-         701, 901(a),
                               Exhibit 160]                    801,802
   17     328.                 FDA Warning Letter Sent to      FRE 401,
   18                          M. Phillips, President of       402, 403,
                               Standard Homeopathic. RE:       602, 901,
   19             ALLEN 1      Inspection of facility in Los   801, 802
   20             - 4          Angeles. Misbranding of
                               drugs/ inadequate
   21                          procedures for
   22                          strength/quality.
          329.                 Chain Drug Review. News         FRE 401,
   23             ALLEN 5      Story. “Appeal of natural       402, 403,
   24             - 6          remedies on the rise.”          602, 901,
                                                               801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     330.             FDA. “Conditions Under             FRE 401,
                           Which Homeopathic Drugs            402, 403,
    5             ALLEN 7
                           May be Marketed.” History          602, 901,
                  - 10
    6                      of homeopathy/ guidelines          801, 802
                           for labeling.
    7     331.             Chain Drug Review. News            FRE 401,
    8                      Story. “Consumers seek             402, 403,
                  ALLEN 11
                           natural health care                602, 901,
    9             - 12
                           alternatives.” Talks about         801, 802
   10                      Hylands.
          332.             Email from Daniele.                FRE 401,
   11                      Heavily redacted. Question         402, 403,
                  ALLEN 13
   12                      about calculating payment          602, 901,
                  - 13
                           splits. Teething Tablets,          801, 802
   13                      Clearac, Poison Ivy/ Oak.
   14     333.             FDA. Online Label                  FRE 401,
                  ALLEN 14 Repository.                        402, 403,
   15             - 15                                        602, 901,
   16                                                         801, 802
          334.             An Introduction to                 FRE 401,
   17             ALLEN 16 Homeopathic Remedies.              402, 403,
   18             - 18     News Article                       602, 901,
                                                              801, 802
   19     335.    ALLEN 19 Packaging for Hyland’s
   20             - 20     Cough Remedy.
          336.             PR Newswire. “Hylands              FRE 401,
   21             ALLEN 21 Reports More Consumers             402, 403,
   22             - 22     Turn to Homeopathic                602, 901,
                           Medicines to Fight Illness”        801, 802
   23     337.             Chain Drug Review. News            FRE 401,
   24             ALLEN 23 Story. “Hyland’s offers            402, 403,
                  - 25     ‘natural remedies that             602, 901,
   25                      work’”                             801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     338.             Chain Drug Review. News          FRE 401,
                  ALLEN 26 Story. “Hyland’s takes           402, 403,
    5             - 28     natural approach to              602, 901,
    6                      healthcare”                      801, 802
          339.             Chain Drug Review. News          FRE 401,
    7             ALLEN 29 Story. “Knowing the              402, 403,
    8             - 30     Consumer is Crucial”             602, 901,
                                                            801, 802
    9     340.                 FDA webpage. “How can an FRE 401,
   10             ALLEN 31     ad violate the law?”         402, 403,
                  - 33         Warning Letters Search       602, 901,
   11                          Results.                     801, 802
   12     341.                 Hyland’s Webpage. Lists      FRE 401,
                               different Hyland’s products 402
   13             ALLEN 34
                               for certain customers. Gives
                  - 35
   14                          a description about
                               homeopathy.
   15     342.    ALLEN 36     Images of Calms Forte
   16             - 36         Packaging.
          343.                 Images of Teething Tablets
   17             ALLEN 37
                               Packaging.
   18     344.                 Images of Migraine
                  ALLEN 38
                               Headache Relief Packaging.
   19     345.                 Images of Colic Tablets
                  ALLEN 41
   20                          Packaging.
          346.                 Images of Leg Cramps
   21             ALLEN 43
                               Packaging.
   22     347.                 Images of defend Cold and
                  ALLEN 44
                               Cough Night Packaging.
   23     348.                 Images of Defend Cough
                  ALLEN 45
   24                          and Cold Packaging.
          349.                 Image of flat Hylands
   25             ALLEN 46
                               Cough packaging.
   26     350.                 Images of Seasonal Allergy
                  ALLEN 47
                               Relief packaging.
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
    4     351.                 Media Monitoring.               FRE 401,
                               Nutraceuticals World. Press     402, 403,
    5             ALLEN 48
                               release about Hylands           602, 901,
    6                          Restless Legs tablets.          801, 802
          352.                 Swiss Medical Weekly.           FRE 401,
    7                          “The Swiss Report on
                               homeopathy: a case study of     402, 403,
    8                          research misconduct.” U. of     602, 901,
                               Glasgow, UK. Into.              801, 802
    9                          -Says that the English
                               study’s authors had conflicts
   10                          of interests.
                               -Criticizes the research
   11                          method because they did not
                  ALLEN 49     include any type of online
   12             - 52         research. This suggests that
                               they are not peer reviewed
   13                          and out-of-date.
                               -It is suspect to conclude
   14                          that homeopathy is safe
                               when no review was
   15                          conducted.
                               -Conclusion- overall
   16                          research strategy was
                               unusual.
   17                          Chain Drug Review. “Very
          353.                                                 FRE 401,
   18                          Much a Growth Category.”
                  ALLEN 53     Discussion of how many          402, 403,
                  - 55         Americans are turning to        602, 901,
   19                          homeopathic drugs.              801, 802
   20     354.    ALLEN 56     Full page photographs of
                  - 57         Calms Forte Sleep Tablets.
   21     355.                 Library of House of
                               Commons. “Homeopathy
   22             ALLEN 58     and consolidation of UK
                  - 62         medicines legislation.”
   23                          Concerns about
                               homeopathic concerns.
   24     356.    ALLEN 63     FDA. “Inspections,
                  - 64         Compliance, Enforcement,
   25                          and Criminal Investigations.
          357.    ALLEN 65     FDA. “Inspections,
   26             - 69         Compliance, Enforcement,
                               and Criminal Investigations.
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          358.             Hylands Newsletter.                FRE 401,
    4                      “Regulation of homeopathic
                  ALLEN 70 drug products” Talks about         402, 602,
    5             - 75     how congress amended the           901, 801,
                           Dietary Supplement Health          802
    6                      and Education Act.
          359.             House of Commons Science           FRE 401,
    7                      and Technology Committee.
                  ALLEN 76 “Evidence Check 2:                 402, 403,
    8             - 126    Homeopathy.”                       602, 901,
    9                                                         801, 802
          360.                 Formal Minutes on              FRE 401,
   10                          “Evidence Check 2:
                  ALLEN        Homeopathy.”                   402, 403,
                  127 - 132                                   602, 901,
   11
                                                              801, 802
   12     361.                 List of Reports from the       FRE 401,
                               Committee during the
   13             ALLEN        current parliament.            402, 403,
                  133 - 134                                   602, 901,
   14                                                         801, 802
          362.                 “Oral Evidence Taken           FRE 401,
   15                          before the Science and
                  ALLEN        Technology Committee..”        402, 403,
   16             135 - 162    Memo submitted by Royal        602, 901,
                               Pharmaceutical Society.        801, 802
   17
          363.                 Table 1. “Oral Evidence        FRE 401,
   18                          Taken before the Science
                  ALLEN        and Technology                 402, 403,
   19             163 - 164    Committee..” Memo              602, 901,
                               submitted by Royal             801, 802
   20                          Pharmaceutical Society.
          364.                 Table 2. “Oral Evidence        FRE 401,
   21                          Taken before the Science
                  ALLEN        and Technology                 402, 403,
   22             165 - 166    Committee..” Memo              602, 901,
                               submitted by Royal             801, 802
   23                          Pharmaceutical Society.
          365.                 Table 3. “Oral Evidence        FRE 401,
   24                          Taken before the Science
                  ALLEN        and Technology                 402, 403,
   25             167 - 187    Committee..” Memo              602, 901,
                               submitted by Royal             801, 802
   26                          Pharmaceutical Society.
   27
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          366.                 Table 1 “Published RCTs        FRE 401,
    4                          with Positive Findings,
                  ALLEN        potency….”                     402, 403,
    5             188 - 193                                   602, 901,
    6                                                         801, 802
          367.                 Science and Technology         FRE 401,
    7                          Committee: Evidence.
                  ALLEN        “Memo submitted by the         402, 403,
    8             194 - 210    Department of Health.”         602, 901,
                               Describes government           801, 802
    9                          regulation of Homeopathy.
          368.                 Science and Technology         FRE 401,
   10                          Committee: Evidence
                               Licensing chart. Science and   402, 403,
                  ALLEN        Technology Committee:          602, 901,
   11             211 - 223    Evidence. “Memo submitted      801, 802
   12                          by the Department of
                               Health.”
   13     369.                 Science and Technology         FRE 401,
                               Committee: Evidence
                  ALLEN        “Supplementary memo            402, 403,
   14             224 - 224    submitted by the Medicines     602, 901,
   15                          and Healthcare Products        801, 802
                               Regulatory Agency.”
   16     370.                 Science and Technology         FRE 401,
                               Committee: Evidence.
                  ALLEN        “Memo submitted by the         402, 403,
   17             225 - 226    Dental Practitioners           602, 901,
   18                          Association.”                  801, 802
          371.                 Science and Technology         FRE 401,
   19                          Committee: Evidence.
                  ALLEN        “Memo submitted by John        402, 403,
   20             227 - 227    Boulderstone.”                 602, 901,
                                                              801, 802
   21                          Science and Technology
          372.                                                FRE 401,
                               Committee: Evidence.
   22             ALLEN        “Memo submitted by Dr.         402, 403,
                  228 - 233    Lionel Milgrom.”               602, 901,
   23
                                                              801, 802
   24     373.                 Science and Technology         FRE 401,
                               Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
   25             234 - 234    Katherine Boulderstone.”       602, 901,
   26                                                         801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          374.                 Science and Technology         FRE 401,
    4                          Committee: Evidence.
                  ALLEN        “Memo submitted by John        402, 403,
    5             235 - 226    C. Mclaclan.”                  602, 901,
    6                                                         801, 802
          375.                 Science and Technology         FRE 401,
    7                          Committee: Evidence.
                  ALLEN        “Memo submitted by the         402, 403,
                  237 - 243    UK advisory committee.”        602, 901,
    8
                                                              801, 802
    9     376.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   10             ALLEN        “Memo submitted by the         402, 403,
                  244 - 252    Northern Ireland               602, 901,
   11                          Association of                 801, 802
                               Homeopaths.”
   12     377.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   13             ALLEN        “Memos submitted by Jean       402, 403,
                  253 - 259    Kinchen, Harald Walsch         602, 901,
   14                          and George Lewith.”            801, 802
          378.                 Science and Technology         FRE 401,
   15                          Committee: Evidence.
                  ALLEN        “Memo submitted by the         402, 403,
   16             260 - 263    Leeds Institute.”              602, 901,
   17                                                         801, 802
          379.                 Science and Technology         FRE 401,
   18                          Committee: Evidence.
                  ALLEN        “Memo submitted by the         402, 403,
                  264 - 264    European Committe for          602, 901,
   19
                               Homeopathic Medicine.”         801, 802
   20     380.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   21             ALLEN        “Memo submitted by             402, 403,
                  265 - 265    Vincent Marks.”                602, 901,
   22                                                         801, 802
   23     381.                 Science and Technology         FRE 401,
                               Committee: Evidence.
                  ALLEN        “Memo submitted by Jean        402, 403,
   24             266 - 268    Moro and Peter Julu.”          602, 901,
   25                                                         801, 802
          382.                 Science and Technology         FRE 401,
   26                          Committee: Evidence.
                  ALLEN        “Memo submitted by Sara        402, 403,
   27             269 - 271    Eames.”                        602, 901,
                                                              801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          383.                 Science and Technology         FRE 401,
    4                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
    5             272 - 276    Society of Homeopaths.”        602, 901,
    6                                                         801, 802
          384.                 Science and Technology         FRE 401,
    7                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
                  277 - 281    Society of Homeopaths.”        602, 901,
    8
                                                              801, 802
    9     385.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   10             ALLEN        “Memos submitted by            402, 403,
                  282 - 284    Francis Treuherz and           602, 901,
   11                          Homeopathy Research            801, 802
                               institute.”
   12     386.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   13             ALLEN        “Memo submitted by             402, 403,
                  285 - 288    Alliance Registered            602, 901,
   14                          Homeopaths.”                   801, 802
          387.                 Science and Technology         FRE 401,
   15                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
   16             289 - 291    Arthritis Research             602, 901,
                               Campaign.”                     801, 802
   17
          388.                 Science and Technology         FRE 401,
   18                          Committee: Evidence.
                  ALLEN        “Memo submitted by Dr.         402, 403,
                  292 - 293    Hough J. Nielson.”             602, 901,
   19
                                                              801, 802
   20     389.                 Science and Technology         FRE 401,
                               Committee: Evidence.
   21             ALLEN        “Memo submitted by Liga        402, 403,
                  294 - 295    Medicorum Homeopathica         602, 901,
   22                          Internationals.”               801, 802
   23     390.                 Science and Technology         FRE 401,
                               Committee: Evidence.
                  ALLEN        “Memo submitted by Clare       402, 403,
   24             296 - 299    Relton.”                       602, 901,
   25                                                         801, 802
          391.                 Science and Technology         FRE 401,
   26                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
   27             300 - 306    Homeopathy: Medicine for       602, 901,
                               the 21st Century.”             801, 802
   28
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          392.                 Science and Technology          FRE 401,
    4                          Committee: Evidence.
                  ALLEN        “Memo submitted by              402, 403,
    5             307 - 313    European Central Council of     602, 901,
                               Homeopaths.”                    801, 802
    6
          393.                 Science and Technology          FRE 401,
    7                          Committee: Evidence.
                  ALLEN        “Memo submitted by              402, 403,
    8             314 - 316    Science Council, Jackie         602, 901,
                               Rowe, Advertising               801, 802
    9                          Standards Authority.”
          394.                 Science and Technology          FRE 401,
   10                          Committee: Evidence.
                  ALLEN        “Memo submitted by              402, 403,
                  317 - 319    Advertising Standards           602, 901,
   11                          Authority.”                     801, 802
   12     395.                 Science and Technology          FRE 401,
                               Committee: Evidence.
   13             ALLEN        “Memo submitted by              402, 403,
                  320 - 322    National Institute for Health   602, 901,
   14                          and Clinical Excellence.”       801, 802
          396.                 Science and Technology          FRE 401,
   15                          Committee: Evidence.
                  ALLEN        “Memo submitted by D.           402, 403,
   16             323 - 323    Tredinnick”                     602, 901,
   17                                                          801, 802
          397.                 Science and Technology          FRE 401,
   18                          Committee: Evidence.
                  ALLEN        “Memo submitted by Irish        402, 403,
                  324 - 324    Health Trade Association.”      602, 901,
   19
                                                               801, 802
   20     398.                 Science and Technology          FRE 401,
                               Committee: Evidence.
   21             ALLEN        “Memo submitted by Maria        402, 403,
                  325 - 325    Jevties.”                       602, 901,
   22                                                          801, 802
   23     399.                 Science and Technology          FRE 401,
                               Committee: Evidence.
                  ALLEN        “Memo submitted by Mary         402, 403,
   24             326 - 326    English / Sue Young”            602, 901,
   25                                                          801, 802
          400.                 Science and Technology          FRE 401,
   26                          Committee: Evidence.
                  ALLEN        “Memo submitted by J.A.         402, 403,
   27             327 - 327    Wheatley, Hugh Evans.”          602, 901,
                                                               801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          401.                 Science and Technology         FRE 401,
    4                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
    5             328 - 328    Bristish Medical               602, 901,
                               Association” / “Vijay          801, 802
    6                          Vishmav.”
          402.                 Science and Technology         FRE 401,
    7                          Committee: Evidence.
                  ALLEN        “Memo submitted by             402, 403,
    8             329 - 329    Government on ‘Evidence        602, 901,
                               Check.’”                       801, 802
    9
          403.                 Science and Technology         FRE 401,
   10                          Committee: Evidence. Table
                  ALLEN        1. “Current PSPEs              402, 403,
                  337 - 337    Affiliated to Government       602, 901,
   11                          Departments.”                  801, 802
   12     404.                 Science and Technology         FRE 401,
                               Committee: Table 2.
   13             ALLEN        “Current PSRE’s Affiliated     402, 403,
                  338 - 338    to Research Councils.”         602, 901,
   14                                                         801, 802
          405.                 Science and Technology         FRE 401,
   15                          Committee: Table 3-
                  ALLEN        “PSREs Privatised.” Table      402, 403,
   16             339 - 340    4- “PSREs Privatized in        602, 901,
                               part.”                         801, 802
   17
          406.                 Science and Technology         FRE 401,
   18                          Committee: Table 5.
                  ALLEN        “PSREs Established as          402, 403,
                  341 - 341    Companies Limited by           602, 901,
   19
                               Guarantee.”                    801, 802
   20     407.                 Science and Technology         FRE 401,
                               Committee: Table 6.
   21             ALLEN        “PSREs Transferred to          402, 403,
                  342 - 342    Universities.”                 602, 901,
   22                                                         801, 802
   23     408.                 Science and Technology         FRE 401,
                               Committee: Table 7.
                  ALLEN                                       402, 403,
   24             343 - 350                                   602, 901,
   25                                                         801, 802
          409.                 Material Safety Data Sheet.    FRE 401,
   26                          Sodium Benzoate.
                  ALLEN                                       402, 403,
   27             351 - 356                                   602, 901,
                                                              801, 802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          410.                 USP web page.                 FRE 401,
    4
                  ALLEN                                      402, 403,
    5             357 - 358                                  602, 901,
    6                                                        801, 802
          411.                 Consumerreports.org.          FRE 401,
    7                          “Homeopathic Remedies
                  ALLEN        Can Cause Confusion.”         402, 403,
                  359 - 359                                  602, 901,
    8
                                                             801, 802
    9     412.                 Advertisement. “Hylands       FRE 401,
                               Defend Keeps Action Moms
   10             ALLEN        everywhere cold symptom       402
                  360 - 361    free.” Defend Sinus, Defend
   11                          Cold and Cough, Defend
                               Cold and Cough Night.
   12     413.                 Advertisement. “Hylands       FRE 401,
                               Heroes. Making of Action
   13             ALLEN        Mom.” Defend Sinus,           402
                  362 - 362    Defend Cold and Cough,
   14                          Defend Cold and Cough
                               Night.
   15     414.                 2012 Consumer Marketing. FRE 401,
                               Baby 4/ Kids. Advertising
   16             ALLEN        campaigns broken down by 402, 602,
                  363 - 363    each quarter.                 901, 801,
   17                                                        802
          415.                 2012 Consumer Marketing. FRE 401,
   18                          Adults. Advertising
                  ALLEN        campaigns broken down by 402, 602,
   19             364 - 364    each quarter.                 901, 801,
   20                                                        802
          416.    ALLEN        Advertisement. “Pointers for FRE 401,
   21             365 - 366    Parents/ Teething Tips.”
                               Teething Tablets.             402
   22     417.                 Spins Data. Current/ Prior    FRE 401,
                               sales data. Hylands listed on
                  ALLEN        second entry.                 402, 602,
   23             367 - 369                                  901, 801,
   24                                                        802
          418.                 Spins data. Homeopathic       FRE 401,
   25                          medicines by week.
                  ALLEN                                      402, 602,
   26             370 - 433                                  901, 801,
                                                             802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          419.                 Spins data. Natural Product FRE 401,
    4                          Supermarkets. Broken down
                  ALLEN        by week.                    402, 602,
    5             434 - 482                                901, 801,
    6                                                      802
          420.                 Spins data. Brand position/ FRE 401,
    7                          Gluten-Free/ Alt
                  ALLEN        Sweeteners/ Company/        402, 602,
                  483 - 678    Uses.                       901, 801,
    8
                                                           802
    9     421.                 Spins data. Total US-       FRE 401,
                               Natural Channel. Broken
   10             ALLEN        down by week.               402, 602,
                  679 - 696                                901, 801,
   11                                                      802
          422.                 Spins data. Total US-       FRE 401,
   12                          Natural Channel. 52 weeks.
                  ALLEN                                    402, 602,
   13             697 - 745                                901, 801,
   14                                                      802
          423.                 Hylands Advertisement.      FRE 401,
   15             ALLEN        “What is homeopathy?”
                               Gives overview of           402
                  746 - 992    homeopathy and info about
   16
                               Hylands.
   17     424.    ALLEN
                  993 - 993
   18     425.                 Natural Marketing Institute.   FRE 401,
                               “The Interconnectedness of
                               Personal and Planetary         402, 602,
   19             ALLEN
                  994 -        Health.” Lohas Forum.          901, 801,
   20             1019         Talks about the marketplace    802
                               for consumers who care
   21                          about the earth and natural
                               products.
   22     426.                 Sales Agreement between        FRE 401,
                  ALLEN        Presley PR and Marketing,
                  1020 -       LLC. And Hylands. $5000        402, 602,
   23
                  1022         total.                         901, 801,
   24                                                         802
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    1   No. of                          Description            Objection      Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          427.                 Press release. “Hylands leg     FRE 401,
    4                          cramps helps legendary race
                               drive Morgan Shepard            402, 602,
    5             ALLEN        prepare for Daytona.” Also      901, 801,
                  1025 -       talks about Teething tablets,   802
    6             1028         baby teething gel, baby
                               cough syrup, tiny Cold
    7                          Tablets, Defend products
                               and Active products.
    8     428.                 Advertisement. “What is         FRE 401,
                  ALLEN        homeopathy.” Talks about
    9             1029 -       the history and process         402, 602,
                  1030         along with Hylands              901, 801,
   10                          products and ingredients.       802
   11     429.                 Advertisement. “Hyland’s        FRE 401,
                  ALLEN        Inc. A family business”
                  1031 -                                       402, 602,
   12                                                          901, 801,
                  1032
   13                                                          802
          430.                 “Key Personnel
   14                          biographies.” John
                               Brneman, CEO. Iris Bell,
   15                          Medical Director and
                               Director of Scientific
   16                          Affairs. Thao Le, VP of
                  ALLEN        Marketing. Amy Fox, VP of
   17             1033 -       Innovation. Rich Walton,
                  1035         VP of Manufacturing
   18                          Facilities and Engineering.
                               John Ford, Technical
   19                          Dirctor of Wild Child. Mary
                               Borneman, Director of
   20                          Corporate Communications
                               and Public Affairs.
   21     431.                 Advertisement. “Healthy         FRE 401,
                  ALLEN        Lifestyle Tips. Natural
   22                          Remedies for and Active         402
                  1036 -       Lifestyle.” Muscle Therapy
                  1038         Gel with Arnica, Leg
   23
                               Cramps, Leg Cramps PM.
   24     432.                 Retail. “Hyland’s Defend        FRE 401,
                  ALLEN        Shelf Liner” Defend cough
   25             1039 -       and cold, Sinus, Cold and       402
                               Cough Night.
   26
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          433.                 “Marketing Plan 2012-2013      FRE 401,
    4             ALLEN        for Defend.”
                  1040 -       -Moms: Our Core                402, 602,
    5             1051         Consumers.                     901, 801,
    6                                                         802
          434.    ALLEN        Advertisement. “Celebrate      FRE 401,
    7             1094 -       your action Mom!”
                  1094                                        402
    8     435.    ALLEN        Advertisement. “Hyland’s       FRE 401,
                  1096 -       Insider: Trusted by Moms”
                               Information about              402
    9             1100         homeopathy.
   10     436.                 Advertisement. “Natural    FRE 401,
                               Remedies for an Active
                  ALLEN        Lifestyle.” Arnica Leg     402
   11
                  1101 -       cramps, Arnica Gel,
   12             1103         Bioplasma Sport.
                               Information on homeopathy.
   13
          437.                 Invoice from Fresh Ideas       FRE 401,
   14             ALLEN        Group. Anniversary
                               Specials. Total $20,250.       402, 602,
                  1104 -
   15             1104                                        901, 801,
                                                              802
   16     438.    ALLEN        Advertisement. “Pointers for   FRE 401,
                  1105 -       Parents. Teething Tips.”
   17             1105         Hyland’s teething tablets.     402
          439.                 Marketing. Hyland’s Defend     FRE 401,
   18             ALLEN        Cold and Cough / Night
                               time.                          402, 602,
                  1108 -
   19             1109                                        901, 801,
                                                              802
   20                          Advertisement. “Pointers for
          440.                                                FRE 401,
                  ALLEN        Parents. Natural Medicine
   21             1110 -       for your baby.” Baby Cough     402, 602,
                  1110         Syrup.                         901, 801,
   22
                                                              802
   23     441.    ALLEN        Information about company,     FRE 401,
                  1115 -       products, and personnel.
                  1123                                        402
   24
          442.    ALLEN        Marketing. Information         FRE 401,
   25             1124 -       about Baby Cough and
                  1127         Baby Teething products.        402
   26     443.    ALLEN        Marketing. Information         FRE 401,
                  1128 -       about Cough products and
                               Baby Cough/ Teething           402
   27             1137         products.
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          444.                 Marketing powerpoint.        FRE 401,
    4             ALLEN        “Teething Time: Signs,
                  1139 -       symptoms, and solutions.”    402, 602,
    5             1164         Laura Feder. Iris Bell.      901, 801,
    6                                                       802
          445.                 Advertisement. “Natural      FRE 401,
    7             ALLEN        Remedies for an active
                  1165 -       lifestyle.” Muscle Therapy   402, 602,
    8             1165         Gel with Arnica, Leg         901, 801,
                               Cramps, Bioplasma Sport.     802
    9     446.                 The 143rd Annual Meeting FRE 401,
                               of the Homeopathic Medical
   10             ALLEN        Society of the State of      402, 602,
                  1166 -       Pennsylvania. Talks about    901, 801,
   11             1167         the history and current      802
                               regulation of the
   12                          homeopathic industry.
          447.                 Homeopathic and Herbal       FRE 401,
   13             ALLEN        Remedies in the US. Sales
                  1168 -       trends. Talks about the      402, 602,
   14             1237         growing market for these     901, 801,
                               products in recent years.    802
   15                          Marketing Report for
          448.                                              FRE 401,
                  ALLEN        Hyland’s Defend Sinus.
   16             1238 -                                    402, 602,
                  1241                                      901, 801,
   17
                                                            802
   18     449.                 “CPG 2011 Year in            FRE 401,
                  ALLEN        Review” Marketing Report.
   19             1242 -       Symphony IRI Group. Talks 402, 602,
                  1265         about the retail industry in 901, 801,
   20                          general.                     802
          450.                 Complete Allergy for Kids. FRE 401,
   21             ALLEN        Marketing information.
                  1266 -                                    402, 602,
   22             1267                                      901, 801,
                                                            802
   23                          Chain Drug Review. News
          451.                                              FRE 401,
   24             ALLEN        stories about popularity of
                  1268 -       natural remedies. Mentions 402, 602,
                  1268         Hyland’s Defends.            901, 801,
   25
                                                            802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          452.                 Email from Thao Le to      FRE 401,
    4             ALLEN        Mary Borneman. RE:
                  1269 -       Hyland’s baby line-        402, 602,
    5             1270         Teething Tablets Pricing.  901, 801,
    6                                                     802
          453.                 Marketing Information.     FRE 401,
    7             ALLEN        Defend Sinus.
                  1271 -                                  402, 602,
    8             1272                                    901, 801,
                                                          802
    9     454.                 Marketing. Invitation to   FRE 401,
                  ALLEN        exclusive Moms 1st Blogger
   10             1273 -       Ambassador Program.        402, 602,
                  1273         Hyland’s pays bloggers to  901, 801,
   11                          write about its products.  802
          455.                 Marketing and Packaging.   FRE 401,
   12                          Hyland’s baby Cough Syrup
                  ALLEN        Packaging change. Talks    402, 602,
   13             1274 -       about new formula and      901, 801,
                  1287         packaging for the cough    802
   14                          syrup and the new teething
                               products.
   15                          Marketing. “Teething time: FRE 401,
          456.
                  ALLEN        Signs, Symptoms and
   16             1288 -       Solutions.”                402, 602,
                  1302                                    901, 801,
   17
                                                          802
   18     457.                 Marketing. Leg Cramps      FRE 401,
                  ALLEN        Advertisement.
                                                          402, 602,
   19             1303 -
                  1303                                    901, 801,
   20                                                     802
          458.                 Marketing. “Teething time: FRE 401,
   21             ALLEN        Signs, Symptoms and
                  1304 -       Solutions.”                402, 602,
   22             1329                                    901, 801,
                                                          802
   23                          Marketing Report. “Why
          459.                                            FRE 401,
   24                          Millennial Moms are
                  ALLEN        Supplanting College        402, 602,
                  1330 -       Students as the Most       901, 801,
   25             1337         Connected and Technology 802
   26                          Dependent Population.” Mr.
                               Youth/ Rep Nation Media.
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          460.                 Hylands. “What is            FRE 401,
    4             ALLEN        Homeopathy?” Information
                  1338 -       about homeopathy and         402, 602,
    5             1345         Hyland’s products.           901, 801,
    6                                                       802
          461.                 Consumer Demographic         FRE 401,
    7             ALLEN        Information.
                  1346 -                                    402, 602,
    8             1362                                      901, 801,
                                                            802
    9     462.                 Advertisement Airing         FRE 401,
                  ALLEN        Confirmation report. The
   10             1363 -       Daily Buzz.                  402, 602,
                  1364                                      901, 801,
   11                                                       802
          463.                 Press Release. “Defend       FRE 401,
   12             ALLEN        Products introduced at
                  1365 -       Natural Products Expo East, 402, 602,
   13             1367         Sept. 22-24, 2011.”          901, 801,
   14                                                       802
          464.                 Spins data. Homeopathic      FRE 401,
   15             ALLEN        Medicines Snapshot Report
                  1368 -       Ending 9/3/11. Summarizes 402, 602,
   16             1386         the sales data into charts.  901, 801,
                                                            802
   17     465.                 Marketing. Compare and       FRE 401,
                  ALLEN        contrast between Hyland’s
   18             1387 -       baby and baby orajel.        402, 602,
                  1390                                      901, 801,
   19                                                       802
   20     466.                 Press Release. “Defend       FRE 401,
                  ALLEN        Products introduced at
   21             1391 -       Natural Products Expo East, 402, 602,
                  1397         Sept. 22-24, 2011.”          901, 801,
   22                                                       802
          467.                 Spins data. Homeopathic      FRE 401,
   23             ALLEN        Medicines Snapshot Report
                  1398 -       Ending 9/3/11. Summarizes 402, 602,
   24             1416         the sales data into charts.  901, 801,
                                                            802
   25     468.                 Press Releases. Hylands      FRE 401,
                  ALLEN        products at Natural Products
   26                          Expo West, March 9-11,       402, 602,
                  1417 -
                  1426         2012.                        901, 801,
   27                                                       802
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    2   Exhibit                                                               to
                                                                              Objection
    3
          469.    ALLEN        List of retail locations where
    4             1427 -       various Hyland’s products
                  1429         are sold.
    5     470.                 Email from John Found to       FRE 401,
                  ALLEN        Thao Le. RE: Requesting…
    6             1430 -       media kit. Marketing info      402, 602,
                  1431         for Australian website.        901, 801,
    7                                                         802
    8     471.                 Marketing. List of contacts FRE 401,
                  ALLEN        for various media outlets.
                  1432 -                                      402, 602,
    9                                                         901, 801,
                  1472
   10                                                         802
          472.                 Email from Sarah Eykyn to FRE 401,
   11                          Diana Heineke. RE: Adding
                  ALLEN        items to folder for Expo       402, 602,
   12             1473 -       West Press Kit. The items      901, 801,
                  1479         include photos and press       802
   13                          releases for muscle therapy
                               and baby vitamin C.
   14     473.                 Hylands Baby                   FRE 401,
                  ALLEN        Homeopathic. Large Photo.
   15             1480 -                                      402, 602,
                  1480                                        901, 801,
   16                                                         802
          474.                 Marketing. Information         FRE 401,
   17             ALLEN        about Hyland’s Product
                  1481 -       Lines.                         402, 602,
   18             1489                                        901, 801,
   19                                                         802
          475.                 Marketing. List of contacts FRE 401,
   20             ALLEN        for various media outlets.
                  1490 -                                      402, 602,
   21             1523                                        901, 801,
                                                              802
   22     476.                 Marketing. “Pointers for       FRE 401,
                  ALLEN        parents- Natural Medicine
   23                          for your baby.” Hylands        402, 602,
                  1524 -
                  1524         baby products.                 901, 801,
   24                                                         802
   25     477.    ALLEN        Hyland’s key personnel.
                  1525 -       Biographies.
   26             1527

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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          478.                 Press Releases. Hylands        FRE 401,
    4             ALLEN        products at Natural Products
                  1528 -       Expo West, March 9-11,         402, 602,
    5             1532         2012. Defend products and      901, 801,
                               Baby Cough Syrup.              802
    6
          479.                 Marketing. General             FRE 401,
    7             ALLEN        information about Defend
                  1533 -       products and Active Line       402, 602,
    8             1534         products.                      901, 801,
                                                              802
    9     480.                 Biographies of hylands         FRE 401,
                  ALLEN        personnel.
   10             1535 -                                      402, 602,
                  1537                                        901, 801,
   11                                                         802
          481.                 Marketing. Draft copies of     FRE 401,
   12             ALLEN        Hyland’s products
                               information for Defend         402, 602,
   13             1538 -
                  1542         products and Active Line       901, 801,
                               products.                      802
   14
          482.                 Suggested Retail Prices for    FRE 401,
   15             ALLEN        several products including
                               cough and cold, muscle gel,    402, 602,
                  1543 -       leg cramps, and baby           901, 801,
   16             1543         products. Basket bundle        802
   17                          suggestions.
          483.                 Email from Hyland’s to Jen  FRE 401,
   18             ALLEN        Marshall. RE: Draft copy of
                               BTET presentation for       402, 602,
                  1544 -
   19             1544         internal training.          901, 801,
                                                           802
   20     484.                 Draft copy. Newsletter sent FRE 401,
                  ALLEN        to moms who use the
   21             1545 -       products.                   402, 602,
                  1546                                     901, 801,
   22                                                      802
   23     485.                 Marketing. Newsletter about FRE 401,
                  ALLEN        prize giveaway for mother’s
                  1547 -       day. Promotes Action hero   402, 602,
   24                          mom website.                901, 801,
                  1547
   25                                                      802
          486.                 Marketing research. Data    FRE 401,
   26             ALLEN        about marketing uses and
                  1548 -       successes. Baby products.   402, 602,
   27             1550                                     901, 801,
                                                           802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          487.                 Draft. Press release / web     FRE 401,
    4             ALLEN        copy. Information about
                  1551 -       teething products.             402, 602,
    5             1554                                        901, 801,
    6                                                         802
          488.                 Press Release. “Accolades      FRE 401,
    7             ALLEN        awarded for Defend Cough
                  1557 -       and Leg Cramps Products.”      402, 602,
    8             1558         Number one pharmacist          901, 801,
                               recommended status.            802
    9     489.                 Marketing Research.            FRE 401,
                               “Homeopathic medicine
   10                          Awareness Omnibus              402, 602,
                  ALLEN        Survey.” Conducted by          901, 801,
   11             1559 -       Socratic Technologies.         802
                  1567         Compares consumer
   12                          responses to different FDA
                               warning labels commonly
   13                          found on products.
          490.                 Image of Infant Earache        FRE 401,
   14             ALLEN        Drops. Hyland’s baby.
                  1568 -                                      402, 602,
   15             1568                                        901, 801,
                                                              802
   16     491.                 Marketing. Information         FRE 401,
                  ALLEN        about women starting their
   17             1569 -       own businesses. Author is      402, 602,
                  1575         founder of Grow Greater.       901, 801,
   18
                                                              802
   19     492.                 Image of Complete Flue         FRE 401,
                  ALLEN        Care 4 Kids Tablets.
                                                              402, 602,
   20             1576 -
                  1576                                        901, 801,
   21                                                         802
          493.                 Marketing. Draft copy of       FRE 401,
   22             ALLEN        newsletter about staying
                  1577 -       healthy over the holidays.     402, 602,
   23             1579                                        901, 801,
                                                              802
   24                          Image / packaging of
          494.                                                FRE 401,
   25             ALLEN        Hyland’s baby Colic
                  1580 -       Tablets.                       402, 602,
                  1580                                        901, 801,
   26
                                                              802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          495.                 Draft copy of Ambassador      FRE 401,
    4             ALLEN        Program invitation that is
                  1581 -       sent to bloggers.             402, 602,
    5             1581                                       901, 801,
    6                                                        802
          496.                 Press release. Launch of tiny FRE 401,
    7             ALLEN        colds products at Natural
                  1582 -       Products Expo West, March 402, 602,
    8             1585         9-11, 2012.                   901, 801,
                                                             802
    9     497.                 Images / packaging for        FRE 401,
                  ALLEN        Nighttime cold and cough 4
   10             1586 -       kids and Complete Flu care 402, 602,
                  1587         for kids.                     901, 801,
   11                                                        802
          498.                 Marketing. Draft copy of      FRE 401,
   12             ALLEN        product information for
                               Baby products line.           402, 602,
   13             1588 -
                  1589                                       901, 801,
   14                                                        802
          499.                 Packaging for Arnica 30x.     FRE 401,
   15             ALLEN                                      402, 602,
                  1590 -
   16             1590                                       901, 801,
                                                             802
   17     500.                 Press release / web copy.     FRE 401,
                  ALLEN        Teething tablets offer sale.
   18             1591 -                                     402, 602,
                  1593                                       901, 801,
   19                                                        802
   20     501.                 Press release. “Sponsorship FRE 401,
                  ALLEN        kickoff for Hyland’s Athlete
                  1594 -       Series.”                      402, 602,
   21                                                        901, 801,
                  1596
   22                                                        802
          502.    ALLEN        Biographies of Hyland’s
   23             1597 -       personnel.
                  1600
   24     503.                 Marketing. Draft copy of       FRE 401,
                  ALLEN        information about various
   25             1601 -       Hyland’s products.             402, 602,
                  1603                                        901, 801,
   26                                                         802
          504.    ALLEN        Biographies of Hyland’s
   27             1604 -       personnel.
                  1606
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          505.                 Press Release. “Accolades  FRE 401,
    4             ALLEN        awarded for Defend Cough
                  1607 -       and Leg Cramps Products.”  402, 602,
    5             1608         Number one pharmacist      901, 801,
                               recommended status.        802
    6
          506.                 Marketing. Letter from     FRE 401,
    7             ALLEN        Sarah Evkyn at Fresh Ideas
                  1613 -       Group RE: Action Hero      402, 602,
    8             1619         mom apps. Press release    901, 801,
                               attached.                  802
    9     507.                 Press release about        FRE 401,
                  ALLEN        Accolades awarded for Leg
   10             1622 -       Cramps and Defend          402, 602,
                  1623         Products.                  901, 801,
   11                                                     802
          508.                 Packaging. Images of Baby FRE 401,
   12             ALLEN        Earache Drops and Colic
                               Tablets.                   402, 602,
   13             1624 -
                  1625                                    901, 801,
   14                                                     802
          509.                 Press release about        FRE 401,
   15             ALLEN        Accolades awarded for Leg
                  1626 -       Cramps and Defend          402, 602,
   16             1627         Products.                  901, 801,
                                                          802
   17     510.                 Marketing. Draft copy of   FRE 401,
                  ALLEN        offer to send samples of
   18             1630 -       Hyland’s baby products.    402, 602,
                  1633                                    901, 801,
   19                                                     802
   20     511.                 Packaging images of Defend FRE 401,
                  ALLEN        products.
                  1634 -                                  402, 602,
   21                                                     901, 801,
                  1634
   22                                                     802
          512.                 Press release. “Hyland’s   FRE 401,
   23             ALLEN        honors action hero moms.”
                  1635 -                                  402, 602,
   24             1640                                    901, 801,
                                                          802
   25     513.                 Marketing. Draft copy of   FRE 401,
                  ALLEN        newsletter about staying
   26                          healthy during the holiday 402, 602,
                  1641 -
                  1645         season.                    901, 801,
   27                                                     802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          514.                 Press release about          FRE 401,
    4             ALLEN        Accolades awarded for Leg
                  1646 -       Cramps and Defend            402, 602,
    5             1647         Products.                    901, 801,
    6                                                       802
          515.                 Packaging image of Infant    FRE 401,
    7             ALLEN        Earache Drops.
                  1648 -                                    402, 602,
    8             1648                                      901, 801,
                                                            802
    9     516.                 Newsletter about seminar     FRE 401,
                  ALLEN        for staying healthy during
   10             1649 -       the winter. Tara Wellington- 402, 602,
                  1649         Wellness and Lifestyle       901, 801,
   11                          Author.                      802
          517.                 Press release about Hyland’s FRE 401,
   12             ALLEN        sponsorship with Morgan
                               Shepherd. Leg Cramps         402, 602,
   13             1650 -
                  1650         Products.                    901, 801,
   14                                                       802
          518.                 Draft copy of newsletter     FRE 401,
   15             ALLEN        about action hero moms
                  1651 -       website.                     402, 602,
   16             1651                                      901, 801,
                                                            802
   17     519.                 Packaging images of Defend FRE 401,
                  ALLEN        products, baby products ,
   18             1652 -       and cough syrup 4 kids.      402, 602,
                  1656                                      901, 801,
   19                                                       802
   20     520.                 Press release. Hylands to    FRE 401,
                  ALLEN        introduce Defend products
                  1657 -       at Natural Products expo     402, 602,
   21                          east Sept. 22-24, 2011.      901, 801,
                  1658
   22                                                       802
          521.                 Product images and           FRE 401,
   23             ALLEN        packaging for various
                  1663 -       Hyland’s products.           402, 602,
   24             1673                                      901, 801,
                                                            802
   25     522.                 Marketing. Information       FRE 401,
                  ALLEN        about various Hyland’s
   26                          products.                    402, 602,
                  1674 -
                  1682                                      901, 801,
   27                                                       802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          523.                 Press releases and draft    FRE 401,
    4             ALLEN        copies about Hyland’s baby
                  1683 -       products.                   402, 602,
    5             1696                                     901, 801,
    6                                                      802
          524.                 Packaging image for Defend FRE 401,
    7             ALLEN        Sinus.
                  1697 -                                   402, 602,
    8             1697                                     901, 801,
                                                           802
    9     525.                 Draft copy of “Healthy      FRE 401,
                  ALLEN        Solutions for Finicky
   10             1698 -       Eaters.” Promotional offer  402, 602,
                  1700         at the end talks about      901, 801,
   11                          Hyland’s products.          802
          526.                 Press release about         FRE 401,
   12             ALLEN        sponsorship with Morgan
                               Shepherd.                   402, 602,
   13             1701 -
                  1701                                     901, 801,
   14                                                      802
          527.                 Press release. Launch of    FRE 401,
   15             ALLEN        Baby Cough Syrup products
                  1705 -       at Natural Products Expo    402, 602,
   16             1706         East, Sept. 22-24, 2011.    901, 801,
                                                           802
   17     528.                 Image of Packaging for      FRE 401,
                  ALLEN        Colic Tablets.
   18             1707 -                                   402, 602,
                  1707                                     901, 801,
   19                                                      802
   20     529.                 Newsletters. Pointers for   FRE 401,
                  ALLEN        Parents… Teething Tips.
   21             1708 -       Advice from Lauren Feder. 402, 602,
                  1716         Draft copies as well.       901, 801,
   22                                                      802
          530.                 Press releases about Defend FRE 401,
   23             ALLEN        and other cough products.
                  1717 -                                   402, 602,
   24             1724                                     901, 801,
                                                           802
   25     531.                 Marketing. “Recap on        FRE 401,
                  ALLEN        brainstorm for Action
   26                          Moms Campaign.”             402, 602,
                  1725 -
                  1727                                     901, 801,
   27                                                      802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          532.                 Draft copy of newsletter for FRE 401,
    4             ALLEN        “Calming the Colic.”
                  1728 -                                    402, 602,
    5             1729                                      901, 801,
    6                                                       802
          533.                 Marketing. “Four Hyland’s FRE 401,
    7             ALLEN        Master Athlete Campaign
                  1730 -       Ideas- and sub themes.”      402, 602,
    8             1731                                      901, 801,
                                                            802
    9     534.                 Press release / web copy.    FRE 401,
                  ALLEN        “New Homeopathic
   10             1737 -       Products form Hyland’s       402, 602,
                  1739         help families fight coughs   901, 801,
   11                          and colds naturally.”        802
          535.                 TV Script for Hyland’s       FRE 401,
   12             ALLEN        commercial with Morgan
                               Shepherd.                    402, 602,
   13             1742 -
                  1742                                      901, 801,
   14                                                       802
          536.                 History of Hyland’s.         FRE 401,
   15             ALLEN                                     402, 602,
                  1743 -
   16             1744                                      901, 801,
                                                            802
   17     537.                 TV commercial script for     FRE 401,
                  ALLEN        Hyland’s baby teething
   18             1744 -       tablets.                     402, 602,
                  1746                                      901, 801,
   19                                                       802
   20     538.                 Email from Iris Bell to Thao FRE 401,
                  ALLEN        Le Re: Iris bell biography.
                  1747 -                                    402, 602,
   21                                                       901, 801,
                  1748
   22                                                       802
          539.                 Information about various    FRE 401,
   23             ALLEN        Hyland’s products.
                  1750 -                                    402, 602,
   24             1751                                      901, 801,
                                                            802
   25     540.                 Newsletter about             FRE 401,
                  ALLEN        Homeopathy. “Winter warm
   26                          up.”                         402, 602,
                  1752 -
                  1754                                      901, 801,
   27                                                       802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          541.                 Draft copy of “create a        FRE 401,
    4                          natural medicine kit this
                  ALLEN        summer.” Promotions for        402, 602,
    5             1755 -       Hyland’s bumps and             901, 801,
                  1756         bruises.
    6                                                         802
          542.                 Newsletter for winter warm     FRE 401,
    7             ALLEN        up. Hyland’s baby cough
                  1757 -       syrup.                         402, 602,
    8             1759                                        901, 801,
    9                                                         802
          543.                 Image of packaging for         FRE 401,
   10             ALLEN        Infant Earache Drops.
                  1760 -                                      402, 602,
   11             1760                                        901, 801,
                                                              802
   12     544.                 Newsletter. Staying healthy    FRE 401,
                  ALLEN        during the holidays.
   13             1761 -       Promotion for Defend           402, 602,
                  1762         products.                      901, 801,
   14                                                         802
          545.                 Images of packaging for        FRE 401,
   15             ALLEN        Tiny Cold Tablets.
                  1763 -                                      402, 602,
   16             1764                                        901, 801,
   17                                                         802
          546.                 TV Script for “Active          FRE 401,
   18             ALLEN        Lifestyle Tips.”
                                                              402, 602,
                  1765 -
   19             1766                                        901, 801,
                                                              802
   20     547.                 Images of Packaging. Cold      FRE 401,
                  ALLEN        and cough 4 kids.
   21             1768 -                                      402, 602,
                  1768                                        901, 801,
   22                                                         802
   23     548.                 Marketing schedule.            FRE 401,
                  ALLEN        “Hyland’s Moms 1st Club
                  1770 -       Newsletter.”                   402, 602,
   24                                                         901, 801,
                  1775
   25                                                         802
          549.                 Draft copies of Hyland’s       FRE 401,
   26             ALLEN        personnel biography.
                  1777 -                                      402, 602,
   27             1781                                        901, 801,
                                                              802
   28
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    1   No. of                          Description             Objection     Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          550.                 Newsletter. “Your babies         FRE 401,
    4             ALLEN        own natural medicine.”
                  1782 -                                        402, 602,
    5             1783                                          901, 801,
    6                                                           802
          551.                 Tiny Cold Tablets                FRE 401,
    7             ALLEN        Packaging.
                  1784 -                                        402, 602,
    8             1784                                          901, 801,
                                                                802
    9     552.                 Press release about              FRE 401,
                  ALLEN        sponsorship with Morgan
   10             1785 -       Shepherd.                        402, 602,
                  1786                                          901, 801,
   11                                                           802
          553.                 Information about TV             FRE 401,
   12             ALLEN        advertisement schedules.
                                                                402, 602,
   13             1787 -
                  1788                                          901, 801,
   14                                                           802
          554.                 Packaging images for baby        FRE 401,
   15             ALLEN        vitamin C and teething
                  1789 -       tablets.                         402, 602,
   16             1790                                          901, 801,
                                                                802
   17     555.                 Newsletter. “Your baby’s         FRE 401,
                  ALLEN        own natural medicine.”
   18             1791 -                                        402, 602,
                  1792                                          901, 801,
   19                                                           802
   20     556.                 TV scripts for “winter           FRE 401,
                  ALLEN        health tips.” Includes drafts.
                  1793 -                                        402, 602,
   21                                                           901, 801,
                  1797
   22                                                           802
          557.                 Marketing press releases         FRE 401,
   23             ALLEN        and newsletters.
                  1801 -                                        402, 602,
   24             1804                                          901, 801,
                                                                802
   25     558.                 Defend Cold and Cough            FRE 401,
                  ALLEN        Night Packaging.
   26                                                           402, 602,
                  1805 -
                  1805                                          901, 801,
   27                                                           802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          559.                 Marketing. Press releases    FRE 401,
    4             ALLEN        and contests. “Winter health
                  1807 -       tips.” Includes drafts.      402, 602,
    5             1813                                      901, 801,
    6                                                       802
          560.                 Image of packaging for       FRE 401,
    7             ALLEN        Bioplasma Sport.
                  1814 -                                    402, 602,
    8             1814                                      901, 801,
                                                            802
    9     561.                 Schedule for “Hyland’s       FRE 401,
                  ALLEN        moms 1st Club Newsletter.”
   10             1815 -                                    402, 602,
                  1820                                      901, 801,
   11                                                       802
          562.                 Draft version of             FRE 401,
   12             ALLEN        “information about
                               homeopathy.”                 402, 602,
   13             1821 -
                  1823                                      901, 801,
   14                                                       802
          563.                 Scripts for various TV       FRE 401,
   15             ALLEN        advertisements.
                  1824 -                                    402, 602,
   16             1831                                      901, 801,
                                                            802
   17     564.                 Draft versions of press      FRE 401,
                  ALLEN        releases for Teething
   18             1832 -       Tablets.                     402, 602,
                  1837                                      901, 801,
   19                                                       802
   20     565.                 Newsletter about webinar     FRE 401,
                  ALLEN        for “teething time: signs,
                  1838 -       symptoms and solutions.”     402, 602,
   21                                                       901, 801,
                  1842
   22                                                       802
          566.                 History of Hyland’s.         FRE 401,
   23             ALLEN                                     402, 602,
                  1843 -
   24             1844                                      901, 801,
                                                            802
   25     567.                 Draft press releases for     FRE 401,
                  ALLEN        Teething Tablets.
   26                                                       402, 602,
                  1845 -
                  1849                                      901, 801,
   27                                                       802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          568.                 TV scripts for children’s      FRE 401,
    4             ALLEN        products.
                  1850 -                                      402, 602,
    5             1854                                        901, 801,
    6                                                         802
          569.                 Draft copy: information        FRE 401,
    7             ALLEN        about homeopathy.
                  1855 -                                      402, 602,
    8             1856                                        901, 801,
                                                              802
    9     570.                 Press release. Baby            FRE 401,
                  ALLEN        Teething Tablets.
   10             1857 -                                      402, 602,
                  1858                                        901, 801,
   11                                                         802
          571.                 Draft copy: information        FRE 401,
   12             ALLEN        about homeopathy.
                                                              402, 602,
   13             1859 -
                  1860                                        901, 801,
   14                                                         802
          572.                 Marketing. “Action Mom         FRE 401,
   15             ALLEN        Campaign, updated
                  1861 -       brainstorm notes.”             402, 602,
   16             1861                                        901, 801,
                                                              802
   17     573.                 Draft press release for        FRE 401,
                  ALLEN        Hyland’s teething tablets.
   18             1862 -                                      402, 602,
                  1863                                        901, 801,
   19                                                         802
   20     574.                 Baby Teething Tablets          FRE 401,
                  ALLEN        FAQ. Talks about the recall
                  1864 -       that happened and how they     402, 602,
   21                          fixed the product.             901, 801,
                  1869
   22                                                         802
          575.                 Hyland’s company               FRE 401,
   23             ALLEN        background.
                  1870 -                                      402, 602,
   24             1874                                        901, 801,
                                                              802
   25     576.                 Image of Hyland’s baby         FRE 401,
                  ALLEN        homeopathic logo.
   26                                                         402, 602,
                  1875 -
                  1876                                        901, 801,
   27                                                         802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          577.                 About Hyland’s.                FRE 401,
    4             ALLEN
                  1877 -                                      402, 602,
    5             1882                                        901, 801,
    6                                                         802
          578.                 Hyland’s baby teething gel     FRE 401,
    7             ALLEN        packaging.
                  1887 -                                      402, 602,
    8             1887                                        901, 801,
                                                              802
    9     579.                 Draft copies of press          FRE 401,
                  ALLEN        releases, tv scripts, and
   10             1888 -       newsletters for Defend         402, 602,
                  1892         products.                      901, 801,
   11                                                         802
          580.                 Images of packaging for        FRE 401,
   12             ALLEN        Quitnits and baby cough
                               products.                      402, 602,
   13             1893 -
                  1901                                        901, 801,
   14                                                         802
          581.                 Draft Facebook giveaway        FRE 401,
   15             ALLEN        recommendation/ Draft
                  1904 -       newsletters for various        402, 602,
   16             1909         products.                      901, 801,
                                                              802
   17     582.                 Blue pages.                    FRE 401,
                  ALLEN                                       402, 602,
   18             1910 -
                  1914                                        901, 801,
   19                                                         802
   20     583.                 Draft version of product       FRE 401,
                  ALLEN        giveaway guidelines. Hero
                  1918 -       moms contest.                  402, 602,
   21                                                         901, 801,
                  1920
   22                                                         802
          584.                 Script for Baby’s own          FRE 401,
   23             ALLEN        natural medicine
                  1921 -       commercial.                    402, 602,
   24             1922                                        901, 801,
                                                              802
   25     585.                 Images of hyland’s baby        FRE 401,
                  ALLEN        products.
   26                                                         402, 602,
                  1923 -
                  1923                                        901, 801,
   27                                                         802
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          586.                 Marketing contacts.          FRE 401,
    4             ALLEN
                  1924 -                                    402, 602,
    5             1927                                      901, 801,
    6                                                       802
          587.                 Packaging Image of           FRE 401,
    7             ALLEN        Headache Tablets.
                  1928 -                                    402, 602,
    8             1928                                      901, 801,
                                                            802
    9     588.                 Chart that compares          FRE 401,
                  ALLEN        Humphreys’ Teething
   10             1929 -       Products to Hyland’s baby    402, 602,
                  1939         teething tablets.            901, 801,
   11                                                       802
          589.                 Image of Leg Cramps          FRE 401,
   12             ALLEN        product.
                                                            402, 602,
   13             1940 -
                  1940                                      901, 801,
   14                                                       802
          590.                 Launch of Baby Cough         FRE 401,
   15             ALLEN        Syrup.
                  1941 -                                    402, 602,
   16             1941                                      901, 801,
                                                            802
   17     591.                 Draft emails re: media       FRE 401,
                  ALLEN        response to arsenic water
   18             1945 -       used in leg cramps products. 402, 602,
                  1945                                      901, 801,
   19                                                       802
   20     592.                 Images of packaging for      FRE 401,
                  ALLEN        teething tablets.
                  1946 -                                    402, 602,
   21                                                       901, 801,
                  1947
   22                                                       802
          593.                 “Wholesale Price List        FRE 401,
   23             ALLEN        Effective June 1, 2011.”
                  1959 -                                    402, 602,
   24             1965                                      901, 801,
                                                            802
   25     594.                 FAQ about why teething       FRE 401,
                  ALLEN        tablets were taken off the
   26                          market.                      402, 403,
                  1966 -
                  1966                                      602, 901,
   27                                                       801, 802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          595.    ALLEN        Packaging images of Defend
    4             1967 -       products.
                  1969
    5     596.                 Response to consumer about FRE 401,
                  ALLEN        Colic Tablets containing
    6             1973 -       Belladonna.                402, 430,
                  1973                                    602, 901,
    7                                                     801, 802
    8     597.                 Teething Tablets FAQ about FRE 401,
                  ALLEN        why it was taken off the
                  1974 -       market.                    402, 403,
    9                                                     602, 901,
                  1978
   10                                                     801, 802
          598.                 Images of various product  FRE 401,
   11             ALLEN        packages and marketing
                  1979 -       images.                    402, 602,
   12             1987                                    901, 801,
                                                          802
   13             ALLEN        Bio of Iris R. Bell.
          599.
                  1988 -
   14             1989
          600.                 Spins data. Homeopathic        FRE 401,
   15             ALLEN        market analysis.
                  1990 -                                      402, 602,
   16             1992                                        901, 801,
   17                                                         802
          601.                 Naturally Consumer             FRE 401,
   18             ALLEN        Newsletter. Run Times.
                  1993 -                                      402, 602,
   19             1994                                        901, 801,
                                                              802
   20     602.                 Packaging images of Tiny       FRE 401,
                  ALLEN        Cold Tablets.
   21                                                         402, 602,
                  1995 -
                  1996                                        901, 801,
   22                                                         802
   23     603.                 “Overall health of moms.”      FRE 401,
                  ALLEN        Newsletter by Dr. Cates.
                  1997 -                                      402, 602,
   24                                                         901, 801,
                  1998
   25                                                         802
          604.                 Packaging / Images of          FRE 401,
   26             ALLEN        various hyland’s products.
                  1999 -                                      402, 602,
   27             2006                                        901, 801,
                                                              802
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          605.                 Response to consumer about FRE 401,
    4             ALLEN        Belladonna ingredient.
                  2007 -                                  402, 403,
    5             2011                                    602, 901,
    6                                                     801, 802
          606.    ALLEN        Bio of John P. Borneman.
    7             2012 -
                  2013
    8     607.                 Email Chain From S. Boyd.    FRE 401,
                  ALLEN        RE: May NF Ads.
                  2014 -                                    402, 602,
    9                                                       901, 801,
                  2020
   10                                                       802
          608.                 Silver Lion Project          FRE 401,
   11             ALLEN        Description: May 2012
                  2021 -       Natural Foods Ads.           402, 602,
   12             2022                                      901, 801,
                                                            802
   13                          May ad copy. Arnica
          609.                                              FRE 401,
                  ALLEN        products. Copies of the ads.
   14             2023 -       Also ads for leg cramps and 402, 602,
                  2041         muscle therapy.              901, 801,
   15
                                                            802
   16     610.                 Email chain from S. Boyd.    FRE 401,
                  ALLEN        RE: New Trade Defend Ad.
                                                            402, 602,
   17             2042 -
                  2047                                      901, 801,
   18                                                       802
          611.                 Silver Lion Product          FRE 401,
   19             ALLEN        Description: Jan. NF Ads.
                  2048 -       Copies of Defend print Ads. 402, 602,
   20             2065                                      901, 801,
                                                            802
   21                          “Hyland’s Multiple
          612.                                              FRE 401,
   22             ALLEN        Products Covered Jobs.”
                  2066 -                                    402, 602,
                  2066                                      901, 801,
   23
                                                            802
   24     613.                 Email chain from A. Allen. FRE 401,
                  ALLEN        RE: Comps and Revisions.
   25                          Copies of ads discussed in   402, 602,
                  2067 -       email chain. Leg Cramps,     901, 801,
                  2080         Cough and Cold, Calms
   26                                                       802
                               Forte.
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          614.                 Email chain from S. Boyd     FRE 401,
    4             ALLEN        RE: Leg Cramps Banner.
                  2081 -       Copies of Leg Cramps Ads.    402, 602,
    5             2107                                      901, 801,
    6                                                       802
          615.                 Email Chain from S. Boyd     FRE 401,
    7             ALLEN        RE: Leg Cramps 3D
                  2108 -       Renderings. Copies of leg    402, 602,
    8             2128         cramps ads / packaging.      901, 801,
                                                            802
    9     616.                 “Hyland’s Teething           FRE 401,
                  ALLEN        Products.”
   10             2129 -                                    402, 602,
                  2129                                      901, 801,
   11                                                       802
          617.                 Email Chain from S. Jump     FRE 401,
   12             ALLEN        RE: Baby Pop Up Display.
                               Discussions of teething      402, 602,
   13             2129 -
                  2153         products and copies of ads   901, 801,
                               and packaging.               802
   14
          618.                 Discussion post by S. Jump FRE 401,
   15             ALLEN        RE: Defend Sell Sheet.
                  2154 -       Copies of advertisements for 402, 602,
   16             2128         Defend Cough.                901, 801,
                                                            802
   17     619.                 Email chain from S. Boyd     FRE 401,
                               RE: reopening job about
   18             ALLEN        teething tablets. Resize     402, 602,
                  2182 -       working mother ad. Copies 901, 801,
   19             2190         of Teething tablets ads.     802
   20
          620.                 Marketing research. “Who       FRE 401,
   21             ALLEN        our brands speak to.”
                  2191 -                                      402, 602,
   22             2198                                        901, 801,
                                                              802
   23                          Announcements regarding
          621.                                                FRE 401,
   24             ALLEN        Hyland’s teething tablets
                  2199 -       being back.                    402, 602,
                  2205                                        901, 801,
   25
                                                              802
   26
   27
   28
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    1   No. of                          Description           Objection       Response
    2   Exhibit                                                               to
                                                                              Objection
    3
          622.                 Email chain from S. Boyd       FRE 401,
    4             ALLEN        RE: Consumer Version of
                  2206 -       Hyland’s Defend Ad.            402, 602,
    5             2230         Copies of Defend Ads.          901, 801,
    6                                                         802
          623.                 Email chain from S. Boyd       FRE 401,
    7             ALLEN        RE: Teething Ad Sept 2011.
                  2231 -       Copies of teething ads.        402, 602,
    8             2240                                        901, 801,
                                                              802
    9     624.                 Email chain from S. Boyd       FRE 401,
                  ALLEN        RE: Morgan Shepard
   10             2241 -       Sponsorship. Copies of ads     402, 602,
                  2271         with Morgan Sheperd / Leg      901, 801,
   11                          Cramps.                        802
          625.                 Email chain from S. Boyd       FRE 401,
   12             ALLEN        RE: Marketing Template
                               and Mass Retailer Ad. Baby     402, 602,
   13             2272 -
                  2288         products and copies of ads.    901, 801,
   14                                                         802
          626.                 Email chain from S. Jump       FRE 401,
   15             ALLEN        RE: Leg Cramps Ointment
                  2289 -       Duratrans. Copies of Leg       402, 602,
   16             2309         Cramps Ointment.               901, 801,
                                                              802
   17     627.                 Email chain from S. Boyd       FRE 401,
                  ALLEN        RE: Trade Ads for baby
   18             2310 -       products and cold/ flu         402, 602,
                  2334         products.                      901, 801,
   19                                                         802
   20     628.                 Post by S. Jump Re: Stress     FRE 401,
                  ALLEN        and Sleep Sell Sheet. Copies
                  2335 -       of ads for Clams Forte and     402, 602,
   21                          Nerve Tonic products.          901, 801,
                  2343
   22                                                         802
          629.                 Email chain from S. Jump       FRE 401,
   23             ALLEN        RE: Stress and Sleep Pop
                  2344 -       Up Display.                    402, 602,
   24             2361                                        901, 801,
                                                              802
   25     630.                 Email chain from S. Boyd       FRE 401,
                  ALLEN        RE: March NF Ads. Copies
   26                          of ads for baby products and   402, 602,
                  2362 -
                  2395         leg cramps / calms forte.      901, 801,
   27                                                         802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           631.                 Email Chain from S. Boyd       FRE 401,
     4             ALLEN        RE: Expo West 2012
                   2396 -       Defend Pop Up Stand.           402, 602,
     5             2418         Copies of Defend Ads.          901, 801,
     6                                                         802
           632.                 Email Chain from S. Boyd       FRE 401,
     7             ALLEN        RE: Hand it to mom
                   2419 -       sampling program. Copies       402, 602,
     8             2468         of the “Hand it to moms        901, 801,
                                ads.”                          802
     9     633.                 Email Chain from S. Boyd       FRE 401,
                   ALLEN        RE: Hyland’s Teething Tabs
   10              2469 -       Launch. Copies of teething 402, 602,
                   2490         tabs ads and launch            901, 801,
   11                           materials.                     802
           634.                 Email chain from S. Boyd       FRE 401,
   12                           RE: General Catalog update.
                   ALLEN        Fixing claims about the age 402, 602,
   13              2491 -       groups suitable to use some 901, 801,
                   2612         of the products. Fixes for     802
   14                           other products as well.
                                Copies of changed catalog.
   15                           Email chain from S. Boyd
           635.                                                FRE 401,
                   ALLEN        RE: Leg Cramps PR
   16              2613 -       Release. Discussion of a       402, 602,
                   2621         press release date Sept.       901, 801,
   17                           2011.                          802
   18      636.                 Email chain from S. Boyd       FRE 401,
                   ALLEN        RE: August Natural Foods
                                Ad 2012. Copies of             402, 602,
   19              2622 -
                   2631         discussed ads. Baby            901, 801,
   20                           products.                      802
           637.                 Email chain from S. Boyd       FRE 401,
   21              ALLEN        RE: Taste for life sell sheet.
                   2632 -       Copies of the “taste for life 402, 602,
   22              2649         and remedies”                  901, 801,
                                advertisements.                802
   23                           Email chain from S. Jump.
           638.                                                FRE 401,
   24              ALLEN        Re: Taste for Life May Ad.
                   2650 -       Copies of the Muscle           402, 602,
                   2671         Therapy / Leg Cramps ads       901, 801,
   25                           that ran.                      802
   26      639.    ALLEN        “Hyland’s Calms Forte”         FRE 401,
                   2672 -
   27              2672                                        402

   28
                                                100
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           640.                 Email chain from S. Boyd       FRE 401,
     4                          RE: Calms Forte Display
                   ALLEN        Sell Sheet. Copies of Calms    402, 602,
     5             2673 -       Forte Ads.                     901, 801,
                   2687
     6                                                         802
           641.                 Email chain from S. Jump       FRE 401,
     7                          RE: Updated November
                   ALLEN        Natural Foods Merchandiser     402, 602,
     8             2688 -       AD. Copies of the Calms        901, 801,
                   2692         Forte and Defend Ads that
     9                                                         802
                                ran.
           642.                 Email chain from S. Boyd   FRE 401,
   10              ALLEN        RE: CF Defend Sell Sheet.
                                Copies of Defend Shelf     402, 602,
                   2693 -
   11              2705         Liner Ads.                 901, 801,
   12                                                      802
           643.                 Email chain from S. Jump   FRE 401,
   13              ALLEN        RE: New Baby Pamphlet.
                   2706 -       Copies of Baby Teething    402, 602,
   14              2739         Bites Ads.                 901, 801,
                                                           802
   15      644.                 Email chain from S. Boyd   FRE 401,
                   ALLEN        RE: New Trade Defend Ad.
   16              2740 -       Copies of Defend mom ads. 402, 602,
                   2765                                    901, 801,
   17                                                      802
           645.                 Email chain from A. Fox    FRE 401,
   18              ALLEN        RE: Urgent! Defend Sinus.
                   2766 -       Ad has an error.           402, 602,
   19              2766                                    901, 801,
   20                                                      802
           646.                 Email chain from S. Boyd   FRE 401,
   21              ALLEN        RE: NF Retailer Ads. Calms
                   2767 -       Forte and Leg Cramps       402, 602,
   22              2767         Products.                  901, 801,
                                                           802
   23      647.                 Silver Lion Project RE:    FRE 401,
                   ALLEN        November ad campaign
   24              2768 -       focusing on Sleep and Cold 402, 602,
                   2769         Products.                  901, 801,
   25                                                      802
   26
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           648.                 Email chain from C.            FRE 401,
     4                          Fernandez RE: Nov Ads
                   ALLEN        2011 Hylands. Copies of        402, 602,
     5             2770 -       Calms Forte, Leg Cramps,       901, 801,
                   2788         Cold n’ Cough 4 kids, and
     6                                                         802
                                Adult Cold Tablets ads.
           649.                 Email chain from S. Boyd       FRE 401,
     7             ALLEN        RE: Baby Development
                   2789 -       Calendar Revisions. Copies     402, 602,
     8             2812         of the discussed ads. Baby     901, 801,
                                products.                      802
     9
           650.                 Email chain from S. Boyd       FRE 401,
   10              ALLEN        RE: Taste for Life Online
                   2813 -       Ad. Cold n cough products.     402, 602,
   11              2831                                        901, 801,
                                                               802
   12      651.                 Email chain from S. Boyd       FRE 401,
                   ALLEN        RE: Leg Cramps Ointment
   13              2832 -       Sell Sheet. Copies of edited   402, 602,
                   2841         leg cramps ads.                901, 801,
   14                                                          802
           652.                 Email chain from S. Boyd       FRE 401,
   15              ALLEN        RE: SNFlyer Sell Sheet.
                   2842 -       Copies of the discussed ads    402, 602,
   16              2869         targeted towards retailers.    901, 801,
                                Various products.              802
   17
           653.                 Email chain from S. Boyd       FRE 401,
   18              ALLEN        RE: Expo West 2012
                                Duratrans. Copies of the       402, 602,
                   2870 -
   19              2891         discussed Leg Cramps ads       901, 801,
                                w/ Morgan Sheperd.             802
   20      654.                 Email chain from S. Boyd       FRE 401,
                   ALLEN        RE: Defend Poster.
   21              2892 -                                      402, 602,
                   2893                                        901, 801,
   22                                                          802
   23      655.                 Email chain from A. Allen      FRE 401,
                   ALLEN        RE: Comps and Revisions.
                   2894 -       Copies of the discussed        402, 602,
   24                           Defend Cold and Cough          901, 801,
                   2906
   25                           ads.                           802
           656.                 Email chain from S. Boyd       FRE 401,
   26              ALLEN        RE: Teething Comparison
                   2907 -       Chart. Copies of the chart     402, 602,
   27              2911         with edits. Baby Teething      901, 801,
                                Products.                      802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           657.                 Email chain from A. Allen      FRE 401,
     4             ALLEN        RE: Comps and Revisions.
                   2912 -       Copies of Teething Product     402, 602,
     5             29222        Comparison Chart.              901, 801,
                                Hyland’s Baby Products.        802
     6
           658.                 Email chain from S. Boyd       FRE 401,
     7             ALLEN        RE: 2012 Marketing Plan.
                   2923 -       Copy of “2012 Consumer         402, 602,
     8             2925         Marketing” ad. Leg Cramps      901, 801,
                                and Calms Forte Products.      802
     9     659.                 Email chain from C.            FRE 401,
                   ALLEN        Fernandez RE: NF Sept.
   10              2926 -       Ads. Copies of discussed       402, 602,
                   2941         ads. Calms Forte and Leg       901, 801,
   11                           Cramps.                        802
           660.                 Email chain from S. Boyd.      FRE 401,
   12              ALLEN        RE: Teething Banner Ads.
                                Copies of discussed ads.       402, 602,
   13              2942 -
                   2950         Baby products.                 901, 801,
   14                                                          802
           661.                 Email chain from S. Boyd       FRE 401,
   15              ALLEN        RE: Calms Forte Easel.
                   2951 -       Copy of discussed Calms        402, 602,
   16              2955         Forte Ad.                      901, 801,
                                                               802
   17      662.                 Email chain from S. Boyd       FRE 401,
                   ALLEN        RE: Mothering.com Defend
   18              2956 -       site Skin. Copies of the       402, 602,
                   2967         discussed Defend Ads.          901, 801,
   19                                                          802
   20      663.                 Email chain from T. Le RE      FRE 401,
                   ALLEN        Leg Cramps Survey. Copies
                   2968 -       of discussed Leg Cramps        402, 602,
   21                           Ads.                           901, 801,
                   2981
   22                                                          802
           664.                 Email chain from S. Boyd       FRE 401,
   23              ALLEN        RE: KIWI and Working
                   2982 -       Mother Ads. Copies of          402, 602,
   24              2992         discussed Defend Ads,          901, 801,
                                cough and cold / nighttime.    802
   25      665.                 Email chain from S. Boyd       FRE 401,
                   ALLEN        RE: Defend Spec Ad.
   26                           Copies of discussed Defend     402, 602,
                   2993 -
                   2997         ads.                           901, 801,
   27                                                          802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           666.                 Email chain from S. Boyd      FRE 401,
     4             ALLEN        RE: Morgan Shepherd T-
                   2998 -       Shirt. Copies of discussed    402, 602,
     5             3007         ads. Leg Cramps.              901, 801,
     6                                                        802
           667.                 Email chain from S. Jump      FRE 401,
     7             ALLEN        RE: Huntsman World
                   3008 -       Senior Games Postcard.        402, 602,
     8             3020         Copies of discussed leg       901, 801,
                                cramps ads.                   802
     9     668.                 Email chain from T. Le RE: FRE 401,
                                Media Calendar. Discussion
   10              ALLEN        of ad schedule for various    402, 602,
                   3021 -       products. Contains a          901, 801,
   11              3044         spreadsheet that lays out the 802
                                schedule for each product
   12                           line.
           669.                 Email chain from S. Boyd      FRE 401,
   13              ALLEN        RE: Defend Sell Sheet.
                   3045 -       Copies of the discussed ads. 402, 602,
   14              3050         Defend Products.              901, 801,
                                                              802
   15                           Email chain from S. Boyd
           670.                                               FRE 401,
                   ALLEN        RE: Ad for Progressive
   16              3051 -       Grocer. Copies of discussed 402, 602,
                   3054         ads. Baby Products.           901, 801,
   17
                                                              802
   18      671.                 Email chain from S. Boyd      FRE 401,
                   ALLEN        RE: ADV-202 Kickoff,
   19              3055 -       Morgan Sheperd. Copies of 402, 602,
                   3061         discussed ads. Leg Cramps 901, 801,
   20                           Products.                     802
           672.                 Email chain from S. Boyd      FRE 401,
   21              ALLEN        RE: Baby Line Branded
                   3062 -       Sheet. Copies of discussed    402, 602,
   22              3083         ads for baby products.        901, 801,
                                                              802
   23                           Email chain from S. Boyd
           673.                                               FRE 401,
   24              ALLEN        RE: Defend Packaging
                   3084 -       Revisions.                    402, 602,
                   3090                                       901, 801,
   25
                                                              802
   26
   27
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           674.                 Email chain from L. El          FRE 401,
     4             ALLEN        Awar RE: Defend Labels.
                   3091 -                                       402, 602,
     5             3095                                         901, 801,
     6                                                          802
           675.                 Email chain from I.             FRE 401,
     7             ALLEN        Anguiano. RE: Most recent
                   3096 -       defend cartoons.                402, 602,
     8             3097                                         901, 801,
                                                                802
     9     676.                 Email chain from I.             FRE 401,
                   ALLEN        Anguiano. RE: Most Recent
   10              3098 -       CSFK Canada File. Copies        402, 602,
                   3104         of Defend Mom ads.              901, 801,
   11                                                           802
           677.                 Email chain from S. Boyd.       FRE 401,
   12              ALLEN        RE: Teething Ad for
                                Working Mother. Copy of         402, 602,
   13              3105 -
                   3109         discussed teething tablet ad.   901, 801,
   14                                                           802
           678.                 Email chain from S. Boyd.       FRE 401,
   15              ALLEN        RE: Defend/ Kiwi
                   3110 -       Insertions. Copies of Defend    402, 602,
   16              3113         Ads.                            901, 801,
                                                                802
   17      679.                 “Hyland’s Defend. (Includes     FRE 401,
                   ALLEN        Cold and Cough and Cold
   18              3114 -       and Cough Nighttime.)           402, 602,
                   3114                                         901, 801,
   19                                                           802
   20      680.                 Email chain from A. Fox         FRE 401,
                   ALLEN        RE: 2 Duratrans / Defend
                   3115 -       Expo West. Copy of              402, 602,
   21                           discussed Defend Ads.           901, 801,
                   3119
   22                                                           802
           681.                 Email chain from L. El          FRE 401,
   23              ALLEN        Awar RE: Quick Feedback /
                   3120 -       Leg Cramps PM. Copies of        402, 602,
   24              3129         the discussed leg cramps        901, 801,
                                ads.                            802
   25      682.                 Email chain from S. Boyd        FRE 401,
                   ALLEN        RE: Morgan Shephered
   26                           Outdoor Board. Copies of        402, 602,
                   3130 -
                   3133         the discussed leg cramps        901, 801,
   27                           ads.                            802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           683.                 Email chain from S. Jump     FRE 401,
     4             ALLEN        RE: Leg Cramps Display
                   3134 -       Case Revise.                 402, 602,
     5             3140                                      901, 801,
     6                                                       802
           684.                 Email chain from S. Boyd     FRE 401,
     7             ALLEN        RE: Treatment Info Design
                   3141 -       Project. Hyland’s baby       402, 602,
     8             3145         teething tablets.            901, 801,
                                                             802
     9     685.                 Email chain from R.          FRE 401,
                   ALLEN        Linares. RE: Examples of
   10              3146 -       Professional Information     402, 602,
                   3153         Sheets. Defend Products.     901, 801,
   11                                                        802
           686.                 Email chain from S. Boyd     FRE 401,
   12              ALLEN        RE: Top 15 products for
                                Expo East. Copies of the     402, 602,
   13              3154 -
                   3178         discussed top 15 Expo east   901, 801,
                                ads.                         802
   14
           687.                 Email chain from S. Boyd     FRE 401,
   15              ALLEN        RE: Prevention Mag Ad.
                   3179 -       Contains copy of discussed 402, 602,
   16              3184         Leg Cramps Ad.               901, 801,
                                                             802
   17      688.                 Email chain from S. Jump     FRE 401,
                   ALLEN        RE: Vitamin Shoppe Top 15
   18              3185 -       Sell Sheet. Ads for various 402, 602,
                   3196         products.                    901, 801,
   19                                                        802
   20      689.                 Email chain from S. Boyd     FRE 401,
                   ALLEN        RE: Baby Line Sell Sheets.
                   3197 -                                    402, 602,
   21                                                        901, 801,
                   3208
   22                                                        802
           690.                 Email chain from S. Boyd     FRE 401,
   23              ALLEN        RE: Leg Cramps Banner
                   3209 -       Revise.                      402, 602,
   24              3210                                      901, 801,
                                                             802
   25      691.                 Email chain from S. Boyd     FRE 401,
                   ALLEN        RE: Teething Bites T-shirt.
   26              3211 -       Copies of discussed teething 402, 602,
                   3219         tablets ads.                 901, 801,
   27                                                        802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           692.                 Email chain from S. Boyd       FRE 401,
     4             ALLEN        RE: Leg Cramps Ad.
                   3220 -                                      402, 602,
     5             3225                                        901, 801,
     6                                                         802
           693.                 Email chain from S. Jump       FRE 401,
     7             ALLEN        RE: Banner for Hyland’s
                                facebook. Copies of ads for    402, 602,
                   3226 -       baby products, defend          901, 801,
     8             3234         products, and leg cramps       802
     9                          products on facebook.
           694.                 Statement from S. Boyd RE: FRE 401,
   10              ALLEN        Subpoena compliance.
                   3235 -                                   402, 602,
   11              3236                                     901, 801,
                                                            802
   12      695.                 Email chain from S. Boyd    FRE 401,
                   ALLEN        RE: Scholastic Parent and
   13              3237 -       Child Ad. Defend Products. 402, 602,
                   3239                                     901, 801,
   14                                                       802
           696.                 Email chain from S. Jump    FRE 401,
   15              ALLEN        RE: Sample / Coupon Card,
                   3240 -       Calms Forte.                402, 602,
   16              3247                                     901, 801,
   17                                                       802
           697.                 Email chain from S. Boyd    FRE 401,
   18              ALLEN        RE: Healthy Mom and Baby
                                Web Banner. Defend          402, 602,
                   3248 -
   19              3260         Products.                   901, 801,
                                                            802
   20      698.                 “Hyland’s Colic Tablets.”   FRE 401,
                   ALLEN                                    402, 602,
   21              3261 -
                   3261                                     901, 801,
   22                                                       802
   23      699.                 Email chain from S. Jump    FRE 401,
                   ALLEN        RE: Mom’s 1st Club
                   3262 -       Coupon. Baby Colic          402, 602,
   24                           Products.                   901, 801,
                   3265
   25                                                       802
           700.                 Email chain from S. Jump    FRE 401,
   26              ALLEN        RE: CF- Taste for Life
                   3266 -       Banners. Defends Products. 402, 602,
   27              3273                                     901, 801,
                                                            802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           701.                 Email chain from S. Boyd     FRE 401,
     4             ALLEN        RE: Calms Forte Coupon.
                   3274 -                                    402, 602,
     5             3276                                      901, 801,
     6                                                       802
           702.                 Email chain from S. Boyd     FRE 401,
     7             ALLEN        RE: Morgan Shepherd
                   3277 -       Letter Template. Leg         402, 602,
     8             3290         Cramps Products.             901, 801,
                                                             802
     9     703.                 Email chain from S. Jump     FRE 401,
                   ALLEN        RE: Taste for Life and
   10              3291 -       Remedies and Updates.        402, 602,
                   3300         Calms Forte and Leg          901, 801,
   11                           Cramps Products.             802
           704.                 Invoice from Moxie Sozo to FRE 401,
   12              ALLEN        RAM for time spent
                                compiling documents for      402, 602,
   13              3301 -
                   3301         Subpoena.                    901, 801,
   14                                                        802
           705.                 Email chain from S. Jump     FRE 401,
   15              ALLEN        RE: ABC Kids EBlast PDF.
                   3302 -       Baby Products.               402, 602,
   16              3310                                      901, 801,
                                                             802
   17      706.                 “Hyland’s Seasonal           FRE 401,
                   ALLEN        Allergy”
   18              3311 -                                    402, 602,
                   3311                                      901, 801,
   19                                                        802
   20      707.                 Email chain from J. O’Brien FRE 401,
                   ALLEN        RE: Allergy Coupon- Edits.
                   3312 -                                    402, 602,
   21                                                        901, 801,
                   3313
   22                                                        802
           708.                 Email chain from S. Boyd     FRE 401,
   23              ALLEN        RE: Analgesic/ Sleep Insert
                   3314 -       Artwork Update. Multiple     402, 602,
   24              3328         products including leg       901, 801,
                                cramps, and Calms Forte.     802
   25      709.                 Email from T. Le RE:         FRE 401,
                   ALLEN        Teething Tablet Sell Sheets.
   26                           Baby Teething Tablets.       402, 602,
                   3329 -
                   3335                                      901, 801,
   27                                                        802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           710.                 Email chain from S. Boyd   FRE 401,
     4             ALLEN        RE: Defend / Leg Cramps
                   3336 -       Press Release.             402, 602,
     5             3349                                    901, 801,
     6                                                     802
           711.                 Email chain from T. Le RE: FRE 401,
     7             ALLEN        Ad mats for Defend
                   3350 -       Products. Various other    402, 602,
     8             3366         Defend ads and related     901, 801,
                                emails.                    802
     9     712.                 Statement from S. Boyd RE: FRE 401,
                   ALLEN        Subpoena Compliance.
   10              3367 -                                  402, 602,
                   3370                                    901, 801,
   11                                                      802
   12      713.    ALLEN -
           714.                 Statement from Presley PR      FRE 401,
   13              ALLEN        about what docs have been
                   3371 -       produced.                      402, 602,
   14              3371                                        901, 801,
                                                               802
   15      715.                 Email from L. Sasich           FRE 401,
                                (Presley) to S. Eykyn
   16                           (Hyland’s) RE: Next Steps,     402, 602,
                                coordination. Email            901, 801,
   17              ALLEN        conversations about            802
                   3372 -       production for Daily Buzz
   18              3400         commercial. Hylands
                                Teething Tablets.
   19
                                Attachments include a copy
   20                           of the sales agreement,
                                invoices, and scripts.
   21      716.                 Emails from L. Myers           FRE 401,
                                (Presley) to S. Eykyn
   22              ALLEN        (Hyland’s) RE: Initial         402, 602,
                   3401 -       pitching and negotiating.      901, 801,
   23              3426         Emails about negotiating       802
                                prices for the Daily Buzz
   24                           commercial segments.
           717.                 Emails from A. Salcedo to      FRE 401,
   25              ALLEN        The Daily Buzz RE:
                   3427 -       Production of Hyland’s TV      402, 602,
   26              3436         Spot. Baby Teething Tablets    901, 801,
                                Products.                      802
   27
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           718.                 Emails from M. Berens           FRE 401,
     4                          (Presley) to S. Eykyn
                                (Hyland’s) RE: Post-Airing      402, 602,
     5             ALLEN        Follow Up. Attachments          901, 801,
                   3437 -       include the Daily Buzz          802
     6             3453         Airing Confirmation Report
                                and final sales agreements /
     7                          invoices. Baby Teething
                                Tablets Products.
     8     719.                 Packaging layout / design       FRE 401,
                   ALLEN        blueprint for Allergy Relief.
     9             3454 -                                       402, 602,
                   3457                                         901, 801,
   10                                                           802
   11      720.                 Marketing research.             FRE 401,
                                “Homeopathic Medicine
                                Awareness Omnibus               402, 602,
   12              ALLEN        Survey.” Created by             901, 801,
   13              3486 -       Socratic Technologies.          802
                   3494         Talks about consumer
   14                           responses to various FDA
                                disclaimers found on
   15                           packaging.
           721.                 Marketing research.             FRE 401,
   16              ALLEN        “Hyland’s Women’s
                   3495 -       Products Restage & Package      402, 602,
   17              3565         Design Research.” Created       901, 801,
                                by Socratic Technologies.       802
   18      722.                 Marketing research.             FRE 401,
                                “Hyland’s Earache
   19              ALLEN        Treatment Package Design        402, 602,
                   3566 -       Research.” Created by           901, 801,
   20              3609         Socratic Technologies.          802
                                Consumer demographic
   21                           information.
           723.                 Purchase order to Socratic      FRE 401,
   22                           Technologies shipped to
                   ALLEN        Standard Homeopathic            402, 602,
   23              3610 -       Company. Item: “Omnibus         901, 801,
                   3630         Survey- Legal Disclaimer        802
   24                           Testing. Aug 2011.”
   25      724.                 Email from D. Childs to         FRE 401,
                   ALLEN        Mike Maonee RE: Medica
   26                           Questions Tabs. Website         402, 602,
                   3631 -
                   3631         Design issues.                  901, 801,
   27                                                           802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           725.                 Spreadsheets relating to    FRE 401,
     4             ALLEN        project management.
                   3632 -       Heavily redacted.           402, 602,
     5             3642                                     901, 801,
     6                                                      802
           726.                 Email from D. Chids to      FRE 401,
     7             ALLEN        Coeen Hepner RE: Omnibus
                   3643 -       Survey. Discussion about    402, 602,
     8             3647         setting up the survey and   901, 801,
                                questions to be asked.      802
     9     727.                 Survey questions sent to    FRE 401,
                   ALLEN        consumers. All of the
   10              3648 -       questions have been         402, 602,
                   3654         redacted.                   901, 801,
   11                                                       802
           728.                 Email from D. Childs to     FRE 401,
   12              ALLEN        Coeen Hepner RE: Hyland’s
                                banners. Website design     402, 602,
   13              3655 -
                   3657         issues.                     901, 801,
   14                                                       802
           729.                 “Hylands Omibus Survey.” FRE 401,
   15                           Spreadsheet that contains
                   ALLEN        consumer responses to       402, 602,
   16              3658 -       questions. Most questions   901, 801,
                   3697         relate to perception about  802
   17                           FDA disclaimers found on
                                packaging.
   18      730.                 Email from Coeen Hepner     FRE 401,
                   ALLEN        to L. E Awar. RE: Omnibus
                                Ideas.                      402, 602,
   19              3698 -
                   3698                                     901, 801,
   20                                                       802
           731.                 “Homeopathic Medicine       FRE 401,
   21              ALLEN        Awareness Omnibus
                                Survey.” Created by         402, 602,
   22              3699 -       Socratic Technologies.      901, 801,
                   3707         Consumer demographic        802
   23                           information.
           732.                 Email from D. Childs to A. FRE 401,
   24              ALLEN        Poulorum RE: Omnibus
                                Survey. Talks about the     402, 602,
                   3708 -
   25              3728         questions that are asked in 901, 801,
                                the survey.                 802
   26
   27
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           733.                 Email from C. Hepner to L.     FRE 401,
     4             ALLEN        Awar RE: Ombibus Survey.
                   3729 -       Contains a spreadsheet of      402, 602,
     5             3769         the responses to questions     901, 801,
                                that were asked.               802
     6
           734.                 Invoices from Vita-Tech        FRE 401,
     7             ALLEN        International to Standard
                   3770 -       Homeopathic for various        402, 602,
     8             3849         products. Mostly Calms and     901, 801,
                                Leg Cramps Products.           802
     9     735.                 Detailed product info and      FRE 401,
                   ALLEN        sales information from Vita-
   10                           Tech to Standard               402, 602,
                   3850 -       Homeopathic. Products are      901, 801,
   11              3864         Calms Forte, Leg Cramps,       802
                                and Calms.
   12      736.                 Quality Assurance Test       FRE 401,
                   ALLEN        Results and Inspection
   13              3865 -       Reports. From Vita-tech.     402, 602,
                   3918                                      901, 801,
   14                                                        802
           737.                 Purchase order from          FRE 401,
   15              ALLEN        Vitatech to Standard
                   3919 -       Homeopathic for Calms        402, 602,
   16              3919         Forte Labeling.              901, 801,
   17                                                        802
           738.                 Email from R. Ramirez to p. FRE 401,
   18                           Quevendo RE: Standard
                   ALLEN        Homeopathic. Discussion      402, 602,
   19              3920 -       about labeling artwork for   901, 801,
                   3937         Calms Forte. Attachments     802
   20                           include packaging
                                blueprints / design layouts.
   21      739.                 Sampling Records of Vita     FRE 401,
                   ALLEN        Tech manufactured
                   3938 -       products.                    402, 602,
   22
                   3960                                      901, 801,
   23                                                        802
           740.                 Calms Forte Sleep Aid        FRE 401,
   24              ALLEN        Packaging.
                                                             402, 602,
                   3961 -
   25              3961                                      901, 801,
                                                             802
   26
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           741.                 Information about Hyland’s  FRE 401,
     4             ALLEN        medicines for children.
                   3962 -                                   402, 602,
     5             3962                                     901, 801,
     6                                                      802
           742.                 “Packaging Materials Error FRE 401,
     7                          Acknowledgement and Hold
                                Harmless Agreement.”        402, 602,
     8             ALLEN        -Says that Standard         901, 801,
                   3963 -       Homeopathic acknowledges 802
     9             3963         the existence of errors on
                                the packaging materials for
   10                           Calms Forte.

   11      743.                 Ingredient list for Hyland’s     FRE 401,
                   ALLEN        Leg Cramps.
                   3964 -                                        402, 602,
   12                                                            901, 801,
                   3964
   13                                                            802
           744.                 Purchase orders for the          FRE 401,
   14              ALLEN        inspection reports that Vita
                   3965 -       Tech provided. Also has          402, 602,
   15              4038         detailed results of the          901, 801,
                                inspections.                     802
   16      745.                 Purchase orders for raw          FRE 401,
                   ALLEN        materials used in production
   17              4039 -       / Label approvals that           402, 602,
                   4048         certify the ingredients on the   901, 801,
   18                           labels are correct.              802
   19      746.                 Sampling reports from            FRE 401,
                   ALLEN        product inspections.
                                                                 402, 602,
   20              4049 -
                   4084                                          901, 801,
   21                                                            802
           747.                 Purchase orders for raw          FRE 401,
   22              ALLEN        materials used in production
                                / Label approvals that           402, 602,
   23              4085 -       certify the ingredients on the   901, 801,
                   4095         labels are correct.              802
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           748.                 Email from S. Andrade (vita    FRE 401,
     4                          tech) to J. Duquesnel
                                (Hyland’s) RE: Leg Cramps      402, 602,
     5                          Unit Boxes.                    901, 801,
                   ALLEN        “Our QA department has         802
     6                          discovered a box of 600 old
                   4096 -       Checkpoint unit boxes
     7             4097         mixed with the new ones
                                received on 2/6/2008. Please
     8                          advise if we should use
                                these.” Approval was
     9                          given.
           749.                 Sampling records for Leg       FRE 401,
   10              ALLEN        Cramps products.
                   4098 -                                      402, 602,
   11              4116                                        901, 801,
   12                                                          802
           750.                 “Deviation Process             FRE 401,
   13              ALLEN        Instruction Sheet.”
                   4117 -                                      402, 602,
   14              4118                                        901, 801,
                                                               802
   15      751.                 Email from Y. Gutierrez to FRE 401,
                   ALLEN        S. Andrade RE: Shrink
   16              4119 -       Wrap for Calms Forte.          402, 602,
                   4130         Attachment is the shrink       901, 801,
   17                           wrap specs.                    802
           752.                 Purchase orders for raw        FRE 401,
   18                           materials used in production
                   ALLEN        / Label approvals that         402, 602,
   19              4131 -       certify the ingredients on the 901, 801,
                   4170         labels are correct.
   20                                                          802
           753.                 “Label Error                   FRE 401,
   21              ALLEN        Acknowledgement and Hold
                   4171 -       Harmless Agreement.”           402, 602,
   22              4172         Calms Forte and Leg            901, 801,
                                Cramps.                        802
   23
           754.                 Sampling reports.              FRE 401,
   24              ALLEN                                       402, 602,
                   4173 -
   25              4216                                        901, 801,
                                                               802
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           755.                 Purchase orders for raw          FRE 401,
     4                          materials used in production
                   ALLEN        / Label approvals that           402, 602,
     5             4217 -       certify the ingredients on the   901, 801,
                   4226         labels are correct.
     6                                                           802
           756.                 Sampling reports.              FRE 401,
     7             ALLEN
                   4227 -                                      402, 602,
     8             4243                                        901, 801,
     9                                                         802
           757.                 Product labels for Leg         FRE 401,
   10              ALLEN        Cramps Products.
                   4244 -                                      402, 602,
   11              4247                                        901, 801,
                                                               802
   12      758.                 “Label Error                   FRE 401,
                   ALLEN        Acknowledgement and Hold
   13              4248 -       Harmless Agreement.”           402, 602,
                   4251         Clams Forte and Leg            901, 801,
   14                           Cramps.                        802
           759.                 Email from T. Shoda to S.      FRE 401,
   15              ALLEN        Andrade RE: Leg Cramps
                   4252 -       Caps Powder.                   402, 602,
   16              4253                                        901, 801,
   17                                                          802
           760.                 “Certificate of                FRE 401,
   18              ALLEN        Manufacture.” Certifies that
                                leg cramps products were       402, 602,
                   4254 -
   19              4257         manufactured in accordance 901, 801,
                                with HPUS.                     802
   20      761.                 Email chain from E.            FRE 401,
                                Graham (Hylands) to S.
   21              ALLEN        Andrade RE: Leg cramps /       402, 602,
                   4258 -       product purchasing.            901, 801,
   22              4440         These emails discuss           802
                                purchasing the products
   23                           from vitatech.
           762.                 Certificates of analysis.      FRE 401,
   24              ALLEN        Certifications that the listed
                                ingredients were found in      402, 602,
                   4441 -
   25              4444         the products that were         901, 801,
                                tested.                        802
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           763.                 Email chain from E.          FRE 401,
     4             ALLEN        Graham (Hylands) to S.
                   4445 -       Andrade RE: Product          402, 602,
     5             4566         purchasing.                  901, 801,
     6                                                       802
           764.                 “Documents for Standard      FRE 401,
     7             ALLEN        Homeopathic Products”
                   4567 -       This document talks about    402, 602,
     8             4567         VTI labeling the cramps and 901, 801,
                                calms products.              802
     9     765.                 Sampling reports and         FRE 401,
                   ALLEN        certificates of analysis.
   10              4568 -                                    402, 602,
                   4611                                      901, 801,
   11                                                        802
           766.                 Vita tech’s certificates for FRE 401,
   12              ALLEN        being in accordance with
                                Good Manufacturing           402, 602,
   13              4612 -
                   4619         Practices.                   901, 801,
   14                                                        802
           767.                 “Standard Homeopathic        FRE 401,
   15              ALLEN        2008 job info sheets.” File
                   4620 -       that contains purchase       402, 602,
   16              4743         orders and invoices.         901, 801,
                                                             802
   17      768.                 Vitatech’s Terms and         FRE 401,
                   ALLEN        Conditions. Contract
   18              4744 -       between Hylands and          402, 602,
                   4744         vitatech.                    901, 801,
   19                                                        802
   20      769.                 “Standard Homeopathic        FRE 401,
                   ALLEN        2009 job info sheets.” File
                   4745 -       that contains purchase       402, 602,
   21                           orders and invoices.         901, 801,
                   4914
   22                                                        802
           770.                 “Standard Homeopathic        FRE 401,
   23              ALLEN        2010 job info sheets.” File
                   4915 -       that contains purchase       402, 602,
   24              5069         orders and invoices.         901, 801,
                                                             802
   25      771.                 “Standard Homeopathic        FRE 401,
                   ALLEN        2011 job info sheets.” File
   26                           that contains purchase       402, 602,
                   5070 -
                   5353         orders and invoices.         901, 801,
   27                                                        802
   28
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     2   Exhibit                                                               to
                                                                               Objection
     3
           772.                 “Standard Homeopathic        FRE 401,
     4             ALLEN        2012 job info sheets.” File
                   5354 -       that contains purchase       402, 602,
     5             5547         orders and invoices.         901, 801,
     6                                                       802
           773.                 Allen0005548-0006565         FRE 401,
     7                          contains third party
                   ALLEN -      produced documents from 5 402, 602,
     8                          Circles Research.            901, 801,
                                                             802
     9     774.                 Confidentiality agreement    FRE 401,
                   ALLEN        between T. Le (Standard
   10              5548 -       Homeopathic) and M.          402, 602,
                   5550         Pitchard (5 Circles          901, 801,
   11                           Research).                   802
           775.                 Invoices from 5 circles to   FRE 401,
   12              ALLEN        Hyland’s RE: Teething Gel
                                Online Survey.               402, 602,
   13              5551 -
                   5552                                      901, 801,
   14                                                        802
           776.                 Email chain from T. Le       FRE 401,
   15                           (Hylands) to M. Pritchard (5
                   ALLEN        Circles) RE: Teething Gel    402, 602,
   16              5553 -       Survey. Describes how the 901, 801,
                   5559         survey will be implemented 802
   17                           and what questions will be
                                asked.
   18      777.                 Packaging pictures for       FRE 401,
                   ALLEN        Teething Gel and Teething
                                Tablets.                     402, 602,
   19              5560 -
                   5562                                      901, 801,
   20                                                        802
           778.                 The Teething Gel Survey.     FRE 401,
   21              ALLEN
                   5563 -                                    402, 602,
   22              6241                                      901, 801,
                                                             802
   23                           Powerpoint presentation that FRE 401,
           779.
   24              ALLEN        summarizes the results of
                   6242 -       the teething gel survey.     402, 602,
                   6287                                      901, 801,
   25
                                                             802
   26
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           780.                 The teething gel survey.       FRE 401,
     4             ALLEN
                   6288 -                                      402, 602,
     5             6565                                        901, 801,
     6                                                         802
           781.                 ALLEN0006566-0006569           FRE 401,
     7                          contains FTC advertising
                   ALLEN -      substantiation documents.      402, 403,
     8                                                         602, 901,
                                                               801, 802
     9     782.                 FTC Policy Statement           FRE 401,
                   ALLEN        Regarding Advertising
   10              6566 -       Substantiation.                402, 602,
                   6569                                        901, 801,
   11                                                          802
           783.                 FDA warning letter             FRE 401,
   12              ALLEN                                       402, 403,
   13              6614 -
                   6617                                        602, 901,
   14                                                          801, 802
           784.                 Chain Drug Review Article      FRE 401,
   15              ALLEN        from Westlaw
                   6618 -                                      402, 602,
   16              6620                                        901, 801,
                                                               802
   17      785.    ALLEN        FDA CPG § 400.400
                   6621 -
   18              6623
           786.                 Chain Drug Review Article      FRE 401,
   19              ALLEN        from Westlaw, Consumers
                   6624 -       seek natural health care       402, 602,
   20              6625         alternatives                   901, 801,
                                                               802
   21                           FDA Online Label
           787.                                                FRE 401,
   22              ALLEN        Repository
                   6627 -                                      402, 602,
                   6628                                        901, 801,
   23
                                                               802
   24      788.                 HealthGuidance- An             FRE 401,
                   ALLEN        Introduction to
   25              6629 -       Homeopathic Remedies           402, 602,
                   6631                                        901, 801,
   26                                                          802
           789.    ALLEN        Hyland’s Cough box
   27              6632 -
                   6633
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           790.                 PR Newswire, from               FRE 401,
     4                          Westlaw- Hyland’s Inc.
                                Reports More Consumers          402, 602,
     5                          Turn to Homeopathic             901, 801,
                   ALLEN        Medicines to Fight Illness at
     6             6634 -                                       802
                   6635         Home
                                Industry Sales Increase as
     7                          Consumers Put Their Trust
                                in Natural, Effective
     8                          Alternatives
           791.                 Chain Drug Review article     FRE 401,
     9             ALLEN        from Westlaw, Hyland’s
                   6636 -       offers ‘natural remedies that 402, 602,
   10              6638         work’.                        901, 801,
   11                                                         802
           792.                 Chain Drug Review article     FRE 401,
   12              ALLEN        from Westlaw, Hyland’s
                   6639 -       takes natural approach to     402, 602,
   13              6641         health care.                  901, 801,
                                                              802
   14      793.                 Chain Drug Review article     FRE 401,
                   ALLEN        from Westlaw, Knowing the
   15              6642 -       consumer is crucial,          402, 602,
                   6643                                       901, 801,
   16                                                         802
           794.                 FDA website- prescription     FRE 401,
   17              ALLEN        drug advertising questions
                   6644 -       and answers, filed as part of 402, 602,
   18              6644         dkt. no. 8-13, page 11 of 12 901, 801,
   19                                                         802
           795.                 FDA Warning Letters           FRE 401,
   20              ALLEN        search results
                                                              402, 602,
                   6645 -
   21              6646                                       901, 801,
                                                              802
   22      796.                 Hyland’s advertising- A safe FRE 401,
                   ALLEN        solution for every problem
   23              6647 -                                     402, 602,
                   6648                                       901, 801,
   24                                                         802
   25      797.    ALLEN        Calms Forte packaging
                   6649 -
   26              6649
           798.    ALLEN        Teething Tablets packaging
   27              6650 -
                   6650
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           799.    ALLEN        Migraine Headache Relief
     4             6651 -       Packaging
                   6651
     5     800.    ALLEN        Leg Cramps Packaging
                   6656 -
     6             6656
           801.    ALLEN        Defend Cold & Cough
     7             6657 -       Night Packaging
                   6657
     8     802.    ALLEN        Defend Cold & Cough
                   6658 -       Packaging
     9             6658
           803.    ALLEN        Hyland’s Cough Packaging
   10              6659 -       (flat box)
                   6659
   11              ALLEN        Seasonal Allergy Relief
           804.
                   6660 -       Packaging
   12              6660
           805.    ALLEN        Nutraceuticals World-       FRE 401,
   13              6661 -       Restful Legs
                   6661                                     402
   14                           Swiss Medical Weekly- The FRE 401,
           806.
                   ALLEN        Swiss report of
   15              6662 -       homeopathy: a case study of 402, 403,
                   6665         research misconduct         602, 901,
   16
                                                            801, 802
   17      807.                 Chain Drug Review article   FRE 401,
                   ALLEN        from Westlaw, ‘Very much
                   6666 -       a growth category’.         402, 403,
   18
                   6668                                     602, 901,
   19                                                       801, 802
           808.    ALLEN        Calms forte bottle
   20              6669 -
                   6670
   21      809.                 Library House of Commons, FRE 401,
                   ALLEN        Homeopathy and the
   22              6671 -       consolidation of UK       402, 602,
                   6675         medicines legislation     901, 801,
   23                                                     802
   24      810.    ALLEN        FDA Compliance Policy
                   6676 -       Guide
   25              6682
           811.    ALLEN        Hyland’s Newsletter:           FRE 401,
   26              6683 -       regulation of homeopathic
                   6688         drug products                  402
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           812.                 House of Commons Science    FRE 401,
     4             ALLEN        and Technology Committee
                   6689 -       Evidence Check 2            402, 403,
     5             6963         Homeopathy, fourth report   602, 901,
                                of session 2009-10          801, 802
     6
           813.                 Sodium Benzoate USP         FRE 401,
     7             ALLEN        MSDS
                   6964 -                                   402, 403,
     8             6969                                     602, 901,
                                                            801, 802
     9     814.                 USP NF information from     FRE 403,
                   ALLEN        USP.org
   10              6970 -                                   602, 701,
                   6971                                     901(a), 801,
   11                                                       802
           815.                 Consumerreports.org-        FRE 401,
   12              ALLEN        Homeopathic remedies can
                                cause confusion             402, 403,
   13              6972 -
                   6972                                     602, 901,
   14                                                       801, 802
           816.                 Chain Drug Review article   FRE 401,
   15              ALLEN        from Westlaw, Marketing as
                   6977 -       O-T-C options proves        402, 602,
   16              6978         effective.                  901, 801,
                                                            802
   17      817.                 Scientific Framework of     FRE 401,
                   ALLEN        Homeopathy, Evidence
   18              6979 -       Based Homeopathy 2012       402, 602,
                   7041                                     901, 801,
   19                                                       802
   20      818.                 American Association of     FRE 401,
                   ALLEN        Homeopathic Pharmacists-
                                Consumer Advertising        402, 602,
   21              7042 -       Guideline For Over-The-     901, 801,
                   7043         Counter Homeopathic
   22                                                       802
                                Medicines
   23      819.                 American Association of     FRE 401,
                   ALLEN        Homeopathic Pharmacists
   24              7044 -       addresses misleading claims 402, 602,
                   7045         by HCG Products as being    901, 801,
   25                           “homeopathic”               802
           820.                 21 CFR 184.1733 Sodium      FRE 401,
   26              ALLEN        Benzoate
                   7046 -                                   402, 403,
   27              7048                                     602, 901,
                                                            801, 802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           821.                 MedlinePlus Copper in Diet     FRE 401,
     4             ALLEN
                   7049 -                                      402, 403,
     5             7050                                        602, 901,
     6                                                         801, 802
           822.                 MedlinePlus Calcium            FRE 401,
     7             ALLEN        Hydroxide poisoning
                   7051 -                                      402, 403,
     8             7053                                        602, 901,
                                                               801, 802
     9     823.    ALLEN        Homeopathic Materia
                   7054 -       Medica Glonoinum
   10              7055
           824.                 Questions and Answers        FRE 401,
   11              ALLEN        about FDA’s Enforcement
                   7056 -       Action against Unapproved    402, 403,
   12              7060         Quinine Products             602, 901,
                                                             801, 802
   13                           National Center for
           825.                                              FRE 401,
                   ALLEN        Homeopathy- Homeopathic
   14                           Remedies Need to be          402, 403,
                   7061 -       Displayed with other         602, 901,
   15              7061         Products in Drug Stores, not 801, 802
                                in separate section
   16                           Chain Drug Industry Guide- FRE 401,
           826.
                   ALLEN        Hyland’s Inc.
   17              7062 -                                    402, 403,
                   7062                                      602, 901,
   18
                                                             801, 802
   19      827.                 National Center For          FRE 401,
                   ALLEN        Homoeopathy,
                   7063 -       Homeopathic Remedies         402, 403,
   20
                   7064         Thrive in Mainstream         602, 901,
   21                                                        801, 802
           828.                 Chain Drug Review article    FRE 401,
   22              ALLEN        from LexisNexis, Key to
                                driving sales: Location,     402, 403,
                   7065 -
   23              7066         location location.           602, 901,
                                                             801, 802
   24                           Hyland’s press releases-
           829.                                              FRE 401,
   25                           Working with FDA,
                   ALLEN        Standard Homeopathic         402, 403,
   26              7067 -       company voluntarily recalls 602, 901,
                   7068         Hyland’s teething tablets to 801, 802
   27                           address manufacturing
                                process
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           830.                 National Center for             FRE 401,
     4                          Homeopathy- Hyland’s Inc.
                   ALLEN        Reports more consumers          402, 403,
     5             7069 -       turn to homeopathic             602, 901,
                   7069         medicines to fight illness at   801, 802
     6                          home; industry sales
                                increase as consumer
     7     831.                 FDA and Medscape,               FRE 401,
                   ALLEN        Quinine and Leg Cramps:
     8             7070 -       Not Worth the Risk, the         402, 403,
                   7073         view from the FDA               602, 901,
     9                                                          801, 802
   10      832.                 Magnesium Stearate              FRE 401,
                   ALLEN        National Library of
                   7074 -       Medicine, Methods of            402, 403,
   11                           manufacturing                   602, 901,
                   7074
   12                                                           801, 802
           833.                 National Center for             FRE 401,
   13              ALLEN        Homeopathy, Homeopathy
                   7075 -       Caters to Nice-Specific         402, 403,
   14              7075         Conditions; the Annual          602, 901,
                                Niche Brands Report             801, 802
   15                           FDA, Questions and
           834.                                                 FRE 401,
                   ALLEN        Answers on the Occurrence
   16              7076 -       of Benzene in Soft Drinks       402, 403,
                   7077         and Other Beverages             602, 901,
   17
                                                                801, 802
   18      835.                 An overview of the              FRE 401,
                                regulation of homeopathic
                                drug products in the United     402, 403,
   19              ALLEN
                   7018 -       States and the Role of the      602, 901,
   20              7101         Homeopathic                     801, 802
                                Pharmacopoeia Convention
   21                           of the United States
                                Powerpoint
   22      836.                 Quinine for Nocturnal Leg   FRE 401,
                   ALLEN        Cramps, a Meta-Analysis
   23              7102 -       Including Unpublished Data 402, 403,
                   7108                                     602, 901,
   24                                                       801, 802
           837.                 Production of Benzene from FRE 401,
   25              ALLEN        Ascorbic Acid and Sodium
                                Benzoate, a White Paper     402, 403,
                   7109 -
   26              7112         produced by AIB             602, 901,
                                international               801, 802
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           838.                 National Library of         FRE 401,
     4             ALLEN        Medicine- Stearic Acid
                   7113 -       methods of manufacturing    402, 403,
     5             7120                                     602, 901,
     6                                                      801, 802
           839.                 National Center for         FRE 401,
     7             ALLEN        Homeopathy, Shoppers Try
                   7121 -       Natural, Unproven Cold      402, 403,
     8             7122         Remedies, Sometimes         602, 901,
                                Without Realizing it        801, 802
     9     840.                 Diluted Nitroglycerin USP   FRE 401,
                   ALLEN        MSDS
   10              7123 -                                   402, 403,
                   7128                                     602, 901,
   11                                                       801, 802
           841.                 FDA News, Serious risks     FRE 401,
   12              ALLEN        associated with using
                                Quinine to prevent or treat 402, 403,
   13              7129 -
                   7129         nocturnal leg cramps        602, 901,
   14                                                       801, 802
           842.                 21 CFR 182.3616 Potassium FRE 401,
   15              ALLEN        bisulfite
                   7130 -                                   402, 403,
   16              7130                                     602, 901,
                                                            801, 802
   17      843.                 HPUS Calcarea phosphorica FRE 401,
                   ALLEN        Monograph
   18              7131 -                                   402, 403,
                   7131                                     602, 901,
   19                                                       801, 802
   20      844.                 HPUS Sulphur Iodatum        FRE 401,
                   ALLEN        Monograph
                   7132 -                                   402, 403,
   21                                                       602, 901,
                   7132
   22                                                       801, 802
           845.                 HPUS Hepar Sulphuris        FRE 401,
   23              ALLEN        Calcareum Monograph
                   7133 -                                   402, 403,
   24              7133                                     602, 901,
                                                            801, 802
   25      846.                 HPUS Causticum              FRE 401,
                   ALLEN        Monograph
   26                                                       402, 403,
                   7134 -
                   7134                                     602, 901,
   27                                                       801, 802
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           847.                 HPUS Calcarea Carbonica       FRE 401,
     4             ALLEN        Monograph
                   7135 -                                     402, 403,
     5             7135                                       602, 901,
     6                                                        801, 802
           848.                 HPUS Silicea Monograph        FRE 401,
     7             ALLEN                                      402, 403,
                   7136 -
     8             7136                                       602, 901,
                                                              801, 802
     9     849.                 HPUS Antominium               FRE 401,
                   ALLEN        Tartaricum Monograph
   10              7137 -                                     402, 403,
                   7137                                       602, 901,
   11                                                         801, 802
           850.                 HPUS Histaminum               FRE 401,
   12              ALLEN        Hydrochloricum
                                Monograph                     402, 403,
   13              7138 -
                   7138                                       602, 901,
   14                                                         801, 802
           851.    ALLEN        Leg Cramps and Calms          FRE 401,
   15              7139 -       Forte Package Insert
                   7140                                       402
   16      852.                 Blackie Memorial Lecture      FRE 401,
                   ALLEN        2001
                                                              402, 403,
   17              7141 -
                   7155                                       602, 901,
   18                                                         801, 802
           853.                 Hyland’s Media, Regulation FRE 401,
   19              ALLEN        of homeopathic drug
                   7156 -       products                      402, 602,
   20              7161                                       901, 801,
                                                              802
   21              ALLEN        21 CFR 173.280 Solvent
           854.                                               FRE 401,
   22              7162 -       extraction process for citric
                   7162         acid                          402
   23      855.    ALLEN        FDA consumer health           FRE 401,
                   7163 -       information, Hyland’s
   24              7163         Teething Tablets: Questions 402
                                and Answers
   25      856.                 21 CFR 330.1 General          FRE 401,
                   ALLEN        conditions for general
                   7164 -       recognitions as safe          402
   26              7167         effective and not
   27                           misbranded

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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           857.    SHCALLE Various advertisement          FRE 401,
     4             N 000045- Campaigns for different
                   50        products.                    402
     5     858.              Natural Foods Merchandiser FRE 401,
                             Hylands kids
     6                                                    402
           859.                                           FRE 401,
     7                       SHCALLEN000058-59
                                                          402
     8     860.              Magazine advertisement       FRE 401,
                             campaign Woman’s Day for
                             Leg Cramps product           402
     9
           861.              Sales pitch to retailers.    FRE 401,
   10                        SHCALLEN 000080
                                                          402
           862.              Advertisement: Leg           FRE 401,
   11                        Cramps, Leg cramps PM;
                             Muscle Therapy, Arnica,      402
   12                        Leg Cramps (various leg
                             cramp products); Leg
   13                        Cramps, Restful Legs,
                             Calms Forte, poor resolution
   14                        can’t tell what one of the
                             products is, Muscle
   15                        Therapy, Arnica (On Sale
                             This Month!). SHCALLEN
   16                        000081-83
           863.              Calms Forte, Restful Legs,   FRE 401,
   17                        Leg Cramps advertisement
                             SHCALLEN 000084-85           402
   18                        Hyland’s distributors march FRE 401,
           864.
                             madness ad, 20% off
   19                        SHCALLEN 000086              402
           865.              Hyland’s Calms and pain      FRE 401,
   20                        relief ads- cycling,
                             basketball SHCALLEN          402
   21                        000087-89
           866.              Advertisement: Leg           FRE 401,
   22                        Cramps. Call Today For A
                             Free Sample. America’s #1 402
   23                        OTC Leg Cramp Medicine.
                             %100 Natural SHCALLEN
   24                        000090
   25      867.              Advertisement: Leg           FRE 401,
                             Cramps. Call Today For A
                             Free Sample. America’s #1 402
   26                        OTC Leg Cramp Medicine.
                             100% Natural SHCALLEN
   27                        000091
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           868.                 Advertisement: Leg               FRE 401,
     4                          Cramps. Call Today For A
                                Free Sample. America’s #1        402
     5                          OTC Leg Cramp Medicine.
                                SHCALLEN 000092
     6     869.                 Advertisement: Leg               FRE 401,
                                Cramps. Call Today For A
     7                          Free Sample. America’s #1        402
                                OTC Leg Cramp Medicine.
     8                          SHCALLEN 000093
           870.                 Advertisement: Leg               FRE 401,
     9                          Cramps. Call Today For A
                                Free Sample. America’s #1        402
   10                           OTC Leg Cramp Medicine.
                                . 100% Natural (TM of
   11                           stores that carry the
                                product). SHCALLEN
   12                           000094-99
           871.                 Advertisement: Leg               FRE 401,
   13                           Cramps. Call Today For A
                                Free Sample. America’s #1        402
   14                           OTC Leg Cramp Medicine.
                                . (TM of stores that carry the
   15                           product). SHCALLEN
                                000100-101
   16      872.                 Advertisement:                   FRE 401,
                                Leg Cramps, Restful Legs.
   17                           ON SALE NOW! 100%                402
                                Natural SHCALLEN
   18                           000102
           873.                 Advertisement:                   FRE 401,
   19                           Leg Cramps, Restful Legs.
                                ON SALE NOW! 100%                402
   20                           Natural. Coupon
                                SHCALLEN 000103
   21      874.                 Advertisement:                   FRE 401,
                                Leg Cramps, Earache Drops
   22                           ON SALE NOW!                     402
                                SHCALLEN 000104
   23      875.                 Advertisement:                   FRE 401,
                                Leg Cramps, Muscle
   24                           Therapy. All Natural             402
                                SHCALLEN 000105
   25      876.                 Advertisement:                   FRE 401,
                                Leg Cramps, Muscle
   26                           Therapy. All Natural.            402
                                Coupon SHCALLEN
   27                           000106
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           877.                 Legion Magazine                FRE 401,
     4                          (Advertisement Campaign):
                                Leg Cramps, America’s #1       402
     5                          OTC leg cramp medicine,
                                free sample, 100% Natural
     6                          (does not appear on every
                                advertisement).
     7                          SHCALLEN 000107-116
           878.                 Advertisement: Arnica 30x,     FRE 401,
     8                          Leg Cramps, Leg Cramps
                                PM. 100% Natural. Coupon       402
     9                          SHCALLEN 000117
           879.                 Arthritis Today Magazine:      FRE 401,
   10                           Leg Cramps. America’s #1
                                OTC SHCALLEN 000118-           402
   11                           121
           880.                 BEST Magazine (Wal-            FRE 401,
   12                           Mart): Leg Cramps,
                                America’s #1 OTC leg           402
   13                           cramp medicine, 100%
                                Natural.
   14
                                Tear-and-Go Shopping List
   15                           (Wal-Mart): Calms Forté,
                                Leg Cramps, Restful Legs
   16
                                Advertisement: Restful legs
   17                            SHCALLEN 000122-125
           881.                 Fibromalgia Aware              FRE 401,
   18                           Magazine: Advertisement –
                                Leg Cramps, America’s #1       402
   19                           OTC, Free Sample, 100%
                                Natural SHCALLEN
   20                           000126-127
           882.                 Golf Digest Magazine: Leg      FRE 401,
   21                           Cramps – America’s #1 leg
                                cramp medicine!                402
   22                           SHCALLEN 000128-129
           883.                 Good Housekeeping              FRE 401,
   23                           Magazine: Leg Cramps - #1
                                OTC, 100% Natural (does        402
   24                           not appear on all
                                advertisements)
   25                           SHCALLEN 000130-135
           884.                 Elle Magazine – Leg            FRE 401,
   26                           Cramps SHCALLEN
                                000136-137                     402
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           885.                 In Style Magazine – Leg        FRE 401,
     4                          Cramps, 100% Natural &
                                Homeopathic, SHCALLEN          402
     5                          000138-139
           886.                 Taste for Life: Muscle         FRE 401,
     6                          Therapy, Leg Cramps. All
                                Natural, Coupon.               402
     7                          SHCALLEN 000140-141
           887.                 Golf Digest Magazine: Leg      FRE 401,
     8                          Cramps, 100% Natural.
                                SHCALLEN 000142-143            402
     9     888.                 Red Book Magazine: Leg         FRE 401,
                                Cramps, 100% Natural
   10                           SHCALLEN 000144-145            402
           889.                 Ladies’ Home Journal: Leg      FRE 401,
   11                           Cramps, America’s #1 OTC
                                leg cramp medicine. 100%       402
   12                           Natural (does not appear on
                                all advertisements)
   13                           SHCALLEN000146-151.
           890.                 Natural Solutions Magazine:    FRE 401,
   14                           Leg Cramps, America’s #1
                                OTC leg cramp medicine.        402
   15                           100% Natural.
                                SHCALLEN 000152-157
   16      891.                 Newsweek: Leg Cramps,          FRE 401,
                                America’s #1 OTC leg
   17                           cramp medicine.                402
                                SHCALLEN 000160-161
   18                           Readers Digest: Leg
           892.                                                FRE 401,
                                Cramps, America’s #1 OTC
   19                           leg cramp medicine             402
                                SHCALLEN 000162-175
   20                           Red Book Magazine: Leg
           893.                                                FRE 401,
                                Cramps, America’s #1 OTC
   21                           leg cramp medicine!            402
                                SHCALLEN 000176-179
   22                           Legion Magazine and
           894.                                                FRE 401,
                                Veterans of Foreign Wars:
   23                           Leg Cramps, America’s #1       402
                                OTC leg cramp medicine:
   24                           100% Natural (does not
                                appear on every
   25                           advertisement).
                                SHCALLEN 000180-183
   26
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           895.                 Advertisement: Defend          FRE 401,
     4                          Could & Cough, 100%
                                Natural                        402
     5                          SHCALLEN 000184-187
     6     896.                 Progressive Grocer                FRE 401,
                                Magazine: Advertisement
     7                          for Defend, Coup Syrup,           402
                                Cold n Cough SHCALLEN
     8                          000188-189
           897.                 Kiwi Magazine: Defend             FRE 401,
     9                          Sinus, Could & Cough,
                                Could & Cough Night               402
   10                           SHCALLEN 000193-196
           898.                 Los Angeles Magazine:             FRE 401,
   11                           Defend Sinus, Could &
                                Cough, Could & Cough              402
   12                           Night SHCALLEN 000197
           899.                 Article written by Mary           FRE 401,
   13                           Borneman, director of
                                communications & public           402
   14                           affairs for Hyland’s,
                                regarding Hyland’s Cold n
   15                           Cough SHCALLEN 000198
           900.                 Non foods hand book –             FRE 401,
   16                           advertisement: Defend
                                Sinus, Could & Cough,             402
   17                           Cold & Cough Night
                                SHCALLEN 000199
   18      901.                 Working Mother Magazine: FRE 401,
                                Hyland’s celebrate your
   19                           mom! SHCALLEN 000202- 402
                                207
   20      902.                 Working Mother: Defend            FRE 401,
                                Cold & Cough, 100%
   21                           Natural SHCALLEN                  402
                                000209-211
   22      903.                 Ok! Magazine: Defend Cold FRE 401,
                                & Cough, 100% natural
   23                           SHCALLEN 000212-213               402
           904.                 Parent & Child Magazine:          FRE 401,
   24                           Defend Cold & Cough,
                                100% Natural SHCALLEN 402
   25                           000214-215
           905.                 Progressive Grocer                FRE 401,
   26                           Magazine: Various
                                Hyland’s products, 100            402
   27                           percent natural SHCALLEN
                                000216-217
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           906.                 Kiwi Magazine:                 FRE 401,
     4                          Advertisement for Defend,
                                Coup Syrup, Cold n Cough       402
     5                          (all natural). SHCALLEN
                                000221-224
     6     907.                 Ladies Home Journal:           FRE 401,
                                Defend Cold & Cough,
     7                          100% Natural SHCALLEN          402
                                000225-226
     8     908.                 Non foods hand book:           FRE 401,
                                Advertisement for Defend,
     9                          Coup Syrup, Cold n Cough       402
                                (SHCALLEN 000200)
   10      909.                 Parent & Child Magazine:       FRE 401,
                                Hyland’s celebrate your
   11                           mom! SHCALLEN 000230-          402
                                231
   12      910.                 Working Mother:                FRE 401,
                                Advertisement for Defend,
   13                           Coup Syrup, Cold n Cough       402
                                SHCALLEN 000232-
   14                           000235
           911.                 Hyland’s Consumer Ad           FRE 401,
   15                           Calendar 2008-2009
                                SHCALLEN 000236                402
   16      912.                 Teething Tablets/Gel 2008      FRE 401,
                                Advertising and Media
   17                           Plans SHCALLEN 000237          402
           913.                 2010 Ad Schedule (Adults)      FRE 401,
   18                           SHCALLEN 000238
                                                               402
   19      914.                 2010 Ad Schedule (Baby/4       FRE 401,
                                Kids) SHCALLEN 000239
   20                                                          402
           915.                 2011 Ad Schedule (Adults)      FRE 401,
   21                           SHCALLEN 000240
                                                               402
   22      916.                 2011 Ad Schedule (Baby/4       FRE 401,
                                Kids) SHCALLEN 000241
                                                               402
   23      917.                 2011 Marketing Plan for        FRE 401,
                                Hyland’s Better Than Ever
   24                           Teething Tablets               402
                                SHCALLEN 000242
   25      918.                 2011-12 Marketing Plan for     FRE 401,
                                Hyland’s Defend: Cold &
   26                           Cough and Sinus Medicines      402
                                SHCALLEN 000243-244
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           919.                 2011 Marketing Plan for        FRE 401,
     4                          Hyland’s Pediatric
                                Cough/Cold/Allergy             402
     5                          Medicines SHCALLEN
                                000246
     6     920.                 2011-12 Marketing Plan for     FRE 401,
                                Hyland’s Baby Teething
     7                          Tablets SHCALLEN               402
                                000247
     8     921.                 Hyland’s Defend 2011/12        FRE 401,
                                Cold Season Ad Schedule
     9                          SHCALLEN 000248                402
           922.                 Advertisement: Teething        FRE 401,
   10                           Tablets, 100% Natural,
                                barcode campaign               402
   11                           SHCALLEN 000253-257
           923.                 2012 Consumer Marketing        FRE 401,
   12                           (Baby/4 Kids), quarter
                                breakdown SHCALLEN             402
   13                           000258
           924.                 2012 Consumer Marketing        FRE 401,
   14                           (adults) SHCALLEN
                                000259                         402
   15                           Hyland’s Defend 2011-12
           925.                                                FRE 401,
                                Cold Season Ad Schedule
   16                           SHCALLEN 000260                402
           926.                 Marketing Plan 2012-2013       FRE 401,
   17                           for Defend SHCALLEN
                                000261                         402
   18                           Marketing plan for MOMs
           927.                                                FRE 401,
                                Moms: Our Core
   19                           Consumers SHCALLEN             402
                                000262-273
   20                           Marketing Campaign
           928.                                                FRE 401,
                                Metrics SHCALLEN
   21                           000274-277                     402
           929.                 Hyland’s Clearance Report,     FRE 401,
   22                           Performance by network,
                                Performance by week by         402
   23                           network, SHCALLEN
                                000278-290
   24                           Advertisement for various
           930.                                                FRE 401,
                                Hyland’s Products for
   25                           children. Teething etc.        402
                                SHCALLEN 000291-302
   26
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           931.                 Progressive Grocer:            FRE 401,
     4                          Advertisement for various
                                Hyland’s Products for          402
     5                          children. 100% Natural.
                                SHCALLEN 000304
     6     932.                 Review Traded:                 FRE 401,
                                Advertisement for various
     7                          Hyland’s Products for          402
                                children. SHCALLEN
     8                          000305
           933.                 Natural Foods Merchandiser     FRE 401,
     9                          (NFM): Advertisement for
                                various Hyland’s Products      402
   10                           for children. 100% Natural.
                                SHCALLEN 000309
   11      934.                 Working Mother Magazine:       FRE 401,
                                Teething Advertisement,
   12                           100% Natural SHCALLEN          402
                                000312-313
   13      935.                 Brain, Child Magazine:         FRE 401,
                                Advertisement for various
   14                           Hyland’s Products for          402
                                children. Poor quality
   15                           image. SHCALLEN
                                000314-315
   16      936.                 Parenting Magazine:            FRE 401,
                                Teething Tablets
   17                           SHCALLEN 000316-318            402
           937.                 American Baby Magazine:        FRE 401,
   18                           Teething Tablets
                                SHCALLEN 000319-320            402
   19      938.                 Baby Talk: Teething            FRE 401,
                                Tablets, Cough Syrup
   20                           SHCALLEN 000320-328            402
           939.                 Kiwi Magazine: Teething        FRE 401,
   21                           Tablets SHCALLEN
                                000333-334                     402
   22                           Parenting and Mothering
           940.                                                FRE 401,
                                Magazine Ads
   23                           SHCALLEN 000335-345            402
           941.                 Parenting Magazine:            FRE 401,
   24                           Teething Tablets
                                                               402
   25      942.                 Advertisement Campaign:        FRE 401,
                                Various Hyland’s Products
   26                           SHCALLEN 000352-357            402
   27
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           943.                 Natural Healing Magazine:       FRE 401,
     4                          Various Hyland’s Products
                                for Children. 100% Natural      402
     5                          SHCALLEN 000358-363
           944.                 Various Hyland’s Products       FRE 401,
     6                          for Children. 100% Natural
                                SHCALLEN 000364-369             402
     7     945.                 Natural Foods Merchandiser      FRE 401,
                                Magazine: Various
     8                          Hyland’s Products for           402
                                Children. 100% Natural
     9                          SHCALLEN000053-54
           946.                 Brain, Child: Various           FRE 401,
   10                           Hyland’s Products for
                                Children SHCALLEN               402
   11                           000372-373
           947.                 Pregnancy & Newborn             FRE 401,
   12                           Magazine: Various
                                Hyland’s Products for           402
   13                           Children SHCALLEN
                                000377-380
   14      948.
   15      949.                 Calms Forté, 100% Natural       FRE 401,
                                SHCALLEN 000381-383;
                                385-407; 411-428                402
   16
           950.                 Hyland’s colic tablets, baby    FRE 401,
   17                           market info,
                                SHCALLEN001529-1533             402
   18      951.                 Hyland’s Defend Ad, Kids        FRE 401,
                                Cough & Cold Messaging
                                SHCALLEN001534-1544             402
   19
           952.                 Leg Cramps Messaging            FRE 401,
   20                           SHCALLEN001545-1546;
                                1549-1552; 1555-1556            402
   21      953.                 Teething tablets ad, teething   FRE 401,
                                gel, children’s market info
                                SHCALLEN001557-1567             402
   22
           954.                 Product Advertisements          FRE 401,
   23                           SHCALLEN001581-1589
                                                                402
   24      955.                 Teething product                FRE 401,
                                comparison chart
                                SHCALLEN001590                  402
   25                           Hylands Advertisements
           956.                                                 FRE 401,
   26                           SHCALLEN001591-1628
                                                                402
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           957.                 Hyland’s mail                  FRE 401,
     4                          catalog/product info re
                                homeopathic ingredients        402
     5                          SHCALLEN001661-1676
           958.                 Hyland’s homeopathic           FRE 401,
     6                          catalog
                                SHCALLEN001703-                402
     7                          001715; 1716-1731
           959.                 Hyland’s homeopathic           FRE 401,
     8                          catalog 1677-1702
                                                               402
     9     960.                 Sleep survey with %            FRE 401,
                                responses SHCALLEN
   10                           001785-001791                  402
           961.                 Leg cramps survey results      FRE 401,
   11                           from internet survey
                                SHCALLEN 001873-1879           402
   12      962.                 Guideline Inc., Hylands        FRE 401,
                                Sleep Survey SHCALLEN
   13                           001896-001923                  402, 602,
                                                               901, 801,
   14                                                          802
           963.                 Teething tablets: Fullbright
   15                           & Jaworski’s response to
                                CLRA letter- money back
   16                           guarantee, revising ads
                                SHCALLEN 001948-1949
   17                           Response to CLRA-
           964.
                                seasonal allergy relief,
   18                           fullbright & jaworski
                                SHCALLEN 001950-1951
   19                           Response to CLRA- leg
           965.
                                cramps, fullbright &
   20                           jaworski SHCALLEN
                                001952-1953
   21                           Response to CLRA-
           966.
                                DEFEND cold&cough
   22                           night, fullbright & jaworski
                                SHCALLEN 001954-1955
   23                           Response to CLRA-
           967.
   24                           Cold’ncough 4 kids,
                                fullbright & jaworski
   25                           SHCALLEN 001956-1957
           968.                 Response to CLRA-calms,
   26                           baby tabs, migraine relief,
                                clearac, poison ivy/oak and
   27                           other products SHCALLEN
                                001958-1959
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           969.                 Response to CLRA- Calms
     4                          and other products,
                                fullbright & jaworski
     5                          SHCALLEN 001960-1961
           970.                 Articles of Incorporation,     FRE 401,
     6                          Standard Homeopathic, NV
                                SHCALLEN 001963-1969           402
     7     971.                 Amendment to articles of       FRE 401,
                                inc. for Standard
     8                          Homeopathic Company            402
                                SHCALLEN 001970-1974
     9     972.                 Amendment to articles of       FRE 401,
                                inc. SHCALLEN 001975-
   10                           1980                           402
           973.                 Inventory of row labels for    FRE 401,
   11                           hylands products (how
                                many of each product’s row     402, 602,
   12                           labels made)                   901, 801,
                                SHCALLEN002026-2027            802
   13
           974.                 Website and reviews
   14                           SHCALLEN 002029-2240
           975.                 Calms product description      FRE 401,
   15                           SHCALLEN 002258
                                                               402
   16      976.                 Hyland’s baby teething
                                tablets product description
   17                           SHCALLEN002452
           977.                 Hyland’s Seasonal Allergy
   18                           Relief Product Description
                                SHCALLEN002678-2679
   19      978.                 Hyland’s Colic Tablets
                                Product Descrtiption
   20                           SHCALLEN002827-2830
           979.                 Hyland’s DEFEND Cough
   21                           & Cold Night product
                                description
   22                           SHCALLEN002925-2926
           980.                 Hyand’s DEFEND cold &
   23                           Cough product description
                                and bibliography
   24                           SHCALLEN003420
           981.                 Hyland’s Migraine
   25                           Headache Relief product
                                description
   26                           SHCALLEN 003772-
                                003775
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           982.                 Hyland’s Migraine
     4                          Headache Relief Proof of
                                Claims
     5                          SHCALLEN 003776
           983.                 Hyland’s Leg Cramps with
     6                          Quinine PM, Product
                                description
     7                          SHCALLEN 004299
           984.                 Hyland’s Cough product
     8                          description
                                SHCALLEN 004704
     9     985.                 Date of first known sale
                                chart
   10                           SHCALLEN 004890
           986.                 2008 complaints                FRE 401,
   11                           SHCALLEN 004908-5135
                                                               402, 403,
   12                                                          602, 901,
   13                                                          801, 802
           987.                 2009 complaints summary        FRE 401,
   14                           SHCALLEN 005139-5144
                                                               402, 403,
   15                                                          602, 901,
                                                               801, 802
   16      988.                 Calms Forte complaints-        FRE 401,
                                does not work, numbness,
   17                           headache,                      402, 403,
                                SHCALLEN 005214-5273           602, 901,
   18                                                          801, 802
   19      989.                 Cough complaints- tastes       FRE 401,
                                bad, didn’t work
                                SHCALLEN 005363-5368           402, 403,
   20                                                          602, 901,
   21                                                          801, 802
           990.                 2010 complaints summary        FRE 401,
   22                           SHCALLEN 005375-5379
                                                               402, 403,
   23                                                          602, 901,
                                                               801, 802
   24      991.                 2011 complaints summary        FRE 401,
                                SHCALLEN 005743-5749
   25                                                          402, 403,
                                                               602, 901,
   26                                                          801, 802
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
           992.                 2012 complaints summary        FRE 401,
     4                          SHCALLEN 006746-6749
                                                               402, 403,
     5                                                         602, 901,
     6                                                         801, 802
           993.                 SAE’s and related              FRE 401,
     7                          mandatory forms for all
                                products                       402, 403,
     8                          SHCALLEN 007008-7040           602, 901,
                                                               801, 802
     9     994.                 Teething Tablet Recall-        FRE 401,
                                complaints regarding
   10                           customers that used            402, 403,
                                products during recall         602, 901,
   11                           period SHCALLEN 7205-          801, 802
                                7209
   12      995.                 Hyland’s press release re:     FRE 401,
                                voluntary recall
   13                           SHCALLEN 7598-7599             402, 403,
                                                               602, 901,
   14                                                          801, 802
           996.                 website info                   FRE 401,
   15                           SHCALLEN007926-7948
                                                               402
   16      997.                 Hylands.com news and           FRE 401,
                                press releases
   17                           SHCALLEN007971-7974            402
           998.                 Hylands.com news and           FRE 401,
   18                           press releases
                                SHCALLEN007978-7979            402
   19      999.                 Video: rep at vitamin          FRE 401,
                                shoppe talking about calms,
   20                           nerve tonic                    402
                                SHCALLEN008002
   21     1000.                 Standard Homeopathic           FRE 401,
                                Company’s Reply Letter to
   22                           Food and Drug                  402, 403,
                                Administration’s Warning       602, 901,
   23                           Letter                         801, 802
                                SHCALLEN008894-8902
   24     1001.                 Omnibus Survey Results-        FRE 401,
                                FDA Claims
   25                           SHCALLEN 011649-11652          402, 602,
                                                               901, 801,
   26                                                          802
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     3
          1002.                 Unredacted FDA FOIA            FRE 401,
     4                          Documents
                                SHCALLEN0011725-               402, 403,
     5                          0011762                        602, 901,
     6                                                         801, 802
          1003.                 Response to FDA letter         FRE 401,
     7                          dated 5/14/12.
                                SHCALLEN0011766-               402, 403,
     8                          0011775                        602, 901,
                                                               801, 802
     9    1004.                 FDA letter to SHC.             FRE 401,
                                SHCALLEN0011783-
   10                           0011789                        402, 403,
                                                               602, 901,
   11                                                          801, 802
          1005.                 Whole Sale Price List          FRE 401,
   12                           Effective 01/01/2009
                                SHCALLEN011873-                402, 602,
   13                           SHCALLEN011876                 901
          1006.                 Chain Price Comparison         FRE 401,
   14                           2009 vs. 2007
                                SHCALLEN011877-                402
   15                           SHCALLEN011878
          1007.                 Chain Price List               FRE 401,
   16                           Effective 01/01/2009
                                SHCALLEN011879-                402
   17                           SHCALLEN011880
          1008.                 Drug & Food Wholesaler         FRE 401,
   18                           Price List
                                Effective 01/01/2009           402
   19                           SHCALLEN011881-
                                SHCALLEN011882
   20                           Mail Order & Internet Price
          1009.                                                FRE 401,
                                List
   21                           Effective 01/01/2009           402
                                SHCALLEN011883-
   22                           SHCALLEN011886
   23     1010.                 NF Distributor Price           FRE 401,
                                Comparison
                                2007 vs. 2009                  402
   24                           SHCALLEN011891-
                                SHCALLEN011894
   25                           NF Distributor Price List
          1011.                                                FRE 401,
   26                           Effective 01/01/2009
                                SHCALLEN011899-                402
   27                           SHCALLEN011900

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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
          1012.                 Wholesale Price List           FRE 401,
     4                          Effective 01/01/2009
                                SHCALLEN011895-                402
     5                          SHCALLEN011898
          1013.                 Chain Price List               FRE 401,
     6                          Effective 01/01/2009
                                SHCALLEN011899-                402
     7                          SHCALLEN011900
          1014.                 Drug & Food Wholesaler         FRE 401,
     8                          Price List
                                Effective 01/01/2009           402
     9                          SHCALLEN011901-
                                SHCALLEN011902
   10     1015.                 Mail Order & Internet Price    FRE 401,
                                List Effective 01/01/2009
   11                           SHCALLEN011903-                402
                                SHCALLEN011906
   12     1016.                 NF Distributor Price List      FRE 401,
                                Effective 01/01/2009
   13                           SHCALLEN011907-                402
                                SHCALLEN011911
   14     1017.                 Wholesale Price List           FRE 401,
                                Effective 01/01/2009
   15                           SHCALLEN011912-                402
                                SHCALLEN011915
   16     1018.                 Chain Price List               FRE 401,
                                Effective 01/01/2009
   17                           SHCALLEN011916-                402
                                SHCALLEN011917
   18                           Drug & Food Wholesaler
          1019.                                                FRE 401,
                                Price List
   19                           Effective 01/01/2009           402
                                SHCALLEN011916-
   20                           SHCALLEN011917
          1020.                 NF Distributor Price List      FRE 401,
   21                           Effective 01/01/2009
                                SHCALLEN011920-                402
   22                           SHCALLEN011924
          1021.                 Mail Order & Internet Price    FRE 401,
   23                           List
                                Effective 01/01/2009           402
   24                           SHCALLEN011925-
                                SHCALLEN011928
   25                           Wholesale Price List
          1022.                                                FRE 401,
                                Effective 07/01/2007
   26                           SHCALLEN011929-                402
                                SHCALLEN011932
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
          1023.                 Food/ Drug Wholesaler             FRE 401,
     4                          Price List
                                Effective 07/01/2007              402
     5                          SHCALLEN011933-
                                SHCALLEN011934
     6    1024.                 Natural Foods Distributor         FRE 401,
                                Price List
     7                          Effective 07/01/2007              402
                                SHCALLEN011935-
     8                          SHCALLEN011939
          1025.                 Chain Account Price List          FRE 401,
     9                          Effective 07/01/2007
                                SHCALLEN011940-                   402
   10                           SHCALLEN011941
          1026.                 Wholesale Price List              FRE 401,
   11                           Effective 06/01/2011
                                SHCALLEN011942-                   402
   12                           SHCALLEN011947
          1027.                 Chain Price List                  FRE 401,
   13                           Effective 06/01/2011
                                SHCALLEN011948-                   402
   14                           SHCALLEN011949
          1028.                 Drug & Food Wholesaler            FRE 401,
   15                           Price List
                                Effective 06/01/2011              402
   16                           SHCALLEN011950-
                                SHCALLEN011951
   17     1029.                 NF Distributor Price List         FRE 401,
                                Effective 06/01/2011
   18                           SHCALLEN011952-                   402
                                SHCALLEN011956
   19     1030.                 Mail Order & Internet Price FRE 401,
                                List
   20                           Effective 06/01/2011              402
                                SHCALLEN011957-
   21                           SHCALLEN011961
          1031.                 Wholesale Price List              FRE 401,
   22                           Effective 06/01/2011
                                SHCALLEN011962-                   402
   23                           SHCALLEN011968
          1032.                 Chain Price List                  FRE 401,
   24                           Effective 06/01/2011
                                SHCALLEN011969-                   402
   25                           SHCALLEN011971
          1033.                 Drug & Food Wholesaler            FRE 401,
   26                           Price List
                                Effective 06/01/2011              402
   27                           SHCALLEN011972-
                                SHCALLEN011974
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
          1034.                 NF Distributor Price List      FRE 401,
     4                          Effective 06/01/2011
                                SHCALLEN011975-                402
     5                          SHCALLEN011980
          1035.                 Mail Order & Internet Price    FRE 401,
     6                          List
                                Effective 06/01/2011           402
     7                          SHCALLEN011981-
                                SHCALLEN011986
     8    1036.                 Persuadable research-          FRE 401,
                                Hyland’s 4 Kids cough cold
     9                          and allergy study              402, 602,
                                SHCALLEN012042-                901, 801,
   10                           SHCALLEN012082                 802
   11     1037.                 Confidential, redacted         FRE 401,
                                financial information, with
                                cover sheets and notes         402
   12
                                SHCALLEN012159-
   13                           SHCALLEN012251
          1038.                 Units and Sales information
   14                           SHCALLEN012253
          1039.                 Excel spreadsheets with
   15                           sales information
                                SHCALLEN012254-
   16                           SHCALLEN012258
          1040.                 CDR Article 9/26/2011          FRE 401,
   17                           SHCALLEN012259
                                                               402, 602,
   18                                                          901, 801,
                                                               802
   19     1041.                 Unaudited balance sheets       FRE 401,
                                SHCALLEN024873-24877
   20                                                          402,
          1042.                 6/17/13 letter to SHC from     FRE 401,
   21                           FTC
                                SHCALLEN015184                 402, 403,
   22                                                          602, 901,
                                                               801, 802
   23     1043.                 4/8/13 letter to Hylan’ds      FRE 401,
                                from FDA re incorrect
   24                           Individual Case Safety         402, 403,
                                Report, Teething Tablets       602, 901,
   25                           SHCALLEN015185                 801, 802
   26
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
          1044.                 10/2010-11/2010 email          FRE 401,
     4                          chain between SHC and CA
                                Dept of Health re Teething     402, 403,
     5                          Tablets Recall                 602, 901,
                                SHCALLEN015220-15222           801, 802
     6
          1045.                 4/14/2013 update letter to     FRE 401,
     7                          FDA re warning letter and
                                12/2011 fda 483 observation    402, 403,
     8                          SHCALLEN015238-                602, 901,
                                SHCALLEN015240                 801, 802
     9    1046.                 9/16/2013update letter to      FRE 401,
                                FDA re warning letter and
   10                           12/2011 fda 483 observation    402, 403,
                                SHCALLEN015241-                602, 901,
   11                           SHCALLEN015243                 801, 802
   12     1047.                 10/14/2013 SHC Response        FRE 401,
                                to FDA’s warning letter
   13                           SHCALLEN015297-                402, 403,
                                SHCALLEN015299                 602, 901,
   14                                                          801, 802
          1048.                 11/27/2013 update letter to    FRE 401,
   15                           FDA re warning letter
                                SHCALLEN015300-                402, 403,
   16                           SHCALLEN015310                 602, 901,
   17                                                          801, 802
          1049.                 9/5/2006 letter from Iris      FRE 401,
   18                           Bell to Jay Borneman re
                                proposed teething tablet       402, 403,
   19                           study protocol                 602, 901,
                                SHCALLEN015410                 801, 802
   20     1050.                 Documents produced by          FRE 401,
                                University of Washington
   21                           SHCALLEN0063767-               402, 403,
                                64156                          602, 901,
   22                                                          801, 802
   23     1051.                 Wholesale Price List (2013)    FRE 401,
                                SHCALLEN022255-22261
                                                               402, 403,
   24                                                          602, 901,
   25                                                          801, 802
          1052.                 Supplemental financial         FRE 401,
   26                           documents produced by
                                Defendants                     402
   27                           SHCALLEN063767-
                                063773
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
          1053.                 RESERVED
     4
          1054.                 RESERVED
     5    1055.                 RESERVED
          1056.                 RESERVED
     6
          1057.                 RESERVED
     7    1058.                 RESERVED
     8    1059.                 RESERVED
          1060.                 RESERVED
     9    1061.                 RESERVED
   10     1062.                 RESERVED
          1063.                 RESERVED
   11                           RESERVED
          1064.
   12     1065.                 RESERVED
          1066.                 RESERVED
   13                           RESERVED
          1067.
   14     1068.                 RESERVED
          1069.                 RESERVED
   15
          1070.                 RESERVED
   16
   17                             DEFENDANTS’ EXHIBITS

   18    1071.                  2/28/12 - Complaint in
                                Allen v Nelsons (Allen 11)
   19
         1072.                  6/13/12 – Declaration of Iris   Hearsay
   20                           Bell in Support of              (FRE 801
                                Opposition to Motion for        et.seq.)
   21                           Class Certification (Bell 1)
         1073.                  12/3/14 – Expert Report of      Hearsay
   22                           Michael Buchanan                (FRE 801
                                (Buchanan 1)                    et.seq.)
   23    1074.                  1/9/15 - Supplemental           Hearsay
                                Declaration in Support of       (FRE 801
   24                           Buchanan Expert Report          et.seq.)
                                (Buchanan 2)
   25    1075.                  10/1/14 - Edward J.
                                Calabrese, PH.D.,
   26                           Curriculum Vitae
                                (Calabrese 1)
   27    1076.                  10/31/14 - Updated Expert       Hearsay
                                Report of Edward J.             (FRE 801
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Calabrese, PH.D., in Allen v et.seq.);
     4                          Hyland's (Calabrese 3)       Lacks
                                                             Foundation
     5                                                       (FRE 602);
                                                             Daubert
     6                                                       (FRE 701)
         1077.                  Environmental Health         Hearsay
     7                          Perspectives, Edward         (FRE 801
                                Calabrese "Hormesis:         et.seq.)
     8                          Calabrese responds"
                                (Calabrese 7)
     9   1078.                  Photocopies of packaging
                                (Production Nos.
   10                           (SHC0001-043)
         1079.                  Organizational chart
   11                           (SHCALLEN001962)
   12    1080.                  10/29/14 - Updated Expert    Hearsay
                                Report of Bernardo A.        (FRE 801
   13                           Merizalde, M.D. (Merizalde et.seq.);
                                1)                           Lacks
   14                                                        Foundation
                                                             (FRE 602);
   15                                                        Daubert
                                                             (FRE 701)
   16    1081.                  Product labeling for Calms
                                Forte
   17                           Product labeling for
         1082.
   18                           Teething Tablets
         1083.                  Product labeling for
   19                           Migraine Headache Relief
   20    1084.                  Product labeling for Colic
                                Tablets, Leg Cramps with
   21                           Quinine
         1085.                  Product labeling for Leg
   22                           Cramps
   23    1086.                  Product labeling for Defend
                                Cold & Cough
   24    1087.                   Product labeling for Defend
                                Cold & Cough Night
   25
         1088.                  Product labeling for Cough
   26                           and Seasonal Allergy relief
   27    1089.                  Proof of Claims for Calms
                                Forte
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1090.                  Proof of Claims for
     4                          Teething Tablets
     5   1091.                  Proof of Claims for
                                Migraine Headache Relief
     6                          Proof of Claims for Colic
         1092.
     7                          Tablets, Leg Cramps with
                                Quinine
     8   1093.                  Proof of Claims for Leg
                                Cramps
     9   1094.                  Proof of Claims for Defend
                                Cold & Cough
   10
         1095.                  Proof of Claims for Defend
   11                           Cold & Cough Night
   12    1096.                  Proof of Claims for Cough
                                and Seasonal Allergy relief
   13    1097.                  Expert Report of Iris R.     Hearsay
                                Bell, M.D.                   (FRE 801
   14                                                        et.seq.)
         1098.                  10/31/14 - Updated Expert    Hearsay
   15                           Report of Iris R. Bell, M.D. (FRE 801
                                                             et.seq.)
   16    1099.                  Supplemental Expert Report Hearsay
                                of Iris R. Bell, M.D.        (FRE 801
   17                                                        et.seq.)
         1100.                  Curriculum Vitae of Iris R.
   18                           Bell, M.D.
   19    1101.                  10/27/14 - Updated Expert    Hearsay
                                Report of Paolo Bellavite,   (FRE 801
   20                           M.D.                         et.seq.)
         1102.                  Curriculum Vitae of Paolo
   21                           Bellavite, M.D.
   22    1103.                  10/28/14 - Updated Expert    Hearsay
                                Report of David W.           (FRE 801
   23                           Sterwart, Ph.D.              et.seq)
         1104.                  Curriculum Vitae of David
   24                           W. Sterwart, Ph.D.
         1105.                  10/30/14 - Updated Expert    Hearsay
   25                           Report of Edward Miracco     (FRE 801
                                                             et.seq.);
   26                                                        Lacks
                                                             Foundation
   27                                                        (FRE 602);
                                                             Daubert
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               (FRE 701)
     4
     5   1106.                  Curriculum Vitae of Edward Irrelevant
                                Miracco                           (FRE 401-
     6                                                            403)
                                                                  Daubert
     7                                                            (FRE 701)
         1107.                  10/30/14 - Updated Expert         Hearsay
     8                          Report of Peter A.G. Fisher (FRE 801
                                                                  et.seq.);
     9                                                            Lacks
                                                                  Foundation
   10                                                             (FRE 602);
                                                                  Daubert
   11                                                             (FRE 701)
         1108.                  Curriculum Vitae of Peter         Irrelevant
   12                           Anthony Goodwin Fisher            (FRE 401-
                                                                  403)
   13                                                             Daubert
                                                                  (FRE 701)
   14    1109.                  4/30/14 - Curriculum Vitae Irrelevant
                                of Bernardo A. Merizalde,         (FRE 401-
   15                           M.D.                              403)
                                                                  Daubert
   16                                                             (FRE 701)
         1110.                  Expert Report of Robbert          Hearsay
   17                           Van Haselen                       (FRE 801
                                                                  et.seq.)
   18    1111.                  Supplemental Expert Report Hearsay
                                of Robbert Van Haselen,           (FRE 801
   19                           MSC                               et.seq.)
         1112.                  Curriculum Vitae for
   20                           Robbert Van Haselen, MSC
   21    1113.                  2012-09-27 - Plaintiffs'
                                Responses to RFAs, Set
   22                           One
         1114.                  2012-09-27 - Plaintiffs'
   23                           Responses to Special
                                Interrogatories
   24    1115.                  2012-10-26 - Plaintiffs'
                                Supplemental Responses to
   25                           Special Interrogatories
         1116.                  2012-10-27 - Plaintiffs'
   26                           Supplemental Responses to
                                RFAs to All Plaintiffs
   27    1117.                  2013-05-15 - Plaintiffs'
                                Third Supplemental
   28                           Responses to Special
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Interrogatories
     4
     5   1118.                  2013-05-15 - Plaintiffs'
                                Supplemental Responses to
     6                          RFAs
         1119.                  2013-08-26 - Allen's
     7                          Responses to Defendants'
                                Third Set of Special
     8                          Interrogatories
         1120.                  2013-08-26 - Sisti's
     9                          Responses to Defendants'
                                Third set of Special
   10                           Interrogatories
         1121.                  2013-08-26 - Smith's
   11                           Responses to Defendants'
                                Third Set of Special
   12                           Interrogatories
         1122.                  2013-08-26 - Xenos'
   13                           Responses to Defendants'
                                Third Set of Special
   14                           Interrogatories
         1123.                  2013-08-26 - Xu's
   15                           Responses to Defendants'
                                Third Set of Special
   16                           Interrogatories
         1124.                  2013-08-30 - Nigh
   17                           Responses to Defendants'
                                Third Set of RFAs
   18    1125.                  2013-08-30 - Sisti
                                Responses to Defendants'
   19                           Third Set of RFAs
         1126.                  2013-08-30 - Smith
   20                           Responses to Defendants'
                                Third Set of RFAs
   21    1127.                  2013-08-30 - Xenos
                                Responses to Defendants'
   22                           Third Set of RFAs
         1128.                  2013-08-30 - Xu's
   23                           Responses to Defendants'
                                Third Set of RFAs
   24    1129.                  2013-09-09 - Rodriguez's
                                Responses to Defendants'
   25                           Third Set of RFAs
         1130.                  2013-09-09 - Rodriguez's
   26                           Responses to Defendants'
                                Third Set of SROGS
   27
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1131.                  2013-12-02 - All Plaintiffs
     4                          Supplemental Responses to
                                2nd Set RFAs
     5   1132.                  2013-12-02 - Allen
                                Supplemental Responses
     6                          to3rd Set RFAs
         1133.                  2013-12-02 - Nigh
     7                          Supplemental Responses
                                to3rd Set RFAs
     8   1134.                  2013-12-02 - Rodriguez'
                                Supplemental Responses to
     9                          3rd Set RFAs
         1135.                  2013-12-02 - Sisti's
   10                           Supplemental Responses to
                                3rd Set RFAs
   11                           2013-12-02 - Smith's
         1136.
                                Supplemental Responses to
   12                           3rd Set RFAs
         1137.                  2013-12-02 - Xenos'
   13                           Supplemental Responses to
                                3rd Set RFAs
   14                           2013-12-02 - Xu's
         1138.
                                Supplemental Responses to
   15                           3rd Set of RFAs
         1139.                  2014-01-13 - Allen's 2nd
   16                           Supplemental Responses to
                                Defendants' Third Set of
   17                           RFAs
         1140.                  2014-01-13 - Plaintiffs' 2nd
   18                           Supplemental Responses to
                                Defendants' Second Set of
   19                           RFAs
   20    1141.                  2014-01-13 - Plaintiffs'
                                Supplemental Responses to
   21                           Defendants' Second Set of
                                Special Interrogatories
   22    1142.                  2014-01-13 - Sisti's 2nd
                                Supplemental Responses to
   23                           Defendants' Third set of
                                RFAs
   24    1143.                  2014-01-13 - Smith's 2nd
                                Supplemental Responses to
   25                           Defendants' Third Set of
                                RFAs
   26    1144.                  2014-01-13 - Xenos' 2nd
                                Supplemental Responses
   27                           toDefendants' Third Set of
                                RFAs
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1145.                  2014-01-13 - Xu's 2nd
     4                          Supplemental Responses to
                                Defendants' Third Set of
     5                          RFAs
         1146.                  A Dictionary of Practical      Hearsay
     6                          Materia Medica By John         (FRE 801
                                Henry Clarke, M.D              et.seq.)
     7   1147.                  The Homeopathic                Hearsay
                                Pharmacopoeia of the           (FRE 801
     8                          United States                  et.seq.)
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     7                          Hormesis: Why it is          (FRE 801
                                important to toxicology and  et.seq.);
     8                          toxicologists. Environ       Irrelevant
                                Toxicol Chem 27:1451-        (FRE 401-
     9                          1474.                        403); Lacks
                                                             Foundation
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                                                             602/701)
   11    1375.                  Calabrese EJ. (2005b).       Hearsay
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   12                           toxicology got the dose      et.seq.);
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   16                           Hormesis: Principles and     (FRE 801
                                applications for             et.seq.);
   17                           pharmacology and             Irrelevant
                                toxicolgy. AJPT 3(1):56-68. (FRE 401-
   18                                                        403); Lacks
                                                             Foundation
   19                                                        (FRE
                                                             602/701)
   20    1377.                  Calabrese EJ. (2009).        Hearsay
                                Getting the dose-response    (FRE 801
   21                           wrong. Why hormesis          et.seq.);
                                became marginalized and      Irrelevant
   22                           the threshold mdel accepted. (FRE 401-
                                Arch Toxicol 83:227-247.     403); Lacks
   23                                                        Foundation
                                                             (FRE
   24                                                        602/701)
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   25                           Hormesis and homeopathy: (FRE 801
                                Introduction. Hum Exper      et.seq.);
   26                           Toxicol 29(7):527-529.       Irrelevant
                                (SHCALLEN009512)             (FRE 401-
   27                                                        403); Lacks
                                                             Foundation
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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                                                               (FRE
     4                                                         602/701)
     5   1379.                  Calabrese EJ. (2011).          Hearsay
                                Toxicology rewrites its        (FRE 801
     6                          history and rethinks its       et.seq.);
                                future: Giving equal focus     Irrelevant
     7                          to both harmful and            (FRE 401-
                                beneficial effects. Environ    403); Lacks
     8                          Toxicol Chem 30(12):2658-      Foundation
                                2673.                          (FRE
     9                                                         602/701)
         1380.                  Calabrese EJ. (2013).          Hearsay
   10                           Hormetic mechanisms. Crit      (FRE 801
                                Rev Toxicol 43(7):580-606.     et.seq.);
   11                                                          Irrelevant
                                                               (FRE 401-
   12                                                          403); Lacks
                                                               Foundation
   13                                                          (FRE
                                                               602/701)
   14    1381.                  Calabrese EJ. (2014).          Hearsay
                                Preconditioning is             (FRE 801
   15                           Hormesis. Presented at the     et.seq.);
                                13th Annual International      Irrelevant
   16                           Conference on Dose-            (FRE 401-
                                Response. Preconditioning      403); Lacks
   17                           Adaptive Responses in          Foundation
                                Biology and Medicine.          (FRE
   18                           Building Biological Shields    602/701)
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                                Massachusetts, Amherst
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                                hormesis: Its historical     et.seq.);
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                                hypothesis. Hum Exp          (FRE 401-
   23                           Toxicol 19:2-31.             403); Lacks
                                                             Foundation
   24                                                        (FRE
                                                             602/701)
   25    1383.                  Calabrese EJ, and Baldwin    Hearsay
                                LA. (2000b). The             (FRE 801
   26                           marginalization of hormesis. et.seq.);
                                Hum Exper Toxicol 19:32- Irrelevant
   27                           40.                          (FRE 401-
                                                             403); Lacks
   28
                                                187
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                Foundation
     4                                                          (FRE
                                                                602/701)
     5   1384.                  Calabrese EJ, and Baldwin       Hearsay
                                LA. (2000c). Radiation          (FRE 801
     6                          hormesis: Its historical        et.seq.);
                                foundations as a biological     Irrelevant
     7                          hypothesis. Hum Exp             (FRE 401-
                                Toxicol 19:41-75.               403); Lacks
     8                                                          Foundation
                                                                (FRE
     9                                                          602/701)
         1385.                  Calabrese EJ, and Baldwin       Hearsay
   10                           LA. (2000d). Radiation          (FRE 801
                                hormesis: The demise of a       et.seq.);
   11                           legitimate hypothesis. Hum      Irrelevant
                                Exper Toxicol 19:75-85.         (FRE 401-
   12                                                           403); Lacks
                                                                Foundation
   13                                                           (FRE
                                                                602/701)
   14    1386.                  Calabrese EJ, and Baldwin       Hearsay
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   15                           similar hypotheses: The rise    et.seq.);
                                and fall of chemical and        Irrelevant
   16                           radiation hormesis. Hum         (FRE 401-
                                Exper Toxicol 19:85-97.         403); Lacks
   17                                                           Foundation
                                                                (FRE
   18                                                           602/701)
         1387.                  Calabrese EJ, and Baldwin       Hearsay
   19                           LA. (2002). Defining            (FRE 801
                                hormesis. Hum Exper             et.seq.);
   20                           Toxicol 21:91-97.               Irrelevant
                                                                (FRE 401-
   21                                                           403); Lacks
                                                                Foundation
   22                                                           (FRE
                                                                602/701)
   23    1388.                  Calabrese EJ, and Blain R.      Hearsay
                                (2005). The occurrence of       (FRE 801
   24                           hormetic dose responses in      et.seq.);
                                the toxicological literature,   Irrelevant
   25                           the homesis database: An        (FRE 401-
                                overview. Toxicol Appl          403); Lacks
   26                           Pharmacol 202(3):289-301.       Foundation
                                                                (FRE
   27                                                           602/701)
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1389.                  Calabrese EJ, and Blain R.     Hearsay
     4                          (2011). The hormesis           (FRE 801
                                database: The occurrence of    et.seq.);
     5                          hormetic dose responses in     Irrelevant
                                the toxicological literature.  (FRE 401-
     6                          Reg Toxicol Pharmacol          403); Lacks
                                61(1):73-81.                   Foundation
     7                                                         (FRE
                                                               602/701)
     8   1390.                  Calabrese EJ, and Jonas        Hearsay
                                WB. (2010a). Homeopathy: (FRE 801
     9                          Clarifying its relationship to et.seq.);
                                hormesis. Hum Exper            Irrelevant
   10                           Toxicol 29(7):531-536.         (FRE 401-
                                                               403); Lacks
   11                                                          Foundation
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   12                                                          602/701)
         1391.                  Calabrese EJ, and Jonas        Hearsay
   13                           WB. (2010b). Evaluating        (FRE 801
                                homeopathic drugs within a et.seq.);
   14                           biomedical framework.          Irrelevant
                                Hum Exper Toxicol              (FRE 401-
   15                           29(7):545-549.                 403); Lacks
                                                               Foundation
   16                                                          (FRE
                                                               602/701)
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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                                Tranlsation (NIH-98-134).
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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                                (SHCALLEN011220)
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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     4   1415.

     5   1416.
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   13    1422.
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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     4   1430.

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         1440.                  Aguejouf O, Eizayaga FX,
   27                           Desplat V, Belon P,
                                Doutremepuich C.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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     4                          Hemorrhagic Effects of
                                Aspirin. Clinical Appl
     5                          Thrombosis/Hemostas, 2008
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                                homeopathy. 4. Clinical
   13                           studies – Part 1. Evidence-
                                based Complementary and
   14                           Alternative Medicine:
                                eCAM, 2006; 3: 293–301
   15    1444.                  Bellavite P, Ortolani R,
                                Pontarollo F, et al.
   16                           Immunology and
                                homeopathy. 4. Clinical
   17                           studies – Part 2. Evidence-
                                based Complementary and
   18                           Alternative Medicine:
                                eCAM, 2006; 3: 397–409.
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                                Homeopathy for URTI/A
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                                Infections and Allergic
   27                           Reactions). In Bornhöft G,
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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                                Appropriateness, Safety,
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                                in patients receiving knee
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                                randomized double-blind
   12                           trials. Complementary
                                Therapies in Medicine,
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   14                           Hormetic mechanisms. Crit (FRE 801
                                Rev Toxicol, 43: 580–606.     et.seq.);
   15                                                         Irrelevant
                                                              (FRE 401-
   16                                                         403); Lacks
                                                              Foundation
   17                                                         (FRE
                                                              602/701)
   18    1450.                  Calabrese EJ, Bachmann        Hearsay
                                KA, Bailer AJ, et al. (2007). (FRE 801
   19                           Biological stress response    et.seq.);
                                terminology: Integrating the Irrelevant
   20                           concepts of adaptive          (FRE 401-
                                response and                  403); Lacks
   21                           preconditioning stress        Foundation
                                within a hormetic dose–       (FRE
   22                           response framework.           602/701)
                                Toxicology and Applied
   23                           Pharmacology, 222:122–
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   24    1451.                  Calabrese EJ, Blain R         Hearsay
                                (2005). The occurrence of     (FRE 801
   25                           hormetic dose responses in et.seq.);
                                the toxicological literature, Irrelevant
   26                           the hormesis database: An     (FRE 401-
                                overview. Toxicology and      403); Lacks
   27                           Applied Pharmacology,         Foundation
                                202:289–301.                  (FRE
   28
                                                195
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               602/701)
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     5   1452.                  Calabrese EJ, Staudenmayer     Hearsay
                                J, and Stanek EJ (2006).       (FRE 801
     6                          Drug development and           et.seq.);
                                hormesis. Changing             Irrelevant
     7                          conceptual understanding of    (FRE 401-
                                the dose response creates      403); Lacks
     8                          new challenges and             Foundation
                                opportunities for more         (FRE
     9                          effective drugs. Current       602/701)
                                Opinion in Drug Discovery
   10                           & Development, 9:117–123.
         1453.                  Calabrese, EJ Staudenmayer     Hearsay
   11                           JW, Stanek EJ, Hoffmann        (FRE 801
                                GR (2006). Hormesis            et.seq.);
   12                           Outperforms Threshold          Irrelevant
                                Model in National Cancer       (FRE 401-
   13                           Institute Antitumor Drug       403); Lacks
                                Screening Database.            Foundation
   14                           Toxicological Sciences,        (FRE
                                94:368–378.                    602/701)
   15    1454.                  Chatterjee BK. The             Hearsay
                                mathematics of dilution.       (FRE 801
   16                           Homeopathy (2014):             et.seq.);
                                103;143 -146                   Irrelevant
   17                                                          (FRE 401-
                                                               403); Lacks
   18                                                          Foundation
                                                               (FRE
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     1   No. of                          Description           Objection       Response
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     5   1470.                  Endrizzi C, Rossi E,
                                Crudeli L, Garibaldi D.
     6                          (2005) Harm in
                                homeopathy: Aggravations,
     7                          adverse drug events or
                                medication errors?
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   10                           aggravations, adverse drug
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   16                           of Medicine, 95:474–475.
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   22                           a systematic review of
                                randomized, placebo-
   23                           controlled clinical trials
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   24    1476.                  Grimaldi-Bensouda L,
                                Begaud B, Rossignol M,
   25                           Avouac B, Lert F, et al.
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   27                           Medical Practices, Including
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     1   No. of                          Description              Objection     Response
     2   Exhibit                                                                to
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                                Cohort Study in France
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                                Meta-Analyses of Pooled
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   10                           M et al. Homeopathic and
                                conventional treatment for
   11                           acute respiratory and ear
                                complaints: A comparative
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                                primary care setting BMC
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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         1484.                  Jacobs J, Jonas WB,
     4                          Jimenez-Perez M, Crothers
                                D. Homeopathy for
     5                          childhood diarrhea:
                                combined results and
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                                C, De Seze O, Belon P.
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                                acetylsalicylic acid at ultra
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                                consulting their regular
   25                           primary care physician
                                according to their
   26                           prescribing preferences for
                                homeopathy and
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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     5   1491.                  Linde K, Clausius N,
                                Ramirez G et al. Are the
     6                          clinical effects of
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     9                          Bellavite P (2010) Dose-
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                                drugs – a systematic review
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                                Alternative and
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                                7:149–159.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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     5   1497.                  Riley D, Fisher M, Singh B,
                                Haidvogl M, Heger M
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     7                          outcomes study comparing
                                effectiveness in a primary
     8                          care setting. Journal of
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     9                          Complementary Medicine,
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                                Engel P, et al. Impact of
   11                           physician preferences for
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   26                           homeopathy placebo
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     1   No. of                          Description             Objection     Response
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                                22:213-234.
   11    1504.                  Taylor MA, Reilly D,
                                Llewellyn-Jones RH, et al.
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                                trials of homoeopathy
   13                           versus placebo in perennial
                                allergic rhinitis with
   14                           overview of four trial series.
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                                Homeopathy, 95:229–236.
   18    1506.                  Teixeira MZ (2007).
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   19                           asthma, rebound effect and
                                similitude Homeopathy,
   20                           96:135–137.
         1507.                  The correct reference is:
   21                           Linde K, Clausius N,
                                Ramirez G et al. Are the
   22                           clinical effects of
                                homeopathy placebo
   23                           effects? Lancet
                                2005;366:2081–2082.
   24    1508.                  The correct reference is:
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                                homeopathy: the importance
   26                           of post-publication data.
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   27                           169–177
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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         1509.                  Thompson E, Mathie RT,
     4                          Baitson S, Barron S,
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     5                          Fisher P et al, Towards
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   10                           reactions including adverse
                                events in routine
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                                caring for children in France
   14                           with recurrent acute
                                rhinopharyngitis managed
   15                           by homeopathic or non-
                                homeopathic General
   16                           Practitioners. Disease
                                Management and Health
   17                           Outcomes, 12:419–427.
         1512.                  Trichard M, Chaufferin G
   18                           Nicoloyannis N (2005).
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   19                           comparison between
                                homeopathic and antibiotic
   20                           treatment strategies in
                                recurrent acute
   21                           rhinopharyngitis in children.
                                Homeopathy, 94:3–9.
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                                ultra-high dilution research.
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                                and the similia principle.
   27                           Front Biosci 2011; 3:1128-
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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         1515.                  Venard C, Boujedaini N,
     4                          Mensah-Nyagan A, Patte-
                                Mensa C. (2009)
     5                          Comparative Analysis of
                                Gelsemine and Gelsemium
     6                          sempervirens activity on
                                Neurosteroid
     7                          Allopregnanolone
                                Formation in the Spinal
     8                          Cord and Limbic System.
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     9                          doi:10.1093/ecam/nep083.
         1516.                  Vithoulkas G. The Science
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   11    1517.                  Wiesenauer M, Lüdtke R. A
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   12                           homeopathic treatment of
                                pollinosis with Galphimia
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   14                           Klassische Naturheilkunde,
                                1996; 3: 230–236.
   15    1518.                  Witt C, Keil T, Selim D, et
                                al. (2005). Outcome and
   16                           costs of homeopathic and
                                conventional treatment
   17                           strategies: a comparative
                                cohort study in patients with
   18                           chronic disorders.
                                Complementary Therapies
   19                           in Medicine, 13:79-86.
                                (SHCALLEN011377)
   20    1519.                  Witt CM, Bluth M, Albrecht
                                H, et al. (2007). The in vitro
   21                           evidence for an effect of
                                high homeopathic potencies
   22                           – A systematic review of the
                                literature. Complementary
   23                           Therapies in Medicine,
                                15:128–138.
   24    1520.                  Witt CM, Lüdtke R, Baur R,
                                Willich SN (2005).
   25                           Homeopathic medical
                                practice: long-term results
   26                           of a cohort study with 3,981
                                patients. BMC Public
   27                           Health, 5:115.
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1521.                  www.gov.uk/government/pu     Hearsay
     4                          blications/government-       (FRE 801
                                response-to-the-science-     et.seq.);
     5                          and-technology-committee-    Irrelevant
                                report-evidence-check-2-     (FRE 401-
     6                          homeopathy                   403); Lacks
                                                             Foundation
     7                                                       (FRE 602)
         1522.                  www.parliament.uk/edm/20 Hearsay
     8                          09-10/908                    (FRE 801
                                                             et.seq.);
     9                                                       Irrelevant
                                                             (FRE 401-
   10                                                        403); Lacks
                                                             Foundation
   11                                                        (FRE 602)
         1523.                  www.youtube.com/watch?v Hearsay
   12                           =xYuLjl9bgIw                 (FRE 801
                                                             et.seq.);
   13                                                        Irrelevant
                                                             (FRE 401-
   14                                                        403); Lacks
                                                             Foundation
   15                                                        (FRE 602)
         1524.                  Adler UC, Paiva NM, Cesar Hearsay
   16                           AT, Adler MS, Molina A,      (FRE 801
                                Padula AE, Calil HM.         et.seq.);
   17                           Homeopathic Individualized Irrelevant
                                Q-potencies versus           (FRE 401-
   18                           Fluoxetine for Moderate to 403); Lacks
                                Severe Depression: Double- Foundation
   19                           Blind, Randomized Non-       (FRE
                                Inferiority Trial. eCAM      602/701)
   20                           2011; 2011:520182.
                                http://dx.doi.org/10.1093/ec
   21                           am/nep114
         1525.                  Adler, U.C., Krüger, S.;     Hearsay
   22                           Teut, M.; Lüdtke, R.;        (FRE 801
                                Schützler, L.; Martins, F.;  et.seq.);
   23                           Willich, S.N.; Linde, K.;    Irrelevant
                                Witt, C.M.: Homeopathy for (FRE 401-
   24                           depression, A randomized,    403); Lacks
                                partially double-blind,      Foundation
   25                           placebocontrolled,* four-    (FRE
                                armed study (DEP-            602/701)
   26                           HOM),PLoS ONE 8(9),
                                2013: S. e74537; (1-9)
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1526.                  Andrade LEC, Ferraz MB,          Hearsay
     4                          Atra E, Castro A, Silva          (FRE 801
                                MSM. A Randomized                et.seq.);
     5                          Controlled Trial to Evaluate     Irrelevant
                                the Effectiveness of             (FRE 401-
     6                          Homeopathy in Rheumatoid         403); Lacks
                                Arthritis. Scand J               Foundation
     7                          Rheumatol 1991; 20: 204-         (FRE
                                208.                             602/701)
     8   1527.                  Awdry R. Homoeopathy             Hearsay
                                and chronic fatigue - the        (FRE 801
     9                          search for proof. Int J Altern   et.seq.);
                                Compl Med 1996; 2: 19-22.        Irrelevant
   10                                                            (FRE 401-
                                                                 403); Lacks
   11                                                            Foundation
                                                                 (FRE
   12                                                            602/701)
         1528.                  Bell I, Lewis D, Lewis S,
   13                           Schwartz, G Brooks A,
                                Baldwin C, EEG Alpha
   14                           Sensitization In
                                Individualized Homeopathic
   15                           Treatment Of Fibromyalgia.
                                Intern J Neuroscience
   16                           2004;114: 1195-1220.*
         1529.                  Bell IR, Lewis DA, Brooks        Hearsay
   17                           AJ, Schwartz GE, Lewis           (FRE 801
                                SE, Walsh BT, Baldwin            et.seq.);
   18                           CM. Improved clinical            Irrelevant
                                status in fibromyalgia           (FRE 401-
   19                           patients trated with             403); Lacks
                                individualized homeopathic       Foundation
   20                           remedies versus placebo.         (FRE
                                Rheumatology 2004; 43:           602/701)
   21                           577-582.
         1530.                  Bell,I.R.; Lewis,D.A.;           Hearsay
   22                           Brooks,A.J.; Schwartz,G.E.;      (FRE 801
                                Lewis,S.E.; Caspi,O.;            et.seq.);
   23                           Cunningham,V.;                   Irrelevant
                                Baldwin,C.M. Individual          (FRE 401-
   24                           differences in response to       403); Lacks
                                randomly assigned active         Foundation
   25                           individualized homeopathic       (FRE
                                and placebo treatment in         602/701)
   26                           fibromyalgia: implications
                                of a double-blinded optional
   27                           crossover design. J Altern
                                Complement Med. 2004
   28
                                                208
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Apr;10(2):269-83.
     4
     5   1531.                  Bell,I.R.; Lewis,D.A.;          Hearsay
                                Schwartz,G.E.; Lewis,S.E.;      (FRE 801
     6                          Caspi,O.; Scott,A.;             et.seq.);
                                Brooks,A.J.; Baldwin,C.M.       Irrelevant
     7                          Electroencephalographic         (FRE 401-
                                cordance patterns               403); Lacks
     8                          distinguish exceptional         Foundation
                                clinical responders with        (FRE
     9                          fibromyalgia to                 602/701)
                                individualized homeopathic
   10                           medicines. J Altern
                                Complement Med. 2004
   11                           Apr;10(2):285-99.
         1532.                  Bonne O, Shemer Y, Gorali
   12                           Y, Katz M, Shalev AY. A
                                Randomized, Double-Blind,
   13                           Placebo- Controlled Study
                                of Classical Homeopathy in
   14                           Generalized Anxiety
                                Disorder. J Clin Psych
   15                           2003; 64(3): 282-287.
         1533.                  Brien S, Lachance L,            Hearsay
   16                           Prescott P, McDermott C,        (FRE 801
                                Lewith G. Homeopathy has        et.seq.);
   17                           clinical benefits in            Irrelevant
                                rheumatoid arthritis patients   (FRE 401-
   18                           that are attibutable to the     403); Lacks
                                consultation process but not    Foundation
   19                           the homeopathic remedy:a        (FRE
                                randomized controlled           602/701)
   20                           clinical trial. Rheumatology
                                (Oxford). 2011
   21                           Jun;50(6):1070-82.
         1534.                  Brigo B, Serpelloni G.
   22                           Homoeopathic Treatment of
                                Migraines - A Double-blind
   23                           Controlled Study of Sixty
                                Cases (Homeopathic
   24                           Remedy versus Placebo).
                                Berlin J Res Hom 1991;
   25                           1(2): 98-106.
         1535.                  Carlini EA, Braz S,
   26                           Landfranco RP, et al. Efeito
                                hipnótico de medicacão
   27                           homeopática e do placebo -
                                Avaliacão pela técnica de
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                "duplo-cego" e
     4                          "cruzamento". Rev Ass Med
                                Brasil 1987; 33: 83-88.
     5   1536.                  Cavalcanti AMS, Rocha
                                LM, Carillo Jr R, Lima
     6                          LUO, Lugon JR. Effect of
                                homeopathic treatment on
     7                          pruritus of haemodialysis
                                patients. A randomised
     8                          placebo-controlled
                                doubleblind trial.
     9                          Homeopathy 2003; 92: 177-
                                181.
   10    1537.                  Chakraborty,P.S.;
                                Lamba,C.D.; Nayak,D.;
   11                           John,M.D.; Sarkar,D.B.;
                                Poddar,A.; Arya,J.S.;
   12                           Raju,K.; Vivekanand,K.;
                                Singh,H.B.K.; Baig,H.;
   13                           Prusty,A.K.; Singh,V.,
                                Nayak,C. Effect of
   14                           individualized
                                homoeopathic treatment in
   15                           influenza like illness: A
                                multicenter, single blind,
   16                           randomized, placebo
                                controlled study. IJRH 7(1):
   17                           22-30.
         1538.                  Chakraborty,P.S.;              Hearsay
   18                           Varanasi,R.;                   (FRE 801
                                Majumdar,A.K.; Banoth,K.;      et.seq.);
   19                           Prasad,S.;                     Irrelevant
                                Ghosh,M.S.;Sinha,M.N.;         (FRE 401-
   20                           Reddy,G.R.C.; Singh,V.;        403); Lacks
                                Nayak,C. Effect of             Foundation
   21                           homoeopathic LM potencies      (FRE
                                inacute attacks of             602/701)
   22                           haemorrhoidal disease: A
                                multicentric randomized
   23                           single-blind
                                placebocontrolled trial.
   24                           IJRH 2013,7(2): 72-80.
         1539.                  Chand KS, Manchanda RK,        Hearsay
   25                           Mittal R, Batra S,             (FRE 801
                                Banavaliker JN, DE I.          et.seq.);
   26                           Homeopathic treatment in       Irrelevant
                                addition to standard care in   (FRE 401-
   27                           multi drug resistant           403); Lacks
                                pulmonary tuberculosis: a      Foundation
   28
                                                210
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                randomized, double blind,      (FRE
     4                          placebo controlled clinical    602/701)
                                trial. Homeopathy
     5                          2014;103:97-107
         1540.                  Chapman EH, Angelica J,        Hearsay
     6                          Spitalny G, Strauss M.         (FRE 801
                                Results of a study of the      et.seq.);
     7                          homoeopathic treatment of      Irrelevant
                                PMS. J Am Inst Hom 1994;       (FRE 401-
     8                          87: 14-21.                     403); Lacks
                                                               Foundation
     9                                                         (FRE
                                                               602/701)
   10    1541.                  Chapman EH, Weintraub          Hearsay
                                RJ, Milburn MA, et al.         (FRE 801
   11                           Homeopathic Treatment of       et.seq.);
                                Mild Traumatic Brain Injury    Irrelevant
   12                           - A Randomised, Double-        (FRE 401-
                                Blind, Placebo-Controlled      403); Lacks
   13                           Clinical Trial. J Head         Foundation
                                Trauma Rehabil 1999; 14:       (FRE
   14                           521-542.                       602/701)
         1542.                  Dorfman P, Lasserre MN,        Hearsay
   15                           Tétau M. Préparation à         (FRE 801
                                l'accouchement par             et.seq.);
   16                           homéopathie -                  Irrelevant
                                expérimentation en double      (FRE 401-
   17                           insu versus Placebo. Cahiers   403); Lacks
                                de Biotherapie 1987; 94: 77-   Foundation
   18                           81.                            (FRE
                                                               602/701)
   19    1543.                  Dorfman P, Tétau M.            Hearsay
                                Homéopathie et pathologie      (FRE 801
   20                           du sportif - deux examples     et.seq.);
                                de double aveugle:             Irrelevant
   21                           Marathon de New York et        (FRE 401-
                                haltérophile. Cahiers de       403); Lacks
   22                           Biotherapie 1985; 86: 77-      Foundation
                                81. 21. Fisher P, Greenwood    (FRE
   23                           A, Huskisson EC, Turner B,     602/701)
                                Belon P. Effect of
   24                           Homoeopathic Treatment on
                                Fibrositis (Primary
   25                           Fibromyalgia). BMJ 1989;
                                299: 365-366.
   26    1544.                  Fisher P, McCarney R,
                                Hasford C, Vickers A:
   27                           Evaluation of specific and
                                non-specific effects in
   28
                                                211
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                homeopathy: feasibility
     4                          study for a randomised trial.
                                Homeopathy 2006;95: 215-
     5                          222.
         1545.                  Fisher P, Scott DL. A           Hearsay
     6                          randomized controlled trial     (FRE 801
                                of homeopathy in                et.seq.);
     7                          rheumatoid arthritis.           Irrelevant
                                Rheumatol 2001; 40: 1052-       (FRE 401-
     8                          1055.                           403); Lacks
                                                                Foundation
     9                                                          (FRE
                                                                602/701)
   10    1546.                  Frass M, Linkesch M,            Hearsay
                                Banyai S, Resch G,              (FRE 801
   11                           Dielacher C, Lobl T, Endler     et.seq.);
                                C, Haidvogl M, Muchitsch        Irrelevant
   12                           I, Schuster E: Adjunctive       (FRE 401-
                                homeopathic treatment in        403); Lacks
   13                           patients with severe sepsis:    Foundation
                                a randomized, double-blind,     (FRE
   14                           placebo-controlled trial in     602/701)
                                an intensive care unit.;
   15    1547.                  Homeopathy 2005;94: 75-         Hearsay
                                80.                             (FRE 801
   16                                                           et.seq.);
                                                                Irrelevant
   17                                                           (FRE 401-
                                                                403); Lacks
   18                                                           Foundation
                                                                (FRE
   19                                                           602/701)
         1548.                  Frei H, Everts R, von           Hearsay
   20                           Ammon K, Kaufmann F,            (FRE 801
                                Walther D, Hsu-Schmitz          et.seq.);
   21                           SF, Collenberg M, Fuhrer        Irrelevant
                                K, Hassink R, Steinlin M,       (FRE 401-
   22                           Thurneysen A:                   403); Lacks
                                Homeopathic treatment of        Foundation
   23                           children with attention         (FRE
                                deficit hyperactivity           602/701)
   24                           disorder; Eur J Pediatr
                                2005;164: 758-767.
   25    1549.                  Furuta, S.E.: Tratamento        Hearsay
                                homeopático da amigdalite       (FRE 801
   26                           recorrente em criancas: um      et.seq.);
                                estudo randomizado              Irrelevant
   27                           controlado. Rev Hom 2007,       (FRE 401-
                                70(1-4): 21-26                  403); Lacks
   28
                                                212
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               Foundation
     4                                                         (FRE
                                                               602/701)
     5   1550.                  Gaucher C, Jeulin D, Peycru
                                P, Amengual C. A double
     6                          blind randomized placebo
                                controlled study of cholera
     7                          treatment with highly
                                diluted and succussed
     8                          solutions. Brit Hom J 1994;
                                83: 132-134.
     9   1551.                  Grover,A.; Bhushan,B.;         Hearsay
                                Goel,R. Double blind           (FRE 801
   10                           placebo controlled trial of    et.seq.);
                                Homoeopathic medicines in      Irrelevant
   11                           the management of              (FRE 401-
                                withdrawal symptoms in         403); Lacks
   12                           Opium addicts and its          Foundation
                                alkaloid, derivatives-         (FRE
   13                           dependents. Ind J Res Hom      602/701)
                                2009, 3(1): 41-44
   14    1552.                  Haila S, Koskinen A,           Hearsay
                                Tenovuo J; Effects of          (FRE 801
   15                           homeopathic treatment on       et.seq.);
                                salivary flow rate and         Irrelevant
   16                           subjective symptoms in         (FRE 401-
                                patients with oral dryness:a   403); Lacks
   17                           randomized trial;              Foundation
                                Homeopathy 2005; 94; 175-      (FRE
   18                           81.                            602/701)
         1553.                  Jacobs J, Herman P, Heron      Hearsay
   19                           K, Olsen S, Vaughters L:       (FRE 801
                                Homeopathy for                 et.seq.);
   20                           menopausal symptoms in         Irrelevant
                                breast cancer survivors: a     (FRE 401-
   21                           preliminary randomized         403); Lacks
                                controlled trial. J Altern     Foundation
   22                           Complement Med 2005;11:        (FRE
                                21-27.                         602/701)
   23    1554.                  Jacobs J, Jiménez LM,          Hearsay
                                Gloyd SS, Gale JL, Crothers    (FRE 801
   24                           D. Treatment of Acute          et.seq.);
                                Childhood Diarrhea With        Irrelevant
   25                           Homoeopathic Medicine: A       (FRE 401-
                                Randomized Clinical Trial      403); Lacks
   26                           in Nicaragua. Pediatrics       Foundation
                                1994; 93(5): 719-725.          (FRE
   27                                                          602/701)
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1555.                  Jacobs J, Jiménez LM,            Hearsay
     4                          Malthouse S, Chapman E,          (FRE 801
                                Crothers D, Masuk M, Jonas       et.seq.);
     5                          WB. Homeopathic                  Irrelevant
                                Treatment of Acute               (FRE 401-
     6                          Childhood Diarrhea -             403); Lacks
                                Results from a Clinical Trial    Foundation
     7                          in Nepal. J Alternat             (FRE
                                Complement Med 2000;             602/701)
     8                          6(2): 131-139
         1556.                  Jacobs J, Jiminez LM,            Hearsay
     9                          Gloyd S, Carares FE, Gaitan      (FRE 801
                                MP, Crothers D.                  et.seq.);
   10                           Homoeopathic treatment of        Irrelevant
                                acute childhood diarrhoea -      (FRE 401-
   11                           A randomized clinical trial      403); Lacks
                                in Nicaragua. Brit Hom J         Foundation
   12                           1993; 82(2): 83-86.              (FRE
                                                                 602/701)
   13    1557.                  Jacobs J, Springer DA,           Hearsay
                                Crothers D. Homeopathic          (FRE 801
   14                           treatment of acute otitis        et.seq.);
                                media in children: a             Irrelevant
   15                           preliminary randomized           (FRE 401-
                                placebo-controlled trial.        403); Lacks
   16                           Pediatr Infect Dis J 2001;       Foundation
                                20(2): 177-183.                  (FRE
   17                                                            602/701)
         1558.                  Jacobs J, Williams AL,           Hearsay
   18                           Girard C, Njike VY, Katz         (FRE 801
                                D: Homeopathy for                et.seq.);
   19                           attentiondeficit/                Irrelevant
                                hyperactivity disorder: a        (FRE 401-
   20                           pilot randomized-controlled      403); Lacks
                                trial. J Altern Complement       Foundation
   21                           Med 2005;11: 799-806.            (FRE
                                                                 602/701)
   22    1559.                  Jansen G, van der Veer A,
                                Hagenaars J, van der Kuy A.
   23                           Lessons learnt from an
                                unsuccessful clinical trial of
   24                           homoeopathy - Results of a
                                small-scale, double-blind
   25                           trial in proctocolitis. Brit
                                Hom J 1992; 81: 132-138.
   26    1560.                  Kainz,J.T.; Kozel,G.;            Hearsay
                                Haidvogl,M.; Smolle,J.           (FRE 801
   27                           Homoeopathic versus              et.seq.);
                                placebo therapy of children      Irrelevant
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                with warts on the hands. J    (FRE 401-
     4                          Derm (1996) Vol. 193, pp.     403); Lacks
                                318-320                       Foundation
     5                                                        (FRE
                                                              602/701)
     6   1561.                  Katz T, Fisher P, Katz A,     Hearsay
                                Davidson J, Feder G. The      (FRE 801
     7                          feasibility of a randomised, et.seq.);
                                placebocontrolled clinical    Irrelevant
     8                          trial of homeopathic          (FRE 401-
                                treatment of depression in    403); Lacks
     9                          general practice.             Foundation
                                Homeopathy.                   (FRE
   10                           2005;94(3):145-52.            602/701)
         1562.                  Kuzeff RM. Homeopathy,        Hearsay
   11                           sensation of well-being and (FRE 801
                                CD4-levels - A placebo-       et.seq.);
   12                           controlled, randomized trial. Irrelevant
                                Complem Ther Med 1998;        (FRE 401-
   13                           6(1): 4-9.                    403); Lacks
                                                              Foundation
   14                                                         (FRE
                                                              602/701)
   15    1563.                  Ledermann EK.                 Hearsay
                                Homoeopathy tested against (FRE 801
   16                           controls in cases of surgical et.seq.);
                                tuberculosis. Brit Hom J      Irrelevant
   17                           1954; 44: 83–97.              (FRE 401-
                                                              403); Lacks
   18                                                         Foundation
                                                              (FRE
   19                                                         602/701)
         1564.                  Lökken P, Straumsheim PA, Hearsay
   20                           Tveiten D, Skjelbred P,       (FRE 801
                                Borchgrevink CF. Effect of et.seq.);
   21                           homoeopathy on pain and       Irrelevant
                                other events after acute      (FRE 401-
   22                           trauma: Placebo controlled    403); Lacks
                                trial with bilateral oral     Foundation
   23                           surgery. BMJ 1995; 310:       (FRE
                                1439-1442.                    602/701)
   24    1565.                  Mousavi F, Mojaver YN,        Hearsay
                                Asadzadeh M, Mirzazadeh       (FRE 801
   25                           M. Homeopathic treatment et.seq.);
                                of minor aphthous ulcer: a    Irrelevant
   26                           randomized, placebo-          (FRE 401-
                                controlled clinical trial.    403); Lacks
   27                           Homeopathy 2009               Foundation
                                ;98(3);137-141.               (FRE
   28
                                                215
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               602/701)
     4
     5   1566.                  Naudé,D.F.;                    Hearsay
                                Couchman,I.M.S.;               (FRE 801
     6                          Maharaj,A. Chronic primary     et.seq.);
                                insomnia: Efficacy of          Irrelevant
     7                          homeopathic simillimum.        (FRE 401-
                                Homeopathy 2010;99: 63-        403); Lacks
     8                          68.                            Foundation
                                                               (FRE
     9                                                         602/701)
         1567.                  Ngobese,J.C. (2006). The       Hearsay
   10                           relative efficacy of           (FRE 801
                                homeopathic simillimum         et.seq.);
   11                           treatment as compared to       Irrelevant
                                psychological counceling       (FRE 401-
   12                           (cognitive therapy and         403); Lacks
                                behavioral therapy) in the     Foundation
   13                           management of generalized      (FRE
                                anxiety disorder. Thesis,      602/701)
   14                           Durban University of
                                Technology.
   15    1568.                  Oberai Praveen,                Hearsay
                                Gopinadhan S, Varanasi         (FRE 801
   16                           Roja, Mishra Alok, Singh       et.seq.);
                                Vikram, Nayak                  Irrelevant
   17                           Chaturbhuja. Homoeopathic      (FRE 401-
                                management of attention        403); Lacks
   18                           deficit hyperactivity          Foundation
                                disorder: A randomised         (FRE
   19                           placebo-controlled pilot       602/701)
                                trial. IJRH 2013, Volume 7,
   20                           Issue 4, Page : 158-167.
         1569.                  Rastogi,D.P.; Singh,V.P.;      Hearsay
   21                           Singh,V.; Dey,S.K.; Rao,K.     (FRE 801
                                Homeopathy in HIV              et.seq.);
   22                           infection: a trial report of   Irrelevant
                                double-blind placebo           (FRE 401-
   23                           controlled study. Br           403); Lacks
                                Homeopath J. 1999              Foundation
   24                           Apr;88(2):49-57.               (FRE
                                                               602/701)
   25    1570.                  Reilly DT, Taylor MA,
                                Beattie NGM, Campbell JH,
   26                           McSharry C, Aitchison TC,
                                Carter R, Stevenson R. Is
   27                           evidence for homoeopathy
                                reproducible? Lancet 1994;
   28
                                                216
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                344: 1601-1606.
     4
     5   1571.                  Saha Subhranil, Koley           Hearsay
                                Munmun, Hossain Seikh           (FRE 801
     6                          Intaj, Mundle Malay, Ghosh      et.seq.);
                                Shubhamoy, Nag Goutam,          Irrelevant
     7                          Datta Achintya Kumar, Rath      (FRE 401-
                                Prasanta. Individualized        403); Lacks
     8                          homoeopathy versus              Foundation
                                placebo in essential            (FRE
     9                          hypertension: A double-         602/701)
                                blind randomized controlled
   10                           trial. IJRH 2013, 7(2): 62-71
         1572.                  Sharma,N.; Sharma,S.;
   11                           Sharma,S. Individualized
                                homeopathy as an adjuvant
   12                           in treatment
         1573.                  for hypertension in older       Hearsay
   13                           adults: Results from            (FRE 801
                                randomized double blind         et.seq.);
   14                           placebo controlled trial.       Irrelevant
                                Forsch Komplementmed            (FRE 401-
   15                           2013; 20(suppl 1):38-39.        403); Lacks
                                                                Foundation
   16                                                           (FRE
                                                                602/701)
   17    1574.                  Sharma,S.; Sharma,N. Long       Hearsay
                                term evaluation of              (FRE 801
   18                           homeopathy on post              et.seq.);
                                treatment impairment of         Irrelevant
   19                           pulmonary tuberculosis.         (FRE 401-
                                BMC Complementary and           403); Lacks
   20                           Alternative Medicine 2012,      Foundation
                                12(Suppl 1):P223                (FRE
   21                                                           602/701)
         1575.                  Sharma,S.; Sharma,N.;           Hearsay
   22                           Sharma,R. Accelerating the      (FRE 801
                                healing of bone fracture        et.seq.);
   23                           using homeopathy: a             Irrelevant
                                prospective, randomized         (FRE 401-
   24                           double-blind controlled         403); Lacks
                                study. BMC Complement           Foundation
   25                           Altern Med 12(Suppl.1):         (FRE
                                O61.                            602/701)
   26    1576.                  Siebenwirth J, Lüdtke R,        Hearsay
                                Remy W, Rakoski J, Borelli      (FRE 801
   27                           S, Ring J. Wirksamkeit          et.seq.);
                                einer klassisch 315-323.        Irrelevant
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                 (FRE 401-
     4                                                           403); Lacks
                                                                 Foundation
     5                                                           (FRE
                                                                 602/701)
     6   1577.                  Solanki M, Gandhi PM. Is
                                homoeopathy only a placebo
     7                          therapy? Hom Heritage
                                1995; 20: 707-713.
     8   1578.                  Steinsbekk A, Bentzen N,
                                Fonnebo V, Lewith G. Self
     9                          treatment with one of three
                                self selected, ultramolecular
   10                           medicines for the prevention
                                of upper respiratory tract
   11                           infections in children. Brit J
                                Clin Pharmacol 2005;59(4):
   12                           447-455.
         1579.                  Straumsheim P,
   13                           Borchgevink C, Mowinckel
                                P, Kierulf H, Hafslund O.
   14                           Homeopathic treatment of
                                migraine: A double blind,
   15                           placebo controlled trial of
                                68 patients. Br Hom J 2000;
   16                           89: 4-7.
         1580.                  Teixeira MZ. Ensaio clinico      Hearsay
   17                           quali-quantitativo para          (FRE 801
                                avaliar a eficácia e a           et.seq.);
   18                           efetividade dom tratamento       Irrelevant
                                homeopático                      (FRE 401-
   19                           individualizado na rinite        403); Lacks
                                alérgica perene.                 Foundation
   20                           [dissertation] Universität       (FRE
                                Sao Paulo, Fakultät für          602/701)
   21                           Medizin. Sao Paolo, Brazil;
                                2009.
   22    1581.                  Thompson EA,                     Hearsay
                                Montgomery A, Douglas D,         (FRE 801
   23                           Reilly D: A pilot,               et.seq.);
                                randomized, double-blinded,      Irrelevant
   24                           placebo-controlled trial of      (FRE 401-
                                individualized homeopathy        403); Lacks
   25                           for symptoms of estrogen         Foundation
                                withdrawal in breast-cancer      (FRE
   26                           survivors. J Altern              602/701)
                                Complement Med
   27                           2005;11:13-20.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1582.                  Villatoro Cadena CR,           Hearsay
     4                          Cuevas L. José Luis.           (FRE 801
                                Tratamiento del Síndrome       et.seq.);
     5                          Diarreico Agudo (SDA) con      Irrelevant
                                Homeopatía. La                 (FRE 401-
     6                          Homeopatía de México           403); Lacks
                                1991; 550: 16–25.              Foundation
     7                                                         (FRE
                                                               602/701)
     8   1583.                  Walach H, Haeusler W,
                                Lowes T, Mussbach D,
     9                          Schamell U, Springer W,
                                Stritzl G, Gaus W, Haag G.
   10                           Classical homeopathic
                                treatment of chronic
   11                           headaches. Cephalalgia
                                1997; 17: 119- 126.
   12    1584.                  White A, Slade P, Hunt C,      Hearsay
                                Hart A, Ernst E.               (FRE 801
   13                           Individualised homeopathy      et.seq.);
                                as an adjunct in the           Irrelevant
   14                           treatment of childhood         (FRE 401-
                                asthma - A randomised          403); Lacks
   15                           placebo controlled trial.      Foundation
                                Thorax 2003; 58(4): 317-       (FRE
   16                           321.                           602/701)
         1585.                  Whitmarsh T, Coleston-
   17                           Shields DM, Steiner TJ.
                                Double-blind randomised
   18                           Placebocontrolled study of
                                homoeopathic prophylaxis
   19                           of migraine. Cephalalgia
                                1997; 17: 600-604.
   20    1586.                  Yakir M, Kreitler S,           Hearsay
                                Brzezinski A, Vithoulkas G,    (FRE 801
   21                           Oberbaum M, Bentwich Z.        et.seq.);
                                Effects of homeopathic         Irrelevant
   22                           treatment in women with        (FRE 401-
                                premenstrual syndrome - A      403); Lacks
   23                           pilot study. Brit Hom J        Foundation
                                2001; 90(3): 148-153.          (FRE
   24                                                          602/701)
         1587.                  Zicari D, Ricciotti F,         Hearsay
   25                           Vingolo EM, Zicari N.          (FRE 801
                                Evaluation of the              et.seq.);
   26                           angioprotective action of      Irrelevant
                                arnica preparations in the     (FRE 401-
   27                           treatment of diabetic          403); Lacks
                                retinopathy. Boll Oculist      Foundation
   28
                                                219
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                1992; 71: 841-848.            (FRE
     4                                                        602/701)
     5   1588.                  Adler UC, Paiva NM, Cesar Hearsay
                                AT, Adler MS, Molina A,       (FRE 801
     6                          Padula AE, Calil HM.          et.seq.);
                                Homeopathic Individualized Irrelevant
     7                          Q-potencies versus            (FRE 401-
                                Fluoxetine for Moderate to 403); Lacks
     8                          Severe Depression: Double- Foundation
                                Blind, Randomized Non-        (FRE
     9                          Inferiority Trial. eCAM       602/701)
                                2011; 2011:520182.
   10                           http://dx.doi.org/10.1093/ec
                                am/nep114
   11    1589.                  Delzoppo G: Terapie della     Hearsay
                                bronchite asmatica in etá     (FRE 801
   12                           pediatrica: protocollo        et.seq.);
                                omeopatico vs. protocollo     Irrelevant
   13                           allopatico corrispondente     (FRE 401-
                                die riferimento. Medicina     403); Lacks
   14                           Biologica 2004:3-7.           Foundation
                                                              (FRE
   15                                                         602/701)
         1590.                  Fisher P, McCarney R,
   16                           Hasford C, Vickers A:
                                Evaluation of specific and
   17                           nonspecific effects in
                                homeopathy: feasibility
   18                           study for a randomised trial.
                                Homeopathy 2006;95: 215-
   19                           222
         1591.                  Gmünder R, Kissling R. Die Hearsay
   20                           Wirkung von klassischer       (FRE 801
                                Homöopathie im Vergleich et.seq.);
   21                           mit standardisierter          Irrelevant
                                Physiotherapie bei der        (FRE 401-
   22                           Behandlung von                403); Lacks
                                chronischen                   Foundation
   23                           Kreuzschmerzen. Z Orthop (FRE
                                2002; 140: 503-508.           602/701)
   24    1592.                  Hitzenberger G, Korn A,       Hearsay
                                Dorsci M, et al.              (FRE 801
   25                           Kontrollierte randomisierte et.seq.);
                                doppelblinde Studie zum       Irrelevant
   26                           Vergleich einer Behandlung (FRE 401-
                                von Patienten mit             403); Lacks
   27                           essentieller Hypertonie mit Foundation
                                homöopathischen und           (FRE
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                pharmakologischen                602/701)
     4                          Medikamenten. Wien Klin
                                Wschr 1982;94: 665-670.
     5   1593.                  Jansen G, van der Veer A,     Hearsay
                                Hagenaars J, van der Kuy A.   (FRE 801
     6                          Lessons learnt from an        et.seq.);
                                unsuccessful clinical trial ofIrrelevant
     7                          homoeopathy - Results of a    (FRE 401-
                                small-scale, double-blind     403); Lacks
     8                          trial in proctocolitis. Brit  Foundation
                                Hom J 1992; 81: 132-138.      (FRE
     9                                                        602/701)
         1594.                  Katz T, Fisher P, Katz A,     Hearsay
   10                           Davidson J, Feder G. The      (FRE 801
                                feasibility of a randomised, et.seq.);
   11                           placebo-controlled clinical   Irrelevant
                                trial of homeopathic          (FRE 401-
   12                           treatment of depression in    403); Lacks
                                general practice.             Foundation
   13                           Homeopathy.                   (FRE
                                2005;94(3):145-52.            602/701)
   14    1595.                  Mourão, L.C. , Moutinho,      Hearsay
                                H.; Canabarro, A. :           (FRE 801
   15                           Additional benefits of        et.seq.);
                                homeopathy in the treatment Irrelevant
   16                           of chronic periodontitis, A   (FRE 401-
                                randomized clinical trial.    403); Lacks
   17                           Complement Ther Clin          Foundation
                                Pract 19(4), 2013: S. 246-    (FRE
   18                           250                           602/701)
         1596.                  Ngobese,J.C. (2006). The      Hearsay
   19                           relative efficacy of          (FRE 801
                                homeopathic simillimum        et.seq.);
   20                           treatment as compared to      Irrelevant
                                psychological counceling      (FRE 401-
   21                           (cognitive therapy and        403); Lacks
                                behavioral therapy) in the    Foundation
   22                           management of generalized (FRE
                                anxiety disorder. Thesis,     602/701)
   23                           Durban University of
                                Technology.
   24    1597.                  Paterson,C.; Ewings,P.;       Hearsay
                                Brazier,J.E.; Britten,N.      (FRE 801
   25                           Treating dyspepsia with       et.seq.);
                                acupuncture and               Irrelevant
   26                           homeopathy: reflections on (FRE 401-
                                a pilot study by researchers, 403); Lacks
   27                           practitioners and             Foundation
                                participants. Complement      (FRE
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Ther Med. 2003                   602/701)
     4                          Jun;11(2):78-84.
     5   1598.                  Relton C, Smith C, Raw J,        Hearsay
                                Walters C, Adebajo AO,           (FRE 801
     6                          Thomas KJ, Young TA:             et.seq.);
                                Healthcare provided by a         Irrelevant
     7                          homeopath as an adjunct to       (FRE 401-
                                usual care for Fibromyalgia      403); Lacks
     8                          (FMS): results of a pilot        Foundation
                                Randomised Controlled            (FRE
     9                          Trial. Homeopathy                602/701)
                                2009;98:77-82.
   10    1599.                  Schreier T, Hartmann M,          Hearsay
                                Petzoldt D, Monga B,             (FRE 801
   11                           Roebruck P, Runnebaum B,         et.seq.);
                                Gerhard I. Homöopathie           Irrelevant
   12                           versus konventionelle            (FRE 401-
                                Therapie bei männlicher          403); Lacks
   13                           Unfruchtbarkeit -                Foundation
                                Zwischenbericht einer            (FRE
   14                           randomisierten Studie.           602/701)
                                Forsch Komplementärmed
   15                           1997; 4(6): 325-331.
         1600.                  Sharma,N.; Ameta,A.;
   16                           Sharma,S. Effect of
                                homeopathy on chronic
   17                           tension-type headache: a
                                pragmatic, randomised
   18                           controlled single blind trial.
                                The Journal of Headache
   19                           and Pain 2013, 14(Suppl
                                1):P56.
   20    1601.                  Sinha, M.N.; Siddiqui,           Hearsay
                                V.A.; Nayak, C.; Singh, V.;      (FRE 801
   21                           Dixit, R.; Dewan, D.;            et.seq.);
                                Mishra, A.: Randomized           Irrelevant
   22                           controlled pilot study to        (FRE 401-
                                compare Homeopathy and           403); Lacks
   23                           Conventional therapy in          Foundation
                                Acute Otitis Media.              (FRE
   24                           Homeopathy 2012, 101(1):         602/701)
                                5-12
   25    1602.                  Steinsbekk A, Fonnebo V,
                                Lewith G, Bentzen N:
   26                           Homeopathic care for the
                                prevention of upper
   27                           respiratory tract infections
                                in children. Complement
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Ther Med 2005;13: 231-
     4                          238.
     5   1603.                  van Erp VMA, Brands M.           Hearsay
                                Homoeopathic treatment of        (FRE 801
     6                          malaria in Ghana – Open          et.seq.);
                                study and clinical trial. Brit   Irrelevant
     7                          Hom J 1996; 85: 66-70.           (FRE 401-
                                                                 403); Lacks
     8                                                           Foundation
                                                                 (FRE
     9                                                           602/701)
         1604.                  Witt, A; Kaufmann, U;            Hearsay
   10                           Bitschnau, M; Tempfer, C;        (FRE 801
                                Özbal, A; Haytouglu, E;          et.seq.);
   11                           Gregor, H; Kiss, H.Monthly       Irrelevant
                                Itraconazole Versus Classic      (FRE 401-
   12                           Homeopathy for the               403); Lacks
                                Treatment of Recurrent           Foundation
   13                           Vulvovaginal Candidiasis.        (FRE
                                BJOG. 2009                       602/701)
   14                           Oct;116(11):1499-505.
         1605.                  Aabel S. Prophylactic and
   15                           acute treatment with the
                                homeopathic medicine
   16                           Betula 30c for birch pollen
                                allergy - a double blind,
   17                           randomized, placebo-
                                controlled study of
   18                           consistency of VAS
                                responses. Brit Hom J
   19                           2001;90(2): 73-78.
         1606.                  Aabel, S.; Laerum, E.;
   20                           Dölvik, S.; Djupesland, P. :
                                Is homeopathic
   21                           immunotherapy effective?,
                                A double-blind, placebo-
   22                           controlled trial with the
                                isopathic remedy Betula 30c
   23                           for patients with birch
                                pollen allergy. Brit Hom J
   24                           89(4), 2000: S. 161-168
         1607.                  Abelson MB, George MA,
   25                           Garofalo C, Weintraub D.
                                An effective treatment for
   26                           allergy sufferers. Spectrum
                                1995: 28-32.
   27    1608.                  Adkison JD, Bauer DW,        Hearsay
                                Chang T. The effect of       (FRE 801
   28
                                                223
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                topical arnica on muscle       et.seq.);
     4                          pain. Ann Pharmacother         Irrelevant
                                2010;44:1579-1584.             (FRE 401-
     5                                                         403); Lacks
                                                               Foundation
     6                                                         (FRE
                                                               602/701)
     7   1609.                  Albertini H, Goldberg W,       Hearsay
                                Sanguy D, Toulza D. Bilan (FRE 801
     8                          de 60 observations             et.seq.);
                                randomisées - Hypericum-       Irrelevant
     9                          Arnica contre Placébo dans (FRE 401-
                                les névralgies dentaires.      403); Lacks
   10                           Homéopathie 1984;1(1): 47- Foundation
                                49.                            (FRE
   11                                                          602/701)
         1610.                  Alibeu JP, Jobert J. Aconit    Hearsay
   12                           en dilution homéopathique      (FRE 801
                                et agitation post-opératoire   et.seq.);
   13                           de l`enfant. Pediatrie.        Irrelevant
                                1990;45(7-8):465–466           (FRE 401-
   14                                                          403); Lacks
                                                               Foundation
   15                                                          (FRE
                                                               602/701)
   16    1611.                  Aulagnier G: Action d`un       Hearsay
                                traitement homéopathique       (FRE 801
   17                           sur la reprise du transit post et.seq.);
                                opératoire. Homéopathie        Irrelevant
   18                           1985;2(6):42-45.               (FRE 401-
                                                               403); Lacks
   19                                                          Foundation
                                                               (FRE
   20                                                          602/701)
         1612.                  Badulici S, Radu JR,           Hearsay
   21                           Mazenot C,Belon Ph,            (FRE 801
                                Popescu S. Treatment of        et.seq.);
   22                           orthoergic dermatitis by       Irrelevant
                                homeoplasmine cream. Proc (FRE 401-
   23                           63rd LMHI Congress.            403); Lacks
                                Ooostende, Belgium; 2008. Foundation
   24                                                          (FRE
                                                               602/701)
   25    1613.                  Baillargeon L, Drouin J,       Hearsay
                                Desjardines L, Leroux D,       (FRE 801
   26                           Audet D: Les effets de         et.seq.);
                                l´Arnica Montana sur la        Irrelevant
   27                           coagulation sanguine - Essai (FRE 401-
                                clinique randomisé. Canad      403); Lacks
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Fam Physician                  Foundation
     4                          1993;3:2362-2367.              (FRE
                                                               602/701)
     5   1614.                  Baker DG, Myers SP,            Hearsay
                                Howden I, Brooks L. The        (FRE 801
     6                          effects of homeopathic         et.seq.);
                                Argentum nitricum on test      Irrelevant
     7                          anxiety. Complem Ther          (FRE 401-
                                Med 2003; 11(2): 65-71.        403); Lacks
     8                                                         Foundation
                                                               (FRE
     9                                                         602/701)
         1615.                  Balzarini A, Felisi E,         Hearsay
   10                           Martini A, de Conno F.         (FRE 801
                                Efficacy of homeopathic        et.seq.);
   11                           treatment of skin reactions    Irrelevant
                                during radiotherapy for        (FRE 401-
   12                           breast cancer - a              403); Lacks
                                randomised, double-blind       Foundation
   13                           clinical trial. Brit Hom J     (FRE
                                2000; 89(1): 8-12              602/701)
   14    1616.                  Barry R, Collins M, Machin     Hearsay
                                D, Smith M, Hazleman B,        (FRE 801
   15                           Barry M. Feasibility Study     et.seq.);
                                of Homoeopathic Remedy         Irrelevant
   16                           in Rheumatoid Arthritis. Br    (FRE 401-
                                J Rheumatology 1995:           403); Lacks
   17                           34(2): 17.                     Foundation
                                                               (FRE
   18                                                          602/701)
         1617.                  Beer, A.-M. , Fey, S.;         Hearsay
   19                           Zimmer, M.; Teske, W.;         (FRE 801
                                Schremmer, D.; Wiebelitz,      et.seq.);
   20                           K.R. : Wirksamkeit und         Irrelevant
                                Sicherheit eines               (FRE 401-
   21                           homöopathischen                403); Lacks
                                Komplexpräparates bei          Foundation
   22                           chronischen                    (FRE
                                Rückenschmerzen,               602/701)
   23                           Doppelblinde,
                                randomisierte,
   24                           placebokontrollierte,
                                klinische Studie. MMW
   25                           Fortschr Med 154(2), 2012:
                                S. 48-57
   26    1618.                  Bekkering GM, van den          Hearsay
                                Bosch W, van den Hoogen        (FRE 801
   27                           H. Bedriegt schone schijn?     et.seq.);
                                Een onderzoek om de            Irrelevant
   28
                                                225
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                gerapporteerde werking van     (FRE 401-
     4                          een hemeopathisch middel       403); Lacks
                                te objectiveren. Huisarts en   Foundation
     5                          wetenschap 1993; 36: 414-      (FRE
                                415.                           602/701)
     6   1619.                  Belon,P.; Banerjee,A.;
                                Karmakar,S.R.; Biswas,S.J.;
     7                          Choudhury,S.C.;
                                Banerjee,P.; Das,J.K.;
     8                          Pathak,S.; nonallergic
                                rhinitis. Ann Allergy
     9                          Asthma Immunol 2011;107:
                                171-179.
   10    1620.                  Benzécri, J.P., Maiti, G.D.;   Hearsay
                                Belon, P.; Questel, R.         (FRE 801
   11                           Comparaison entre quatre       et.seq.);
                                méthodes de sevrage aprés      Irrelevant
   12                           une thérapeutique              (FRE 401-
                                anxiolytique, (comp.           403); Lacks
   13                           sevrage), Les Cahiers de       Foundation
                                l`Analyse des Données          (FRE
   14                           1991; 16:389-402               602/701)
         1621.                  Bergmann J, Luft B,            Hearsay
   15                           Boehmann S, Runnebaum          (FRE 801
                                B, Gerhard I. Die              et.seq.);
   16                           Wirksamkeit des                Irrelevant
                                Komplexmittels Phyto-          (FRE 401-
   17                           Hypophyson L bei               403); Lacks
                                weiblicher, hormonell          Foundation
   18                           bedingter Sterilität. Forsch   (FRE
                                Komplementärmed; 2: 190-       602/701)
   19                           199.
         1622.                  Bernstein JA, Davis BP,
   20                           Picard JK, Cooper JP,
                                Zheng S, Levin LS. A
   21                           randomized, double-blind,
                                parallel trial comparing
   22                           capsaicin nasal spray with
                                placebo in subjects with a
   23                           significant component of
                                nonallergic rhinitis. Ann
   24                           Allergy Asthma Immunol
                                2011;107: 171-179.
   25    1623.                  Bernstein,S.; Donsky,H.;       Hearsay
                                Gulliver,W.; Hamilton,D.;      (FRE 801
   26                           Nobel,S.; Norman,R.            et.seq.);
                                Treatment of mild to           Irrelevant
   27                           moderate psoriasis with        (FRE 401-
                                Reliéva, a Mahonia             403); Lacks
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                aquifolium extract--a          Foundation
     4                          double-blind, placebo-         (FRE
                                controlled study. Am J Ther.   602/701)
     5                          2006 Mar-Apr;13(2):121-6.
         1624.                  Bignamini M, Bertoli A,        Hearsay
     6                          Consolandi AM, Dovera N,       (FRE 801
                                Saruggia M, Taino S,           et.seq.);
     7                          Tubertini A. Controlled        Irrelevant
                                Double-blind Trial with        (FRE 401-
     8                          Baryta carbonica 15CH          403); Lacks
                                Versus Placebo in a Group      Foundation
     9                          of Hypertensive Subjects       (FRE
                                Confined to Bed. Brit Hom      602/701)
   10                           J 1987; 76: 114-119.
         1625.                  Bloss,I. (2006).               Hearsay
   11                           Wirksamkeit eines              (FRE 801
                                homöopathisierten              et.seq.);
   12                           Knorpelpräparates bei der      Irrelevant
                                Gonarthrose. Eine              (FRE 401-
   13                           randomisierte,                 403); Lacks
                                placebokontrollierte Phase     Foundation
   14                           II-Studie. Thesis,             (FRE
                                Medizinische Fakultät der      602/701)
   15                           Albert- Ludwigs-Universität
                                Freiburg i.Br., Germany: 1-
   16                           82.
         1626.                  Böhmer D, Ambrus P.          Hearsay
   17                           Treatment of sports injuries (FRE 801
                                with Traumeel ointment: a    et.seq.);
   18                           controlled doubleblind       Irrelevant
                                study. Biological Therapy    (FRE 401-
   19                           1992; 10 (4): 290-300.       403); Lacks
                                                             Foundation
   20                                                        (FRE
                                                             602/701)
   21    1627.                  Bornoroni C. Diatesi         Hearsay
                                linfatico-essudativa in      (FRE 801
   22                           trattamento con revitorgan   et.seq.);
                                29f+k. Universita degli      Irrelevant
   23                           Studi di Urbino, pp. 1-13.   (FRE 401-
                                                             403); Lacks
   24                                                        Foundation
                                                             (FRE
   25                                                        602/701)
         1628.                  Bornoroni,C. Trial clinico:  Hearsay
   26                           Diatesi linfatico-essudativa (FRE 801
                                in trattamento con Timosina et.seq.);
   27                           a dosi omeopatiche.          Irrelevant
                                Tecniche Mediche             (FRE 401-
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Associate: Italian Journal of   403); Lacks
     4                          Holistic Medicine 1997,         Foundation
                                22(1);3-9                       (FRE
     5                                                          602/701)
         1629.                  Brinkhaus B, Wilkens JM,        Hearsay
     6                          Lüdtke R, Hunger J, Witt        (FRE 801
                                CM, Willich SN.                 et.seq.);
     7                          Homeopathic arnica therapy Irrelevant
                                in patients receiving knee      (FRE 401-
     8                          surgery: Results of three       403); Lacks
                                randomised double blind         Foundation
     9                          trials. Compl Ther Med          (FRE
                                2006;14: 237-246.               602/701)
   10    1630.                  Brinkhaus B, Wilkens JM,        Hearsay
                                Lüdtke R, Hunger J, Witt        (FRE 801
   11                           CM, Willich SN.                 et.seq.);
                                Homeopathic arnica therapy Irrelevant
   12                           in patients receiving knee      (FRE 401-
                                surgery: Results of three       403); Lacks
   13                           randomised double blind         Foundation
                                trials. Compl Ther Med          (FRE
   14                           2006;14: 237-246.               602/701)
         1631.                  Brinkhaus B, Wilkens JM,        Hearsay
   15                           Lüdtke R, Hunger J, Witt        (FRE 801
                                CM, Willich SN.                 et.seq.);
   16                           Homeopathic arnica therapy Irrelevant
                                in patients receiving knee      (FRE 401-
   17                           surgery: Results of three       403); Lacks
                                randomised double blind         Foundation
   18                           trials. Compl Ther Med          (FRE
                                2006;14: 237-246.               602/701)
   19    1632.                  Brydak LB, Denys A. The
                                evaluation of humoral
   20                           response and the clinical
                                evaluation of a risk-group
   21                           patients' state of health after
                                administration of the
   22                           homeopathic preparation
                                Gripp-Heel during the
   23                           influenza epidemic season
                                1993/1994. Int Rev Allergol
   24                           Clin Immunol (1999) Vol.
                                5(4), 223-227
   25    1633.                  Casanova PA. Essai cinique Hearsay
                                d´un produit appelé             (FRE 801
   26                           "Urathone". Meth Lab            et.seq.);
                                Lehnig, 1981. Unpublished. Irrelevant
   27                                                           (FRE 401-
                                                                403); Lacks
   28
                                                228
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               Foundation
     4                                                         (FRE
                                                               602/701)
     5   1634.                  Chakraborty,D.;                Hearsay
                                Chakraborty,T., DasS.;         (FRE 801
     6                          Sengupta,J.A. Randomized et.seq.);
                                double blind clinical trial of Irrelevant
     7                          a homoeopathic medicine in (FRE 401-
                                the treatment of trophic       403); Lacks
     8                          ulcer and neuropathy in        Foundation
                                leprosy. Indian J Res          (FRE
     9                          Homoeopathy 2009, 3(4):        602/701)
                                54-65.
   10    1635.                  Chebel,I.F.O (2012). Acoa      Hearsay
                                do tratamento homeopatico (FRE 801
   11                           na sintomalogia da             et.seq.);
                                sindrome da ardencia bucal Irrelevant
   12                           em duas fases: estudo duplo (FRE 401-
                                cego placebo controlado e      403); Lacks
   13                           estudo alberto. Thesis,        Foundation
                                Universidade de Sao Paulo, (FRE
   14                           Brazil.                        602/701)
         1636.                  Cialdella P, Boissel JP,       Hearsay
   15                           Belon P. Spécialités           (FRE 801
                                homéopathiques en              et.seq.);
   16                           substitution de                Irrelevant
                                benzodiazépines: étude en      (FRE 401-
   17                           double-insu vs. placebo.       403); Lacks
                                Thérapie 2001; 4: 397-402. Foundation
   18                                                          (FRE
                                                               602/701)
   19    1637.                  Clark,J.; Percivall,A. A       Hearsay
                                preliminary investigation      (FRE 801
   20                           into the effectiveness of the et.seq.);
                                homeopathic remedy, Ruta Irrelevant
   21                           graveolens, in the treatment (FRE 401-
                                of pain in plantar fasciitis.  403); Lacks
   22                           2000, British Journal of       Foundation
                                Podiatry, 3:81–85.             (FRE
   23                                                          602/701)
         1638.                  Colau,J.C.; Vincent,S.;        Hearsay
   24                           Marijnen,P.; Allaert,F.A.      (FRE 801
                                Efficacy of a non-hormonal et.seq.);
   25                           treatment, BRN-01, on          Irrelevant
                                menopausal hot flashes: A      (FRE 401-
   26                           multicenter, randomized,       403); Lacks
                                doubel-blind, placebo-         Foundation
   27                           controlled trial. Drugs R D    (FRE
                                2012, 12(3): 107-119.          602/701)
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1639.                  Cornu C, Joseph P, Gaillard    Hearsay
     4                          S, Bauer C, Vedrinne C. No     (FRE 801
                                effect of homeopathic          et.seq.);
     5                          combination of Arnica          Irrelevant
                                montana and Bryonia alba       (FRE 401-
     6                          on bleeding, inflammation,     403); Lacks
                                and ischaemia after aortic     Foundation
     7                          valve surgery. Brit J of       (FRE
                                clinical Pharmacology.         602/701)
     8                          2010, 69 (2): 136-142.
         1640.                  Criglington, A. Scientific     Hearsay
     9                          test of no-shift-lag.          (FRE 801
                                Manufacturer's web page        et.seq.);
   10                           1996                           Irrelevant
                                                               (FRE 401-
   11                                                          403); Lacks
                                                               Foundation
   12                                                          (FRE
                                                               602/701)
   13    1641.                  Cummerow,R. (2006).            Hearsay
                                Doppelblinde,                  (FRE 801
   14                           plazebokontrollierte,          et.seq.);
                                randomisierte Phase-III-       Irrelevant
   15                           Studie zur Wirksamkeit und     (FRE 401-
                                Verträglichkeit des            403); Lacks
   16                           homöopathischen                Foundation
                                Kombinationspräparates         (FRE
   17                           metaF-R201 Tropfen in der      602/701)
                                peri- und postoperativen
   18                           Wundbehandlung. Thesis,
                                Medizinische Fakultät der
   19                           Albert-Ludwigs-Universität,
                                Freiburg im Breisgau,
   20                           Germany: 1-92.
         1642.                  Danno K, Rerolle F, De         Hearsay
   21                           Sigalony S, Terzan L,          (FRE 801
                                Bordet M-F. China rubra for    et.seq.);
   22                           side-effects of quinine: a     Irrelevant
                                prospective, randomised        (FRE 401-
   23                           study in pregnant women        403); Lacks
                                with malaria in Cotonou,       Foundation
   24                           Benin. Homeopathy 2014;        (FRE
                                103:165-171 Guha,B.;           602/701)
   25                           Paul,S.; Bhattacharjee,N.;
                                Khuda-Bukhsh,A.R.
   26                           Homeopathic remedy for
                                arsenic toxicity?: Evidence-
   27                           based findings from a
                                randomized placebo-
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                controlled double blind
     4                          human trial. Sci Total
                                Environ. 2007 Oct 1;384(1-
     5                          3):141-50.
         1643.                  Daub A, Homöopathische         Hearsay
     6                          Antiemetika bei                (FRE 801
                                Chemotherapie, eine            et.seq.);
     7                          prospektive, randomisierte     Irrelevant
                                Studie [dissertation].         (FRE 401-
     8                          Ruprecht-Karls-Universiät      403); Lacks
                                zu Heidelberg, Medizinische    Foundation
     9                          Fakultät.                      (FRE
                                Heidelberg.Deutschland;        602/701)
   10                           2005.
         1644.                  Davies AE. A pilot study to    Hearsay
   11                           measure Aluminium levels       (FRE 801
                                in hair samples of patients    et.seq.);
   12                           with dementia and the          Irrelevant
                                influence of Aluminium 30c     (FRE 401-
   13                           compared with Placebo. Brit    403); Lacks
                                Hom Res Group                  Foundation
   14                           Communications 1988; 18:       (FRE
                                42-46.                         602/701)
   15    1645.                  Davies AE. Clinical            Hearsay
                                investigations into the        (FRE 801
   16                           actions of potencies. Brit     et.seq.);
                                Hom J 1971; 60: 36-41.         Irrelevant
   17                                                          (FRE 401-
                                                               403); Lacks
   18                                                          Foundation
                                                               (FRE
   19                                                          602/701)
         1646.                  Dean,M.E., Karsandas,R.;       Hearsay
   20                           Bland,J.M.; Gooch,D.;          (FRE 801
                                MacPherson,H. :                et.seq.);
   21                           Homeopathy for mental          Irrelevant
                                fatigue, Lessons from a        (FRE 401-
   22                           randomized, triple blind,      403); Lacks
                                placebo-controlled cross-      Foundation
   23                           over clinical trial. BMC       (FRE
                                Complement Altern Med          602/701)
   24                           12, 2012: S. 167; (1-7)
         1647.                  Diefenbach M, Schilken J,      Hearsay
   25                           Steiner G, Becker HJ.          (FRE 801
                                Homöopathische Therapie        et.seq.);
   26                           bei Erkrankungen der           Irrelevant
                                Atemwege - Auswertung          (FRE 401-
   27                           einer klinischen Studie bei    403); Lacks
                                258 Patienten. Z Allg Med      Foundation
   28
                                                231
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                1997; 73: 308-314.            (FRE
     4                                                        602/701)
     5   1648.                  Ernst E, Saradeth T, Resch    Hearsay
                                KL. Complementary             (FRE 801
     6                          treatment of varicose veins - et.seq.);
                                a randomized,                 Irrelevant
     7                          placobocontrolled, double-    (FRE 401-
                                blind trial. Phlebology 1990; 403); Lacks
     8                          5: 157-163.                   Foundation
                                                              (FRE
     9                                                        602/701)
         1649.                  Ferley JP, Poutignat A,       Hearsay
   10                           Azzopardi Y, Charrel M,       (FRE 801
                                Zmirou D. Evaluation en       et.seq.);
   11                           médicine ambulatoire de       Irrelevant
                                l'activité d'un complexe      (FRE 401-
   12                           homéopathique dans la         403); Lacks
                                prévention de la grippe et    Foundation
   13                           des syndromes grippaux.       (FRE
                                Immunol Méd 1987; 20: 22- 602/701)
   14                           28.
         1650.                  Ferley JP, Zmirou D,
   15                           d'Adhemar D, Balducci F. A
                                Controlled Evaluation of a
   16                           Homoeopathic Preparation
                                in the Treatment of
   17                           Influenza-like Syndromes.
                                Brit J Clin Pharmacol 1989;
   18                           27: 329-335.
         1651.                  Ferrara P, Marrone G,
   19                           Emmanuele V, Nicoletti A,
                                Mastrangelo A, Tiberi E,
   20                           Ruggiero A, Fasano A,
                                Paolini Paoletti F.
   21                           Homotoxicological
                                remedies versus
   22                           desmopressin versus
                                placebo in the treatment of
   23                           enuresis. Pediatr Nephrol
                                2008;23(2): 269-74.
   24    1652.                  Freitas LAS, Goldenstein E,
                                Sanna OM. The indirect
   25                           doctor-patient relationship
                                and the homeopathic
   26                           treatment of asthma in
                                children. Revista de
   27                           Homeopatia 1995; 60:26-
                                31.
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1653.                  Friese KH, Feuchter U,          Hearsay
     4                          Lüdtke R, Moeller H.            (FRE 801
                                Results of a randomised         et.seq.);
     5                          prospective double-blind        Irrelevant
                                clinical trial on the           (FRE 401-
     6                          homeopathic treatment of        403); Lacks
                                adenoid vegetations. Eur J      Foundation
     7                          of General Practise 2001;7:     (FRE
                                48-54.                          602/701)
     8   1654.                  Friese KH, Feuchter U,          Hearsay
                                Moeller H: Die                  (FRE 801
     9                          homöopathische                  et.seq.);
                                Behandlung von adenoiden        Irrelevant
   10                           Vegetationen - Ergebnisse       (FRE 401-
                                einer prospektiven,             403); Lacks
   11                           randomisierten                  Foundation
                                Doppelblindstudie. HNO          (FRE
   12                           1997; 45: 618–624.              602/701)
         1655.                  Friese KH, Zabolotnyi DI.       Hearsay
   13                           Homöopathie bei akuter          (FRE 801
                                Rhinosinusitis, Eine            et.seq.);
   14                           doppelblinde,                   Irrelevant
                                placebokontrollierte Studie     (FRE 401-
   15                           belegt die Wirksamkeit und      403); Lacks
                                Verträglichkeit eines           Foundation
   16                           homöopathischen                 (FRE
                                Kombinationsarzneimittels.      602/701)
   17                           HNO 2007;55(4): 271-277.
         1656.                  Furuta SE, Weckx LL,
   18                           Figueiredo CR. Prospective,
                                randomized, double-blind
   19                           clinical trial about efficacy
                                of homeopathic treatment in
   20                           children with obstructive
                                adenoid. Rev Bras
   21                           Otottinolaringol
                                2003;69:343-347.
   22    1657.                  Garrett B, Harrison PV,
                                Stewart T, Porter I. A Trial
   23                           of Homoeopathic Treatment
                                of Leg Ulcers. J Derm Treat
   24                           1997; 8: 115-117.
         1658.                  Gerhard I, Patek A, Monga       Hearsay
   25                           B, Blank A, Gorkow C.           (FRE 801
                                Mastodynon(R) bei               et.seq.);
   26                           weiblicher Sterilität.          Irrelevant
                                                                (FRE 401-
   27                                                           403); Lacks
                                                                Foundation
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                (FRE
     4                                                          602/701)
     5   1659.                  Forschende                      Hearsay
                                Komplementärmedizin             (FRE 801
     6                          1998; 5(6): 272-278             et.seq.);
                                                                Irrelevant
     7                                                          (FRE 401-
                                                                403); Lacks
     8                                                          Foundation
                                                                (FRE
     9                                                          602/701)
         1660.                  Gibson J, Haslam Y,             Hearsay
   10                           Laurenson L, Newman P,          (FRE 801
                                Pitt R, Robins M. Double        et.seq.);
   11                           Blind Trial of Arnica in        Irrelevant
                                Acute Trauma Patients.          (FRE 401-
   12                           Hom Res Group Comm              403); Lacks
                                1991; 21: 34-41.                Foundation
   13                                                           (FRE
                                                                602/701)
   14    1661.                  GRECHO (Groupe de               Hearsay
                                recherches et d'essais          (FRE 801
   15                           cliniques en homéopathie).      et.seq.);
                                Evaluation de deux produits     Irrelevant
   16                           homéopathiques sur la           (FRE 401-
                                reprise du transit après        403); Lacks
   17                           chirurgie digestive - Un        Foundation
                                essai contrôlé                  (FRE
   18                           multicentrique. Presse          602/701)
                                Médicale 1989; 18(2): 59-
   19                           62.
         1662.                  Hagens, C. von , Schiller,      Hearsay
   20                           P.; Godbillon, B.; Osburg,      (FRE 801
                                J.; Klose, C.; Limprecht, R.;   et.seq.);
   21                           Strowitzki, T. : Treating       Irrelevant
                                menopausal symptoms with        (FRE 401-
   22                           a complex remedy or             403); Lacks
                                placebo, A randomized           Foundation
   23                           controlled trial. Climacteric   (FRE
                                15(4), 2011: S. 358-367         602/701)
   24    1663.                  Halaska,M.; Beles,P.;           Hearsay
                                Gorkow,C.; Sieder,C.            (FRE 801
   25                           Treatment of cyclical           et.seq.);
                                mastalgia with a solution       Irrelevant
   26                           containing a Vitex agnus        (FRE 401-
                                castus extract: results of a    403); Lacks
   27                           placebo-controlled double-      Foundation
                                blind study. Breast. 1999       (FRE
   28
                                                234
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Aug;8(4):175-81.                602/701)
     4
     5   1664.                  Hariveau E, Nolen P,
                                Holtzscherer A. A study of
     6                          the effectiveness of ultra
                                low doses of copper in the
     7                          treatment of hemodialysis-
                                related muscle cramps. In:
     8                          Doutremepuich C (ed.)
                                Ultra Low Doses. London,
     9                          Taylor & Francis 1991:
                                145–149.
   10    1665.                  Hariveau E. Comparaison         Hearsay
                                de Cocculine® au placebo        (FRE 801
   11                           et à un produit de réference    et.seq.);
                                dans le traitement de la        Irrelevant
   12                           naupathie. Homéopathie          (FRE 401-
                                francaise 1992; 80(2): 17-      403); Lacks
   13                           20.                             Foundation
                                                                (FRE
   14                                                           602/701)
         1666.                  Harrison, C.C. , Solomon,
   15                           E.M.; Pellow, J. : The effect
                                of a homeopathic complex
   16                           on psychophysiological
                                onset insomnia in males, A
   17                           randomized pilot study.
                                Altern Ther Health Med
   18                           19(5), 2013: S. 38-43
         1667.                  Hart O, Mullee MA, Lewith       Hearsay
   19                           G, Miller J. Double-blind,      (FRE 801
                                placebo-controlled,             et.seq.);
   20                           randomized clinical trial of    Irrelevant
                                homoeopathic arnica C30         (FRE 401-
   21                           for pain and infection after    403); Lacks
                                total abdominal                 Foundation
   22                           hysterectomy. J Royal Soc       (FRE
                                Med 1997; 90: 73-78.            602/701)
   23    1668.                  Heilmann A. A combination
                                injection preparation as a
   24                           prophylactic for flu and
                                common colds. Biol Ther
   25                           1994; 7(4):249-253.
         1669.                  Hellhammer, J. , Schubert,
   26                           M. : Effects of a
                                homeopathic combination
   27                           remedy on the acute stress
                                response, well-being, and
   28
                                                235
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                sleep, A double-blind,
     4                          randomized clinical trial. J
                                Altern Complement Med
     5                          19(2), 2013: S. 161-169
         1670.                  Heusser P, Berger S, Stutz
     6                          M, Hüsler A, Haeberli A,
                                Wolf U. Efficacy of
     7                          Homeopathically potentized
                                antimony on blood
     8                          coagulation. Forschende
                                Komplementärmedizin
     9                          2009; 16: 14-18.
         1671.                  Hildebrandt G, Eltze C.    Hearsay
   10                           Über die Wirksamkeit       (FRE 801
                                verschiedener Dosen und    et.seq.);
   11                           Potenzen (Verdünnungen)    Irrelevant
                                von Rhus toxicodendron     (FRE 401-
   12                           beim experimentell         403); Lacks
                                ausgelösten Muskelkater.   Foundation
   13                           EHK 1983; 32(11):743-750.  (FRE
                                                           602/701)
   14    1672.                  Hildebrandt G, Eltze C.    Hearsay
                                Über die Wirksamkeit       (FRE 801
   15                           verschiedener Potenzen     et.seq.);
                                (Verdünnungen) von Arnica Irrelevant
   16                           beim experimentell         (FRE 401-
                                erzeugten Muskelkater.     403); Lacks
   17                           EHK 1984; 33(7): 430-435. Foundation
                                                           (FRE
   18                                                      602/701)
         1673.                  Hildebrandt,G.; Eltze,C.   Hearsay
   19                           Über die Wirksamkeit einer (FRE 801
                                Behandlung des             et.seq.);
   20                           Muskelkaters mit Rhus      Irrelevant
                                                           (FRE 401-
   21                                                      403); Lacks
                                                           Foundation
   22                                                      (FRE
                                                           602/701)
   23    1674.                  toxicodendron D4. Ein      Hearsay
                                Beitrag zur Pharmakologie  (FRE 801
   24                           adaptiver Prozesse.        et.seq.);
                                Erfahrungsheilkunde 1983, Irrelevant
   25                           32(6):358-364.             (FRE 401-
                                                           403); Lacks
   26                                                      Foundation
                                                           (FRE
   27                                                      602/701)
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1675.                  Hitzenberger,G.;                 Hearsay
     4                          Rehak,P.H. Zur Wirkung           (FRE 801
                                eines homoopathischen            et.seq.);
     5                          Fertigarzneimittels auf den      Irrelevant
                                Blutdruck von                    (FRE 401-
     6                          Hypertonikern. Eine              403); Lacks
                                randomisierte doppelblinde       Foundation
     7                          kontrollierte                    (FRE
                                Parallelgruppen-                 602/701)
     8                          Vergleichsstudie. Wien Med
                                Wochenschr. 2005; 155(17-
     9                          18):392-6.
         1676.                  Hofmeyr GJ, Piccioni V,
   10                           Blauhof P. Postpartum
                                homoeopathic Arnica
   11                           montana: A potency-finding
                                pilot study. Brit J Clin Pract
   12                           1990; 44: 619-621.
         1677.                  Homeopathic medicine for     Hearsay
   13                           acute cough in upper         (FRE 801
                                respiratory tract infections et.seq.);
   14                           and acute bronchitis: A      Irrelevant
                                randomized, double-blind,    (FRE 401-
   15                           placebo-controlled trial.    403); Lacks
                                Pulmon Pharmacol Ther 27     Foundation
   16                           (2014): 102-108              (FRE
                                                             602/701)
   17    1678.                  Hourst P. Tentative          Hearsay
                                d´appréciation de efficacité (FRE 801
   18                           de                           et.seq.);
                                l´homéopathie.[dissertation] Irrelevant
   19                           Université Pierre et Marie   (FRE 401-
                                Curie: Paris, France; 1981.  403); Lacks
   20                                                        Foundation
                                                             (FRE
   21                                                        602/701)
         1679.                  Jacobs J, Fernandez EA,      Hearsay
   22                           Merizalde B, Avila-Montes (FRE 801
                                GA, Crothers D: The use of et.seq.);
   23                           homeopathic combination      Irrelevant
                                remedy for dengue fever      (FRE 401-
   24                           symptoms: a pilot RCT in     403); Lacks
                                Honduras. Homeopathy         Foundation
   25                           2007;96(1): 22-26.           (FRE
                                                             602/701)
   26    1680.                  Jacobs J, Guthrie BL,        Hearsay
                                Montes GA, Jacobs LE,        (FRE 801
   27                           Mickey-Colman N, Wilson et.seq.);
                                AR, DiGiacomo R:             Irrelevant
   28
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     1   No. of                          Description              Objection     Response
     2   Exhibit                                                                to
                                                                                Objection
     3
                                Homeopathic combination           (FRE 401-
     4                          remedy in the treatment of        403); Lacks
                                acute childhood diarrhea in       Foundation
     5                          Honduras. J Altern                (FRE
                                Complement Med 2006;12:           602/701)
     6                          723-732.
         1681.                  Jawara N, Lewith GT,
     7                          Vickers, AJ, Mullee MA,
                                Smith C. Homoeopathic
     8                          Arnica and Rhus
                                toxicodendron for delayed
     9                          onset muscle soreness - A
                                pilot for a randomized,
   10                           double-blind,
                                placebocontrolled trial. Brit
   11                           Hom J 1997; 86(1): 10-15.
         1682.                  Kaziro GSN. Metronidazole   Hearsay
   12                           (Flagyl) and Arnica         (FRE 801
                                montana the prevention of   et.seq.);
   13                           postsurgical complications, Irrelevant
                                a comparative Placebo-      (FRE 401-
   14                           controlled clinical trial. Brit
                                                            403); Lacks
                                J Oral Maxill Surg 1984;    Foundation
   15                           22: 42-49                   (FRE
                                                            602/701)
   16    1683.                  Kennedy CO. A controlled    Hearsay
                                trial. Brit Hom J 1971; 60: (FRE 801
   17                           120-127.                    et.seq.);
                                                            Irrelevant
   18                                                       (FRE 401-
                                                            403); Lacks
   19                                                       Foundation
                                                            (FRE
   20                                                       602/701)
         1684.                  Khuda-Bukhsh A.R. Can       Hearsay
   21                           homeopathy ameliorate       (FRE 801
                                sufferings of arsenic       et.seq.);
   22                           victims?: A simplistic      Irrelevant
                                approach in management of (FRE 401-
   23                           a menacing rural health     403); Lacks
                                problem. Proc 52nd LMHI     Foundation
   24                           Congress. Seattle,          (FRE
                                Washington, USA;1997: 87. 602/701)
   25    1685.                  Khuda-Bukhsh,A.R.;          Hearsay
                                Banerjee,A.; Biswas,S.J.;   (FRE 801
   26                           Karmakar,S.R.; Banerjee,P.; et.seq.);
                                Pathak,S.; Guha,B.;         Irrelevant
   27                           Haque,S.; Das,D.; De,A.;    (FRE 401-
                                Das,D.; Boujedaini,N. An    403); Lacks
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                initial report on the efficacy   Foundation
     4                          of a millesimal potency          (FRE
                                Arsenicum Album LM 0/3           602/701)
     5                          in ameliorating arsenic
                                toxicity in humans living in
     6                          a high-risk arsenic village.
                                Zhong Xi Yi Jie He Xue
     7                          Bao. 2011 Jun;9(6):596-
                                604.
     8   1686.                  Khuda-Bukhsh,A.R.;               Hearsay
                                Pathak,S.; Guha,B.;              (FRE 801
     9                          Karmakar,S.R.; Das,J.K.;         et.seq.);
                                Banerjee,P.; Biswas,S.J.;        Irrelevant
   10                           Mukherjee,P.;                    (FRE 401-
                                Bhattacharjee,N.;                403); Lacks
   11                           Choudhury,S.C.;                  Foundation
                                Banerjee,A.; Bhadra,S.;          (FRE
   12                           Mallick,P.; Chakrabarti,J.;      602/701)
                                Mandal,B. Can homeopathic
   13                           arsenic remedy combat
                                arsenic poisoning in humans
   14                           exposed to groundwater
                                arsenic contamination?: a
   15                           preliminary report on first
                                human trial. Evid Based
   16                           Complement Alternat Med.
                                2005 Dec;2(4):537-48.
   17    1687.                  Kim LS, Riedlinger JE,
                                Baldwin CM, Hilli L, Halsa
   18                           SV, Messer SA, Waters RF:
                                Treatment of Seasonal
   19                           Allergic Rhinitis Using
                                Homeopathic Preparation of
   20                           Common Allergens in the
                                Southwest Region of the
   21                           US: Ann Pharmacother
                                2005 39: 617-624.
   22    1688.                  Kneis KC, Gandjour A.
                                Economic evaluation of
   23                           Sinfrontal in the treatment
                                of acute maxillary
   24                           sinusitisin adults.
                                Appl.Health Econ Health
   25                           Policy; 7(3),2009:181-191.
         1689.                  Köhler T.                        Hearsay
   26                           Wirksamkeitsnachweis             (FRE 801
                                eines Homöopathikums bei         et.seq.);
   27                           chronischer Polyarthritis –      Irrelevant
                                Eine randomisierte               (FRE 401-
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Doppelblindstudie bei          403); Lacks
     4                          niedergelassenen Ärzten.       Foundation
                                Kassenarzt 1991; 13(13):       (FRE
     5                          48-52.                         602/701)
         1690.                  Kolia-Adam N, Solomon E,
     6                          Bond J, deroukakis M.
                                Double-blind placebo
     7                          controlled study with coffea
                                for insomnia. Simillimum
     8                          2008; 21: 91-99.
         1691.                  Kolia-Adam, N.: The
     9                          efficacy of Coffea cruda
                                200cH on insomnia. Faculty
   10                           of Health Sciences,
                                University of Johannesburg
   11                           (Master thesis): 2010
         1692.                  Kulkarni A, Nagarkar BM,
   12                           Burde GS. Radiation
                                protection by use of
   13                           homoeopathic medicines.
                                Hahnemann Hom Sand
   14                           1988; 12(1): 20-23.
         1693.                  Kurz C, Nagele F, Zorzi M,Hearsay
   15                           Karras H, Enzelsberger H. (FRE 801
                                Bewirkt Homöopathie eine  et.seq.);
   16                           Verbesserung der          Irrelevant
                                Reizblasensymptomatik?    (FRE 401-
   17                           Gyn Geburtshilfliche      403); Lacks
                                Rundsch 1993; 33(1): 330- Foundation
   18                           331                       (FRE
                                                          602/701)
   19    1694.                  Labrecque M, Audet D,     Hearsay
                                Latulippe L, Drouin J.    (FRE 801
   20                           Homeopathic treatment of  et.seq.);
                                plantar warts. Can Med    Irrelevant
   21                           Assoc J 1992; 146(10):    (FRE 401-
                                1749-1753.                403); Lacks
   22                                                     Foundation
                                                          (FRE
   23                                                     602/701)
         1695.                  Leaman AM, Gorman D.      Hearsay
   24                           Cantharis in the Early    (FRE 801
                                Treatment of Minor Burns. et.seq.);
   25                           Arch Emergency Med 1989; Irrelevant
                                6: 259-261.               (FRE 401-
   26                                                     403); Lacks
                                                          Foundation
   27                                                     (FRE
                                                          602/701)
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1696.                  Lecocq PL. L. 52. Les voies  Hearsay
     4                          thérapeutiques des           (FRE 801
                                syndromes grippaux.          et.seq.);
     5                          Cahiers de Biotherapie 1985  Irrelevant
                                ; 87: 65-73.                 (FRE 401-
     6                                                       403); Lacks
                                                             Foundation
     7                                                       (FRE
                                                             602/701)
     8   1697.                  Lepaisant C. Essai           Hearsay
                                thérapeutique en             (FRE 801
     9                          homéopathie: traitement des et.seq.);
                                tensions mammaires et        Irrelevant
   10                                                        (FRE 401-
                                                             403); Lacks
   11                                                        Foundation
                                                             (FRE
   12                                                        602/701)
         1698.                  mastodynies du syndrome      Hearsay
   13                           prémenstruel. Rev Fr         (FRE 801
                                Gynécol Obstét 1995; 90(2): et.seq.);
   14                           94-97.                       Irrelevant
                                                             (FRE 401-
   15                                                        403); Lacks
                                                             Foundation
   16                                                        (FRE
                                                             602/701)
   17    1699.                  Lewis D. Double blind        Hearsay
                                controlled trial in the      (FRE 801
   18                           treatment of whooping        et.seq.);
                                cough using drosera.         Irrelevant
   19                           Research Newsletter of the (FRE 401-
                                Midlands Hom Res Group       403); Lacks
   20                           1984; 1(1): 49-58.           Foundation
                                                             (FRE
   21                                                        602/701)
         1700.                  Lewith G, Watkins AD,
   22                           Hyland ME et al. Use of
                                ultramolecular potencies of
   23                           allergen to treat asthmatic
                                peaople allergic to house
   24                           dust mite double blind
                                randomized controlled
   25                           clinical trial. Br Med J
                                2002; 324: 520-523.
   26    1701.                  Lipman,D.; Sexton,G.;
                                Schlesser,J. A Randomized
   27                           Double-Blind Placebo-
                                Controlled Evaluation of the
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Safety and Efficacy of a
     4                          Natural Over-The-Counter
                                (OTC) Medication in the
     5                          Management of Snoring.
                                Sleep Breath. 1999;3(2):53-
     6                          56.
         1702.                  Liu,L.L.; Wan,K.S.;             Hearsay
     7                          Cheng,C.F.; Tsai,M.H.;          (FRE 801
                                Wu,Y.L.; Wu,W.F.                et.seq.);
     8                          Effectiveness of MORA           Irrelevant
                                electronic homeopathic          (FRE 401-
     9                          copies of remedies for          403); Lacks
                                allergic rhinitis: A short-     Foundation
   10                           term, randomized, placebo-      (FRE
                                controlled PILOT study.         602/701)
   11                           European Journal of
                                Integrative Medicine
   12                           Volume 5, Issue 2, April
                                2013, Pages 119– 125.
   13    1703.                  Matusiewicz R, Rotkiewicz-      Hearsay
                                Piorun A. Behandlung            (FRE 801
   14                           schwerer Formen von             et.seq.);
                                kortikoidabhängigem             Irrelevant
   15                           Bronchialasthma mit             (FRE 401-
                                Immunsuppressiva und            403); Lacks
   16                           Antihomotoxischen Mitteln.      Foundation
                                Biol Med 1997;26(2): 67-        (FRE
   17                           72.                             602/701)
         1704.                  Matusiewicz R. the effect of    Hearsay
   18                           a homeopathic preparation       (FRE 801
                                on the clinical condition of    et.seq.);
   19                           patients with corticosteroid-   Irrelevant
                                dependent bronchial asthma.     (FRE 401-
   20                           Biomedical Therapy              403); Lacks
                                1997;15(3): 70-74.              Foundation
   21                                                           (FRE
                                                                602/701)
   22    1705.                  Mayaux MJ, Guihard-             Hearsay
                                Moscato ML, Schwartz D,         (FRE 801
   23                           Benveniste J, Coquin Y,         et.seq.);
                                Crapanne JB, Poitevin B,        Irrelevant
   24                           Rodary M, Chevrel JP,           (FRE 401-
                                Mollet M. Controlled            403); Lacks
   25                           Clinical Trial of               Foundation
                                Homoeopathy in                  (FRE
   26                           Postoperative Ileus. Lancet     602/701)
                                1988; II,1: 528-529.
   27
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1706.                  McCutcheon LE. Treatment
     4                          of anxiety with a
                                homeopathic remedy. J
     5                          Appl Nutrition 1996; 48(1-
                                2): 2-6.
     6   1707.                  Meissner K, Ziep D. Organ-       Hearsay
                                specificity of placebo effects   (FRE 801
     7                          on blood pressure. Aut           et.seq.);
                                Neuroscience: Basic and          Irrelevant
     8                          clinical 2011; 164: 62-66.       (FRE 401-
                                                                 403); Lacks
     9                                                           Foundation
                                                                 (FRE
   10                                                            602/701)
         1708.                  Merklinger S, Messemer C,        Hearsay
   11                           Niederle S:                      (FRE 801
                                Ekzembehandlung mit              et.seq.);
   12                           Cardiospermum                    Irrelevant
                                halicacabum. Zeitschrift für     (FRE 401-
   13                           Phytotherapie 1995;16:263-       403); Lacks
                                266.                             Foundation
   14                                                            (FRE
                                                                 602/701)
   15    1709.                  Mokkapatti R. An                 Hearsay
                                experimental double-blind        (FRE 801
   16                           study to evaluate the use of     et.seq.);
                                Euphrasia in preventing          Irrelevant
   17                           conjunctivitis. Brit Hom J       (FRE 401-
                                1992; 81: 22-24.                 403); Lacks
   18                                                            Foundation
                                                                 (FRE
   19                                                            602/701)
         1710.                  .Möllinger H, Schneider R,
   20                           Löffel M, Walach H. A
                                Double Blind, Randomized,
   21                           Homeopathic Pathogenetic
                                Trial with Healthy Persons:
   22                           Comparing Two High
                                Potencies. Forsch
   23                           Komplementärmed Klass
                                Naturheilkd 2004;11: 274-
   24                           280.
         1711.                  Mössinger P.                     Hearsay
   25                           Homöopathische Therapie          (FRE 801
                                fieberhafter und fieberloser     et.seq.);
   26                           Pharyngitiden -                  Irrelevant
                                Doppelblindversuch zur           (FRE 401-
   27                           Feststellung der                 403); Lacks
                                therapeutischen                  Foundation
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Wirksamkeit eines              (FRE
     4                          homöopathischen                602/701)
                                Medikamentes. Dt Ärztebl
     5                          1977; 14: 947-950.
         1712.                  Mössinger P. Zur              Hearsay
     6                          therapeutischen               (FRE 801
                                Wirksamkeit von Hepar         et.seq.);
     7                          sulfuris calcareum D4 bei     Irrelevant
                                Pyodermien und Furunkeln.     (FRE 401-
     8                          AHZ 1980; 225(1): 22-28.      403); Lacks
                                                              Foundation
     9                                                        (FRE
                                                              602/701)
   10    1713.                  Mössinger,P. Untersuchung Hearsay
                                über die Behandlung von       (FRE 801
   11                           Furunkeln und Pyodermien et.seq.);
                                mit Hepar sulfuriscalcareum Irrelevant
   12                           D 4. AHZ 1976, 221(4):        (FRE 401-
                                137-146.                      403); Lacks
   13                                                         Foundation
                                                              (FRE
   14                                                         602/701)
         1714.                  Mousavi,F.; Sherafati,S.;     Hearsay
   15                           Mojaver,Y.N. Ignatia in the (FRE 801
                                treatment of oral lichen      et.seq.);
   16                           planus. Homeopathy. 2009      Irrelevant
                                Jan;98(1):40-4.               (FRE 401-
   17                                                         403); Lacks
                                                              Foundation
   18                                                         (FRE
                                                              602/701)
   19    1715.                  Naidoo, P. , Pellow, J. : A   Hearsay
                                randomized placebo-           (FRE 801
   20                           controlled pilot study of Cat et.seq.);
                                saliva 9cH and Histaminum Irrelevant
   21                           9cH in cat allergic adults,   (FRE 401-
                                Homeopathy 102(2), 2013: 403); Lacks
   22                           S. 123-129                    Foundation
                                                              (FRE
   23                                                         602/701)
         1716.                  Niederle S. Akute,            Hearsay
   24                           streptokokken-negative        (FRE 801
                                Tonsillitis bei Kindern -     et.seq.);
   25                           Eine doppelblinde             Irrelevant
                                placebokontrollierte Studie (FRE 401-
   26                           belegt die Wirksamkeit und 403); Lacks
                                Verträglichkeit der           Foundation
   27                           homöopathischen Therapie. (FRE
                                Kassenarzt 2001; 21: 33-34. 602/701)
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1717.                  Oberbaum M, Gloyan N,           Hearsay
     4                          Lerner-Geva L, Singer SR,       (FRE 801
                                Grisaru S, Shashar D,           et.seq.);
     5                          Samueloff A. The effect of      Irrelevant
                                the homeopathic remedies        (FRE 401-
     6                          Arnica montana and Bellis       403); Lacks
                                prennis on mild postpartum      Foundation
     7                          bleeding. Compl Ther Med        (FRE
                                2005;13: 87-90.                 602/701)
     8   1718.                  Oberbaum M, Yaniv I, Ben-       Hearsay
                                Gal Y, et al. A randomized,     (FRE 801
     9                          controlled clinical trial of    et.seq.);
                                the homeopathic medication      Irrelevant
   10                           TRAUMEEL S in the               (FRE 401-
                                treatment of chemotherapy-      403); Lacks
   11                           induced stomatitis in           Foundation
                                children undergoing stem        (FRE
   12                           cell transplantation. Cancer    602/701)
                                2001; 92(3): 684-690.
   13    1719.                  Pach D, Brinkhaus B, Roll       Hearsay
                                S, Wegscheider K, Icke K,       (FRE 801
   14                           Willich SN, Witt CM.            et.seq.);
                                Efficacy of injections with     Irrelevant
   15                           Disci/Rhus toxicodendron        (FRE 401-
                                compositum for chronic          403); Lacks
   16                           Low Back Pain - A               Foundation
                                randomized                      (FRE
   17                           placebocontrolled trial. PloS   602/701)
                                ONE 2011;6(11): 1-9.
   18    1720.                  Padilha RQ, Riera R,            Hearsay
                                Atallah AN. Homeopathic         (FRE 801
   19                           Plumbum metallicum for          et.seq.);
                                lead poisoning: a               Irrelevant
   20                           randomized clinical trial.      (FRE 401-
                                Homeopathy 2011;100:            403); Lacks
   21                           116-121.                        Foundation
                                                                (FRE
   22                                                           602/701)
         1721.                  Papp R, Schuback G, Beck
   23                           E, Burkard G, Bengel J,
                                Lehrl S, Belon P.
   24                           Oscillococcinum in patients
                                with influenza-like
   25                           syndroms: A placebo
                                controlled double-blind
   26                           evaluation. Brit Hom J
                                1998; 87(2): 69- 76.
   27
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1722.                  Paris, A. , Schmidlin, S.;      Hearsay
     4                          Mouret, S.; Hodaj, E.;          (FRE 801
                                Marijnen, P.; Boujedaini,       et.seq.);
     5                          N.; Polosan, M.; Cracowski,     Irrelevant
                                J.L.: Effect of Gelsemium       (FRE 401-
     6                          5CH and 15CH on                 403); Lacks
                                anticipatory anxiety, A         Foundation
     7                          phase III, single-centre,       (FRE
                                randomized, placebo-            602/701)
     8                          controlled study. Fundam
                                Clin Pharmacol 26(6), 2012:
     9                          S. 751-760
         1723.                  Perol,D.; Provencal,J.;         Hearsay
   10                           Hardy-Bessard,A.C.;             (FRE 801
                                Coeffic,D.; Jacquin,J.P.;       et.seq.);
   11                           Agostini,C.; Bachelot,T.;       Irrelevant
                                Guastalla,J.P.; Pivot,X.;       (FRE 401-
   12                           Martin,J.P.; Bajard,A.; Ray-    403); Lacks
                                Coquard,I. (2012). Can          Foundation
   13                           treatment with Cocculine        (FRE
                                improve the control of          602/701)
   14                           chemotherapy-induced
                                emesis in early breast cancer
   15                           patients? A randomized,
                                multi-centered, double-
   16                           blind, placebo-controlled
                                phase III trial. BMC Cancer
   17                           12:603, pp. 1-9.
         1724.                  Pestana-Caldeira,J.N. : The     Hearsay
   18                           efficacy of Magen ((R)) on      (FRE 801
                                infantile colic, Faculty of     et.seq.);
   19                           Health Sciences, University     Irrelevant
                                of Johannesburg o.J.: S. 1-     (FRE 401-
   20                           81                              403); Lacks
                                                                Foundation
   21                                                           (FRE
                                                                602/701)
   22    1725.                  Sharma,N.; Sharma,S.;           Hearsay
                                Shekhawat,U. Effect of          (FRE 801
   23                           homeopathy in women with        et.seq.);
                                heavy menstrual bleeding.       Irrelevant
   24                           BJOG (2012), 119(Suppl.         (FRE 401-
                                s1): 195-196.                   403); Lacks
   25                                                           Foundation
                                                                (FRE
   26                                                           602/701)
         1726.                  Beer AM. Heiliger F.            Hearsay
   27                           Caulophyllum D4 zur             (FRE 801
                                Geburtsinduktion bei            et.seq.);
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                vorzeitigem Blasensprung -     Irrelevant
     4                          eine Doppelblindstudie.        (FRE 401-
                                Geburtsh und Frauenheilk       403); Lacks
     5                          1999;59: 431-435.              Foundation
                                                               (FRE
     6                                                         602/701)
         1727.                  Petrov VI, Vekel'yan AS,       Hearsay
     7                          Martyushev AV, Sergeeva        (FRE 801
                                SA, Smolenov IV, Epstein       et.seq.);
     8                          OI. Impaza and Sildenafil:     Irrelevant
                                Comparison of Clinical         (FRE 401-
     9                          Effectiveness in Patients      403); Lacks
                                with Erectile Dysfunction.     Foundation
   10                           Bulletin of Experimental       (FRE
                                Biology and Medicine           602/701)
   11                           2003;135(1): 150-151.
         1728.                  .Pine,M.P. La;
   12                           Malcomson,F.N.;
                                Torrance,J.M.; Marsh,N.V.
   13                           Night shift: can a
                                homeopathic remedy
   14                           alleviate shift lag? Dimens
                                Crit Care Nurs. 2006 May-
   15                           Jun;25(3):130-6.
         1729.                  Plezbert JA. Burke JR.
   16                           Effects of the homeopathic
                                remedy arnica on
   17                           attenuating symptoms of
                                exercise-induced muscle
   18                           soreness. J of chiropractic
                                medicine. 2005;4(3): 152-
   19                           161.
         1730.                  Rafai, N. : Arnica montana     Hearsay
   20                           und Hypericum perforatum       (FRE 801
                                D30 nach operative             et.seq.);
   21                           Weisheitszahnentfernung,       Irrelevant
                                Rheinisch-Westfälische         (FRE 401-
   22                           Technische Hochschule          403); Lacks
                                Aachen, Med. Fakultät 2005     Foundation
   23                                                          (FRE
                                                               602/701)
   24    1731.                  .Rahlfs VW, Mössinger P.       Hearsay
                                Asa foetida bei Colon          (FRE 801
   25                           irritabile -                   et.seq.);
                                Doppelblindversuch. DMW        Irrelevant
   26                           1978; 104: 140-143.            (FRE 401-
                                                               403); Lacks
   27                                                          Foundation
                                                               (FRE
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               602/701)
     4
     5   1732.                  Rahlfs VW, Mössinger P.     Hearsay
                                Zur Behandlung des Colon    (FRE 801
     6                          irritable - Ein             et.seq.);
                                multizentrischer            Irrelevant
     7                          plazebokontrollierter       (FRE 401-
                                Doppelblindversuch in der   403); Lacks
     8                          Allgemeinen Praxis.         Foundation
                                Arzneim Forsch 1976;        (FRE
     9                          26(12): 2230- 2234.         602/701)
         1733.                  Ramelet AA, Buchheim G,     Hearsay
   10                           Lorenz P, Imfeld M.         (FRE 801
                                Homoeopathic Arnica in      et.seq.);
   11                           postoperative haematomas -  Irrelevant
                                A double-blind study.       (FRE 401-
   12                           Dermatology 2000; 201:      403); Lacks
                                347-348.                    Foundation
   13                                                       (FRE
                                                            602/701)
   14    1734.                  Raschka C, Trostel Y:       Hearsay
                                Effekt einer                (FRE 801
   15                           homöopathischen             et.seq.);
                                Arnikapräparation (D4) auf Irrelevant
   16                           Muskelkater. MMW            (FRE 401-
                                Fortschr Med 2006;148(26): 403); Lacks
   17                           93-95.                      Foundation
                                                            (FRE
   18                                                       602/701)
         1735.                  Razlog, R., Pellow, J. &    Hearsay
   19                           White, S.J., 2012, ‘A pilot (FRE 801
                                study on the Efficacy of    et.seq.);
   20                           Valeriana officinalis       Irrelevant
                                mothertincture and          (FRE 401-
   21                           Valeriana officinalis 3X in 403); Lacks
                                the treatment of attention  Foundation
   22                           deficit hyperactivity       (FRE
                                disorder’, Health SA        602/701)
   23                           Gesondheid 17(1), Art.
                                #603, 7 pages.
   24    1736.                  Reilly DT, Taylor MA,
                                McSharry C, Aitchison T. Is
   25                           Homoeopathy a Placebo
                                Response? – Controlled
   26                           Trial of Homoeopathic
                                Potency - With Pollen in
   27                           Hayfever as Model. Lancet
                                1986; II,2: 881-886.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1737.                  Reitzner TB. Explorative       Hearsay
     4                          Studie über die Wirksamkeit    (FRE 801
                                von Arnica in den              et.seq.);
     5                          homöopathischen                Irrelevant
                                Dezimalpotenzen D2, D3,        (FRE 401-
     6                          D4, D5, D6 und D8 beim         403); Lacks
                                experimentell ausgelösten      Foundation
     7                          Muskelkater [dissertation].    (FRE
                                Phillipps-Universität          602/701)
     8                          Marburg. Marburg,
                                Deutschland;1985.
     9   1738.                  Robertson A,                   Hearsay
                                Suryanrayanan R, Banerjee      (FRE 801
   10                           A. Homeopathic Arnica          et.seq.);
                                montana for post-              Irrelevant
   11                           tonsillectomy analgesia: a     (FRE 401-
                                randomised placebo control     403); Lacks
   12                           trial. Homeopathy              Foundation
                                2007;96:17-21.                 (FRE
   13                                                          602/701)
         1739.                  Rottey EED, Verleye GB,        Hearsay
   14                           Liagre RLP. Het effect van     (FRE 801
                                een homeopathische             et.seq.);
   15                           bereiding van                  Irrelevant
                                microorganismen bij de         (FRE 401-
   16                           preventie von                  403); Lacks
                                griepsymtomen. Een             Foundation
   17                           gerandomiseerd dubbel-         (FRE
                                blind onderzoek in de          602/701)
   18                           huisartspraktijk. Tijdschr
                                Integ Geneeskunde 1995;
   19                           11: 54-58.
         1740.                  Saruggia M, Corghi E.        Hearsay
   20                           Effects of homoeopathic      (FRE 801
                                dilutions of China rubra on  et.seq.);
   21                           intradialytic                Irrelevant
                                symptomatology in patients   (FRE 401-
   22                           treated with chronic         403); Lacks
                                haemodialysis. Brit Hom J    Foundation
   23                           1992; 81: 86-88.             (FRE
                                                             602/701)
   24    1741.                  Savage RH, Roe PF. A         Hearsay
                                Double Blind Trial to        (FRE 801
   25                           Assess the Benefit of Arnica et.seq.);
                                Montana in Acute Stroke      Irrelevant
   26                           Illness. Brit Hom J 1977;    (FRE 401-
                                66: 207-220.                 403); Lacks
   27                                                        Foundation
                                                             (FRE
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               602/701)
     4
     5   1742.                  Savage RH, Roe PF. A          Hearsay
                                Further Double-blind Trial    (FRE 801
     6                          to Assess the Benefit of      et.seq.);
                                Arnica montana in Acute       Irrelevant
     7                          Stroke Illness. Brit Hom J    (FRE 401-
                                1978; 67: 210-222.            403); Lacks
     8                                                        Foundation
                                                              (FRE
     9                                                        602/701)
         1743.                  Schauer U.                    Hearsay
   10                           Zusammenfassung der           (FRE 801
                                klinischen Studie             et.seq.);
   11                           ANTIMIGREN ®.                 Irrelevant
                                Werbefaltblatt.               (FRE 401-
   12                                                         403); Lacks
                                                              Foundation
   13                                                         (FRE
                                                              602/701)
   14    1744.                  Schirmer,K.P.; Fritz,M.;      Hearsay
                                Jäckel,W.H. Wirksamkeit       (FRE 801
   15                           von Formica rufa und          et.seq.);
                                Eigenblut-Injektionen bei     Irrelevant
   16                           Patienten mit                 (FRE 401-
                                ankylosierender Spondylitis: 403); Lacks
   17                           eine doppelblinde,            Foundation
                                randomisierte Studie.Z        (FRE
   18                           Rheumatol. 2000               602/701)
                                Oct;59(5):321-9.
   19    1745.                  Schmidt JM, Ostermayr B.      Hearsay
                                Does a homeopathic            (FRE 801
   20                           ultramolecular dilution of    et.seq.);
                                Thyroidinum 30CH affect       Irrelevant
   21                           the decrease of body weight (FRE 401-
                                reduction in fasting          403); Lacks
   22                           patients? - A randomised      Foundation
                                Placebo-controlled double- (FRE
   23                           blind trial. Homeopathy       602/701)
                                2002; 91(4): 197-206.
   24    1746.                  Seeley BM, Denton AB,         Hearsay
                                Ahn MS, Maas CS. Effect       (FRE 801
   25                           of homeopathic Arnica         et.seq.);
                                montana on bruising in face- Irrelevant
   26                           lifts: results of a           (FRE 401-
                                randomized, double-blind,     403); Lacks
   27                           placebo-controlled clinical   Foundation
                                trial. Arch Facial Plast Surg (FRE
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                2006;8(1):54-59.                 602/701)
     4
     5   1747.                  Selkova, E.P. , Semenenko,
                                T.A.; Gorbachev, I.A. :
     6                          Utilisation du médicament
                                Oscillococcinum® dans la
     7                          prévention et le traitement
                                de la grippe et de l’Infection
     8                          Respiratoire Virale Aiguë
                                (IRVA), (Use of the
     9                          medicine Oscillococcinum
                                for the prevention and
   10                           treatment of influenza and
                                acute respiratory viral
   11                           infection). Maladies
                                Infectieuses 3(4), 2005: S.
   12                           20-24
         1748.                  Sencer,S.F.; Zhou,T.;            Hearsay
   13                           Freedman,L.S.; Ives,J.A.;        (FRE 801
                                Chen,Z.; Wall,D.;                et.seq.);
   14                           Nieder,M.L.; Grupp,S.A.;         Irrelevant
                                Yu,L.C.; Sahdev,I.;              (FRE 401-
   15                           Jonas,W.B.; Wallace,J.D.;        403); Lacks
                                Oberbaum,M. (2012).              Foundation
   16                           Traumeel S in preventing         (FRE
                                and treating mucositis in        602/701)
   17                           young patients undergoing
                                SCT: a report of the
   18                           children's oncology group.
                                Bone Marrow
   19                           Transplantation 47(11):
                                1409-1414.
   20    1749.                  Shipley M, Berry H, Broster      Hearsay
                                G, Jenkins M, Clover A,          (FRE 801
   21                           Williams I. Controlled Trial     et.seq.);
                                of Homoeopathic Treatment        Irrelevant
   22                           of Osteoarthritis. Lancet        (FRE 401-
                                1983; I,1: 97-98.                403); Lacks
   23                                                            Foundation
                                                                 (FRE
   24                                                            602/701)
         1750.                  Silk R, LeFante C. Safety of
   25                           Zinc Gluconate Glycine
                                (Cold-Eeze) in a Geriatric
   26                           Population: A Randomized,
                                Placebo-Controlled,
   27                           Double-Blind Trial.
                                American Journal of
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Therapeutics 2005;12: 612-
     4                          617.
     5   1751.                  Singer SR, Amit-Kohn M,          Hearsay
                                Weiss S, Rosenblum J,            (FRE 801
     6                          Maoz G et al. Traumeel S         et.seq.);
                                for pain relief following        Irrelevant
     7                          hallux valgus surgery:a          (FRE 401-
                                randomized controlled trial.     403); Lacks
     8                          Clinical Pharmacology.           Foundation
                                2010, 10(9), 1-8.                (FRE
     9                                                           602/701)
         1752.                  Smith SA, Baker AE,              Hearsay
   10                           Williams JH. Effective           (FRE 801
                                treatment of seborrheic          et.seq.);
   11                           dermatitis using a low dose,     Irrelevant
                                oral homeopathic                 (FRE 401-
   12                           medication in a double-          403); Lacks
                                blind, placebo-controlled        Foundation
   13                           study. Altern Med Rev            (FRE
                                2002; 7(1):59-67.                602/701)
   14    1753.                  Stevinson C, Devaraj VS,         Hearsay
                                Fountain-Barber A.               (FRE 801
   15                           Homeopathic arnica for           et.seq.);
                                prevention of pain and           Irrelevant
   16                           bruising: randomized             (FRE 401-
                                Placebo-controlled trial in      403); Lacks
   17                           hand surgery. J R Soc Med        Foundation
                                2003; 96: 60-65.                 (FRE
   18                                                            602/701)
         1754.                  Strauss LC. The efficacy of      Hearsay
   19                           a homeopathic preperation        (FRE 801
                                in the management of             et.seq.);
   20                           attention deficit hyperactive    Irrelevant
                                disorder. Biomed Ther            (FRE 401-
   21                           2000;18: 197-201.                403); Lacks
                                                                 Foundation
   22                                                            (FRE
                                                                 602/701)
   23    1755.                  Taylor MA, Reilly D,
                                Llewellyn-Jones RH,
   24                           McSharry C, Aitchison TC.
                                Randomised controlled
   25                           trials of homoeopathy
                                versus placebo in perennial
   26                           allergic rhinitis with
                                overview of four trial series.
   27                           BMJ 2000; 321: 471-476.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1756.                  Thiel W, Borho B. The          Hearsay
     4                          treatment of recent            (FRE 801
                                traumatic blood effusions of   et.seq.);
     5                          the knee joint. Biological     Irrelevant
                                Therapy 1994;12(4): 242-       (FRE 401-
     6                          248.                           403); Lacks
                                                               Foundation
     7                                                         (FRE
                                                               602/701)
     8   1757.                  Torbicka E, Brzozowska-        Hearsay
                                Binda A, Wilczynski J,         (FRE 801
     9                          Uzarowicz A. RSV               et.seq.);
                                infections in infants: therapy Irrelevant
   10                           with ahomeopathic              (FRE 401-
                                preparation. Biomedical        403); Lacks
   11                           Therapy 1998;16(4): 256–       Foundation
                                260.                           (FRE
   12                                                          602/701)
         1758.                  Tuten C, McClung J.
   13                           Reducing muscle soreness
                                with arnica montana. Is it
   14                           effective? Altern &
                                Complement Ther 1999;5:
   15                           369-372.
         1759.                  Tveiten D, Bruset S,
   16                           Borchgrevink CF, Norseth
                                J. Effects of the
   17                           homeopathic remedy Arnica
                                D30 on marathon runners: A
   18                           randomized, double-blind
                                study during the 1995 Oslo
   19                           Marathon. Complem Ther
                                Med 1998; 6(2): 71-74.
   20    1760.                  Tveiten D, Bruseth S,          Hearsay
                                Borchgrevink CF, Lohne K. (FRE 801
   21                           Effekt av Arnica D 30 ved      et.seq.);
                                hard fysisk anstrengelse.      Irrelevant
   22                           Tidsskr Nor Lægeforen,         (FRE 401-
                                1991;30: 3630-3631.            403); Lacks
   23                                                          Foundation
                                                               (FRE
   24                                                          602/701)
         1761.                  Ustianowski PA. A Clinical Hearsay
   25                           Trial of Staphysagria in       (FRE 801
                                Postcoital Cystitis. Brit      et.seq.);
   26                           Hom J 1974; 63: 276-277.       Irrelevant
                                                               (FRE 401-
   27                                                          403); Lacks
                                                               Foundation
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                 (FRE
     4                                                           602/701)
     5   1762.                  Vickers AJ, Fisher P, Smith
                                C, Wyllie SE, Lewith GT.
     6                          Homoeopathy for delayed
                                onset muscle soreness - A
     7                          randomised double blind
                                placebo controlled trial. Brit
     8                          J Sports Med 1997; 31: 304-
                                307.
     9   1763.                  Vickers AJ, Fisher P, Wyllie
                                SE, Rees R Homeopathic
   10                           Arnica 30X Is Ineffective
                                for Muscle Soreness After
   11                           Long-Distance Running - A
                                randomized, double-blind,
   12                           Placebo-controlled trial.
                                Clin J Pain 1998 ;14(3):
   13                           227-231.
         1764.                  Vingolo,E.M.;                    Hearsay
   14                           Domanico,D.; Leopardi,S.;        (FRE 801
                                Perrotta,E. Trattamento          et.seq.);
   15                           della irritazione oculare con    Irrelevant
                                collirio omeopatico              (FRE 401-
   16                           "Euphrasia Calendula -           403); Lacks
                                Magnesia Carbonica               Foundation
   17                           BOIRON(R)". Bollettino di        (FRE
                                Oculistica 2007; Vol. 86(1):     602/701)
   18                           9 - 14
         1765.                  W. Wuttke , G. Splitt , C.       Hearsay
   19                           Gorkow , C. Sieder               (FRE 801
                                „Behandlung                      et.seq.);
   20                           zyklusabhängiger                 Irrelevant
                                Brustschmerzen mit einem         (FRE 401-
   21                           Agnus castus-haltigen            403); Lacks
                                Arzneimittel“. Geburtshilfe      Foundation
   22                           Frauenheilkd 1997; 57(10):       (FRE
                                569-574                          602/701)
   23    1766.                  Weiser M, Clasen BPE.            Hearsay
                                Randomisierte                    (FRE 801
   24                           plazebokontrollierte             et.seq.);
                                Doppelblindstudie zur            Irrelevant
   25                           Untersuchung der klinischen      (FRE 401-
                                Wirksamkeit der                  403); Lacks
   26                           homöopathischen                  Foundation
                                Euphorbium compositum-           (FRE
   27                           Nasentropfen S bei               602/701)
                                chronischer Sinusitis.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Forsch Komplementärmed
     4                          1994; 1: 251-259.
     5   1767.                  Werk W, Lehmann M,           Hearsay
                                Galland F. Helianthus        (FRE 801
     6                          tuberosus-Therapie bei       et.seq.);
                                Übergewicht -                Irrelevant
     7                          Gewichtsreduktion            (FRE 401-
                                langfristig stabilisieren.   403); Lacks
     8                          Therapiewoche 1994; 44(1):   Foundation
                                34-39.                       (FRE
     9                                                       602/701)
         1768.                  Wiesenauer M, Gaus W,        Hearsay
   10                           Bohnacker U, Häussler S.     (FRE 801
                                Wirksamkeitsprüfung von      et.seq.);
   11                           homöopathischen              Irrelevant
                                Kombinationspräparaten bei (FRE 401-
   12                           Sinusitis - Ergebnisse einer 403); Lacks
                                randomisierten               Foundation
   13                           Doppelblindstudie            (FRE
                                unterPraxisbedingungen.      602/701)
   14                           Arzneim Forsch 1989; 39,I
                                (5): 620-625.
   15    1769.                  Wiesenauer M, Gaus W,        Hearsay
                                Häussler S. Behandlung der (FRE 801
   16                           Pollinosis mit Galphimia     et.seq.);
                                glauca – Eine                Irrelevant
   17                           Doppelblindstudie unter      (FRE 401-
                                Praxisbedingungen. Allergol 403); Lacks
   18                           1990; 13(10): 359-363.       Foundation
                                                             (FRE
   19                                                        602/701)
         1770.                  Wiesenauer M, Gaus W.        Hearsay
   20                           Double-blind Trial           (FRE 801
                                Comparing the                et.seq.);
   21                           Effectiveness of             Irrelevant
                                Homeopathic Preparation      (FRE 401-
   22                           Galphimia Potentisation D6, 403); Lacks
                                Galphimia Dilution 10-6      Foundation
   23                           and Placebo on Pollinosis.   (FRE
                                Arzneim Forsch 1985;         602/701)
   24                           35,II(11): 1745-1747.
         1771.                  Wiesenauer M, Gaus W.        Hearsay
   25                           Wirksamkeitsnachweis         (FRE 801
                                eines Homöopathikums bei et.seq.);
   26                           chronischer Polyarthritis -  Irrelevant
                                Eine randomisierte           (FRE 401-
   27                           Doppelblindstudie bei        403); Lacks
                                niedergelassenen Ärzten.     Foundation
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Akt Rheumatol 1991; 16: 1-      (FRE
     4                          9.                              602/701)
     5   1772.                  Wiesenauer M, Häussler S,       Hearsay
                                Gaus W. Pollinosis-             (FRE 801
     6                          Therapie mit Galphimia          et.seq.);
                                glauca. MMW Fortschr Med        Irrelevant
     7                          1983; 101(17): 811-814.         (FRE 401-
                                                                403); Lacks
     8                                                          Foundation
                                                                (FRE
     9                                                          602/701)
         1773.                  Wiesenauer M, Lüdtke R.         Hearsay
   10                           The treatment of pollinosis     (FRE 801
                                with Galphimia glauca D4 -      et.seq.);
   11                           A randomized Placebo-           Irrelevant
                                controlled double-blind         (FRE 401-
   12                           clinical trial. Phytomed        403); Lacks
                                1995; 2(1): 3-6.                Foundation
   13                                                           (FRE
                                                                602/701)
   14    1774.                  Wiesenauer,M.; Lüdtke,R.        Hearsay
                                (1996). Mahonia aquifolium      (FRE 801
   15                           in patients with psoriasis      et.seq.);
                                vulgaris – an intraindividual   Irrelevant
   16                           study. Phytomedicine 3(3):      (FRE 401-
                                231-235.                        403); Lacks
   17                                                           Foundation
                                                                (FRE
   18                                                           602/701)
         1775.                  Wolf J. Schlafstörungen         Hearsay
   19                           ohne Hang-over behandeln -      (FRE 801
                                Ergebnisse einer klinischen     et.seq.);
   20                           Studie mit einem pflanzlich-    Irrelevant
                                homöopathischen Mittel.         (FRE 401-
   21                           NaturaMed 1992; 7(9): 586-      403); Lacks
                                589.                            Foundation
   22                                                           (FRE
                                                                602/701)
   23    1776.                  Wolf,M.; Tamaschke,C.;          Hearsay
                                Mayer,W.; Heger,M.              (FRE 801
   24                           Wirksamkeit von Arnica bei      et.seq.);
                                Varizenoperation:               Irrelevant
   25                           Ergebnisse einer                (FRE 401-
                                randomisierten,                 403); Lacks
   26                           doppelblinden, Placebo-         Foundation
                                kontrollierten Pilot-Studie.    (FRE
   27                           Forschende                      602/701)
                                Komplementärmedizin
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                2003; 10(5): 242 - 247
     4
     5   1777.                  Zabolotnyi DI, Kneis KC,
                                Richardson A, Rettenberger
     6                          R, Heger M, Kaszkin-Bettag
                                M, Heger PW. Efficacy of a
     7                          complex homeopathic
                                medication (Sinfrontal) in
     8                          patients with acute
                                maxillary sinusitis. Explore
     9                          2007;3(2): 98-109.
         1778.                  Zell J. Connert WD, Mau J,    Hearsay
   10                           Feuerstake G. Treatment of    (FRE 801
                                acute sprains of the ankle: a et.seq.);
   11                           controlled double-blind trial Irrelevant
                                to test the effectiveness of a(FRE 401-
   12                           homeopathic ointment. Hom     403); Lacks
                                Int 1990;4(1): 8-11.          Foundation
   13                                                         (FRE
                                                              602/701)
   14    1779.                  Augustin M, Andrees U,        Hearsay
                                Grimme H, Schöpfer E,         (FRE 801
   15                           Simon J, Effects of Mahonia et.seq.);
                                aquifolium Ointment on the Irrelevant
   16                           Expression of Adhesion,       (FRE 401-
                                Proliferation, and Activation 403); Lacks
   17                           Markers in the Skin of        Foundation
                                patients with Psoriasis.      (FRE
   18                           Forsch                        602/701)
                                Komplementärmedizin
   19                           1999; 6 (supp2);19-21.
         1780.                  Beer AM, Sturm R, Küpper Hearsay
   20                           F. Der Einsatz eines          (FRE 801
                                homöopathischen Syndrom et.seq.);
   21                           im Vergleich zur              Irrelevant
                                Hormonsubstitution.           (FRE 401-
   22                           Erfahrungsheilkunde 1995; 403); Lacks
                                44(5): 336-340.               Foundation
   23                                                         (FRE
                                                              602/701)
   24    1781.                  Belon,P.; Banerjee,P.;        Hearsay
                                Choudhury,S.C.;               (FRE 801
   25                           Banerjee,A.; Biswas,S.J.;     et.seq.);
                                Karmakar,S.R.; Pathak,S.;     Irrelevant
   26                           Guha,B.; Chatterjee,S.;       (FRE 401-
                                Bhattacharjee,N.; Das,J.K.; 403); Lacks
   27                           Khuda-Bukhsh,A.R. Can         Foundation
                                administration of potentized (FRE
   28
                                                257
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                homeopathic remedy,            602/701)
     4                          Arsenicum album, alter
                                antinuclear antibody (ANA)
     5                          titer in people living in
                                high-risk arsenic
     6                          contaminated areas? I. A
                                correlation with certain
     7                          hematological parameters.
                                Evid Based Complement
     8                          Alternat Med. 2006
                                Mar;3(1):99-107
     9   1782.                  Benzécri, J.P., Maiti, G.D.;   Hearsay
                                Belon, P.; Questel, R.         (FRE 801
   10                           Comparaison entre quatre       et.seq.);
                                methods de sevrage aprés       Irrelevant
   11                           une thérapeutique              (FRE 401-
                                anxiolytique, (comp.           403); Lacks
   12                           sevrage), Les Cahiers de       Foundation
                                l`Analyse des Données          (FRE
   13                           1991; 16:389-402               602/701)
         1783.                  Bononi M. Echinacea            Hearsay
   14                           compositum forte S nella       (FRE 801
                                profilassi delle infezioni     et.seq.);
   15                           post-operatorie - Studio       Irrelevant
                                comparativo versus             (FRE 401-
   16                           Ceftazidime e Cefttriaxone.    403); Lacks
                                La Medicina Bilogica,          Foundation
   17                           Gennaio-Marzo 2001; 1: 17-     (FRE
                                22.                            602/701)
   18    1784.                  Brüggemann B, Rudolph R.       Hearsay
                                Lokale Therapie der            (FRE 801
   19                           atopischen Dermatitis:         et.seq.);
                                Cardiospermum                  Irrelevant
   20                           halicacabum und                (FRE 401-
                                Bufexamac im Vergleich.        403); Lacks
   21                           Haut 1995;6: 2818-2822.        Foundation
                                                               (FRE
   22                                                          602/701)
         1785.                  Colombo M, Rigamonti G,
   23                           Danza ML, Bruno A.
                                Valutazione comparativa di
   24                           Omeogriphi® vs Vaccino
                                nella prevenzione della
   25                           sindrome influenzale in eta'
                                pediatrica.(Comparative
   26                           evaluation of Omeogriphi®
                                vs Vaccine for the
   27                           prevention of influenza
                                syndrome in pediatrics). La
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                medicina biologica 2007; 3-
     4                          10
     5   1786.                  Ferrara P, Marrone G,          Hearsay
                                Emmanuele V, Nicoletti A,      (FRE 801
     6                          Mastrangelo A, Tiberi E,       et.seq.);
                                Ruggiero A, Fasano A,          Irrelevant
     7                          Paolini Paoletti F.            (FRE 401-
                                Homotoxicological              403); Lacks
     8                          remedies versus                Foundation
                                desmopressin versus            (FRE
     9                          placebo in the treatment of    602/701)
                                enuresis. Pediatr Nephrol
   10                           2008;23(2): 269-74.
         1787.                  Filtchev S, Dimov V.
   11                           Comparison of specific
                                sublingual immunotherapy
   12                           to homeopathic therapy in
                                children with allergic
   13                           rhinitis. J of allergy clin
                                immunol 2010; 25(2
   14                           Suppl.1): AB34.
         1788.                  Gassinger CA, Wünstel G,       Hearsay
   15                           Netter P. Klinische Prüfung    (FRE 801
                                zum Nachweis der               et.seq.);
   16                           therapeutischen                Irrelevant
                                Wirksamkeit des                (FRE 401-
   17                           homöopathischen                403); Lacks
                                Arzneimittels Eupatorium       Foundation
   18                           perfoliatum D2 (Wasserhanf     (FRE
                                composite) bei der Diagnose    602/701)
   19                           "Grippaler Infekt". Arzneim
                                Forsch 1981; 31,I(4): 732-
   20                           736.
         1789.                  GRECHO (Groupe de              Hearsay
   21                           recherches et d'essais         (FRE 801
                                cliniques en homéopathie).     et.seq.);
   22                           Evaluation de deux produits    Irrelevant
                                homéopathiques sur la          (FRE 401-
   23                           reprise du transit après       403); Lacks
                                chirurgie digestive - Un       Foundation
   24                           essai contrôlé                 (FRE
                                multicentrique. Presse         602/701)
   25                           Médicale 1989; 18(2): 59-
                                62.
   26    1790.                  Hariveau E. Comparaison        Hearsay
                                de Cocculine® au placebo       (FRE 801
   27                           et à un produit de réference   et.seq.);
                                dans le traitement de la       Irrelevant
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                naupathie. Homéopathie          (FRE 401-
     4                          francaise 1992; 80(2): 17-      403); Lacks
                                20.                             Foundation
     5                                                          (FRE
                                                                602/701)
     6   1791.                  Heine H. Homöopathische         Hearsay
                                Behandlung von Vertigo          (FRE 801
     7                          verschiedener Genese -          et.seq.);
                                Anmerkungen zu einer            Irrelevant
     8                          randomisierten                  (FRE 401-
                                doppelblinden klinischen        403); Lacks
     9                          Studie. Laryng Rhinol Otol      Foundation
                                1998; 77(9): 1-4.               (FRE
   10                                                           602/701)
         1792.                  Hejazi,S.; Tehrany,S.A.H.;
   11                           Sormaghi,M.H.S.;
                                Sharifi,M. The effects of
   12                           herbal medicin and
                                homeopathic remedy on
   13                           insomnia. Eur Psych (2012),
                                27(Suppl.1): 1 (P-1348)
   14    1793.                  Hunin M, Tisserand G,           Hearsay
                                Dorfman P, Tétau M. Intérêt     (FRE 801
   15                           de la thymuline dans le         et.seq.);
                                traitement préventif des        Irrelevant
   16                           pathologies ORL                 (FRE 401-
                                récidivantes de l'enfant.       403); Lacks
   17                           Schweiz Z Ganzheitsmed          Foundation
                                1991; 6: 298-304.               (FRE
   18                                                           602/701)
         1794.                  Jork K. Studie:
   19                           Homöopathikum so
                                wirksam wie Allopathikum
   20                           - Leichte bis mittelschwere
                                saisonale Rhinitis. Allergo J
   21                           1998; 1
         1795.                  Karow J, Abt H, Fröhling        Hearsay
   22                           M, Ackermann H, Efficacy        (FRE 801
                                of Arnica montana D4 for        et.seq.);
   23                           Healing of Wounds After         Irrelevant
                                Hallux Valgus Surgery           (FRE 401-
   24                           Compared of Diclofenac. J       403); Lacks
                                Altern Complement Med           Foundation
   25                           2008;14: 17-25.                 (FRE
                                                                602/701)
   26    1796.                  Maiko,O.Y.                      Hearsay
                                Homöopathische Therapie         (FRE 801
   27                           der Gonarthrose mit Zeel T.     et.seq.);
                                Biologische Medizin 2002,       Irrelevant
   28
                                                260
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                31(2): 68-74.                   (FRE 401-
     4                                                          403); Lacks
                                                                Foundation
     5                                                          (FRE
                                                                602/701)
     6   1797.                  Kaziro GSN. Metronidazole Hearsay
                                (Flagyl) and Arnica             (FRE 801
     7                          montana the prevention of       et.seq.);
                                postsurgical complications, Irrelevant
     8                          a comparative Placebo-          (FRE 401-
                                controlled clinical trial. Brit 403); Lacks
     9                          J Oral Maxill Surg 1984;        Foundation
                                22: 42-49                       (FRE
   10                                                           602/701)
         1798.                  Macrì F, Moretti M,             Hearsay
   11                           Massaccesi V, Peparini I,       (FRE 801
                                Lambiase C, Tromba V.           et.seq.);
   12                           Effect of Apis Mellifica on Irrelevant
                                histamine skin test itchy       (FRE 401-
   13                           swelling. European Journal 403); Lacks
                                of Integrative Medicine         Foundation
   14                           Volume 4, Supplement 1 ,        (FRE
                                Page 69, September 2012         602/701)
   15    1799.                  Mayaux MJ, Guihard-             Hearsay
                                Moscato ML, Schwartz D,         (FRE 801
   16                           Benveniste J, Coquin Y,         et.seq.);
                                Crapanne JB, Poitevin B,        Irrelevant
   17                           Rodary M, Chevrel JP,           (FRE 401-
                                Mollet M. Controlled            403); Lacks
   18                           Clinical Trial of               Foundation
                                Homoeopathy in                  (FRE
   19                           Postoperative Ileus. Lancet 602/701)
                                1988; II,1: 528-529.
   20    1800.                  Maiwald L, Weinfurtner T, Hearsay
                                Mau J, Connert WD.              (FRE 801
   21                           Therapie des grippalen          et.seq.);
                                Infekts mit einem               Irrelevant
   22                           homöopathischen                 (FRE 401-
                                Kombinationspräparat im         403); Lacks
   23                           Vergleich zu                    Foundation
                                Acetylsalicylsäure -            (FRE
   24                           Kontrollierte, randomisierte 602/701)
                                Einfachblindstudie.
   25                           Arzneim Forsch 1988;
                                38,I(4): 578-582.
   26    1801.                  Maronna U, Weiser M,            Hearsay
                                Klein P. Orale Behandlung (FRE 801
   27                           der Gonarthrose mit Zeel        et.seq.);
                                comp. - Ergebnisse einer        Irrelevant
   28
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                   Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                doppelblinden                  (FRE 401-
     4                          Äquivalenzstudie versus        403); Lacks
                                Diclofenac. Orthopäd Prax      Foundation
     5                          2000; 36(5): 285-291.          (FRE
                                                               602/701)
     6   1802.                  Meissner K, Ziep D. Organ- Hearsay
                                specificity of placebo effects (FRE 801
     7                          on blood pressure. Aut         et.seq.);
                                Neuroscience: Basic and        Irrelevant
     8                          clinical 2011; 164: 62-66.     (FRE 401-
                                                               403); Lacks
     9                                                         Foundation
                                                               (FRE
   10                                                          602/701)
         1803.                  Nahler G, Metelmann H,         Hearsay
   11                           Sperber H. Treating            (FRE 801
                                osteoarthritis of the knee     et.seq.);
   12                           with a homeopathic             Irrelevant
                                preparation. Results of a      (FRE 401-
   13                           randomized, controlled,        403); Lacks
                                clinical trial in comparison   Foundation
   14                           to hyalauric acid. Biomed      (FRE
                                Ther 1998; 16(2): 186-191. 602/701)
   15    1804.                  Pach D, Brinkhaus B, Roll
                                S, Wegscheider K, Icke K,
   16                           Willich SN, Witt CM.
                                Efficacy of injections with
   17                           Disci/Rhus toxicodendron
                                compositum for chronic
   18                           Low Back Pain – A
                                randomized placebo-
   19                           controlled trial. PloS ONE
                                2011;6(11): 1-9.
   20    1805.                  Pati lAS, Jadhav AB, Arya      Hearsay
                                MP. , 2014. Investigation to (FRE 801
   21                           Study the Efficacy of          et.seq.);
                                Ferrum Phos 3x Alone and       Irrelevant
   22                           Along with Homeopathic         (FRE 401-
                                Constitutional Medicines on 403); Lacks
   23                           Hemoglobin Level in            Foundation
                                Adolescence Girls.             (FRE
   24                           Pharmacologia, 5: 143-148. 602/701)
         1806.                  Pellow,J.; Swanepoel,M. A Hearsay
   25                           Randomised Pilot Study on (FRE 801
                                the efficacy of Milking        et.seq.);
   26                           Cream and a Homeopathic        Irrelevant
                                Complex Topical Cream on (FRE 401-
   27                           Diaper Dermatitis. Health      403); Lacks
                                SA Gesondheid 18(1), Art. Foundation
   28
                                                262
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                #680, 9 pages.                   (FRE
     4                                                           602/701)
     5   1807.                  Petrov VI, Vekel'yan AS,         Hearsay
                                Martyushev AV, Sergeeva          (FRE 801
     6                          SA, Smolenov IV, Epstein         et.seq.);
                                OI. Impaza and Sildenafil:       Irrelevant
     7                          Comparison of Clinical           (FRE 401-
                                Effectiveness in Patients        403); Lacks
     8                          with Erectile Dysfunction.       Foundation
                                Bulletin of Experimental         (FRE
     9                          Biology and Medicine             602/701)
                                2003;135(1): 150-151.
   10    1808.                  Piraneo, S.; Maier, J.;          Hearsay
                                Nervetti, G.; Duca, P.; Valli,   (FRE 801
   11                           C.; Milanesi, A.; Pagano, F.;    et.seq.);
                                Scaglione, D.; Osio, M.;         Irrelevant
   12                           Nascimbene, C.: A                (FRE 401-
                                Randomized Controlled            403); Lacks
   13                           Clinical Trial Comparing         Foundation
                                the Outcomes of                  (FRE
   14                           Homeopathic-                     602/701)
                                phytotherapeutic and
   15                           Conventional Therapy of
                                Whiplash in an Emergency
   16                           Department. Hom Links
                                2012, 25(1): 50-55
   17    1809.                  Porcher-Spark,A. Vergleich       Hearsay
                                der Wirksamkeit und              (FRE 801
   18                           Verträglichkeit von Zeel         et.seq.);
                                comp. mit Diclofenac bei         Irrelevant
   19                           der oralen Behandlung der        (FRE 401-
                                Gonarthrose: Ergebnisse          403); Lacks
   20                           einer doppelblinden              Foundation
                                Äquivalenzstudie.                (FRE
   21                           Biologische Medizin 2000,        602/701)
                                29(3): 157-158
   22    1810.                  Shipley M, Berry H, Broster      Hearsay
                                G, Jenkins M, Clover A,          (FRE 801
   23                           Williams I. Controlled Trial     et.seq.);
                                of Homoeopathic Treatment        Irrelevant
   24                           of Osteoarthritis. Lancet        (FRE 401-
                                1983; I,1: 97-98.                403); Lacks
   25                                                            Foundation
                                                                 (FRE
   26                                                            602/701)
         1811.                  Souza,L.M. de A.;                Hearsay
   27                           Dantas,A.L.L.; Ribeiro,A.        (FRE 801
                                de O.; Ramacciato,J.C.;          et.seq.);
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Motta,R.H.L. Acao Anti-         Irrelevant
     4                          Edematosa: Arnica Montana       (FRE 401-
                                6ch X Diclofenaco de Sódio      403); Lacks
     5                          50 Mg. Pesquisa Brasileira      Foundation
                                em Odontopediatria e            (FRE
     6                          Clínica Integrada 11(4):        602/701)
                                491-496.
     7   1812.                  Stam C, Bonnet MS, van       Hearsay
                                Haselen RA. The efficacy     (FRE 801
     8                          and safety of a homeopathic  et.seq.);
                                gel in the treatment of acuteIrrelevant
     9                          low back pain - A multi-     (FRE 401-
                                centre, randomised, double-  403); Lacks
   10                           blind comparative clinical   Foundation
                                trial. Brit Hom J 2001;      (FRE
   11                           90(1): 21-28.                602/701)
         1813.                  Stippig SG.                  Hearsay
   12                           Atemwegserkrankungen bei     (FRE 801
                                Kindern - Homöopathische     et.seq.);
   13                           und konventionelle           Irrelevant
                                Behandlung gleich gut.       (FRE 401-
   14                           Allgemeinarzt 1996; 18(9):   403); Lacks
                                931-936.                     Foundation
   15                                                        (FRE
                                                             602/701)
   16    1814.                  Stoffel,L.; Zimmermann,D.; Hearsay
                                Hunkeler,R.;                 (FRE 801
   17                           Zimmermann,C.;               et.seq.);
                                Ramos,M.; Fathi-             Irrelevant
   18                           Torriani,M.; Kropf,G.;       (FRE 401-
                                Nelle,M. Euphrasia           403); Lacks
   19                           Augentropfen bei             Foundation
                                Neugeborenen: Ein            (FRE
   20                           Pilotprojekt. Schweiz.       602/701)
                                Zeitschr. GanzheitsMedizin
   21                           2007;19(5):254-259
         1815.                   Strösser W, Weiser M.       Hearsay
   22                           Lebensqualität bei Patienten (FRE 801
                                mit Schwindel -              et.seq.);
   23                           Homöopathikum im             Irrelevant
                                Doppelblind-Vergleich. BM (FRE 401-
   24                           2000; 29(5): 242-247.        403); Lacks
                                                             Foundation
   25                                                        (FRE
                                                             602/701)
   26    1816.                  Strösser W, Weiser M.        Hearsay
                                Patienten mit Gonarthrose    (FRE 801
   27                           gewinnen ihre Mobilität      et.seq.);
                                zurück - Homöopathikum       Irrelevant
   28
                                                264
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                im Doppelblind-Vergleich.        (FRE 401-
     4                          BM 2000; 29(6): 295-299.         403); Lacks
                                                                 Foundation
     5                                                           (FRE
                                                                 602/701)
     6   1817.                  Taylor, J.A.; Jacobs, J.:
                                Homeopathic ear drops as
     7                          an adjunct to standard
                                therapy in children with
     8                          acute otitis media.
                                Homeopathy 2011;100:109-
     9                          115.
         1818.                  Torbicka E, Brzozowska-
   10                           Binda A, Wilczynski J,
                                Uzarowicz A. RSV
   11                           infections in infants: therapy
                                with a homeopathic
   12                           preparation. Biomedical
                                Therapy 1998;16(4): 256–
   13                           260.
         1819.                  Totonchi A, Guyuron B. A         Hearsay
   14                           randomized, controlled           (FRE 801
                                comparison between arnica        et.seq.);
   15                           and steroids in the              Irrelevant
                                management of                    (FRE 401-
   16                           postrhinoplasty ecchymosis       403); Lacks
                                and edema. Plast Reconstr        Foundation
   17                           Surg. 2007 Jul;120(1):271-       (FRE
                                4.                               602/701)
   18    1820.                  van Haselen RA, Fisher
                                PAG. A randomized
   19                           controlled trial comparing
                                topical piroxicam gel with a
   20                           homeopathic gel in
                                osteoarthritis of the knee.
   21                           Rheumatol 2000; 39: 714-
                                719.
   22    1821.                  Vega,C.G. de; Speed,C.;          Hearsay
                                Wolfarth,B.; González, J.:       (FRE 801
   23                           Traumeel vs. diclofenac for      et.seq.);
                                reducing pain and                Irrelevant
   24                           improving ankle mobility         (FRE 401-
                                after acute ankle sprain. A      403); Lacks
   25                           multicentre, randomised,         Foundation
                                blinded, controlled and non-     (FRE
   26                           inferiority trial. Int J Clin    602/701)
                                Pract 2013, 67(10): 979-989
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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         1822.                  Villanueva, D.F.D.;           Hearsay
     4                          Rodriguez, A.P.; Garcia,      (FRE 801
                                L.R.G.; Oses, C.A.M. : Use    et.seq.);
     5                          of homeopathic formula in     Irrelevant
                                malnourished children. Int J  (FRE 401-
     6                          High Dil Res 2012, 11(38):    403); Lacks
                                25-32                         Foundation
     7                                                        (FRE
                                                              602/701)
     8   1823.                  Weiser M, Gegenheimer         Hearsay
                                LH, Klein P. A Randomized (FRE 801
     9                          Equivalence Trial             et.seq.);
                                Comparing the Efficacy and Irrelevant
   10                           Safety of Luffa comp.-Heel (FRE 401-
                                Nasal Spray with Cromolyn 403); Lacks
   11                           Sodium Spray in               Foundation
                                                              (FRE
   12                                                         602/701)
         1824.                  the Treatment of Seasonal
   13                           Allergic Rhinitis. Forsch
                                Komplementärmed 1999;
   14                           6(3): 142-148.
         1825.                  Weiser M, Strösser W,         Hearsay
   15                           Klein P. Homeopathic vs       (FRE 801
                                conventional treatment of     et.seq.);
   16                           vertigo – A randomized        Irrelevant
                                double-blind controlled       (FRE 401-
   17                           clinical study. Arch          403); Lacks
                                Otolaryngol 1998; 124(8):     Foundation
   18                           879-885.                      (FRE
                                                              602/701)
   19    1826.                  Anderson, R. (1991). "The
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   20                           research methods in
                                trouble."
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   23                           to evaluate the effectiveness
                                of health care." British
   24                           Medical Journal 312(7040):
                                1215-1218.
   25    1828.                  Commission Report to the      Hearsay
                                European Parliament and       (FRE 801
   26                           Council on the Application et.seq.);
                                of Directives 92/73 and       Irrelevant
   27                           92/74, C. f.                  (FRE 401-
                                                              403); Lacks
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                   Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               Foundation
     4                                                         (FRE
                                                               602/701)
     5   1829.                  ECHAMP (2013).
                                "Homeopathic and
     6                          anthroposophic medicinal
                                products; a thriving
     7                          European traditioin."
         1830.                  Fischer, H. F., F. Junne, C.   Hearsay
     8                          Witt, K. Von Ammon, F.         (FRE 801
                                Cardini, V. Fønnebø, H.        et.seq.);
     9                          Johannessen, G. Lewith, B.     Irrelevant
                                Uehleke, W.                    (FRE 401-
   10                           Weidenhammer and B.            403); Lacks
                                Brinkhaus (2012). "Key         Foundation
   11                           issues in clinical and         (FRE
                                epidemiological research in    602/701)
   12                           complementary and
                                alternative medicine - A
   13                           systematic literature
                                review." Forschende
   14                           Komplementarmedizin
                                19(SUPPL 2): 51-60.
   15    1831.                  Heusser, P. (1999).
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   16                           with randomisation,
                                blinding and placebo."
   17                           Probleme von
                                studiendesigns mit
   18                           randomisation, verblindung
                                und placebogabe 6(2): 89-
   19                           102.
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                                house: Challenges and
   21                           solutions to research in
                                Complementary and
   22                           Alternative Medice
                                (SHCALLEN010216)
   23    1833.                  complementary and
                                alternative medicine."
   24                           Forschende
                                Komplementarmedizin und
   25                           Klassische Naturheilkunde
                                12(3): 159-167.
   26    1834.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1835.                  Manchanda, R. K., S. K.
     4                          Verma, L. V. Chatre and H.
                                Kaur (2013). Homeopathy
     5                          in Urban nPrimary
                                Healthcare Units of the
     6                          Delhi Governrment: An
                                Assessment;. Medical
     7                          Pluralism and Homeopathy
                                in India and Germany
     8                          (1810-2010): A comparison
                                of practices. M. Dinges.
     9   1836.                  Stuttgart, Robert Bosch
                                Foundation: Institute for the
   10                           History of Medicine: 91-
                                104.
   11    1837.                  McCarney, R., J. Warner, S.
                                Iliffe, R. Van Haselen, M.
   12                           Griffin and P. Fisher (2007).
                                "The Hawthorne Effect: A
   13                           randomised, controlled
                                trial." BMC Medical
   14                           Research Methodology 7.
         1838.                  Moore, A., J. E. Edwards,
   15                           B. J. and H. J. McQuay
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   17                           pain. A. Moore. Oxford,
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                                and approach: II.2 The
   20                           Evidence Profile."
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   21                           in Medicine 1, Supplement
                                1(0): 11-12.
   22    1840.                  Roethlisberger, F. J. and W.
                                J. Dickson (1939).
   23                           Management and the
                                Worker, Cambridge, Mass.,
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   25                           "Medical Study Formats:
                                An Overview." Journal of
   26                           Biomedical Therapy 4(2):
                                26-27.
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1842.                  Walach, H., T. Falkenberg,
     4                          V. Fønnebø, G. Lewith and
                                W. B. Jonas (2006).
     5                          "Circular instead of
                                hierarchical:
     6                          Methodological principles
                                for the evaluation of
     7                          complex interventions."
                                BMC Medical Research
     8                          Methodology 6.
         1843.                  3/1/00 - British               Hearsay
     9                          Homeopathic Association        (FRE 801
                                Report                         et.seq.);
   10                                                          Irrelevant
                                                               (FRE 401-
   11                                                          403); Lacks
                                                               Foundation
   12                                                          (FRE
                                                               602/701)
   13    1844.                  G.D. Rottini, G. Zabucchi,     Hearsay
                                P. Bellavite et al.,           (FRE 801
   14                           Interazione tra macrofagi      et.seq.);
                                peritoneali di cavia ed E.coli Irrelevant
   15                           in vitro. Atti 17 Congr.       (FRE 401-
                                Società Italiana di            403); Lacks
   16                           Microbiologia Padova,          Foundation
                                1975, pp. 495-501.             (FRE
   17                                                          602/701)
         1845.                  Dri P, Bellavite P, Berton G,
   18                           Rossi F (1979)
                                Interrelationship between
   19                           oxygen consumption,
                                superoxide anion and
   20                           hydrogen peroxide
                                formation in phagocytosing
   21                           guinea pig
                                polymorphonuclear
   22                           leucocytes. Mol.Cell
                                Biochem. 23: 109-122.
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                                Davoli et al., The NADPH
   24                           oxidase activity of guinea
                                pig neutrophils. in: G.
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   26                           Reports, Suppl. Series,
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   27                           London, 1984, pp. 144-150.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1847.                  Serra MC, Bellavite P,          Hearsay
     4                          Davoli A et al. (1984)          (FRE 801
                                Isolation from neutrophil       et.seq.);
     5                          membranes of a complex          Irrelevant
                                containing active NADPH         (FRE 401-
     6                          oxidase and cytochrome b-       403); Lacks
                                245. Biochim.Biophys.Acta       Foundation
     7                          788: 138-146.                   (FRE
                                                                602/701)
     8   1848.                  P. Bellavite, M.C. Serra, A.
                                Davoli et al., Solubilization
     9                          and partial purification of
                                guinea pig neutrophil
   10                           NADPH oxidase. in: R. A.
                                Greenwald and G. Cohen
   11                           (Eds.), Oxy Radicals and
                                Their Scavenger Systems.
   12                           Vol. II. Cellular and
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   13                           Sci. Publ., New York, 1983,
                                pp. 400-405.
   14    1849.                  Bellavite P, Cross AR, Serra
                                MC et al. (1983) The
   15                           cytochrome b and flavin
                                content and properties of the
   16                           O2- -forming NADPH
                                oxidase solubilized from
   17                           activated neutrophils.
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   18                           40-47.
         1850.                  Bellavite P, Serra MC,
   19                           Davoli A et al. (1983) The
                                NADPH oxidase of guinea
   20                           pig polymorphonuclear
                                leucocytes. Properties of the
   21                           deoxycholate extracted
                                enzyme. Mol.Cell Biochem.
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   23                           P et al. (1983) Studies on
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   24                           in human neutrophils. II.
                                Relationships between the
   25                           effects of changes of
                                external ionic composition
   26                           on the properties of N-
                                formylmethionylleucylphen
   27                           ylalanine receptors and on
                                the respiratory and secretory
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                responses.
     4                          Biochim.Biophys.Acta 755:
                                506-513.
     5   1852.                  Bannister JV, Bellavite P,
                                Davoli A et al. (1982) The
     6                          generation of hydroxyl
                                radicals following
     7                          superoxide production by
                                neutrophil NADPH oxidase.
     8                          FEBS Lett. 150: 300-302.
         1853.                  Bannister JV, Bellavite P,
     9                          Serra MC et al. (1982) An
                                EPR study of the production
   10                           of superoxide radicals by
                                neutrophil NADPH oxidase.
   11                           FEBS Lett. 145: 323-326.
         1854.                  Bellavite P, Serra MC,
   12                           Davoli A, Rossi F (1982)
                                Selective enrichment of
   13                           NADPH oxidase activity in
                                phagosomes from guinea
   14                           pig polymorphonuclear
                                leukocytes. Inflammation 6:
   15                           21-29.
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   16                           Dri et al., O2- and H2O2
                                production during the
   17                           respiratory burst in alveolar
                                macrophages. in: M. R.
   18                           Escobar (Ed.), Macrophages
                                and Lymphocytes. Nature,
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                                its reduction upon cell
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   26                           E (1986) Respiratory
                                response of phagocytes:
   27                           terminal NADPH oxidase
                                and the mechanisms of its
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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     5   1858.                  Berton G, Papini E,
                                Cassatella MA et al. (1985)
     6                          Partial purification of the
                                superoxide-generating
     7                          system of macrophages.
                                Possible association of the
     8                          NADPH oxidase activity
                                with a low-potential (-247
     9                          mV) cytochrome b.
                                Biochim.Biophys.Acta 810:
   10                           164-173.
         1859.                  Rossi F, Bellavite P, Berton
   11                           G et al. (1985) Mechanism
                                of production of toxic
   12                           oxygen radicals by
                                granulocytes and
   13                           macrophages and their
                                function in the inflammatory
   14                           process. Pathol.Res.Pract.
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   15    1860.                  Bellavite P, Berton G, Dri P,
                                Soranzo MR (1981)
   16                           Enzymatic basis of the
                                respiratory burst of guinea
   17                           pig resident peritoneal
                                macrophages.
   18                           J.Reticuloendothel.Soc. 29:
                                47-60.
   19    1861.                  G. Zabucchi, P. Bellavite, P.   Hearsay
                                Dri et al., Heterogeneity of    (FRE 801
   20                           macrophages as revealed by      et.seq.);
                                studies on their oxidative      Irrelevant
   21                           metabolism. in: O. Forster      (FRE 401-
                                (Ed.), Heterogeneity of         403); Lacks
   22                           Mononuclear Phagocytes,         Foundation
                                Academic Press, New York,       (FRE
   23                           1981, pp. 348-352.              602/701)
         1862.                  D'Amelio R, Bellavite P,        Hearsay
   24                           Bianco P et al. (1984)          (FRE 801
                                Chronic granulomatous           et.seq.);
   25                           disease in two sisters.         Irrelevant
                                J.Clin.Immunol. 4: 220-227.     (FRE 401-
   26                                                           403); Lacks
                                                                Foundation
   27                                                           (FRE
                                                                602/701)
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1863.                  Todeschini G, Zeni L,           Hearsay
     4                          Bellavite P (1988) Follow-      (FRE 801
                                up of superoxide production     et.seq.);
     5                          by phagocytes in whole          Irrelevant
                                blood of leukaemic patients     (FRE 401-
     6                          during therapy. Acta            403); Lacks
                                Haematol. 79: 38-40.            Foundation
     7                                                          (FRE
                                                                602/701)
     8   1864.                  P. Bellavite, D. Barisoni, A.
                                Sorio et al., The neutrophil:
     9                          Structure and defence
                                function. in: M. Baggiolini,
   10                           E. Pozzi, and G. Semenzato
                                (Eds.), Neutrophils,
   11                           Lymphocytes and Lung,
                                Masson, Milano, 1990, pp.
   12                           1-17.
         1865.                  Rossi F, Della B, V,
   13                           Bellavite P (1981)
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   14                           burst and of phagocytosis by
                                nordihydroguaiaretic acid in
   15                           neutrophils. FEBS Lett.
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   16    1866.                  Dri P, Zabucchi G, Bellavite
                                P (1981) A dual effect of L-
   17                           1-tosylamide-2-phenylethyl
                                chloromethyl ketone on the
   18                           respiratory metabolism of
                                guinea pig phagocytes.
   19                           Bull.Eur.Physiopathol.Respi
                                r. 17 Suppl: 175-180.
   20    1867.                  Bellavite P (1988) The
                                superoxide-forming
   21                           enzymatic system of
                                phagocytes. Free
   22                           Radic.Biol.Med. 4: 225-261.
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   23                           Cassatella MA et al. (1990)
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   24                           characterization of a cDNA
                                clone for a novel serine-rich
   25                           neutrophil protein.
                                Biochem.Biophys.Res.Com
   26                           mun. 170: 915-922.
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   27                           Schwalbe E et al. (2002)
                                Systemic immune
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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                                parameters and sleep after
     4                          ultra-low dose
                                administration of IL-2 in
     5                          healthy men. Brain
                                Behav.Immun. 16: 663-674.
     6   1870.                  Ito S, Bollard CM, Carlsten
                                M et al. (2014) Ultra-low
     7                          dose interleukin-2 promotes
                                immune-modulating
     8                          function of regulatory T
                                cells and natural killer cells
     9                          in healthy volunteers.
                                Mol.Ther.
   10    1871.                  Chirumbolo S, Brizzi M,          Hearsay
                                Bellavite P (2008) Ricerca       (FRE 801
   11                           di base in omeopatia. Gli        et.seq.);
                                studi in vitro sui basofili e    Irrelevant
   12                           neutrofili umani. Il Medico      (FRE 401-
                                Omeopata XII: 20-26.             403); Lacks
   13                                                            Foundation
                                                                 (FRE
   14                                                            602/701)
         1872.                  Cuzzolin L, Lussignoli S,
   15                           Crivellente F et al. (2000)
                                Influence of an acute
   16                           exercise on neutrophil and
                                platelet adhesion, nitric
   17                           oxide plasma metabolites in
                                inactive and active subjects.
   18                           Int.J.Sports Med. 21: 289-
                                293.
   19    1873.                  Biasi D, Bambara LM,
                                Carletto A et al. (1999)
   20                           Neutrophil migration,
                                oxidative metabolism and
   21                           adhesion in early onset
                                periodontitis.
   22                           J.Clin.Periodontol. 26: 563-
                                568.
   23    1874.                  Todeschini G, Murari C,
                                Bonesi R et al. (1999)
   24                           Invasive aspergillosis in
                                neutropenic patients: rapid
   25                           neutrophil recovery is a risk
                                factor for severe pulmonary
   26                           complications.
                                Eur.J.Clin.Invest 29: 453-
   27                           457.
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1875.                  Vella A, Bellavite P, Adami     Hearsay
     4                          A et al. (1999) Expression      (FRE 801
                                of FCepsilonII/CD23 on          et.seq.);
     5                          human neutrophils isolated      Irrelevant
                                from rheumatoid arthritis       (FRE 401-
     6                          patients. Inflammation 23:      403); Lacks
                                471-479.                        Foundation
     7                                                          (FRE
                                                                602/701)
     8   1876.                  Biasi D, Carletto A,            Hearsay
                                Caramaschi P et al. (1998)      (FRE 801
     9                          Neutrophil functions and IL- et.seq.);
                                8 in psoriatic arthritis and in Irrelevant
   10                           cutaneous psoriasis.            (FRE 401-
                                Inflammation 22: 533-543. 403); Lacks
   11                                                           Foundation
                                                                (FRE
   12                                                           602/701)
         1877.                  Guarini P, Bellavite P, Biasi
   13                           D et al. (1998) Effects of
                                dietary fish oil and soy
   14                           phosphatidylcholine on
                                neutrophil fatty acid
   15                           composition, superoxide
                                release, and adhesion.
   16                           Inflammation 22: 381-391.
         1878.                  P. Bellavite, S. Chirumbolo,
   17                           C. Santonastaso et al., Dose-
                                dependence of the various
   18                           functional responses of
                                neutrophils to
   19                           formylpeptides. Activation,
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   20                           effects according to the
                                agonist dose and cell
   21                           condition. in: M. Bastide
                                (Ed.), Signals and Images,
   22                           Kluwer Acad. Publ.,
                                Dordrecht, 1997, pp. 111-
   23                           119.
         1879.                  Carletto A, Pacor ML, Biasi Hearsay
   24                           D et al. (1997) Changes of      (FRE 801
                                neutrophil migration            et.seq.);
   25                           without modification of in      Irrelevant
                                vitro metabolism and            (FRE 401-
   26                           adhesion in Behcet's            403); Lacks
                                disease. J.Rheumatol. 24:       Foundation
   27                           1332-1336.                      (FRE
                                                                602/701)
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1880.                  Carletto A, Biasi D,
     4                          Bambara LM et al. (1997)
                                Studies of skin-window
     5                          exudate human neutrophils:
                                increased resistance to
     6                          pentoxifylline of the
                                respiratory burst in primed
     7                          cells. Inflammation 21: 191-
                                203.
     8   1881.                  Chirumbolo S, Conforti A,
                                Lussignoli S et al. (1997)
     9                          Effects of Podophyllum
                                peltatum compounds in
   10                           various preparations
                                dilutions on human
   11                           neutrophil functions in vitro.
                                Brit.Hom.J. 86: 16-26.
   12    1882.                  Biasi D, Carletto A,             Hearsay
                                Dell'Agnola C et al. (1996)      (FRE 801
   13                           Neutrophil migration,            et.seq.);
                                oxidative metabolism, and        Irrelevant
   14                           adhesion in elderly and          (FRE 401-
                                young subjects.                  403); Lacks
   15                           Inflammation 20: 673-681.        Foundation
                                                                 (FRE
   16                                                            602/701)
         1883.                  Carletto A, Bellavite P,
   17                           Guarini P et al. (1996)
                                Changes of fatty acid
   18                           composition and oxidative
                                metabolism of human
   19                           neutrophils migrating into
                                an inflammatory exudate.
   20                           Inflammation 20: 123-137.
         1884.                  Bellavite P, Guarani P, Biasi    Hearsay
   21                           D et al. (1995) Correlations     (FRE 801
                                between the intensity of         et.seq.);
   22                           fMLP-dependent respiratory       Irrelevant
                                burst and cellular fatty acid    (FRE 401-
   23                           composition in human             403); Lacks
                                neutrophils. Br.J.Haematol.      Foundation
   24                           89: 271-276.                     (FRE
                                                                 602/701)
   25    1885.                  Benoni G, Bellavite P,
                                Adami A et al. (1995) Effect
   26                           of acute exercise on some
                                haematological parameters
   27                           and neutrophil functions in
                                active and inactive subjects.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Eur.J.Appl.Physiol 70: 187-
     4                          191.
     5   1886.                  Benoni G, Bellavite P,
                                Adami A et al. (1995)
     6                          Changes in several
                                neutrophil functions in
     7                          basketball players before,
                                during and after the sports
     8                          season. Int.J.Sports Med.
                                16: 34-37.
     9   1887.                  Bellavite P, Schinella M,      Hearsay
                                Andrioli G et al. (1994)       (FRE 801
   10                           Risposte funzionali dei        et.seq.);
                                neutrofili e loro regolazione  Irrelevant
   11                           in vivo e in vitro. Medicina   (FRE 401-
                                di Laboratorio 2: 192-206.     403); Lacks
   12                                                          Foundation
                                                               (FRE
   13                                                          602/701)
         1888.                  Bellavite P, Schinella M,      Hearsay
   14                           Lippi U (1994) Risposte        (FRE 801
                                funzionali dei neutrofili alle et.seq.);
   15                           flogosi. Medicina di           Irrelevant
                                Laboratorio 2: 293-295.        (FRE 401-
   16                                                          403); Lacks
                                                               Foundation
   17                                                          (FRE
                                                               602/701)
   18    1889.                  Bellavite P, Carletto A,       Hearsay
                                Biasi D et al. (1994) Studies (FRE 801
   19                           of skin-window exudate         et.seq.);
                                human neutrophils: complex Irrelevant
   20                           patterns of adherence to       (FRE 401-
                                serum-coated surfaces in       403); Lacks
   21                           dependence on FMLP             Foundation
                                doses. Inflammation 18:        (FRE
   22                           575-587.                       602/701)
         1890.                  Biasi D, Bambara LM,           Hearsay
   23                           Carletto A et al. (1994)       (FRE 801
                                Increased in vitro neutrophil et.seq.);
   24                           adherence in a case of         Irrelevant
                                chronic idiopathic             (FRE 401-
   25                           neutropenia. Br.J.Haematol. 403); Lacks
                                86: 421-424.                   Foundation
   26                                                          (FRE
                                                               602/701)
   27    1891.                  Lippi U, Bellavite P,          Hearsay
                                Schinella M et al. (1994)      (FRE 801
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Assessment of neutrophil       et.seq.);
     4                          aggregation by Coulter         Irrelevant
                                STKR and STKS                  (FRE 401-
     5                          haematological analysers.      403); Lacks
                                Clin.Lab Haematol. 16: 43-     Foundation
     6                          55.                            (FRE
                                                               602/701)
     7   1892.                  Lippi U, Schinella M, Nicoli
                                M et al. (1994) A simple
     8                          assessment of human
                                neutrophil adhesiveness.
     9                          Int.J.Clin.Lab Res. 24: 41-
                                44.
   10    1893.                  Lippi U, Bellavite P,
                                Schinella M et al. (1994)
   11                           High light scatter by
                                neutrophils in the Bayer-
   12                           Technicon H*2 analyzer: a
                                screening test of
   13                           morphologically defective
                                responsiveness to in vitro
   14                           chemotactic stimulation.
                                Eur.J.Clin.Chem.Clin.Bioch
   15                           em. 32: 11-17.
         1894.                  P. Bellavite, G. Lippi, A.
   16                           Signorini et al., Nonlinear
                                dose-dependent metabolic
   17                           and adhesive responses of
                                human neutrophils to
   18                           chemotactic agents. in: C.
                                Bornoroni (Ed.), Editrice
   19                           Compositori, Bologna,
                                1993, pp. 135-150.
   20    1895.                  Bellavite P, Chirumbolo S,
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   21                           effects of formylpeptides on
                                the adhesion
   22    1896.                  Bellavite P, Chirumbolo S,
                                Lippi G et al. (1993)
   23                           Homologous priming in
                                chemotactic peptide-
   24                           stimulated neutrophils. Cell
                                Biochem.Funct. 11: 93-100.
   25    1897.                  Biasi D, Bambara LM,
                                Carletto A et al. (1993)
   26                           Factor-specific changes in
                                oxidative burst response of
   27                           human neutrophils in skin-
                                window exudates.
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Inflammation 17: 13-23.
     4
     5   1898.                  Chirumbolo S, Signorini A,
                                Bianchi I et al. (1993)
     6                          Effects of homeopathic
                                preparations of organic
     7                          acids and of minerals on the
                                oxidative metabolism of
     8                          human neutrophils.
                                Br.Homeopath.J. 82: 227-
     9                          244.
         1899.                  Lippi U, Bellavite P,
   10                           Schinella M, Nicoli M
                                (1992) Volumetric changes
   11                           in phorbol myristate acetate
                                activated neutrophils: a
   12                           rapid and simple assay using
                                Coulter counter STKR and
   13                           STKS hematological
                                analyzers. Haematologica
   14                           77: 226-232.
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   15                           Schinella M, Nicoli M
                                (1992) Volume,
   16                           conductivity, and scatter
                                changes of activated
   17                           polymorphonuclear
                                leukocytes: an estimation by
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   19                           21: 321-324.
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   20                           Guarini P et al. (1999)
                                Differential effects of
   21                           dietary supplementation
                                with fish oil or soy lecithin
   22                           on human platelet adhesion.
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   23                           1527.
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                                platelet intracellular pH
   25                           adhesion by ticlopidine in
                                patients with vascular
   26                           disease. Int.Angiol. 17: 38-
                                42.
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                                Cascio C et al. (1998)
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Evidence that lipoprotein(a)
     4                          is not an adhesive and
                                proaggregating molecule for
     5                          platelets in vitro.
                                Eur.J.Lab.Med. 6: 24-28.
     6   1904.                  Andrioli G, Lussignoli S,
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     7                          on paradoxical effects of
                                NSAIDs on platelet
     8                          activation. Inflammation 21:
                                519-530.
     9   1905.                  Andrioli G, Lussignoli S,
                                Ortolani R et al. (1996)
   10                           Dual effects of diclofenac
                                on human platelet adhesion
   11                           in vitro. Blood
                                Coag.Fibrinol. 7: 153-156.
   12    1906.                  Andrioli G, Ortolani R,
                                Fontana L et al. (1996)
   13                           Study of platelet adhesion in
                                patients with uncomplicated
   14                           hypertension. J.Hypertens.
                                14: 1215-1221.
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                                S et al. (1996) The
   16                           antiplatelet effects of a new
                                nitroderivative of
   17                           acetylsalicylic acid--an in
                                vitro study of inhibition on
   18                           the early phase of platelet
                                activation and on TXA2
   19                           production.
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   20                           798.
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   21                           Guzzo P et al. (1994) A
                                colorimetric method for the
   22                           measurement of platelet
                                adhesion in microtiter
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                                444-450.
   24    1909.                  Bellavite P, Chirumbolo S,
                                Mansoldo C et al. (1992)
   25                           Simultaneous assay for
                                oxidative metabolism and
   26                           adhesion of human
                                neutrophils: evidence for
   27                           correlations and
                                dissociations of the two
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                responses. J.Leukoc.Biol.
     4                          51: 329-335.
     5   1910.                  Lussignoli S, Fraccaroli M,      Hearsay
                                Andrioli G et al. (1999) A       (FRE 801
     6                          microplate-based                 et.seq.);
                                colorimetric assay of the        Irrelevant
     7                          total peroxyl radical            (FRE 401-
                                trapping capability of           403); Lacks
     8                          human plasma.                    Foundation
                                Anal.Biochem. 269: 38-44.        (FRE
     9                                                           602/701)
         1911.                  Chirumbolo S, Vella A,           Hearsay
   10                           Ortolani R et al. (2008)         (FRE 801
                                Differential response of         et.seq.);
   11                           human basophil activation        Irrelevant
                                markers: a multi-parameter       (FRE 401-
   12                           flow cytometry approach.         403); Lacks
                                Clin.Mol.Allergy 16: 12.         Foundation
   13                                                            (FRE
                                                                 602/701)
   14    1912.                  Semizzi M, Senna G,
                                Crivellaro M et al. (2002) A
   15                           double-blind, placebo-
                                controlled study on the
   16                           diagnostic accuracy of an
                                electrodermal test in allergic
   17                           subjects. Clin.Exp.Allergy
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                                P et al. (2000) Defective
   19                           platelet response to
                                arachidonic acid and
   20                           thromboxane A(2) in
                                subjects with Pl(A2)
   21                           polymorphism of beta(3)
                                subunit (glycoprotein IIIa).
   22                           Br.J.Haematol. 110: 911-
                                918.
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                                Lechi A et al. (2000) Le         (FRE 801
   24                           medicine complementari.          et.seq.);
                                Definizioni,                     Irrelevant
   25                                                            (FRE 401-
                                                                 403); Lacks
   26                                                            Foundation
                                                                 (FRE
   27                                                            602/701)
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1915.                  Bellavite P, Ortolani R,         Hearsay
     4                          Semizzi M et al. (2005)          (FRE 801
                                Bioetica e medicine              et.seq.);
     5                          complementari. Medicina          Irrelevant
                                Naturale 15(3): 26-31.           (FRE 401-
     6                                                           403); Lacks
                                                                 Foundation
     7                                                           (FRE
                                                                 602/701)
     8   1916.                  P. Bellavite, A. Conforti, R.    Hearsay
                                Ortolani, S. Pomari,             (FRE 801
     9                          Medicine complementari:          et.seq.);
                                alternative o integrative? in:   Irrelevant
   10                           F. e. al. Asioli (Ed.), La       (FRE 401-
                                conoscenza e la cura. Atti       403); Lacks
   11                           del XLIII Congresso              Foundation
                                Nazionale della Società          (FRE
   12                           Italiana di Psichiatria, CIC     602/701)
                                Edizioni Internazionali,
   13                           Roma, 2003, pp. 92-96.
         1917.                  Bellavite P, Conforti A,     Hearsay
   14                           Griso C et al. (2003)        (FRE 801
                                Risultati dell'indagine sullaet.seq.);
   15                           conoscenza e l'utilizzo dei  Irrelevant
                                metodi non convenzionali e   (FRE 401-
   16                           complementari da parte dei   403); Lacks
                                medici veronesi. Verona      Foundation
   17                           Medica 38: 8-15.             (FRE
                                                             602/701)
   18    1918.                  Bellavite, P, Semizzi, M,    Hearsay
                                Musso, P, Ortolani, R, and   (FRE 801
   19                           Andrioli, G (2001)           et.seq.);
                                Medicina ufficiale e terapie Irrelevant
   20                           non convenzionali: dal       (FRE 401-
                                conflitto all'integrazione?  403); Lacks
   21                           Medicina e Morale 877-904. Foundation
                                                             (FRE
   22                                                        602/701)
         1919.                  Pontarollo F, Rapacioli G,   Hearsay
   23                           Bellavite P (2010) Increase (FRE 801
                                of electrodermal activity of et.seq.);
   24                           heart meridian during        Irrelevant
                                physical exercise: The       (FRE 401-
   25                           significance of electrical   403); Lacks
                                values in acupuncture and    Foundation
   26                           diagnostic importance.       (FRE
                                Complement                   602/701)
   27                           Ther.Clin.Pract. 16: 149-
                                153.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1920.                  P. Bellavite, S. Pomari,       Hearsay
     4                          Medicina ufficiale e MNC:      (FRE 801
                                integrazione fattibile. Atti   et.seq.);
     5                          del Convegno Nazionale         Irrelevant
                                FNOMCeO "La professione        (FRE 401-
     6                          medica e le medicine non       403); Lacks
                                convenzionali: rischi e        Foundation
     7                          opportunità", Edizioni         (FRE
                                FNOMCEO, Roma, 2002,           602/701)
     8                          pp. 43-74.
         1921.                  Bellavite P, Signorini A
     9                          (1995) Homeopathy, a
                                Frontier in Medical Science.
   10                           Experimental Studies and
                                Theoretical Foundations,
   11                           North Atlantic Books,
                                Berkeley CA, U.S.A..
   12    1922.                  Bellavite P, Signorini A
                                (2002) The emerging
   13                           science of homeopathy:
                                complexity, biodynamics,
   14                           and nanopharmacology,
                                North Atlantic, Berkeley
   15                           (CA).
         1923.                  Bellavite P, Andrighetto       Hearsay
   16                           GC, Zatti M (1995)             (FRE 801
                                Omeostasi, Complessità e       et.seq.);
   17                           Caos. Un'introduzione,         Irrelevant
                                Franco Angeli, Milano.         (FRE 401-
   18                                                          403); Lacks
                                                               Foundation
   19                                                          (FRE
                                                               602/701)
   20    1924.                  Bellavite P (1996) Le          Hearsay
                                scienze biomediche tra         (FRE 801
   21                           biologia molecolare e          et.seq.);
                                complessità. KOS 125: 36-      Irrelevant
   22                           41.                            (FRE 401-
                                                               403); Lacks
   23                                                          Foundation
                                                               (FRE
   24                                                          602/701)
         1925.                  Bellavite P (1998)             Hearsay
   25                           Biodinamica. Basi              (FRE 801
                                fisiopatologiche e tracce di   et.seq.);
   26                           metodo per una medicina        Irrelevant
                                integrata, Tecniche Nuove,     (FRE 401-
   27                           Milano.                        403); Lacks
                                                               Foundation
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                (FRE
     4                                                          602/701)
     5   1926.                  Bellavite P (1997) Disease      Hearsay
                                as information disorder.        (FRE 801
     6                          Advances - Journal of           et.seq.);
                                Body-Mind Health 13: 4-7.       Irrelevant
     7                                                          (FRE 401-
                                                                403); Lacks
     8                                                          Foundation
                                                                (FRE
     9                                                          602/701)
         1927.                  Bellavite P (2009) La           Hearsay
   10                           complessità in medicina.        (FRE 801
                                Fondamenti di un approccio      et.seq.);
   11                           sistemico e dinamico alla       Irrelevant
                                salute, alla malattia e alle    (FRE 401-
   12                           terapie integrate, Tecniche     403); Lacks
                                Nuove, Milano.                  Foundation
   13                                                           (FRE
                                                                602/701)
   14    1928.                  Bellavite P, (G.Martinez        Hearsay
                                coordinatora) (2002)            (FRE 801
   15                           Medicina Biodinâmica. A         et.seq.);
                                força vital, suas patologias,   Irrelevant
   16                           e suas terapias, Papirus,       (FRE 401-
                                Campinas (SP, Brazil).          403); Lacks
   17                                                           Foundation
                                                                (FRE
   18                                                           602/701)
         1929.                  Bellavite P, Olioso D,          Hearsay
   19                           Marzotto M et al. (2013) A      (FRE 801
                                dynamic network model of        et.seq.);
   20                           the similia principle.          Irrelevant
                                Complement Ther.Med 21:         (FRE 401-
   21                           750-761.                        403); Lacks
                                                                Foundation
   22                                                           (FRE
                                                                602/701)
   23    1930.                  Ortolani R, Bellavite P,        Hearsay
                                Paiola F et al. (2010) A        (FRE 801
   24                           comparative method for          et.seq.);
                                processing immunological        Irrelevant
   25                           parameters: developing an       (FRE 401-
                                "Immunogram". Blood             403); Lacks
   26                           Transfus. 8: 118-125.           Foundation
                                                                (FRE
   27                                                           602/701)
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1931.                  Bellavite P (2003)               Hearsay
     4                          Complexity science and           (FRE 801
                                homeopathy. A synthetic          et.seq.);
     5                          overview. Homeopathy 92:         Irrelevant
                                203-212.                         (FRE 401-
     6                                                           403); Lacks
                                                                 Foundation
     7                                                           (FRE
                                                                 602/701)
     8   1932.                  Bellavite, P, Semizzi, M,
                                Lussignoli, S, Andrioli, G,
     9                          and Bartocci, U (1998) A
                                computer model of the five
   10                           elements theory of
                                traditional chinese medicine.
   11                           Complem.Ther.Med. 133-
                                140.
   12    1933.                  Pomposelli R, Piasere V,         Hearsay
                                Andreoni C et al. (2009)         (FRE 801
   13                           Observational study of           et.seq.);
                                homeopathic and                  Irrelevant
   14                           conventional therapies in        (FRE 401-
                                patients with diabetic           403); Lacks
   15                           polyneuropathy.                  Foundation
                                Homeopathy 98: 17-25.            (FRE
   16                           (SHCALLEN010726)                 602/701)
         1934.                  Pomposelli R, Codecà G,          Hearsay
   17                           Bergonzi R et al. (2003)         (FRE 801
                                Terapia omeopatica in            et.seq.);
   18                           pazienti con patologia           Irrelevant
                                artroreumatica. Medicina         (FRE 401-
   19                           Naturale 13: 44-50.              403); Lacks
                                                                 Foundation
   20                                                            (FRE
                                                                 602/701)
   21    1935.                  Muscari-Tomaioli G,
                                Allegri F, Miali E et al.
   22                           (2001) Observational study
                                of quality of life in patients
   23                           with headache, receiving
                                homeopathic treatment.
   24                           Brit.Hom.J. 90: 189-197.
         1936.                  Rapacioli G, Pontarollo F,       Hearsay
   25                           Bellavite P (2005)               (FRE 801
                                Valutazione delle correnti       et.seq.);
   26                           elettrodermiche su soggetti      Irrelevant
                                sani con la metodica E.T.-       (FRE 401-
   27                           Performance2001.                 403); Lacks
                                Aggiornamenti in Medicina        Foundation
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Integrata (Piacenza) 13: 8-  (FRE
     4                          15.                          602/701)
     5   1937.                  Pomposelli R, Bellavite P    Hearsay
                                (2013) Clinical Roundup:     (FRE 801
     6                          Selected tretment options    et.seq.);
                                for peripheral neuropathy-   Irrelevant
     7                          Homeopathy.                  (FRE 401-
                                Altern.Complement.Ther.      403); Lacks
     8                          19: 165-166.                 Foundation
                                                             (FRE
     9                                                       602/701)
         1938.                  von AK, Frei-Erb M,          Hearsay
   10                           Cardini F et al. (2012)      (FRE 801
                                Complementary and            et.seq.);
   11                           alternative medicine         Irrelevant
                                provision in Europe--first   (FRE 401-
   12                           results approaching reality  403); Lacks
                                in an unclear field of       Foundation
   13                           practices.                   (FRE
                                Forsch.Komplementmed. 19 602/701)
   14                           Suppl 2: 37-43.
         1939.                  Jonas, WB, Kaptchuk, TJ,
   15                           and Linde, K (2003) A
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                                homoeopathy placebo
   19                           effects? Comparative study
                                of placebo-controlled trials
   20                           of homoeopathy and
                                allopathy. Lancet 366: 726-
   21                           732.
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                                effectiveness of homeopathy
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   26                           Oscillococcinum((R)) for
                                preventing and treating
   27                           influenza and influenza-like
                                illness.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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                                Cochrane.Database.Syst.Re
     4                          v. 12: CD001957.
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     6                          Evidence of clinical efficacy
                                of homeopathy. A meta-
     7                          analysis of clinical trials.
                                HMRAG. Homeopathic
     8                          Medicines Research
                                Advisory Group [In Process
     9                          Citation]. Eur.J
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   13                           Ortolani R et al. (2001) The
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                                experimental evidence for a
   15                           physio-pathological model
                                based on the reactivation of
   16                           homeostatic
                                communication.
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                                227-233.
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                                Evid.Based.Complement
   21                           Alternat.Med 4: 149-163.
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   23                           homeopathic Similia
                                principle: molecular aspects.
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                                565.
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                                (1997) The similia principle    (FRE 801
   26                           as a therapeutic strategy: a    et.seq.);
                                research program on             Irrelevant
   27                           stimulation of self-defense     (FRE 401-
                                in disordered mammalian         403); Lacks
   28
                                                287
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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     4                          Med. 3: 33-38.                   (FRE
                                                                 602/701)
     5   1949.                  Bellavite P, Conforti A,
                                Pontarollo F, Ortolani R
     6                          (2006) Immunology and
                                Homeopathy. 2. Cells of the
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                                Inflammation. eCAM 3: 13-
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                                dilute solutions, at standard
   11                           pressure and temperature.
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                                M, Olioso D et al. (2014)
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                                revisited. 2.
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                                mechanisms. Homeopathy
   15                           103: 22-43.
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   16                           Olioso D et al. (2014) High-
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                                aggravations, adverse drug
   20                           events or medication errors?
                                Homeopathy 94: 233-240.
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   22                           a systematic review of
                                randomised, placebo-
   23                           controlled clinical trials.
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   25                           Inhibition of CD203c
                                membrane up-regulation in
   26                           human basophils by high
                                dilutions of histamine: a
   27                           controlled replication study.
                                Inflamm.Res 58: 755-764.
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         1956.                  Sainte-Laudy J, Belon P
     4                          (2009) Inhibition of
                                basophil activation by
     5                          histamine: a sensitive and
                                reproducible model for the
     6                          study of the biological
                                activity of high dilutions.
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     8                          Organon of Medicine.           (FRE 801
                                Edited from the 5th and 6th    et.seq.);
     9                          edition by Joseph Reves,       Irrelevant
                                Homeopress Ltd (ed.1994),      (FRE 401-
   10                           Haifa.                         403); Lacks
                                                               Foundation
   11                                                          (FRE
                                                               602/701)
   12    1958.                  Schulte J (1999) Effects of    Hearsay
                                potentization in aqueous       (FRE 801
   13                           solutions. Brit.Hom.J. 88:     et.seq.);
                                155-160.                       Irrelevant
   14                                                          (FRE 401-
                                                               403); Lacks
   15                                                          Foundation
                                                               (FRE
   16                                                          602/701)
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                                nanomedicine: an integrated
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                                medicine. Front
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                                708.
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                                and science.                   (FRE 801
   21                           http://www.lsbu.ac.uk/water    et.seq.);
                                /index2.html . 2013.           Irrelevant
   22                                                          (FRE 401-
                                                               403); Lacks
   23                                                          Foundation
                                                               (FRE
   24                                                          602/701)
         1961.                  Ref Type: Electronic           Hearsay
   25                           Citation                       (FRE 801
                                                               et.seq.);
   26                                                          Irrelevant
                                                               (FRE 401-
   27                                                          403); Lacks
                                                               Foundation
   28
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
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     4                                                           602/701)
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     6                          emerging as nano medicine.
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     9                          high homeopathic
                                potencies--a systematic
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   11                           128-138.
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                                review. Drug Saf 29: 523-
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                                homeopathy: may remedies
   16                           yet contain noxious or toxic
                                molecules?
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                                cautionary tale. N.Z.Dent.J
   19                           108: 68-72.
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                                potency homeopathic
   21                           remedies and allopathic
                                herbal medicines: is there an
   22                           overlap? PLoS.ONE. 8:
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                                elevated plus maze in mice.
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   27                           Zanolin E et al. (2010)
                                Dose-effect study of
   28
                                                290
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Gelsemium sempervirens in
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                                related responses in mice.
     5                          Psychopharmacology (Berl)
                                210: 533-545.
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                                Marzotto M et al. (2012)        (FRE 801
     7                          Testing homeopathy in           et.seq.);
                                mouse emotional response        Irrelevant
     8                          models: pooled data             (FRE 401-
                                analysis of two series of       403); Lacks
     9                          studies.                        Foundation
                                Evid.Based.Complement           (FRE
   10                           Alternat.Med. 2012:             602/701)
                                954374.
   11    1971.                  Marzotto M, Olioso D,
                                Brizzi M et al. (2014)
   12                           Extreme sensitivity of gene
                                expression in human SH-
   13                           SY5Y neurocytes to ultra-
                                low doses of Gelsemium
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   15                           Altern.Med 14: 104.
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   17                           homeopathy placebo
                                effects? A meta-analysis of
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   20                           homeopathy: state of the art.
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   21                           11: 813-829.
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                                Clinical Studies on the
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                                Homeopathy for URTI/A
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                (Upper Respiratory Tract
     4                          Infections and Allergic
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     5                          and P. F. Matthiessen
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     6                          Healthcare - Effectiveness,
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     7                          Costs, Springer Verlag,
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   11                           11: 783.
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   12                           Are the clinical effects of
                                homoeopathy placebo
   13                           effects? Lancet 366: 2081-
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                                validity of randomised
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                                study.
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                                analysis of homeopathy: the
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                                publication data.
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   23                           Homeopathy and The
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   24                           Evid.Based.Complement
                                Alternat.Med 3: 145-147.
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   26                           Asymmetry in The Lancet
                                meta-analysis. Homeopathy.
   27                           95: 52-53.
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
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     7                          The Bad And The Ugly.
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                                Rucker G et al. (2013)
     9                          Differential effectiveness of
                                placebo treatments: a
   10                           systematic review of
                                migraine prophylaxis.
   11                           JAMA Intern.Med 173:
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                                Suggestion in the treatment  (FRE 801
   13                           of depression.               et.seq.);
                                Am.J.Clin.Hypn. 55: 221-     Irrelevant
   14                           229.                         (FRE 401-
                                                             403); Lacks
   15                                                        Foundation
                                                             (FRE
   16                                                        602/701)
         1986.                  Marchesi C, De PC, Tonna Hearsay
   17                           M, Ossola P (2013) Is        (FRE 801
                                placebo useful in the        et.seq.);
   18                           treatment of major           Irrelevant
                                depression in clinical       (FRE 401-
   19                           practice?                    403); Lacks
                                Neuropsychiatr.Dis.Treat. 9: Foundation
   20                           915-920.                     (FRE
                                                             602/701)
   21    1987.                  Whitmarsh TE, Coleston-
                                Shields DM, Steiner TJ
   22                           (1997) Double-blind
                                randomized placebo-
   23                           controlled study of
                                homoeopathic prophylaxis
   24                           of migraine. Cephalalgia 17:
                                600-604.
   25    1988.                  Walach H, Lowes T,
                                Mussbach D et al. (2000)
   26                           The long-term effects of
                                homeopathic treatment of
   27                           chronic headaches: 1 year
                                follow up. Cephalalgia 20:
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                835-837.
     4
     5   1989.                  Witt CM, Ludtke R, Willich
                                SN (2009) Homeopathic
     6                          treatment of chronic
                                headache (ICD-9: 784.0)--a
     7                          prospective observational
                                study with 2-year follow-up.
     8                          Forsch.Komplementmed.
                                16: 227-235.
     9   1990.                  Danno K, Colas A, Masson
                                JL, Bordet MF (2013)
   10                           Homeopathic treatment of
                                migraine in children: results
   11                           of a prospective,
                                multicenter, observational
   12                           study. J.Altern.Complement
                                Med 19: 119-123.
   13    1991.                  Owen JM, Green BN (2004)
                                Homeopathic treatment of
   14                           headaches: a systematic
                                review of the literature. J
   15                           Chiropr.Med 3: 45-52.
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   16                           Piasere V, Ortolani R
                                (2005) Immunology and
   17                           homeopathy. 1. Historical
                                background. eCAM 2: 441-
   18                           452.
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   19                           Versuch über ein neues
                                Princip zur Auffindung der
   20                           Heilkrafte der
                                Arzneisubstanzen (Essay on
   21                           a new principle for
                                ascertaining the curative
   22                           powers of drugs), and some
                                examinations of the
   23                           previous principles.
                                Hufeland's Journal 2: 391-
   24                           439.
         1994.                  Boyd LJ (1936) A Study of       Hearsay
   25                           the Simile in Medicine          (FRE 801
                                (edizione italiana a cura di    et.seq.);
   26                           P. Bellavite: Il Simile in      Irrelevant
                                Medicina. Medicina              (FRE 401-
   27                           Ippocratica, omeopatia e        403); Lacks
                                scienza, Ed. Cortina,           Foundation
   28
                                                294
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Verona, 2001), Boericke        (FRE
     4                          and Tafel, Philadelphia.       602/701)
     5   1995.                  Behring E (1915)               Hearsay
                                Gesammelte Abhandlungen.       (FRE 801
     6                          Neue Folge, Marcus and         et.seq.);
                                Weber, Bonn.                   Irrelevant
     7                                                         (FRE 401-
                                                               403); Lacks
     8                                                         Foundation
                                                               (FRE
     9                                                         602/701)
         1996.                  Pomposelli R, Andreoni C,      Hearsay
   10                           Costini G et al. (2006)        (FRE 801
                                Opinions and self-reported     et.seq.);
   11                           health status of Italians      Irrelevant
                                seeking homeopathic            (FRE 401-
   12                           treatment. Homeopathy. 95:     403); Lacks
                                81-87.                         Foundation
   13                                                          (FRE
                                                               602/701)
   14    1997.                  Goossens M, Laekeman G,
                                Aertgeerts B, Buntinx F
   15                           (2009) Evaluation of the
                                quality of life after
   16                           individualized homeopathic
                                treatment for seasonal
   17                           allergic rhinitis. A
                                prospective, open, non-
   18                           comparative study.
                                Homeopathy 98: 11-16.
   19    1998.                  Fisher P, Dantas F, Rampes
                                H (2002) The safety of
   20                           homeopathic products.
                                J.R.Soc.Med. 95: 474-476.
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                                Ammon K et al. (2006)
   22                           Effectiveness, safety and
                                cost-effectiveness of
   23                           homeopathy in general
                                practice - summarized
   24                           health technology
                                assessment.
   25                           Forsch.Komplementarmed.
                                13 Suppl 2: 19-29.
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                                Panozzo, M, Bianchi, A,
   27                           and Da Fré, M (2010)
                                Outcome of homeopathic
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                treatment in paediatric
     4                          patients: an observational
                                study from 1998 to 2008.
     5                          Eur.J.Integr.Med. 2: 115-
                                122.
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                                MS, Jimmy B (2009) Drug
     7                          safety reports on
                                complementary and
     8                          alternative medicines
                                (ayurvedic and homeopathic
     9                          medicines) by a spontaneous
                                reporting program in a
   10                           tertiary care hospital. J
                                Altern.Complement Med
   11                           15: 793-797.
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   12                           Furberg CD (2007) Serious
                                adverse drug events reported
   13                           to the Food and Drug
                                Administration, 1998-2005.
   14                           Arch.Intern.Med 167: 1752-
                                1759.
   15    2003.                  Conforti A, Bertani S,       Hearsay
                                Lussignoli S, Bellavite P    (FRE 801
   16                           (1998) Wirkungen             et.seq.);
                                Antihomotoxischer            Irrelevant
   17                           Präparate auf akute und      (FRE 401-
                                chronische Entzndungen.      403); Lacks
   18                           Biol.Med. 27 (2): 63-66.     Foundation
                                                             (FRE
   19                                                        602/701)
         2004.                  Lussignoli S, Bertani S,     Hearsay
   20                           Metelmann H et al. (1999)    (FRE 801
                                Effect of Traumeel S, a      et.seq.);
   21                           homeopathic formulation,     Irrelevant
                                on blood-induced             (FRE 401-
   22                           inflammation in rats.        403); Lacks
                                Complement Ther.Med. 7:      Foundation
   23                           225-230.                     (FRE
                                                             602/701)
   24    2005.                  Schellekens C, Perrinjaquet- Hearsay
                                Moccetti T, Wullschleger C, (FRE 801
   25                           Heyne A (2009) An extract et.seq.);
                                from wild green oat          Irrelevant
   26                           improves rat behaviour.      (FRE 401-
                                Phytother.Res 23: 1371-      403); Lacks
   27                           1377. (SHCALLEN010978) Foundation
                                                             (FRE
   28
                                                296
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                                 602/701)
     4
     5   2006.                  Zanoli P, Zavatti M (2008)
                                Pharmacognostic and
     6                          pharmacological profile of
                                Humulus lupulus L.
     7                          J.Ethnopharmacol. 116:
                                383-396.
     8   2007.                  Maroo N, Hazra A, Das T
                                (2013) Efficacy and safety
     9                          of a polyherbal sedative-
                                hypnotic formulation NSF-3
   10                           in primary insomnia in
                                comparison to zolpidem: a
   11                           randomized controlled trial.
                                Indian J.Pharmacol. 45: 34-
   12                           39.
         2008.                  Dhawan K, Kumar R,
   13                           Kumar S, Sharma A (2001)
                                Correct Identification of
   14                           Passiflora incarnata Linn., a
                                Promising Herbal
   15                           Anxiolytic and Sedative.
                                J.Med Food 4: 137-144.
   16    2009.                  Ngan A, Conduit R (2011)
                                A double-blind, placebo-
   17                           controlled investigation of
                                the effects of Passiflora
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   19                           sleep quality. Phytother.Res
                                25: 1153-1159.
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   21                           herbal supplements for
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   22                           disorders: systematic
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   24                           Navarra M et al. (2013)
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   25                           ethnopharmacology, clinical
                                application, safety and
   26                           evaluation of clinical trials.
                                J.Ethnopharmacol. 150:
   27                           791-804.
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
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     4                          Campos MG et al. (2006)
                                Neuropharmacological
     5                          evaluation of the putative
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     6                          Passiflora edulis Sims, its
                                sub-fractions and flavonoid
     7                          constituents. Phytother.Res
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     9                          L.)--a reliable herbal
                                sedative]. Wien.Med
   10                           Wochenschr. 152: 404-406.
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   11                           Schweitzer I et al. (2011)
                                Herbal medicine for
   12                           depression, anxiety and
                                insomnia: a review of
   13                           psychopharmacology and
                                clinical evidence.
   14                           Eur.Neuropsychopharmacol.
                                21: 841-860.
   15                           (SHCALLEN010958)
         2015.                  Sarris J, McIntyre E,
   16                           Camfield DA (2013) Plant-
                                based medicines for anxiety
   17                           disorders, part 2: a review of
                                clinical studies with
   18                           supporting preclinical
                                evidence. CNS.Drugs 27:
   19                           301-319.
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   20                           Dikmen B et al. (2012)           (FRE 801
                                Passiflora incarnata             et.seq.);
   21                           Linneaus as an anxiolytic        Irrelevant
                                before spinal anesthesia.        (FRE 401-
   22                           J.Anesth. 26: 39-44.             403); Lacks
                                (SHCALLEN009002)                 Foundation
   23                                                            (FRE
                                                                 602/701)
   24    2017.                  Klein N, Gazola AC, de
                                Lima TC et al. (2013)
   25                           Assessment of Sedative
                                Effects of Passiflora edulis
   26                           f. flavicarpa and Passiflora
                                alata Extracts in Mice,
   27                           Measured by Telemetry.
                                Phytother.Res.
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         2018.                  Singh B, Singh D, Goel RK        Hearsay
     4                          (2012) Dual protective           (FRE 801
                                effect of Passiflora incarnata   et.seq.);
     5                          in epilepsy and associated       Irrelevant
                                post-ictal depression.           (FRE 401-
     6                          J.Ethnopharmacol. 139:           403); Lacks
                                273-279.                         Foundation
     7                                                           (FRE
                                                                 602/701)
     8   2019.                  Dhawan K, Dhawan S,
                                Sharma A (2004) Passiflora:
     9                          a review update.
                                J.Ethnopharmacol. 94: 1-23.
   10    2020.                  Elsas SM, Rossi DJ, Raber J
                                et al. (2010) Passiflora
   11                           incarnata L. (Passionflower)
                                extracts elicit GABA
   12                           currents in hippocampal
                                neurons in vitro, and show
   13                           anxiogenic and
                                anticonvulsant effects in
   14                           vivo, varying with
                                extraction method.
   15                           Phytomedicine.
                                (SHCALLEN009931)
   16    2021.                  Zanoli P, Avallone R,
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                                of the flavonoids apigenin
   18                           and chrysin. Fitoterapia 71
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                                (1985) Double-blind trial
   20                           comparing the effectiveness
                                of the homeopathic
   21                           preparation Galphimia
                                potentiation D6, Galphimia
   22                           dilution 10(-6) and placebo
                                on pollinosis.
   23                           Arzneimittelforschung. 35:
                                1745-1747.
   24    2023.                  M. Wiesenauer, R. Ludtke,
                                The treatment of pollinosis
   25                           with Galphimia glauca D4 -
                                a randomized placebo-
   26                           controlled double blind
                                clinical trial. Edition
   27                           forschumg (vol. 3),
                                Hippocrates Verlag,
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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                                Stuttgart, 1987, pp. 235-
     4                          243.
     5   2024.                  Wiesenauer M, Ludtke R
                                (1996) A metaanalysis of
     6                          the homeopahic treatment of
                                pollinosis with Galphimia
     7                          glauca.
                                Forsch.Komplementarmed.
     8                          3: 230-234.
         2025.                  Whitmarsh TE, Coleston-
     9                          Shields DM, Steiner TJ
                                (1997) Double-blind
   10                           randomized placebo-
                                controlled study of
   11                           homoeopathic prophylaxis
                                of migraine. Cephalalgia 17:
   12                           600-604.
         2026.                  Bordet MF, Colas A,           Hearsay
   13                           Marijnen P et al. (2008)      (FRE 801
                                Treating hot flushes in       et.seq.);
   14                           menopausal women with         Irrelevant
                                homeopathic treatment--       (FRE 401-
   15                           results of an observational   403); Lacks
                                study. Homeopathy. 97: 10-    Foundation
   16                           15. (SHCALLEN009405)          (FRE
                                                              602/701)
   17    2027.                  Glatstein M, Danino D,        Hearsay
                                Wolyniez I, Scolnik D         (FRE 801
   18                           (2013) Seizures Caused by     et.seq.);
                                Ingestion of Atropa           Irrelevant
   19                           Belladonna in a               (FRE 401-
                                Homeopathic Medicine in a 403); Lacks
   20                           Previously Well Infant:       Foundation
                                Case Report and Review of (FRE
   21                           the Literature. Am.J.Ther.    602/701)
         2028.                  Venard C, Boujedaini N,       Hearsay
   22                           Mensah-Nyagan AG, Patte- (FRE 801
                                Mensah C (2011)               et.seq.);
   23                           Comparative analysis of       Irrelevant
                                gelsemine and Gelsemium       (FRE 401-
   24                           sempervirens activity on      403); Lacks
                                neurosteroid                  Foundation
   25                           allopregnanolone formation (FRE
                                in the spinal cord and limbic 602/701)
   26                           system.
                                Evid.Based.Complement
   27                           Alternat.Med doi:
                                10.1093/ecam/nep083:
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     1   No. of                           Description          Objection       Response
     2   Exhibit                                                               to
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                                407617.
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     5   2029.                  Boericke W (1927) Materia
                                Medica with Repertory,
     6                          Boericke & Tafel, Inc,
                                Philadelphia.
     7   2030.                  Colau JC, Vincent S,           Hearsay
                                Marijnen P, Allaert FA         (FRE 801
     8                          (2012) Efficacy of a non-      et.seq.);
                                hormonal treatment, BRN-       Irrelevant
     9                          01, on menopausal hot          (FRE 401-
                                flashes: a multicenter,        403); Lacks
   10                           randomized, double-blind,      Foundation
                                placebo-controlled trial.      (FRE
   11                           Drugs R.D. 12: 107-119.        602/701)
         2031.                  Fye WB (1986)
   12                           Nitroglycerin: a
                                homeopathic remedy.
   13                           Circulation 73: 21-29.
         2032.                  Fye WB (1990) Vasodilator      Hearsay
   14                           therapy for angina pectoris:   (FRE 801
                                the intersection of            et.seq.);
   15                           homeopathy and scientific      Irrelevant
                                medicine. J.Hist Med.Allied    (FRE 401-
   16                           Sci. 45: 317-340.              403); Lacks
                                                               Foundation
   17                                                          (FRE
                                                               602/701)
   18    2033.                  Hering C (1849) Glonoine,
                                a new medicine for
   19                           headache.
                                Am.J.Homeopathy 4: 3.
   20    2034.                  Bellavite P, Magnani P,
                                Zanolin E, Conforti A
   21                           (2011) Homeopathic Doses
                                of Gelsemium sempervirens
   22                           Improve the Behavior of
                                Mice in Response to Novel
   23                           Environments.
                                Evid.Based.Complement
   24                           Alternat.Med 2011: 1-10.
         2035.                  Binsard AM, Guillemain J,      Hearsay
   25                           Platel A et al. (1980) Etude   (FRE 801
                                psycho-pharmacologique de      et.seq.);
   26                           dilutions homéopathiques de    Irrelevant
                                Gelsemium et d'Ignatia. Ann    (FRE 401-
   27                           Homeop.Fr. 22: 35-50.          403); Lacks
                                                               Foundation
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               (FRE
     4                                                         602/701)
     5   2036.                  Guillemain J, Rousseau A,      Hearsay
                                Dorfman P, Tetau M (1989)      (FRE 801
     6                          Recherche en                   et.seq.);
                                psychopharmacologie.           Irrelevant
     7                          Cah.Biother. 103: 53-66.       (FRE 401-
                                                               403); Lacks
     8                                                         Foundation
                                                               (FRE
     9                                                         602/701)
         2037.                  Bousta D, Soulimani R,
   10                           Jarmouni I et al. (2001)
                                Neurotropic, immunological
   11                           and gastric effects of low
                                doses of Atropa belladonna
   12                           L., Gelsemium
                                sempervirens L. and
   13                           Poumon histamine in
                                stressed mice.
   14                           J.Ethnopharmacol. 74: 205-
                                215.
   15    2038.                  Xu Y, Qiu HQ, Liu H et al.
                                (2012) Effects of koumine,
   16                           an alkaloid of Gelsemium
                                elegans Benth., on
   17                           inflammatory and
                                neuropathic pain models and
   18                           possible mechanism with
                                allopregnanolone.
   19                           Pharmacol.Biochem.Behav.
                                101: 504-514.
   20    2039.                  Liu M, Huang HH, Yang J
                                et al. (2013) The active
   21                           alkaloids of Gelsemium
                                elegans Benth. are potent
   22                           anxiolytics.
                                Psychopharmacology (Berl)
   23                           225: 839-851.
         2040.                  Werkman C, Senra GS, da
   24                           Rocha RF, Brandao AA
                                (2006) Comparative
   25                           therapeutic use of
                                Risedronate and Calcarea
   26                           phosphorica--allopathy
                                versus homeopathy--in bone
   27                           repair in castrated rats.
                                Pesqui.Odontol.Bras. 20:
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                196-201.
     4                          (SHCALLEN011310)
     5   2041.                  Mollinger H, Schneider R,
                                Walach H (2009)
     6                          Homeopathic pathogenetic
                                trials produce specific
     7                          symptoms different from
                                placebo.
     8                          Forsch.Komplementmed.
                                16: 105-110.
     9                          (SHCALLEN010552)
         2042.                  Bell IR, Howerter A,
   10                           Jackson N et al. (2011)
                                Effects of homeopathic
   11                           medicines on
                                polysomnographic sleep of
   12                           young adults with histories
                                of coffee-related insomnia.
   13                           Sleep Med 12: 505-511.
         2043.                  Sukul A, Sinhabau SP,
   14                           Sukul NC (1999) Reduction
                                of alcohol induced sleep
   15                           time in albino mice by
                                potentized Nux vomica
   16                           prepared with 90% ethanol.
                                Br.Homeopath.J. 88: 58-61.
   17    2044.                  Sukul NC, Ghosh S,
                                Sinhababu SP, Sukul A
   18                           (2001) Strychnos nux-
                                vomica extract and its ultra-
   19                           high dilution reduce
                                voluntary ethanol intake in
   20                           rats. J.Altern.Complement
                                Med. 7: 187-193.
   21    2045.                  Thompson EA, Bishop JL,
                                Northstone K (2010) The
   22                           use of homeopathic products
                                in childhood: data generated
   23                           over 8.5 years from the
                                Avon Longitudinal Study of
   24                           Parents and Children
                                (ALSPAC). J
   25                           Altern.Complement Med.
                                16: 69-79.
   26    2046.                  Kaplan B (1994)                 Hearsay
                                Homoeopathy: 2. In              (FRE 801
   27                           pregnancy and for the           et.seq.);
                                under-fives. Prof.Care          Irrelevant
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                Mother.Child 4: 185-187.       (FRE 401-
     4                                                         403); Lacks
                                                               Foundation
     5                                                         (FRE
                                                               602/701)
     6   2047.                  Kupfersztain C, Rotem C,       Hearsay
                                Fagot R, Kaplan B (2003)       (FRE 801
     7                          The immediate effect of        et.seq.);
                                natural plant extract,         Irrelevant
     8                          Angelica sinensis and          (FRE 401-
                                Matricaria chamomilla          403); Lacks
     9                          (Climex) for the treatment     Foundation
                                of hot flushes during          (FRE
   10                           menopause. A preliminary       602/701)
                                report. Clin.Exp
   11                           Obstet.Gynecol. 30: 203-
                                206.
   12    2048.                  A. Cristea, S. Teodorescu-
                                Negres, V. Darie,
   13                           Chamomilla homeopathic
                                dilution effect on central
   14                           nervous system. An
                                experimental
   15                           pharmacological study. in:
                                M. Bastide (Ed.), Signals
   16                           and Images, Kluwer Acad.
                                Publ., Dordrecht (NL),
   17                           1997, pp. 171-178.
         2049.                  Reis LS, Pardo PE, Oba E et
   18                           al. (2006) Matricaria
                                chamomilla CH12 decreases
   19                           handling stress in Nelore
                                calves. J.Vet.Sci. 7: 189-
   20                           192.
         2050.                  Pinto SA, Bohland E,
   21                           Coelho CP et al. (2008) An
                                animal model for the study
   22                           of Chamomilla in stress and
                                depression: pilot study.
   23                           Homeopathy. 97: 141-144.
                                (SHCALLEN010722)
   24    2051.                  Ulbricht C, Basch E, Boon
                                H et al. (2008) An evidence-
   25                           based systematic review of
                                passion flower (Passiflora
   26                           incarnata L.) by the Natural
                                Standard Research
   27                           Collaboration. J.Diet.Suppl
                                5: 310-340.
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         2052.                  Basch E, Ulbricht C, Basch
     4                          S et al. (2005) An evidence-
                                based systemic review
     5                          Echinacea E. angustifolia
                                DC, E. pallida, E. purpurea
     6                          by the Natural Standard
                                Research Collaboration.
     7                          J.Herb.Pharmacother. 5: 57-
                                88.
     8   2053.                  Amico AP, Terlizzi A,
                                Damiani S et al. (2013)
     9                          Immunopharmacology of
                                the main herbal
   10                           supplements: a review.
                                Endocr.Metab
   11                           Immune.Disord.Drug
                                Targets. 13: 283-288.
   12    2054.                  Sultan MT, Buttxs MS,
                                Qayyum MM, Suleria HA
   13                           (2014) Immunity: plants as
                                effective mediators. Crit
   14                           Rev.Food Sci.Nutr. 54:
                                1298-1308.
   15    2055.                  Pedalino CM, Perazzo FF,
                                Carvalho JC et al. (2004)
   16                           Effect of Atropa belladonna
                                and Echinacea angustifolia
   17                           in homeopathic dilution on
                                experimental peritonitis.
   18                           Homeopathy 93: 193-198.
         2056.                  Sharma M, Schoop R, Suter
   19                           A, Hudson JB (2011) The
                                potential use of Echinacea
   20                           in acne: control of
                                Propionibacterium acnes
   21                           growth and inflammation.
                                Phytother.Res 25: 517-521.
   22    2057.                  Kapai NA, Anisimova NY,
                                Kiselevskii MV et al. (2011)
   23                           Selective cytokine-inducing
                                effects of low dose
   24                           Echinacea. Bull.Exp
                                Biol.Med 150: 711-713.
   25    2058.                  Weiser M, Gegenheimer
                                LH, Klein P (1999) A
   26                           randomized equivalence
                                trial comparing the efficacy
   27                           and safety of Luffa comp.-
                                Heel nasal spray with
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                cromolyn sodium spray in
     4                          the treatment of seasonal
                                allergic rhinitis.
     5                          Forsch.Komplementarmed.
                                6: 142-148.
     6   2059.                  Colin P (2006) Homeopathy
                                and respiratory allergies: a
     7                          series of 147 cases.
                                Homeopathy 95: 68-72.
     8                          (SHCALLEN009654)
         2060.                  Clausen J, Van WR,
     9                          Albrecht H (2011) Review
                                of the use of high potencies
   10                           in basic research on
                                homeopathy. Homeopathy
   11                           100: 288-292.
         2061.                  Eizayaga JE, Eizayaga JI
   12                           (2012) Prospective
                                observational study of 42
   13                           patients with atopic
                                dermatitis treated with
   14                           homeopathic medicines.
                                Homeopathy 101: 21-27.
   15    2062.                  Bell IR, Koithan M (2012)
                                A model for homeopathic
   16                           remedy effects: low dose
                                nanoparticles, allostatic
   17                           cross-adaptation, and time-
                                dependent sensitization in a
   18                           complex adaptive system.
                                BMC.Complement
   19                           Altern.Med. 12: 191.
         2063.                  dos Santos AL, Perazzo FF,
   20                           Cardoso LG, Carvalho JC
                                (2007) In vivo study of the
   21                           anti-inflammatory effect of
                                Rhus toxicodendron.
   22                           Homeopathy. 96: 95-101.
         2064.                  Huh YH, Kim MJ, Yeo MG
   23                           (2013) Homeopathic Rhus
                                toxicodendron treatment
   24                           increased the expression of
                                cyclooxygenase-2 in
   25                           primary cultured mouse
                                chondrocytes. Homeopathy
   26                           102: 248-253.
         2065.                  Jaggi R, Wurgler U,          Hearsay
   27                           Grandjean F, Weiser M        (FRE 801
                                (2004) Dual inhibition of 5- et.seq.);
   28
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                lipoxygenase/cyclooxygenas      Irrelevant
     4                          e by a reconstituted            (FRE 401-
                                homeopathic remedy;             403); Lacks
     5                          possible explanation for        Foundation
                                clinical efficacy and           (FRE
     6                          favourable gastrointestinal     602/701)
                                tolerability. Inflamm.Res
     7                          53: 150-157.
         2066.                  Birnesser H, Stolt P (2007)
     8                          The homeopathic
                                antiarthitic preparation Zeel
     9                          comp. N: a review of
                                molecular and clinical data.
   10                           Explore.(NY) 3: 16-22.
         2067.                  Patil CR, Rambhade AD,          Hearsay
   11                           Jadhav RB et al. (2011)         (FRE 801
                                Modulation of arthritis in      et.seq.);
   12                           rats by Toxicodendron           Irrelevant
                                pubescens and its               (FRE 401-
   13                           homeopathic dilutions.          403); Lacks
                                Homeopathy 100: 131-137.        Foundation
   14                                                           (FRE
                                                                602/701)
   15    2068.                  Rouhani S, Salehi N,
                                Kamalinejad M, Zayeri F
   16                           (2013) Efficacy of Berberis
                                vulgaris aqueous extract on
   17                           viability of Echinococcus
                                granulosus protoscolices.
   18                           J.Invest Surg. 26: 347-351.
         2069.                  Imanshahidi M,
   19                           Hosseinzadeh H (2008)
                                Pharmacological and
   20                           therapeutic effects of
                                Berberis vulgaris and its
   21                           active constituent,
                                berberine. Phytother.Res 22:
   22                           999-1012.
         2070.                  Fouladi RF (2012) Aqueous       Hearsay
   23                           extract of dried fruit of       (FRE 801
                                Berberis vulgaris L. in acne    et.seq.);
   24                           vulgaris, a clinical trial.     Irrelevant
                                J.Diet.Suppl 9: 253-261.        (FRE 401-
   25                                                           403); Lacks
                                                                Foundation
   26                                                           (FRE
                                                                602/701)
   27
   28
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
         2071.                  Jyothilakshmi V,
     4                          Thellamudhu G, Kumar A et
                                al. (2013) Preliminary
     5                          investigation on ultra high
                                diluted B. vulgaris in
     6                          experimental urolithiasis.
                                Homeopathy 102: 172-178.
     7   2072.                  Eskinazi D (1999)
                                Homeopathy re-revisited: is
     8                          homeopathy compatible
                                with biomedical
     9                          observations?
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     1   No. of                          Description             Objection     Response
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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   16                                                          403); Lacks
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
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   12                                                           602/701)
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     1   No. of                          Description            Objection      Response
     2   Exhibit                                                               to
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     1   No. of                          Description             Objection     Response
     2   Exhibit                                                               to
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                                                                 602/701)
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     7                          of survival capacity in heat     et.seq.);
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     7                          Biological stress response     et.seq.);
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     8                          concepts of adaptive           (FRE 401-
                                response and                   403); Lacks
     9                          preconditioning stress         Foundation
                                within a hormetic dose-        (FRE
   10                           response framework.            602/701)
                                Toxicol.Appl.Pharmacol.
   11                           222: 122-128.
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   12                           Information Council
                                Foundation. 2007 Food and
   13                           Health Survey. Consumer
                                Attitudes toward Food,
   14                           Nutrition, and Health
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   15                           Content/6/2007Survey-
                                FINAL.pdf
   16    2125.                  International Food             Hearsay
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   17                           Foundation. 2010 Food and      et.seq.);
                                Health Survey. Consumer        Lacks
   18                           Attitudes toward Food          Foundation
                                Safety, Nutrition, and         (FRE 602);
   19                           Health.                        Irrelevant
                                http://www.foodinsight.org/    (FRE 401-
   20                           Content/3651/2010FinalFull     403)
                                Report.pdf
   21    2126.                  International Food             Hearsay
                                Information Council            (FRE 801
   22                           Foundation. 2011 Food and      et.seq.);
                                Health Survey.                 Lacks
   23                           ConsumerAttitudes toward       Foundation
                                Food Safety, Nutrition, and    (FRE 602);
   24                           Health.                        Irrelevant
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   26                           d%20Health %20Survey.pdf
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
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     4                          America’s Diet: From           Foundation
                                Beliefs to Behaviors.          (FRE 602);
     5                          http://www.foodinsight.org/    Irrelevant
                                sites/default/files/2014%20F   (FRE 401-
     6                          ood%20and%20Health%20          403)
                                Survey%20
     7                          Full%20Report.pdf
         2128.                  Caswell, Julie A. and Eliza    Hearsay
     8                          M. Mojduszka (1996),           (FRE 801
                                “Using Informational           et.seq.);
     9                          Labeling to Influence          Irrelevant
                                                               (FRE 401-
   10                                                          403); Lacks
                                                               Foundation
   11                                                          (FRE
                                                               602/701)
   12    2129.                  Mark L. Alpert (1971),         Hearsay
                                “Identification of             (FRE 801
   13                           Determinant Attributes: A      et.seq.);
                                Comparison of Methods,”        Irrelevant
   14                           Journal of Marketing           (FRE 401-
                                Research, 8(2), 184 – 191      403); Lacks
   15                                                          Foundation
                                                               (FRE
   16                                                          602/701)
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   24                           (2011), “Consumers Don’t       (FRE 801
                                Pay as Much Attention to       et.seq.);
   25                           Nutrition Fact Labels as       Irrelevant
                                They Think, Eye-Tracking       (FRE 401-
   26                           Study Finds,” Science          403); Lacks
                                Daily, Oct. 24                 Foundation
   27                                                          (FRE
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
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         2133.                  http://www.foodnavigator.c
     4                          om/Science-Nutrition/Front-
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                                consumer-choice-Study
     6   2134.                  Green, P., A. Krieger, and
                                Y. Wind (2001), “Thirty
     7                          Years of Conjoint Analysis:
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     8                          Interfaces, (3), S56-S73.
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   10                           the Academy of Marketing
                                Science, 3(1), 85 – 98.
   11    2136.                  Steven M. Shugan (1980),
                                “The Cost of Thinking,”
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   13    2137.                  Johnsen, Michael (2013),
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   14                           Influence Cold-flu-allergy
                                OTC Purchases,” Drug
   15                           Store News, September 25,
                                Doctor recommendations
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                                OTC purchase | Drug Store
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   18                           J. Thompson (2006), “For
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   19                           Illness: North Americans'
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   20                           Supplements,” Culture,
                                Medicine, & Psychiatry,
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     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                (July 21), 301 – 302.
     4
     5   2141.                  A. C. Nielsen (2013),
                                “Under the Influence:
     6                          Consumer Trust in
                                Advertising”
     7   2142.                  CCFK_FinalProduct Lot.         Hearsay
                                126465 2015-06-09 14-52-       (FRE 801
     8                          20-10sec.wmv                   et.seq.);
                                SHCALLEN0064602)               Irrelevant
     9                                                         (FRE 401-
                                                               403); Lacks
   10                                                          Foundation
                                                               (FRE
   11                                                          602/701)
         2143.                  CCFK_FinalProduct Lot.         Hearsay
   12                           126442 2015-06-09 14-14-       (FRE 801
                                41-10sec.wmv                   et.seq.);
   13                           SHCALLEN0064603)               Irrelevant
                                                               (FRE 401-
   14                                                          403); Lacks
                                                               Foundation
   15                                                          (FRE
                                                               602/701)
   16    2144.                  CCFK_FinalProduct Lot.         Hearsay
                                126261 2015-06-09 14-38-       (FRE 801
   17                           38-10sec.wmv                   et.seq.);
                                (SHCALLEN0064604)              Irrelevant
   18                                                          (FRE 401-
                                                               403); Lacks
   19                                                          Foundation
                                                               (FRE
   20                                                          602/701)
         2145.                  CCFK_FinalProduct Lot.         Hearsay
   21                           126261 2015-06-09 14-38-       (FRE 801
                                19-ExperimentReport            et.seq.);
   22                           (SHCALLEN0064605               Irrelevant
                                                               (FRE 401-
   23                                                          403); Lacks
                                                               Foundation
   24                                                          (FRE
                                                               602/701)
   25    2146.                  CCFK_FinalProduct Lot.         Hearsay
                                126442 2015-06-09 14-13-       (FRE 801
   26                           17-ExperimentReport            et.seq.);
                                (SHCALLEN0064606)              Irrelevant
   27                                                          (FRE 401-
                                                               403); Lacks
   28
                                                319
                   Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
                                       JOINT EXHIBIT LIST
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                                 #:16565


     1   No. of                          Description           Objection       Response
     2   Exhibit                                                               to
                                                                               Objection
     3
                                                               Foundation
     4                                                         (FRE
                                                               602/701)
     5   2147.                  CCFK_FinalProduct Lot.         Hearsay
                                126465 2015-06-09 14-51-       (FRE 801
     6                          57-ExperimentReport            et.seq.);
                                (SHCALLEN0064607)              Irrelevant
     7                                                         (FRE 401-
                                                               403); Lacks
     8                                                         Foundation
                                                               (FRE
     9                                                         602/701)
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                   Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
                                       JOINT EXHIBIT LIST
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                                 #:16566




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                  Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
                                      JOINT EXHIBIT LIST
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                                 #:16567



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                  Kim Allen et al. v. Hyland’s, Inc. et al., Case No. 12-CV-1150
                                      JOINT EXHIBIT LIST
